Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 1 of 181 PageID #: 400




                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF DELAWARE

                               :
MANHATTAN                      :
TELECOMMUNICATIONS CORP. D/B/A :
METROPOLITAN                   :
TELECOMMUNICATIONS,            :
A/K/A METTEL                   :             C.A. 1:20-cv-00857-CFC
                               :
               Plaintiff,      :
                               :
          v.                   :
                               :
GRANITE TELECOMMUNICATIONS,    :
LLC,                           :
                               :
                Defendant.

     APPENDIX TO BRIEF IN SUPPORT OF MOTION TO DISMISS

                                     MORRIS, NICHOLS, ARSHT &
 OF COUNSEL:                         TUNNELL LLP
                                     R. Judson Scaggs (#2676)
 DONNELLY, CONROY &                  Barnaby Grzaslewicz (#6037)
 GELHAAR, LLP                        A. Gage Whirley (#6707)
 T. Christopher Donnelly (admitted   1201 N. Market Street
 pro hac vice)                       Wilmington, DE 19801
 Joshua N. Ruby (admitted pro hac    (302) 658-9200
 vice)
 260 Franklin Street, Suite 1600
 Boston, MA 02110                    Counsel for Defendant Granite
 (617) 720-2880                      Telecommunications, LLC


 Dated:      July 15, 2020
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 2 of 181 PageID #: 401




                                      Table of Contents
Document(s)                                                                                            Page

In re Registration of Security Certificate of Metropolitan Telecommunications
Corp. d/b/a MetTel,
 Docket No. S-2017-2589999 (Pa. Pub. Utility Comm’n, 2017) ...................... A001

In re Registration of Security Certificate of Metropolitan Telecommunications
Corp. d/b/a MetTel,
 Docket No. S-2019-3013208 (Pa. Pub. Utility Comm’n, 2019) ...................... A029

GTT Communications, Inc.,
 Form 10-Q (May 8, 2020)................................................................................. A061

DiLorenzo v. Edgar,
 2004 WL 609374 (D. Del. Mar. 24, 2004) ....................................................... A106

EDIX Media Grp., Inc. v. Mahani,
 2006 WL 3742595 (Del. Ch. Dec. 12, 2006) ................................................... A109

Ninespots, Inc. v. Jupai Holdings, Ltd.,
 2018 WL 3626325 (D. Del. July 30, 2018) ..................................................... A125

UbiquiTel Inc. v. Sprint Corp.,
 2005 WL 3533697 (Del. Ch. Dec. 14, 2005) ................................................... A136

Sturgeon v. PharMerica Corp.
 2020 WL 586978 (E.D. Pa. Feb. 5, 2020)…………………………………... A147
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 3 of 181 PageID #: 402

                                               Before the
                                 Pennsylvannia Public Utility Commission


   In the Matter of Registration of            )
                                               )
   Sercurity Certificate of                    )                     Docket No. S-2017-_________
                                               )
   Metropolitan Telecommunications Corporation )
           of PA d/b/a MetTel                  )

                                          Securities Certificate

            Metropolitan Telecommunications Corporation of PA d/b/a MetTel (“MetTel”), by

   undersigned counsel and pursuant to Section 1901 of the Public Utility Code, 66 Pa. C.S. § 1901,

   and Section 3.601 of the Pennsylvania Public Utility Commission’s (“Commission”) regulations, 52

   Pa. Code § 3.601, hereby requests the Commission register this Securities Certificate describing

   MetTel’s participation in a financing transaction whereby it will pledge its assets, including the

   Certificate of Public Convenience and Necessity currently held by MetTel for services offered in the

   Commonwealth of Pennsylvania, to guarantee and secure debt in an amount of up to

   approximately $95 million (the “Proposed Transaction”).1

            MetTel’s participation in the financing transaction is conditioned on receiving the applicable

   regulatory approvals, including the grant of the instant request. MetTel respectfully requests that

   the Commission expeditiously grant the requested Securities Certificate no later than its scheduled

   Public Meeting on March 2, 2017, so that the financing transaction may proceed on a timely

   basis.

            In support of this Securities Certificate, MetTel provides the following information:

   I.       DESCRIPTION OF THE REGISTRANT

            MetTel is a privately held corporation organized pursuant to the laws of Delaware whose

   principal business is telecommunications. MetTel is a wholly owned subsidiary of Manhattan



   1
     On January 24, 2017, the Delaware Public Service Commission took no action on a similar
   application filed by MetTel’s Delaware affiliate, allowing the application to be approved by operation
   of law. See In the Matter of the Application of Metropolitan Telecommunications of Delaware Inc.
   for the Approval of Participation in Financing Arrangement Pursuant to Del. C. §215, Docket No. 16-
   1163.




                                                     A001
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 4 of 181 PageID #: 403

    Telecommunications Corporation and indirect subsidiary of Metropolitan Telecommunications

    Holding Company (“MetTel Holding”), a privately held Delaware holding company.

            MetTel Holding, through its subsidiaries, is a strategic partner providing a comprehensive

    suite of voice and data solutions as well as telecommunications consulting services to leading

    businesses nationwide. From traditional voice services to MPLS networks and Voice over IP

    technologies, MetTel Holding offers a complete portfolio of products. MetTel was authorized by

    the Commission to provide local and interexchange telecommunications services in Docket Nos.A-

    310933 and A-310933F0002 on August 17, 2000 and expanded local exchange service in Docket

    Nos. A-2010-2161948, et al., on May 10, 2010 and Docket Nos. A-2011-2269103, et al., on

    December 16, 2011 (the “PA CPCN”).

            In addition to the services provided by MetTel to Pennsylvania customers, MetTel’s

    affiliates are authorized by the various state public service commissions to provide facilities-based

    and/or resold interexchange telecommunications services, and competitive local exchange services

    in 49 other states, the District of Columbia, Puerto Rico, and Canada, pursuant to certification,

    registration or tariff requirements, or on a deregulated basis.

            Further information regarding MetTel’s legal, technical, financial and managerial

    qualifications to provide telecommunications service to customers in Pennsylvania may be found

    in MetTel’s initial application for the PA CPCN as a matter of public record. MetTel respectfully

    requests that the Commission take official notice of the information contained in the Pennsylvania

    application and incorporate it herein for reference.

    II.     Designated Contacts

            Questions, correspondence or other communications concerning this filing should be

    directed to:

            Karl C. Helgerson
            Kutak Rock LLP
            Two Liberty Place, Suite 28B
            Philadelphia, PA 19102
            Tel: (215) 299-4384
            Fax: (215) 981-0719
            Email: Karl.Helgerson@KutakRock.com




                                                   2
                                                    A002
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 5 of 181 PageID #: 404

     With a copy for MetTel to:                               And:


     Joseph Farano                                            Michael P. Donahue
     General Counsel                                          Nathaniel J. Hardy
     MetTel                                                   Marashlian & Donahue, PLLC
     BellWorks 101 Crawfords Corner Road,                     1420 Spring Hill Road, Suite 401
     #4-202                                                   McLean, VA 22102
     Holmdel, NJ 07733                                        Tel: (703) 714-1319
     Tel: 212-359-5037                                        Fax: (703) 563-6222
     E-mail: jfarano@mettel.net                               Email: mpd@commlawgroup.com
                                                                     njh@commlawgroup.com

    III.    SECURITIES CERTIFICATE

            Pursuant to Section 3.601 of the Commission’s regulations, 52 Pa. Code § 3.601, MetTel

    submits the following information in support of its request:

            A.      Name and Address of Utility

            Metropolitan Telecommunications Corporation of PA d/b/a MetTel
            BellWorks 101 Crawfords Corner Road,
            #4-202
            Holmdel, NJ 07733

            B.      Name and Address of Utility’s Attorney

            Inquires and copies of any correspondence, orders, or other materials pertaining to this

    Securities Certificate should be directed to the contacts provided in Section II, above.

            C.      History and Description of Pennsylvania Services

            MetTel obtained the PA CPCN on August 7, 2000, and expanded the scope of its authority

    on May 10, 2010 and December 16, 2011. MetTel currently provides competitive resold local

    exchange and interexchange telecommunications services in Pennsylvania pursuant to the PA

    CPCN.

            D.      Corporate Structure

            As   mentioned    above,   MetTel    is       a    wholly   owned   subsidiary   of   Manhattan

    Telecommunications Corporation and indirect subsidiary of MetTel Holding, a privately held

    Delaware holding company. A chart depicting the corporate organizational structure of MetTel

    Holding is attached hereto as Exhibit A.




                                                      3
                                                      A003
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 6 of 181 PageID #: 405



            E.      Description of the Proposed Transaction

            MetTel Holding, and all of its direct and indirect subsidiaries, including MetTel, will enter

    into a Second Amended and Restated Credit Agreement and related Security Agreement with JP

    Morgan Chase Bank, N.A. (the “Agreement”). JP Morgan Chase Bank, N.A. (“JP Morgan”) shall

    serve as the Administrative Agent under the Agreement for a series of lenders. MetTel Holding

    chose JP Morgan as Administrative Agent due to the company’s well known and longstanding

    reputation and ability to provide favorable terms to MetTel. Pursuant to the Agreement, MetTel

    Holding will receive a revolving credit facility and additional term loan capacity. Specifically, MetTel

    Holding will receive a revolving credit facility of $15,000,000 and additional term loan capacity of

    (a) up to $50,000,000 under a Senior Secured Term Loan and (b) up to $30,000,000 for an

    acquisition basket.

            The obligations of the revolving credit facility and the additional term loan capacity shall

    be secured by a security interest in all of the assets of MetTel Holding and its subsidiaries, including

    MetTel. The proceeds of the revolving credit facility will be used for general corporate purposes

    of MetTel Holdings, while the proceeds of the additional term loan capacity will be used for

    dividends and/or acquisitions.

            MetTel’s assets, including the PA CPCN, will not be collateralized to secure the debt until

    the Commission authorizes the Proposed Transaction.

            The Agreement is intended to sustain MetTel’s provisioning of competitive services and to

    enable MetTel and its owners to improve the operational and cost efficiencies of its business. The

    transaction will directly benefit Pennsylvania customers by facilitating the continued provision of

    innovative, high-quality telecommunications services to the public and thereby promoting

    competition in the Pennsylvania telecommunications market.

            MetTel therefore requests Commission authorization, to the extent necessary, for MetTel

    to pledge its assets as security for the Proposed Transaction in an aggregate amount of up to $95

    million consistent with the parameters outlined above.




                                                     4
                                                      A004
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 7 of 181 PageID #: 406

            As specifically requested in Section 3.601(5)(iv) of the Commission’s rules, MetTel provides

    the following:

                     (1)      Nominal date of issue

            MetTel and its lenders desire to consummate the proposed Transaction as quickly as

    possible after they receive the applicable regulatory approvals. They will notify the Commission

    once the Proposed Transaction has been consummated.

                     (2)      Date of maturity

            Except for the revolving credit facility, the specific maturity date of the debt instruments

    comprising the Proposed Transaction will be subject to negotiations between MetTel and its

    lenders and will be subject to credit conditions at the time they are negotiated and issued. The

    revolving credit facility will not have a maturity date. MetTel expects that the debt instruments

    will mature within five (5) years of issuance, subject to any acceleration clauses that may be

    negotiated between MetTel and its lenders. To maintain flexibility in its negotiations, MetTel

    requests Commission approval to participate in debt instruments with a maturity date of up to ten

    (10) years after issuance.

                     (3)      Interest rate and payment dates

            The interest rates will reflect market rates for similar financing and will not be determined

    until the various debt instruments are finalized. MetTel foresees that the interest rates could be

    fixed rates based on a currently recognized rate index such as LIBOR or the Federal Funds Rate

    with potential additional margin rates, a floating rate consisting of a base rate with a float rate

    based on a currently recognized rate index in addition to any applicable margin rate, or a

    combination of fixed and floating rates. To maintain flexibility in its negotiations, MetTel requests

    Commission approval to participate in debt instruments with interest rates that reflect current

    market conditions for similar types of instruments.

                     (4)      Extent to which taxes on securities are assumed by the issuer

            Not applicable.




                                                   5
                                                    A005
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 8 of 181 PageID #: 407



                  (5)       Callability and conversion provisions

          Not applicable.

                  (6)       Maintenance

          MetTel will maintain its debt pursuant to the terms negotiated with its lenders. MetTel

   does not foresee that there will be any non-standard debt maintenance requirements placed on it

   by the lenders. MetTel can notify the Commission of the maintenance terms post-consummation

   of the Proposed Transaction.

                  (7)       Depreciation and sinking or other fund provision

          Not applicable.

                  (8)       Name and address of trustee and whether affiliated with the
                            public utility

          There is no trustee in the proposed transaction. JP Morgan shall serve as Administrative

   Agent for the Proposed Transactions. JP Morgan’s address is as follows:

                        JP Morgan Chase Bank, N.A.
                        270 Park Avenue, 42nd Floor
                        New York, New York 10017-2014

          F.      Use of the Proceeds

          The proceeds of the revolving credit facility will be used for working capital purposes of

   MetTel Holdings, while the proceeds of the additional term loan capacity will be used for dividends

   and/or acquisitions. Potential acquisitions have yet to be identified, but MetTel can update the

   Commission when and if plans for future acquisitions become more concrete.

          G.      Filings with the Securities and Exchange Commission

          As MetTel Holding is a private company and this transaction is not subject to the

   registration requirements of the Securities Act of 1933, as amended, there will not be any filings

   made with the Securities and Exchange Commission related to this transaction.




                                                 6
                                                     A006
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 9 of 181 PageID #: 408

           H.      Section 3.601(c)(9) Requirements

           In accordance with 52 Pa. Code § 3.601(c)(9), MetTel respectfully attaches hereto and

    makes part hereof the following exhibits:

           Exhibit A       CONFIDENTIAL & PROPRIETARY - Metropolitan Telecommunications
                           Holding Company Organizational Chart

           Exhibit B       CONFIDENTIAL & PROPRIETARY - Balance sheet of MetTel as of
                           December 16, 2016 (the most recent balance sheets available).

           Exhibit C       CONFIDENTIAL & PROPRIETARY - Income statement of MetTel as of
                           December 16, 2016 (the most recent income statements available).

           Exhibit D       A statement with respect to the plant accounts appearing on the balance
                           sheets referred to in Exhibit B.

           Exhibit E       A statement of securities of other corporations and entities owned by
                           MetTel.

           Exhibit F       A statement showing the status of MetTel’s funded debt outstanding as of
                           December 16, 2016. (No material changes in the funded debt outstanding
                           have taken place since December 16, 2016.)

           Exhibit G       A statement showing the status of MetTel's Capital Stock as of December
                           16, 2016. (No material changes in the Capital Stock have taken place since
                           December 16, 2016.)

           Exhibit H       A statement that no registration statement has been filed with the
                           Securities and Exchange Commission under the Securities Act of 1933 with
                           respect to the Second Amended and Restated Credit Agreement and
                           related Security Agreement.

           Exhibit I       A statement that no applications or declarations have been filed with the
                           Securities and Exchange Commission with respect to the Second Amended
                           and Restated Credit Agreement and related Security Agreement pursuant
                           to the Public Utility Holding Company Act of 1935.

           Exhibit J       A copy of the resolutions of the officers of MetTel authorizing the inclusion
                           of MetTel as an additional borrower under the Second Amended and
                           Restated Credit Agreement and related Security Agreement.

           Exhibit K       A statement that no journal entry will be made on the books of account of
                           MetTel as a result of the Second Amended and Restated Credit Agreement
                           and related Security Agreement.

           Exhibit L       Affidavit of an Officer of MetTel in the form prescribed by 52 Pa. Code §§
                           1.35 and 1.36.

           MetTel notes that copies of the Second Amended and Restated Credit Agreement and

    related Security Agreement are not provided with this Security Certificate as they have not been




                                                  7
                                                   A007
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 10 of 181 PageID #: 409

    finalized as of the date of submission. MetTel will provide the Commission with copies of these

    agreements upon request as soon as they are completed.

    IV.       PUBLIC INTEREST CONSIDERATIONS

              Consummation of the Proposed Transaction will serve the public interest in promoting

    competition among telecommunications carriers by providing MetTel with the opportunity to

    strengthen its competitive position by providing additional working capital and the ability to finance

    acquisitions to enhance the company’s services. The financing arrangements are necessary and

    appropriate, will not impair MetTel’s ability to perform such services to the public, and will promote

    the corporate purposes of MetTel. The Proposed Transaction will not involve an assignment of

    the PA CPCN or a change in the day-to-day operations of the certificated company. In addition,

    there will be no change in the services offered to MetTel’s customers or the rates for MetTel’s

    regulated services. The transaction will be completely transparent to MetTel’s customers.

              WHEREFORE, MetTel respectfully requests that the Commission promptly approve the

    above-referenced financing arrangement, register this Abbreviated Securities Certificate, and issue

    a Notice of Registration, pursuant to Sections 1901 of the Public Utility Code, 66 Pa. C.S. § 1901,

    and Section 3.602(c) of the Commission’s regulations, 52 Pa. Code § 3.602(c), and the interrelated

    affiliate transaction, if necessary, under Section 2102 of the Public Utility Code, 66 Pa. C.S. § 2102,

    as soon as possible authorizing MetTel to participate in the financing arrangements described

    herein.

              As required by the Commission’s rules, a filing fee in the amount of $25.00 is being paid

    by credit card through the Commission’s eFiling system.            Please acknowledge receipt and

    acceptance of this filing. Please do not hesitate to contact us if you have any questions.

                                     Respectfully submitted,



                                     _____________________________
                                       /s/ Karl C. Helgerson
                                     Karl C. Helgerson
                                     Kutak Rock LLP
                                     Two Liberty Place, Suite 28B
                                     Philadelphia, PA 19102




                                                    8
                                                     A008
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 11 of 181 PageID #: 410

                                   Tel: (215) 299-4384
                                   Fax: (215) 981-0719
                                   Email: Karl.Helgerson@KutakRock.com




                                                9
                                     A009
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 12 of 181 PageID #: 411

                                            EXHIBIT A

                                CONFIDENTIAL & PROPRIETARY

                Metropolitan Telecommunications Holding Company Organizational Chart




                                        PUBLIC VERSION




                                          A010
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 13 of 181 PageID #: 412




                                               [REDACTED]




                                    A011
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 14 of 181 PageID #: 413



                                       EXHIBIT B

                            CONFIDENTIAL & PROPRIETARY

                                    Balance sheet of
                   Metropolitan Communications of PA d/b/a/ MetTel
                               as of December 31, 2016.


   There have not been any transactions which occurred between the date of the balance
   sheet and the submission date and there are no major contingent liabilities faced by
   the MetTel at the time of submission.



                                    PUBLIC VERSION




                                           A012
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 15 of 181 PageID #: 414




                                               [REDACTED]




                                    A013
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 16 of 181 PageID #: 415



                                          EXHIBIT C

                                CONFIDENTIAL & PROPRIETARY

                                      Income Statement of
                        Metropolitan Communications of PA d/b/a/ MetTel
                        for the twelve months ending December 31, 2016




                                       PUBLIC VERSION




                                      A014
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 17 of 181 PageID #: 416




                                               [REDACTED]




                                    A015
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 18 of 181 PageID #: 417

                                              EXHIBIT D



           The Plant of MetTel is carried on the books of account at its original cost as required by
    the FCC Part 32 Uniform System of Accounts. (Please see Exhibit B for further details).




                                                  A016
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 19 of 181 PageID #: 418

                                                         EXHIBIT E


                                                      Other Securities

                   MetTel does not own any securities in any other corporation.




                                           A017
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 20 of 181 PageID #: 419

                                                EXHIBIT F

                Statement showing status of MetTel’s funded debt outstanding as of
                                   December 31, 2016.




           MetTel does not carry any funded debt.




                                              A018
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 21 of 181 PageID #: 420

                                                  Exhibit G


                           Capital Stock of MetTel as of December 31, 2016.


    There are 200 shares of capital stock of MetTel authorized for issuance, of which 100 have been
    issued and remain outstanding. There have been no changes in the capital stock of the company
    since the date above.




                                                 A019
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 22 of 181 PageID #: 421

                                                  Exhibit H


                                     Registration Statement with SEC

            No registration statement has been filed with the Securities and Exchange Commission
     under the Securities Act of 1933 with respect to the Second Amended and Restated Credit
     Agreement and related Security Agreement.




                                                A020
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 23 of 181 PageID #: 422

                                           Exhibit I


                        Applications or Declarations filed with the SEC

            No applications or declarations have been filed with the Securities and Exchange
    Commission with respect to the Second Amended and Restated Credit Agreement and related
    Security Agreement under the Public Utility Holding Company Act of 1935.




                                              A021
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 24 of 181 PageID #: 423

                                               Exhibit J


                                         Corporate Consent

           Unanimous Written Consent of MetTel, authorizing the inclusion of MetTel as an additional
    borrower under the Second Amended and Restated Credit Agreement and related Security
    Agreement.




                                                  A022
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 25 of 181 PageID #: 424




                                    A023
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 26 of 181 PageID #: 425




                                    A024
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 27 of 181 PageID #: 426




                                    A025
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 28 of 181 PageID #: 427

                                              Exhibit K

                                            Journal Entry



          No journal entry will be made on the books of accounts of MetTel as a result of the Second
    Amended and Restated Credit Agreement and related Security Agreement.




                                                  A026
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 29 of 181 PageID #: 428


                                                Exhibit L


                                               Verification




                                    A027
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 30 of 181 PageID #: 429




     STATE OF NEW JERSEY                   5
                                           5
     COUNTY OF MONMOUTH                    I
                                               VERIFICATION

             I, Joseph Farano, state that I am the General Counsel of Metropolitan Telecommunications
     Corporation of PA ('MetTelJ; that I am authorized to make this Verification on behalf of MetTel;
     that the foregoing filing was prepared under my direction and supervision; and that the contents are
     true and correct to the best of my knowledge, information, and belief.



                                                              no
                                                           Counsel
                                                              n Telecommunications Corporation   of   PA
                                                   d/b/a MetTel


     SWORN TO AND SUBSCRIBED before me on the 2nd day        of February, 20L7.

                                                              hb"* I,*,
                                                           Notary Public


     My commission expires:    J*w $            )-¿t6




                                                    A028
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 31 of 181 PageID #: 430

                                         PUBLIC VERSION



                                              Before the
                                 Pennsylvania Public Utility Commission


   In the Matter of Registration of            )
                                               )
   Security Certificate of                     )                   Docket No. S-2019-_________
                                               )
   Metropolitan Telecommunications Corporation )
           of PA d/b/a MetTel                  )

                                        Securities Certificate

          Metropolitan Telecommunications Corporation of PA d/b/a MetTel (“MetTel”), by

   undersigned counsel and pursuant to Section 1901 of the Public Utility Code, 66 Pa. C.S. § 1901,

   and Section 3.601 of the Pennsylvania Public Utility Commission’s (“Commission”) regulations, 52

   Pa. Code § 3.601, hereby request the Commission register this Securities Certificate describing

   MetTel’s participation in a financing transaction whereby it will pledge its assets, including the

   Certificate of Public Convenience and Necessity currently held by MetTel for services offered in the

   Commonwealth of Pennsylvania, to guarantee and secure debt in an amount of up to

   approximately $130 million (the “Proposed Transaction”). The Commission approved a similar

   MetTel financing transaction in 2017 in Docket No. S-2017-2589999.

          MetTel’s participation in the financing transaction is conditioned on receiving the applicable

   regulatory approvals, including the grant of the instant request. MetTel respectfully requests that

   the Commission expeditiously grant the requested Securities Certificate no later than its scheduled

   Public Meeting on October 3, 2019 or October 24, 2019, so that the financing transaction may

   proceed on a timely basis.

          In support of this Securities Certificate, MetTel provides the following information:

   I.     DESCRIPTION OF THE REGISTRANT

          MetTel is a privately held corporation organized pursuant to the laws of Delaware whose

   principal business is telecommunications. MetTel is a wholly owned subsidiary of Manhattan




                                                   A029
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 32 of 181 PageID #: 431

                                         PUBLIC VERSION

   Telecommunications Corporation and indirect subsidiary of Metropolitan Telecommunications

   Holding Company (“MetTel Holding”), a privately held Delaware holding company.

           MetTel Holding, through its subsidiaries, is a strategic partner providing a comprehensive

   suite of voice and data solutions as well as telecommunications consulting services to leading

   businesses nationwide. From traditional voice services to MPLS networks and Voice over IP

   technologies, MetTel Holding offers a complete portfolio of products. MetTel was authorized by

   the Commission to provide local and interexchange telecommunications services in Docket Nos.A-

   310933 and A-310933F0002 on August 17, 2000 and expanded local exchange service in Docket

   No. A-2010-2161948, et al., on May 10, 2010 and Docket Nos. A-2011-2269103, et al., on

   December 16, 2011 (the “PA CPCN”).

           In addition to the services provided by MetTel to Pennsylvania customers, MetTel’s

   affiliates are authorized by the various state public service commissions to provide facilities-based

   and/or resold interexchange telecommunications services, and competitive local exchange services

   in 49 other states, the District of Columbia, Puerto Rico, and Canada, pursuant to certification,

   registration or tariff requirements, or on a deregulated basis.

           Further information regarding MetTel’s legal, technical, financial and managerial

   qualifications to provide telecommunications service to customers in Pennsylvania may be found

   in MetTel’s initial application for the PA CPCN as a matter of public record. MetTel respectfully

   requests that the Commission take official notice of the information contained in the Pennsylvania

   application and incorporate it herein for reference.

   II.     Designated Contacts

           Questions, correspondence or other communications concerning this filing should be

   directed to:




                                                   2


                                                   A030
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 33 of 181 PageID #: 432

                                         PUBLIC VERSION

           Amy Blumenthal
           Kutak Rock LLP
           1760 Market Street, Suite 1100
           Philadelphia, PA 19103-4104
           Phone: (215) 586-4188
           Fax:    (215) 981-0719
           Email: amy.blumenthal@kutakrock.com

   With a copy for MetTel to:

           Joseph Farano
           General Counsel
           MetTel
           BellWorks 101 Crawfords Corner Road, #311
           Holmdel, NJ 07733
           Tel: 212-359-5037
           E-mail: jfarano@mettel.net

   And:

            Michael P. Donahue
            Marashlian & Donahue, PLLC
            1420 Spring Hill Road, Suite 401
            McLean, VA 22102
            Tel: (703) 714-1319
            Fax: (703) 563-6222
            Email: mpd@commlawgroup.com

   III.    SECURITIES CERTIFICATE

           Pursuant to Section 3.601 of the Commission’s regulations, 52 Pa. Code § 3.601, MetTel

   submits the following information in support of its request:

           A.      Name and Address of Utility

           Metropolitan Telecommunications Corporation of PA d/b/a MetTel
           BellWorks 101 Crawfords Corner Road, #311
           Holmdel, NJ 07733

           B.      Name and Address of Utility’s Attorney

           Inquires and copies of any correspondence, orders, or other materials pertaining to this

   Securities Certificate should be directed to the contacts provided in Section II, above.

           C.      History and Description of Pennsylvania Services




                                                   3


                                                   A031
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 34 of 181 PageID #: 433

                                          PUBLIC VERSION

           MetTel obtained the PA CPCN on August 7, 2000, and expanded the scope of its authority

   on May 10, 2010 and December 16, 2011. MetTel currently provides competitive resold local

   exchange and interexchange telecommunications services in Pennsylvania pursuant to the PA

   CPCN.

           D.      Corporate Structure

           As   mentioned    above,    MetTel    is       a   wholly   owned   subsidiary   of   Manhattan

   Telecommunications Corporation and indirect subsidiary of MetTel Holding, a privately held

   Delaware holding company. A chart depicting the corporate organizational structure of MetTel

   Holding is attached hereto as Exhibit A.

           E.      Description of the Proposed Transaction

           MetTel Holding, and all of its direct and indirect subsidiaries, including MetTel, will enter

   into a Third Amended and Restated Credit Agreement (“Agreement”) with certain of such

   subsidiaries (other than MetTel) (collectively, the “Borrowers”) also entering into a related Security

   Agreement with JPMorgan Chase Bank, N.A. (“JP Morgan”). JP Morgan shall serve as the

   Administrative Agent under the Agreement for a series of lenders. MetTel Holding chose JP Morgan

   as Administrative Agent due to the company’s well known and longstanding reputation and ability

   to provide favorable terms to MetTel. Pursuant to the Agreement, MetTel Holding will receive a

   revolving credit facility of $60,000,000 (with the ability to increase by up to an additional

   $30,000,000, to $90,000,000) and additional term loan capacity of up to $40,000,000 under a

   Senior Secured Term Loan.

           The obligations of the revolving credit facility and the additional term loan capacity shall

   be secured by a security interest in all of the assets of the Borrowers. While MetTel is not a

   Borrower under the Agreement, it will act it will act as a Guarantor of MetTel Holding and the

   other Borrowers. As such, Manhattan Telecommunications will be jointly and severally liable for




                                                      4


                                                      A032
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 35 of 181 PageID #: 434

                                         PUBLIC VERSION

   the full amount of the proceeds of the credit facility and term loan. The proceeds of the credit

   facility will be used for general corporate purposes, dividends and/or acquisitions.

          MetTel’s assets, including the PA CPCN, will not be collateralized to secure the additional

   debt until the Commission authorizes the Proposed Transaction.

          The Agreement is intended to sustain MetTel’s provisioning of competitive services and to

   enable MetTel and its owners to improve the operational and cost efficiencies of its business. The

   transaction will directly benefit Pennsylvania customers by facilitating the continued provision of

   innovative, high-quality telecommunications services to the public and thereby promoting

   competition in the Pennsylvania telecommunications market.

          MetTel therefore requests Commission authorization, to the extent necessary, for MetTel

   to pledge its assets as security for the Proposed Transaction in an aggregate amount of up to

   $130 million consistent with the parameters outlined above.

           As specifically requested in Section 3.601(5)(iv) of the Commission’s rules, MetTel provides

   the following:

                    (1)   Nominal date of issue

           MetTel and its lenders desire to consummate the proposed Transaction as quickly as

   possible after they receive the applicable regulatory approvals. They will notify the Commission

   once the Proposed Transaction has been consummated and MetTel has been added as a

   guarantor.

                    (2)    Date of maturity

           Except for the revolving credit facility, the specific maturity date of the debt instruments

   comprising the Proposed Transaction will be subject to negotiations between MetTel and its

   lenders and will be subject to credit conditions at the time they are negotiated and issued. The

   revolving credit facility will not have a maturity date. MetTel expects that the debt instruments

   will mature within five (5) years of issuance, subject to any acceleration clauses that may be




                                                   5


                                                   A033
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 36 of 181 PageID #: 435

                                         PUBLIC VERSION

   negotiated between MetTel and its lenders. To maintain flexibility in its negotiations, MetTel

   requests Commission approval to participate in debt instruments with a maturity date of up to ten

   (10) years after issuance.

                   (3)       Interest rate and payment dates

           The interest rates will reflect market rates for similar financing and will not be determined

   until the various debt instruments are finalized. MetTel foresees that the interest rates could be

   fixed rates based on a currently recognized rate index such as LIBOR of the Federal Funds Rate

   with potential additional margin rates, a floating rate consisting of a base rate with a float rate

   based on a currently recognized rate index in addition to any applicable margin rate, or a

   combination of fixed and floating rates. To maintain flexibility in its negotiations, MetTel requests

   Commission approval to participate in debt instruments with interest rates that reflect current

   market conditions for similar types of instruments.

                   (4)       Extent to which taxes on securities are assumed by the issuer

           Not applicable.

                   (5)       Callability and conversion provisions

           Not applicable.

                   (6)       Maintenance

           MetTel will maintain its debt pursuant to the terms negotiated with its lenders. MetTel

   does not foresee that there will be any non-standard debt maintenance requirements placed on it

   by the lenders. MetTel can notify the Commission of the maintenance terms post-consummation

   of the Proposed Transaction.

                   (7)       Depreciation and sinking or other fund provision

           Not applicable.

                   (8)       Name and address of trustee and whether affiliated with the
                             public utility




                                                   6


                                                    A034
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 37 of 181 PageID #: 436

                                         PUBLIC VERSION

           There is no trustee in the proposed transaction. JP Morgan shall serve as Administrative

   Agent for the Proposed Transactions. JP Morgan’s address is as follows:

                       JP Morgan Chase Bank, N.A.
                       270 Park Avenue, 42nd Floor
                       New York, New York 10017-2014

           F.       Use of the Proceeds

           The proceeds of the revolving credit facility will be used for general corporate purposes of

   MetTel Holdings and its affiliates, including MetTel, while the proceeds of the additional term loan

   capacity will be used for dividends and/or acquisitions. Potential acquisitions have yet to be

   identified, but MetTel can update the Commission when and if plans for future acquisitions become

   more concrete.

           G.       Filings with the Securities and Exchange Commission

          As MetTel Holding is a private company and this transaction is not subject to the

   registration requirements of the Securities Act of 1933, as amended, there will not be any filings

   made with the Securities and Exchange Commission related to this transaction.

          H.        Section 3.601(c)(9) Requirements

          In accordance with 52 Pa. Code § 3.601(c)(9), MetTel respectfully attaches hereto and

   makes part hereof the following exhibits:

          Exhibit A       CONFIDENTIAL & PROPRIETARY - Metropolitan Telecommunications
                          Holding Company Organizational Chart

          Exhibit B       CONFIDENTIAL & PROPRIETARY - Balance sheet of MetTel as of
                          December 31, 2018 (the most recent balance sheets available).

          Exhibit C       CONFIDENTIAL & PROPRIETARY - Income statement of MetTel as of
                          December 31, 2018 (the most recent income statements available).

          Exhibit D       A statement with respect to the plant accounts appearing on the balance
                          sheets referred to in Exhibit B.

          Exhibit E       A statement of securities of other corporations and entities owned by
                          MetTel.




                                                   7


                                                   A035
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 38 of 181 PageID #: 437

                                          PUBLIC VERSION

           Exhibit F       CONFIDENTIAL & PROPRIETARY - A statement showing the status of
                           MetTel’s funded debt outstanding as of December 31, 2018. (No material
                           changes in the funded debt outstanding have taken place since December
                           31, 2018.)

           Exhibit G       A statement showing the status of MetTel's Capital Stock as of December
                           31, 2018. (No material changes in the Capital Stock have taken place since
                           December 16, 2018.)

           Exhibit H       A statement that no registration statement has been filed with the
                           Securities and Exchange Commission under the Securities Act of 1933 with
                           respect to the Second Amended and Restated Credit Agreement and
                           related Security Agreement.

           Exhibit I       A statement that no applications or declarations have been filed with the
                           Securities and Exchange Commission with respect to the Second Amended
                           and Restated Credit Agreement and related Security Agreement pursuant
                           to the Public Utility Holding Company Act of 1935.

           Exhibit J       A copy of the resolutions of the officers of MetTel authorizing the inclusion
                           of MetTel as a Guarantor under the Third Amended and Restated Credit
                           Agreement and related Security Agreement.

           Exhibit K       A statement that no journal entry will be made on the books of account of
                           MetTel as a result of the Third Amended and Restated Credit Agreement
                           and related Security Agreement.

           Exhibit L       Affidavit of an Officer of MetTel in the form prescribed by 52 Pa. Code §§
                           1.35 and 1.36.

           MetTel notes that copies of the Third Amended and Restated Credit Agreement and related

   Security Agreement are not provided with this Security Certificate as they have not been finalized

   as of the date of submission. MetTel will provide the Commission with copies of these agreements

   upon request as soon as they are completed.

   IV.     PUBLIC INTEREST CONSIDERATIONS

           Consummation of the Proposed Transaction will serve the public interest in promoting

   competition among telecommunications carriers by providing MetTel with the opportunity to

   strengthen its competitive position by providing additional working capital and the ability to finance

   acquisitions to enhance the company’s services. The financing arrangements are necessary and

   appropriate, will not impair MetTel’s ability to perform such services to the public, and will promote




                                                    8


                                                   A036
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 39 of 181 PageID #: 438

                                          PUBLIC VERSION

   the corporate purposes of MetTel. The Proposed Transaction will not involve an assignment of

   the PA CPCN or a change in the day-to-day operations of the certificated company. In addition,

   there will be no change in the services offered to MetTel’s customers or the rates for MetTel’s

   regulated services. The transaction will be completely transparent to MetTel’s customers.

             WHEREFORE, MetTel respectfully requests that the Commission promptly approve the

   above-referenced financing arrangement, register this Abbreviated Securities Certificate, and issue

   a Notice of Registration, pursuant to Sections 1901 of the Public Utility Code, 66 Pa. C.S. § 1901,

   and Section 3.602(c) of the Commission’s regulations, 52 Pa. Code § 3.602(c), and the interrelated

   affiliate transaction, if necessary, under Section 2102 of the Public Utility Code, 66 Pa. C.S. § 2102,

   as soon as possible authorizing MetTel to participate in the financing arrangements described

   herein.

             As required by the Commission’s rules, a filing fee in the amount of $25.00 is being paid

   by credit card through the Commission’s eFiling system.            Please acknowledge receipt and

   acceptance of this filing. Please do not hesitate to contact us if you have any questions.

                                    Respectfully submitted,



                                        /s/ Amy Blumenthal
                                    Amy Blumenthal
                                    Kutak Rock LLP
                                    Two Liberty Place
                                    1760 Market Street, Suite 1100
                                    Philadelphia, PA 19103-4104
                                    Phone: (215) 586-4188
                                    Fax:     (215) 981-0719
                                    Email: amy.blumenthal@kutakrock.com

   Dated: September 30, 2019




                                                    9


                                                    A037
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 40 of 181 PageID #: 439

                                  PUBLIC VERSION

                                       EXHIBIT A

                            CONFIDENTIAL & PROPRIETARY

          Metropolitan Telecommunications Holding Company Organizational Chart




                                        A038
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 41 of 181 PageID #: 440

                                            PUBLIC VERSION

                                              [REDACTED]




                                    A039
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 42 of 181 PageID #: 441

                                      PUBLIC VERSION

                                          EXHIBIT B

                                CONFIDENTIAL & PROPRIETARY

                                         Balance sheet of
                        Metropolitan Communications of PA d/b/a/ MetTel
                                    as of December 31, 2018.




                                      A040
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 43 of 181 PageID #: 442

                                           PUBLIC VERSION




                                              [REDACTED]




                                    A041
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 44 of 181 PageID #: 443

                                     PUBLIC VERSION



                                         EXHIBIT C

                               CONFIDENTIAL & PROPRIETARY

                                     Income Statement of
                       Metropolitan Communications of PA d/b/a/ MetTel
                       for the twelve months ending December 31, 2018




                                     A042
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 45 of 181 PageID #: 444

                                           PUBLIC VERSION




                                              [REDACTED]




                                    A043
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 46 of 181 PageID #: 445

                                        PUBLIC VERSION

                                             EXHIBIT D



   The Plant of MetTel is carried on the books of account at its original cost as required by the FCC
   Part 32 Uniform System of Accounts. (Please see Exhibit B for further details).




                                                  A044
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 47 of 181 PageID #: 446

                                         PUBLIC VERSION

                                              EXHIBIT E


                                          Other Securities

                      MetTel does not own any securities in any other corporation.




                                         A045
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 48 of 181 PageID #: 447

                                  PUBLIC VERSION

                                      EXHIBIT F

                           CONFIDENTIAL & PROPRIETARY

    Statement showing status of MetTel’s funded debt outstanding as of December 31,
                                         2018.




                                        [REDACTED]




                                          A046
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 49 of 181 PageID #: 448

                                       PUBLIC VERSION

                                             Exhibit G


                       Capital Stock of MetTel as of December 31, 2018.


   There are 200 shares of capital stock of MetTel authorized for issuance, of which 100 have been
   issued and remain outstanding. There have been no changes in the capital stock of the company
   since the date above.




                                                A047
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 50 of 181 PageID #: 449

                                      PUBLIC VERSION

                                           Exhibit H


                              Registration Statement with SEC

          No registration statement has been filed with the Securities and Exchange Commission
   under the Securities Act of 1933 with respect to the Second Amended and Restated Credit
   Agreement and related Security Agreement.




                                              A048
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 51 of 181 PageID #: 450

                                    PUBLIC VERSION

                                          Exhibit I


                       Applications or Declarations filed with the SEC

           No applications or declarations have been filed with the Securities and Exchange
   Commission with respect to the Second Amended and Restated Credit Agreement and related
   Security Agreement under the Public Utility Holding Company Act of 1935.




                                             A049
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 52 of 181 PageID #: 451

                                    PUBLIC VERSION

                                          Exhibit I


                       Applications or Declarations filed with the SEC

           No applications or declarations have been filed with the Securities and Exchange
   Commission with respect to the Second Amended and Restated Credit Agreement and related
   Security Agreement under the Public Utility Holding Company Act of 1935.




                                             A050
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 53 of 181 PageID #: 452

                                       PUBLIC VERSION

                                             Exhibit J


                                       Corporate Consent

          Unanimous Written Consent of MetTel, authorizing the inclusion of MetTel as a Guarantor
   under the Third Amended and Restated Credit Agreement and related Security Agreement.




                                                A051
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 54 of 181 PageID #: 453




              CONSOLIDATED UNANIMOUS WRITTEN CONSENT OF
         THE SOLE EQUITY HOLDER AND THE BOARDS OF DIRECTORS OF
  SUBSIDIARIES OF METROPOLITAN TELECOMMUNICATIONS HOLDING COMPANY


        The undersigned, being the sole equity holder (whether as a stockholder, shareholder, or
otherwise) (the “Sole Equity Holder”), and all of the members of the Boards of Directors (each, a
“Board”; together with the Sole Equity Holder, the “Undersigned”), of certain direct or indirect
subsidiaries (each such subsidiary referred to as a “Company” and listed on Schedule 1 hereto) of
Metropolitan Telecommunications Holding Company, a Delaware corporation (“MetTel Holding
Company”) who are a party to that certain Third Amended and Restated Credit Agreement (as hereinafter
defined), acting by written consent without a meeting, do hereby consent to and approve, effective as of
the 26 day of September 2019, the following resolutions and each and every action effected thereby:

         WHEREAS, certain Companies have previously entered into an Amended and Restated Credit
Agreement dated as of October 3, 2013, by and among MetTel Holding Company, certain direct and
indirect subsidiaries of MetTel Holding Company (collectively, the “Initial Borrowers”), Metropolitan
Telecommunications of Colorado, Inc. (“MetTel Colorado”), Metropolitan Telecommunications of
Indiana, Inc. (“MetTel Indiana”), and JPMorgan Chase Bank, N.A. (“JPM”) as the Administrative Agent
and a Lender (as amended by the First Amendment dated as of December 19, 2013, the Second
Amendment dated as of February 7, 2014, the Third Amendment and Waiver dated as of June 20, 2014,
the Fourth Amendment dated as of October 14, 2014, the Fifth Amendment dated as of December 19,
2014, the Sixth Amendment dated as of August 13, 2015, the Seventh Amendment dated as of September
2, 2015, the Eighth Amendment dated as of December 21, 2016, the Ninth Amendment dated as of
September 1, 2017 (as so amended, the “First Amended and Restated Credit Agreement”); and

         WHEREAS, the First Amended and Restated Credit Agreement was further amended and
restated by that certain Second Amended and Restated Credit Agreement dated as of September 29, 2017,
as amended by the First Amendment dated as of March 26, 2018, the Second Amendment dated as of
September 28, 2018, and the Third Amendment and Waiver dated as of June 20, 2019 (as so amended, the
“Existing Credit Agreement”); and

         WHEREAS, each Board has determined that it is desirable and in the best interest of its
respective Company to (i) further amend and restate the Existing Credit Agreement in the form of the
Third Amended and Restated Credit Agreement (as hereinafter defined), (ii) further amend and restate the
Amended and Restated Pledge and Security Agreement, dated as of September 29, 2017, among the
Initial Borrowers, certain other direct and indirect subsidiaries of MetTel Holding Company (each such
subsidiary, together with the Initial Borrowers, the “Applicable Subsidiaries”), MetTel Colorado, MetTel
Indiana, and the Administrative Agent in the form of the Second Amended and Restated Pledge and
Security Agreement, (iii) remove certain Applicable Subsidiaries as Borrowers (as defined in the Existing
Credit Agreement) under the Existing Credit Agreement and reinstate such subsidiaries as Guarantors
under and as defined in the Third Amended and Restated Credit Agreement, (iv) make certain other
modifications to the credit arrangement under the Existing Credit Agreement and the “Loan Documents”
referred to therein, and (v) do all other transactions related thereto or contemplated thereby as hereinafter
set forth in these resolutions.

                                    CREDIT FACILITY RESOLUTIONS

        WHEREAS, each Board has determined that it is desirable and in the best interest of its
respective Company to enter into the following agreements (collectively referred to as the “Transaction


                                                     1

                                                     A052
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 55 of 181 PageID #: 454


Agreements”):

            (i)    Third Amended and Restated Credit Agreement (the “Third Amended and Restated
                   Credit Agreement”), by and among MetTel Holding Company and each of its
                   Applicable Subsidiaries that are Borrowers as identified therein (collectively,
                   “Borrowers”), any additional entity that from time to time becomes a “Borrower”
                   thereunder, the Applicable Subsidiaries that are Guarantors as identified therein
                   (“Guarantors”), any additional entity that from time to time becomes a “Guarantor”
                   thereunder, each financial institution that from time to time is a “Lender” thereunder,
                   JPM, in its capacity as Administrative Agent for the Lenders, Sole Bookrunner and Sole
                   Lead Arranger, and Wells Fargo Bank, N.A. (“Wells Fargo”), as Syndication Agent,
                   providing for (a) a term loan in the aggregate amount of $40,000,000, and (b) revolving
                   loans in the initial aggregate amount of $60,000,000;

            (ii)   Fourth Amended and Restated Revolving Loan Promissory Note, in the amount of
                   $27,000,000, made by the Borrowers in favor of JPM (the “JPMorgan Revolving
                   Note”);

            (iii) Amended and Restated Revolving Loan Promissory Note, in the amount of
                  $18,000,000, made by the Borrowers in favor of Wells Fargo (the “Wells Fargo
                  Revolving Note”);

            (iv) Revolving Loan Promissory Note, in the amount of $15,000,000, made by the
                 Borrowers in favor of Citizens Bank, N.A. (“Citizen’s Bank”) (the “Citizen’s Bank
                 Revolving Note”);

            (v)    Amended and Restated Term Loan Promissory Note, in the amount of $18,000,000,
                   made by the Borrowers in favor of JPM (the “JPMorgan Term Note”);

            (vi) Amended and Restated Term Loan Promissory Note, in the amount of $12,000,000,
                 made by the Borrowers in favor of Wells Fargo (the “Wells Fargo Term Note”);

            (vii) Term Loan Promissory Note, in the amount of $10,000,000, made by the Borrowers in
                  favor of Citizen’s Bank (the “Citizen’s Bank Term Note”);

            (viii) Second Amended and Restated Pledge and Security Agreement among the Borrowers
                   and the Administrative Agent (the “Second Amended and Restated Security
                   Agreement”); and

       WHEREAS, the latest drafts of the Transaction Agreements have been presented to, reviewed by
and approved by, each Board.

        NOW, THEREFORE, BE IT RESOLVED, that each Company is hereby authorized,
empowered and directed by its respective Board and Sole Equity Holder to (i) to enter into the
Transaction Agreements, substantially in the form presented to each Company’s respective Board with
such changes, additions and modifications thereto as each respective Company's Chief Executive Officer,
President, Executive Vice President, Chief Operating Officer, Treasurer, or Secretary (each an
“Authorized Officer” and collectively, the “Authorized Officers”), acting singly, may approve (the
“Approved Changes”), such approval to be conclusively evidenced by the execution thereof by such
Authorized Officer, and (ii) perform its respective obligations under the Transaction Agreements; and it is
further

        RESOLVED, that the forms, terms, and provisions of the Transaction Agreements, each


                                                    2

                                                    A053
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 56 of 181 PageID #: 455


substantially in the form presented to each Board, together with any Approved Changes, be, and they
hereby are, authorized and approved in all respects; and it is further

        RESOLVED, that the Authorized Officers be, and each hereby is, acting singly, authorized and
directed to execute and deliver the Transaction Agreements, in the name of and on behalf of each
Company; and it is further

         RESOLVED, that the Authorized Officers be, and each hereby is, acting singly, authorized and
empowered and directed, in the name of and on behalf of each Company, to negotiate, execute, deliver,
record and/or file all documents, agreements and instruments (including, without limitation, (i) Uniform
Commercial Code financing statements or termination statements, as applicable, in the name and on
behalf of each Company relating to any collateral in possession of each Company, as applicable, and (ii)
any notices or other filings required by the FCC, any State Public Utility Commissions or similar
governing entities), and to do any and all other acts as may be required or as they, or any of them, may
deem necessary or appropriate to carry out and perform, to give effect to, or to cause each Company, as
applicable, to enter in to and comply with, the terms of, or the transactions contemplated by, the Third
Amended and Restated Credit Agreement, the other Transaction Agreements and any other related
agreement or document that any Authorized Officer may deem necessary or advisable to consummate the
transactions contemplated by the foregoing and to honor and discharge its obligations thereunder; and it is
further

        RESOLVED, that the form, terms and provisions of and the transactions contemplated by the
various agreements, instruments and documents referred to in or contemplated by the Transaction
Agreements be and hereby are authorized and approved in all respects.

                                        GENERAL RESOLUTIONS

         RESOLVED, that the Authorized Officers be, and each hereby is, acting singly, authorized,
empowered and directed, for and on behalf of each respective Company, to take any and all actions, to
negotiate for and enter into agreements and amendments or waivers to agreements, to perform all such
acts and things, to execute, file, deliver or record in the name and on behalf of each Company, all such
certificates, instruments, agreements or other documents, to engage such advisors, and to make all such
payments as they, in their judgment, or in the judgment of any one or more of them, may deem necessary,
advisable or appropriate in order to carry out the purpose and intent of, or consummate the transactions
contemplated by, the foregoing resolutions and/or all of the transactions contemplated therein or thereby,
the authorization therefor to be conclusively evidenced by the taking of such action or the execution and
delivery of such certificates, instruments, agreements or documents; and it is further

         RESOLVED, that the omission from these resolutions of any agreement, document or other
arrangement contemplated by any of the agreements, documents or instruments described in the foregoing
resolutions or any action to be taken in accordance with any requirement of any of the agreements,
documents or instruments described in the foregoing resolutions shall in no manner derogate from the
authority of the Authorized Officers to take all actions necessary, desirable, advisable or appropriate to
consummate, effectuate, carry out or further the transactions contemplated by, and the intent and purposes
of, the foregoing resolutions; and be it further

         RESOLVED, that all actions heretofore taken by any Authorized Officer, director, employee or
agent of each Company in connection with the foregoing transactions contemplated by the foregoing
resolutions be, and they hereby are, authorized, ratified and approved in all respects; and be it further

        RESOLVED, that these resolutions of each Board may be delivered by facsimile or other
electronically transmitted means in any number of counterparts, all of which shall be valid as originals



                                                    3

                                                    A054
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 57 of 181 PageID #: 456


and deemed to be one and the same instrument; and be it further

        RESOLVED, that the Secretary of each Company is hereby authorized to certify and deliver, to
any person to whom such certification and delivery may be deemed necessary or appropriate in the
opinion of such Secretary, a true copy of the foregoing resolutions.

                                      [Signature Page to Follow]




                                                   4

                                                   A055
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 58 of 181 PageID #: 457




                                    A056
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 59 of 181 PageID #: 458




                                    A057
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 60 of 181 PageID #: 459

                                       PUBLIC VERSION

                                             Exhibit K

                                           Journal Entry



         No journal entry will be made on the books of accounts of MetTel as a result of the Third
   Amended and Restated Credit Agreement and related Security Agreement.




                                                A058
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 61 of 181 PageID #: 460

                                            PUBLIC VERSION


                                                Exhibit L


                                               Verification




                                    A059
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 62 of 181 PageID #: 461




                                    A060
   Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 63 of 181 PageID #: 462




                                          UNITED STATES SECURITIES AND EXCHANGE COMMISSION
                                                          Washington, D.C. 20549

                                                                         FORM 10-Q
                     ☑              Quarterly Report Pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934
                                                        For the quarterly period ended March 31, 2020
                                                                               or
                     ☐              Transition Report Pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934
                          For the transition period from ____ to ____



                                                            Commission File Number 001-35965

                                                GTT Communications, Inc.
                                                     (Exact Name of Registrant as Specified in Its Charter)

                                   Delaware                                                                      XX-XXXXXXX
                         (State or Other Jurisdiction of                                             (I.R.S. Employer Identification No.)
                         Incorporation or Organization)

                            7900 Tysons One Place
                                  Suite 1450
                               McLean Virginia                                                                     22102
                   (Address of principal executive offices)                                                      (Zip code)


                                                                        (703) 442-5500
                                                     (Registrant's telephone number, including area code)

                                                   Securities registered pursuant to Section 12(b) of the Act:

                          Title of each class                       Trading Symbol(s)             Name of each exchange on which registered
             Common stock, par value $.0001 per share                      GTT                            The New York Stock Exchange
         Series A Junior Participating Cumulative Preferred
                       Stock Purchase Rights


Indicate by check mark whether the registrant (1) has filed all reports required to be filed by Section 13 or 15 (d) of the Securities Exchange Act of 1934
during the preceding 12 months (or for such shorter period that the registrant was required to file such reports), and (2) has been subject to such filing
requirements for the past 90 days. Yes ☑ No ☐

Indicate by check mark whether the registrant has submitted electronically every Interactive Data File required to be submitted pursuant to Rule 405 of
Regulation S-T (§232.405 of this chapter) during the preceding 12 months (or for such shorter period that the registrant was required to submit such files).
Yes ☑ No ☐

Indicate by check mark whether the registrant is a large accelerated filer, an accelerated filer, a non-accelerated filer, a smaller reporting company, or an
emerging growth company. See definitions of "large accelerated filer," "accelerated filer," "smaller reporting company," and "emerging growth company" in
Rule 12b-2 of the Exchange Act.
                           Large Accelerated Filer                 ☑                     Accelerated Filer                     ☐
                           Non-Accelerated Filer                   ☐                     Smaller reporting company             ☐
                                                                                         Emerging growth company               ☐


If an emerging growth company, indicate by check mark if the registrant has elected not to use the extended transition period for complying with any new
or revised financial accounting standards provided pursuant to Section 13(a) of the Exchange Act. ☐




                                                                            A061
  Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 64 of 181 PageID #: 463




Indicate by check mark whether the registrant is a shell company (as defined in Rule 12b-2 of the Exchange Act). Yes ☐ No ☑

As of May 6, 2020, 58,819,538 shares of common stock, par value $.0001 per share, of the registrant were outstanding.




                                                                        A062
  Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 65 of 181 PageID #: 464




                                                                                                Page
PART I — FINANCIAL INFORMATION                                                                    4
Item 1. Financial Statements                                                                      4
  Condensed Consolidated Balance Sheets                                                           4
  Condensed Consolidated Statements of Operations                                                 5
  Condensed Consolidated Statements of Comprehensive Loss                                         6
  Condensed Consolidated Statements of Stockholders’ Equity                                       7
  Condensed Consolidated Statements of Cash Flows                                                 8
  Notes to Condensed Consolidated Financial Statements                                           10
Item 2. Management’s Discussion and Analysis of Financial Condition and Results of Operations    28
Item 3. Quantitative and Qualitative Disclosures about Market Risk                               39
Item 4. Controls and Procedures                                                                  40
PART II — OTHER INFORMATION                                                                      42
Item 1. Legal Proceedings                                                                        42
Item 1A. Risk Factors                                                                            42
Item 2. Unregistered Sales of Equity Securities and Use of Proceeds                              42
Item 3. Defaults Upon Senior Securities                                                          42
Item 4. Mine Safety Disclosures                                                                  43
Item 5. Other Information                                                                        43
Item 6. Exhibits                                                                                 44
SIGNATURES                                                                                       45
CERTIFICATIONS




                                                                         3




                                                                      A063
  Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 66 of 181 PageID #: 465




                                                         PART I – FINANCIAL INFORMATION

ITEM 1. FINANCIAL STATEMENTS
                                                               GTT Communications, Inc.
                                                        Condensed Consolidated Balance Sheets
                                                                         (Unaudited)
                                                  (Amounts in millions, except for share and per share data)
                                                                                                      March 31, 2020              December 31, 2019
                                            ASSETS
Current assets:
 Cash and cash equivalents                                                                    $                    106.4      $                  41.8
 Accounts receivable, net of allowances of $23.0 and $14.3, respectively                                           149.9                        162.1
 Prepaid expenses and other current assets                                                                             82.1                      50.4
Total current assets                                                                                               338.4                        254.3
Property and equipment, net                                                                                      1,765.4                      1,817.4
Operating lease right of use assets                                                                                335.9                        357.5
Intangible assets, net                                                                                             465.4                        490.7
Goodwill                                                                                                         1,763.7                      1,768.6
Other long-term assets                                                                                                 70.2                      69.2
Total assets                                                                                  $                  4,739.0      $               4,757.7
                    LIABILITIES AND STOCKHOLDERS’ EQUITY
Current liabilities:
 Accounts payable                                                                             $                    101.4      $                  69.4
 Accrued expenses and other current liabilities                                                                    273.4                        240.8
 Operating lease liabilities                                                                                           72.6                      74.9
 Finance lease liabilities                                                                                              5.4                       4.6
 Long-term debt, current portion                                                                                       29.6                      30.2
 Deferred revenue                                                                                                      83.8                      67.0
Total current liabilities                                                                                          566.2                        486.9
Operating lease liabilities, long-term portion                                                                     254.7                        272.9
Finance lease liabilities, long-term portion                                                                           36.4                      37.3
Long-term debt, long-term portion                                                                                3,228.4                      3,192.6
Deferred revenue, long-term portion                                                                                255.2                        266.5
Deferred tax liabilities                                                                                           167.7                        171.3
Other long-term liabilities                                                                                            33.6                      39.1
Total liabilities                                                                                                4,542.2                      4,466.6
Commitments and contingencies
Stockholders’ equity:
 Common stock, par value $.0001 per share, 80,000,000 shares authorized, 58,451,083 and
 56,686,459 shares issued and outstanding as of March 31, 2020 and December 31, 2019,
 respectively                                                                                                           —                             —
 Additional paid-in capital                                                                                        850.4                        842.4
 Accumulated deficit                                                                                              (566.6)                      (474.2)
 Accumulated other comprehensive loss                                                                              (87.0)                       (77.1)
Total stockholders’ equity                                                                                         196.8                        291.1
Total liabilities and stockholders’ equity                                                    $                  4,739.0      $               4,757.7


                               The accompanying notes are an integral part of these Condensed Consolidated Financial Statements



                                                                              4




                                                                          A064
 Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 67 of 181 PageID #: 466




                                                              GTT Communications, Inc.
                                                   Condensed Consolidated Statements of Operations
                                                                       (Unaudited)
                                                 (Amounts in millions, except for share and per share data)

                                                                                                              Three Months Ended March 31,
                                                                                                          2020                        2019
Revenue:
 Telecommunications services                                                                  $                      424.7    $              450.2

Operating expenses:
 Cost of telecommunications services                                                                                 237.7                   241.8
 Selling, general and administrative expenses                                                                        108.2                   104.1
 Severance, restructuring and other exit costs                                                                         2.1                      2.8
 Depreciation and amortization                                                                                        67.5                     62.8
Total operating expenses                                                                                             415.5                    411.5
Operating income                                                                                                       9.2                     38.7

Other expenses:
 Interest expense, net                                                                                               (48.8)                   (48.2)
 Loss on debt extinguishment                                                                                          (2.3)                     —
 Other expenses, net                                                                                                 (43.3)                   (16.0)
Total other expenses                                                                                                 (94.4)                   (64.2)
Loss before income taxes                                                                                             (85.2)                   (25.5)
(Benefit from) provision for income taxes                                                                             (1.9)                     1.8
Net loss                                                                                      $                      (83.3)   $               (27.3)
Loss per share:
 Basic                                                                                        $                      (1.45)   $               (0.49)
 Diluted                                                                                      $                      (1.45)   $               (0.49)

Weighted average shares:
 Basic                                                                                                          57,259,699               55,839,212
 Diluted                                                                                                        57,259,699               55,839,212


                           The accompanying notes are an integral part of these Condensed Consolidated Financial Statements




                                                                             5




                                                                         A065
 Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 68 of 181 PageID #: 467




                                                           GTT Communications, Inc.
                                             Condensed Consolidated Statements of Comprehensive Loss
                                                                   (Unaudited)
                                                              (Amounts in millions)

                                                                                                        Three Months Ended March 31,
                                                                                                       2020                     2019
Net loss                                                                                   $                    (83.3)    $            (27.3)

Other comprehensive loss:
 Foreign currency translation adjustment                                                                          (9.9)                (35.9)
Comprehensive loss                                                                         $                    (93.2)    $            (63.2)


                            The accompanying notes are an integral part of these Condensed Consolidated Financial Statements




                                                                           6




                                                                       A066
  Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 69 of 181 PageID #: 468




                                                            GTT Communications, Inc.
                                              Condensed Consolidated Statements of Stockholders’ Equity
                                                                    (Unaudited)
                                                      (Amounts in millions, except for share data)
                                                                                                                    Accumulated
                                                             Common Stock                Additional                    Other
                                                                                          Paid-In      Accumulated Comprehensive
                                                         Shares           Amount          Capital         Deficit      Loss                 Total
Balance, December 31, 2019                              56,686,459    $          —   $        842.4    $    (474.2)    $       (77.1)   $     291.1
 Adoption of ASU 2016-13                                       —                 —              —              (9.1)             —             (9.1)
 Share-based compensation for restricted stock
 issued                                                  1,764,788               —              8.2             —                —              8.2
 Tax withholding related to the vesting of restricted
 stock                                                    (23,783)               —             (0.3)            —                —             (0.3)
 Stock issued in connection with employee stock
 purchase plan                                             23,619                —              0.1             —                —              0.1
 Net loss                                                      —                 —              —            (83.3)              —            (83.3)
 Foreign currency translation                                  —                 —              —               —               (9.9)          (9.9)
Balance, March 31, 2020                                 58,451,083    $          —   $        850.4    $    (566.6)    $       (87.0)   $     196.8


                                                                                                                    Accumulated
                                                             Common Stock                Additional                    Other
                                                                                          Paid-In      Accumulated Comprehensive
                                                         Shares           Amount          Capital         Deficit      Loss                 Total
Balance, December 31, 2018                              55,625,149    $          —   $        809.9    $    (368.3)    $       (26.9)   $     414.7
 Share-based compensation for options issued                   —                 —              0.2             —                —              0.2
 Share-based compensation for restricted stock
 issued                                                   562,385                —              8.5             —                —              8.5
 Tax withholding related to the vesting of restricted
 stock                                                      (9,307)              —             (0.3)            —                —             (0.3)
 Stock issued in connection with employee stock
 purchase plan                                             14,061                —              0.1             —                —              0.1
 Stock issued in connection with acquisitions               (6,954)              —             (0.3)            —                —             (0.3)
 Stock options exercised                                   41,704                —              0.4             —                —              0.4
 Net loss                                                      —                 —              —            (27.3)              —            (27.3)
 Foreign currency translation                                  —                 —              —               —              (35.9)         (35.9)
Balance, March 31, 2019                                 56,227,038    $          —   $        818.5    $    (395.6)    $       (62.8)   $     360.1


                            The accompanying notes are an integral part of these Condensed Consolidated Financial Statements



                                                                           7




                                                                          A067
  Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 70 of 181 PageID #: 469




                                                              GTT Communications, Inc.
                                                    Condensed Consolidated Statements of Cash Flows
                                                                      (Unaudited)
                                                                (Amounts in millions)

                                                                                                      Three Months Ended March 31,
                                                                                                        2020                2019
Cash flows from operating activities:
Net loss                                                                                          $            (83.3)   $          (27.3)
Adjustments to reconcile net loss to net cash provided by operating activities:
 Depreciation and amortization                                                                                  67.5                62.8
 Share-based compensation                                                                                        8.3                 8.7
 Debt discount amortization                                                                                      1.8                 1.9
 Loss on debt extinguishment                                                                                     2.3                 —
 Amortization of debt issuance costs                                                                             1.4                 1.2
 Change in fair value of derivative financial liability                                                         33.5                15.3
 Excess tax benefit from stock-based compensation                                                                1.0                 0.3
 Deferred income taxes                                                                                          (4.5)                1.0
Changes in operating assets and liabilities, net of acquisitions:
 Accounts receivable, net                                                                                        0.2               (53.7)
 Prepaid expenses and other current assets                                                                     (32.5)               (5.4)
 Other long-term assets                                                                                          9.7                 1.8
 Accounts payable                                                                                               26.2                12.1
 Accrued expenses and other current liabilities                                                                  3.0               (12.1)
 Operating lease liabilities                                                                                     2.1                 —
 Deferred revenue                                                                                                9.7                 2.6
 Other long-term liabilities                                                                                    (4.9)                6.9
Net cash provided by operating activities                                                                       41.5                16.1


Cash flows from investing activities:
Acquisition of businesses, net of cash acquired                                                                  —                  (0.5)
Purchases of property and equipment                                                                            (22.0)              (32.1)
Net cash used in investing activities                                                                          (22.0)              (32.6)


Cash flows from financing activities:
Proceeds from revolving line of credit                                                                          55.0                26.0
Repayment of revolving line of credit                                                                       (130.0)                  —
Proceeds from term loans, net of original issuance discount and costs paid to lenders                          131.0                 —
Repayment of term loans                                                                                         (6.5)               (6.5)
Repayment of other secured borrowings                                                                           (2.3)               (5.1)
Payment of holdbacks                                                                                             —                  (3.3)
Debt issuance costs paid to third parties                                                                       (2.3)                —
Repayment of finance leases                                                                                     (2.1)               (0.6)
Proceeds from issuance of common stock under employee stock purchase plan                                        0.4                 0.1
Tax withholding related to the vesting of restricted stock                                                      (0.3)               (0.3)
Exercise of stock options                                                                                        —                   0.4
Net cash provided by financing activities                                                                       42.9                10.7


Effect of exchange rate changes on cash                                                                          2.2                 1.2


Net increase (decrease) in cash, cash equivalents, and restricted cash                                          64.6                (4.6)


Cash, cash equivalents, and restricted cash at beginning of period                                              41.8                55.3


Cash, cash equivalents, and restricted cash at end of period                                      $            106.4    $           50.7


Supplemental disclosure of cash flow information:
Cash paid for interest                                                                            $             32.0    $           32.0
Cash paid for income taxes, net                                                                                  —                  (0.1)

                                                                          A068
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 71 of 181 PageID #: 470


             The accompanying notes are an integral part of these Condensed Consolidated Financial Statements




                                                            9




                                                        A069
   Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 72 of 181 PageID #: 471




                                                            GTT Communications, Inc.
                                                Notes to Condensed Consolidated Financial Statements
                                                                    (Unaudited)

NOTE 1 — ORGANIZATION AND BUSINESS

Organization and Business

GTT Communications, Inc. ("GTT" or the "Company") serves large enterprise and carrier clients with complex national and global networking needs, and
differentiates itself from the competition by providing an outstanding service experience built on its core values of simplicity, speed and agility. The
Company operates a global Tier 1 internet network ranked among the largest in the industry, and owns a fiber network that includes an expansive pan-
European footprint and subsea cables. The Company's global network includes over 600 points of presence ("PoPs") spanning six continents, and the
Company provides services in more than 140 countries.

Basis of Presentation

The accompanying unaudited condensed consolidated financial statements have been prepared pursuant to the rules and regulations of the Securities and
Exchange Commission ("SEC") and should be read in conjunction with the Company’s audited financial statements and footnotes thereto for the fiscal year
ended December 31, 2019, included in the Company’s Annual Report on Form 10-K filed on March 2, 2020. Certain information and footnote disclosures
normally included in financial statements prepared in accordance with accounting principles generally accepted in the United States of America ("GAAP")
have been omitted pursuant to such rules and regulations.

The condensed consolidated financial statements reflect all adjustments (consisting of normal recurring adjustments) that are, in the opinion of
management, necessary for a fair presentation of the Company’s consolidated financial position and its results of operations. The operating results for
the three months ended March 31, 2020 are not necessarily indicative of the results to be expected for the full fiscal year 2020 or for any other interim
period. The December 31, 2019 consolidated balance sheet is condensed from the audited financial statements as of that date.

Use of Estimates and Assumptions

The preparation of financial statements in accordance with GAAP requires management to make estimates and assumptions that affect certain reported
amounts of assets and liabilities and disclosure of contingent assets and liabilities at the date of the financial statements and the reported amounts of
revenue and expenses during the reporting period. Significant estimates are used when establishing allowances for doubtful accounts, accruals for billing
disputes and exit activities, determining useful lives for depreciation and amortization, assessing the need for impairment charges (including those related
to intangible assets and goodwill), determining the fair values of assets acquired and liabilities assumed in business combinations, assessing the fair value
of derivative financial instruments, accounting for income taxes and related valuation allowances against deferred tax assets, and estimating the grant date
fair values used to compute the share-based compensation expense. Management evaluates these estimates and judgments on an ongoing basis and makes
estimates based on historical experience, current conditions, and various other assumptions that are believed to be reasonable under the circumstances. The
results of these estimates form the basis for making judgments about the carrying values of assets and liabilities as well as identifying and assessing the
accounting treatment with respect to commitments and contingencies. Actual results may differ from these estimates under different assumptions or
conditions, including but not limited to assumptions or conditions due to uncertainty of the magnitude and duration of the impacts of the COVID-19
pandemic in the current economic environment.

Revenue Recognition

The Company's revenue is derived primarily from telecommunications services, which includes both revenue from contracts with customers and lease
revenues. Lease revenue services include dark fiber, duct, and colocation services. All other services are considered revenue from contracts with customers.
Revenue from contracts with customers is recognized when services are provided to the customer, in an amount that reflects the consideration the Company
expects to receive in exchange for those services. Lease revenue represents an arrangement where the customer has the right to use an identified asset for a
specified term and such revenue is recognized over the term the customer is given exclusive access to the asset.

Primary geographical market. The Company’s operations are located primarily in the United States and Europe. The nature and timing of revenue from
contracts with customers across geographic markets is similar. The following table presents the



                                                                             10




                                                                          A070
   Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 73 of 181 PageID #: 472




Company's revenue from contracts with customers disaggregated by primary geographic market based on legal entities (in millions):
                                                                                          Three Months Ended March 31,
                                                                                             2020                    2019
                         Primary geographic market:
                          United States                                              $              171.7      $            204.2
                          Europe                                                                    205.3                   196.5
                          Other                                                                          9.0                 11.9
                         Total revenue from contracts with customers                                386.0                   412.6
                         Lease revenue                                                                  38.7                 37.6
                         Total telecommunications services revenue                   $              424.7      $            450.2


Universal Service Fund ("USF"), Gross Receipts Taxes and Other Surcharges. USF fees and other surcharges billed to customers and recorded on a gross
basis (as service telecommunications services revenue and cost of telecommunications services) were $5.6 million and $5.9 million for the three months
ended March 31, 2020 and 2019, respectively.

Contract balances. Contract assets consist of conditional or unconditional rights to consideration. Accounts receivable represent amounts billed to
customers where the Company has an enforceable right to payment for performance completed to date (i.e., unconditional rights to consideration). The
Company does not have contract assets that represent conditional rights to consideration. The Company’s accounts receivable balance at March 31, 2020
and December 31, 2019 includes $134.4 million and $145.9 million, respectively, related to contracts with customers. There were no other contract assets
as of March 31, 2020 or December 31, 2019.

Contract liabilities are generally limited to deferred revenue. Deferred revenue is a contract liability, representing advance consideration received from
customers primarily related to the pre-paid capacity sales, where transfer of control occurs over time, and therefore revenue is recognized over the related
contractual service period. The Company's contract liabilities were $82.0 million and $76.0 million as of March 31, 2020 and December 31, 2019,
respectively. The change in contract liabilities during the three months ended March 31, 2020 included $3.8 million for revenue recognized that was
included in the contract liability balance as of January 1, 2020 and $10.7 million for new contract liabilities net of amounts recognized as revenue during
the three months ended March 31, 2020.

The following table includes estimated revenue from contracts with customers expected to be recognized for each of the years subsequent to March 31,
2020 related to performance obligations that are unsatisfied (or partially unsatisfied) at March 31, 2020 and have an original expected duration of greater
than one year (amounts in millions):

                           2020 remaining                                                           $                       13.7
                           2021                                                                                             15.2
                           2022                                                                                             14.4
                           2023                                                                                             12.8
                           2024                                                                                              8.0
                           2025 and beyond                                                                                  17.9
                                                                                                    $                       82.0


For a table of estimated revenue to be recognized for consolidated deferred revenue for each of the years subsequent to March 31, 2020 refer to Note 6 -
Deferred revenue.

Deferred costs to obtain a contract. Deferred sales commissions were $24.7 million and $23.0 million as of March 31, 2020 and December 31, 2019,
respectively. There were no other significant amounts of assets recorded related to contract costs as of March 31, 2020 or December 31, 2019.

Property and Equipment




                                                                            11




                                                                         A071
   Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 74 of 181 PageID #: 473




Depreciation expense associated with property and equipment, including amortization of finance lease assets, was $46.4 million and $40.7 million for the
three months ended March 31, 2020 and 2019, respectively.

The Company capitalized labor costs, including indirect and overhead costs, of $3.8 million and $4.2 million for the three months ended March 31, 2020
and 2019, respectively. The Company capitalized software costs of $1.1 million and $1.1 million for the three months ended March 31, 2020 and 2019,
respectively.

The Company reviews long-lived assets for impairment whenever events or changes in circumstances indicate that the carrying amount of the assets may
not be recoverable. If the carrying amount of an asset were to exceed its estimated future undiscounted cash flows, the asset would be considered to be
impaired. Impairment losses would then be measured as the amount by which the carrying amount of the asset exceeds the fair value of the asset. Assets to
be disposed of, if any, are reported at the lower of the carrying amount or fair value less costs to sell.

Disputed Supplier Expenses

In the normal course of business, the Company identifies errors by suppliers with respect to the billing of services. The Company performs bill verification
procedures to ensure that errors in the Company's suppliers' billed invoices are identified and resolved. If the Company concludes that a vendor has billed
inaccurately, the Company will record a liability only for the amount that it believes is owed. As of March 31, 2020 and December 31, 2019, the Company
had open disputes not accrued for of $28.8 million and $12.2 million, respectively, and open paid disputes in the form of receivables from suppliers of
$36.0 million and $10.7 million, respectively.

Newly Adopted Accounting Principles

In June 2016, the FASB issued ASU 2016-13, Financial Instruments - Credit Losses (Topic 326): Measurement of Credit Losses on Financial Instruments,
and subsequent amendment to the initial guidance, ASU 2018-19, in November 2018. The updated guidance introduces a new forward-looking approach,
based on expected losses, to estimate credit losses on certain types of financial instruments, including trade receivables. The new guidance is effective for
interim and annual reporting periods beginning after December 15, 2019. The standard requires a modified retrospective approach through a cumulative-
effect adjustment to retained earnings as of the beginning of the first reporting period in which the guidance is effective. The Company adopted ASU 2016-
13 as of January 1, 2020 using the modified retrospective approach related to its accounts receivables, resulting in a cumulative adjustment to retained
earnings of approximately $9.1 million.

In August 2018, the FASB issued ASU No. 2018-13, Fair Value Measurement (Topic 820): Disclosure Framework - Changes to the Disclosure
Requirements for Fair Value Measurement, which modifies the disclosure requirements for fair value measurements by removing, modifying, or adding
certain disclosures. The new guidance is effective for interim and annual reporting periods beginning after December 15, 2019. The removed and modified
disclosures are adopted on a retrospective basis and the new disclosures are adopted on a prospective basis. The Company adopted the guidance as of
January 1, 2020. The adoption of the new standard did not have a material impact on the Company's condensed consolidated financial statements.

Recent Accounting Pronouncements

Other recent accounting pronouncements issued by the FASB during 2020 and through the filing date did not and are not believed by management to have
a material impact on the Company's present or historical consolidated financial statements.

NOTE 2 — BUSINESS ACQUISITIONS

Since its formation, the Company has consummated a number of transactions accounted for as business combinations as part of its growth strategy. The
acquisitions of these businesses, which are in addition to periodic purchases of client contracts, have allowed the Company to increase the scale at which it
operates, which in turn affords the Company the ability to increase its operating leverage, extend its network, and broaden its client base.

The accompanying condensed consolidated financial statements include the operations of the acquired entities from their respective acquisition dates. All
of the acquisitions have been accounted for as a business combination. Accordingly, consideration paid by the Company to complete the acquisitions is
initially allocated to the acquired assets and liabilities based upon their estimated acquisition date fair values. The recorded amounts for assets acquired and
liabilities assumed are provisional and subject to change during the measurement period, which is up to 12 months from the acquisition date.




                                                                              12




                                                                           A072
   Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 75 of 181 PageID #: 474




There were no acquisitions completed during the three months ended March 31, 2020.

For material acquisitions completed during 2019, 2018, and 2017, refer to Note 3 - Business Acquisitions to the consolidated financial statements contained
in the Company's Annual Report on Form 10-K for the fiscal year ended December 31, 2019. During the three months ended March 31, 2020, certain
immaterial measurement period adjustments were recorded to adjust provisional amounts for acquisitions completed during 2019.

Acquisition Method Accounting Estimates

The Company initially recognizes the assets and liabilities acquired from the acquisitions based on its preliminary estimates of their acquisition date fair
values. As additional information becomes known concerning the acquired assets and assumed liabilities, management may make adjustments to the
opening balance sheet of the acquired company up to the end of the measurement period, which is a period of no longer than one year following the
acquisition date. The determination of the fair values of the acquired assets and liabilities assumed (and the related determination of estimated lives of
depreciable tangible and identifiable intangible assets) requires significant judgment.

Transaction Costs

Transaction costs describe the broad category of costs the Company incurs in connection with signed and/or closed acquisitions. There are two types of
costs that the Company accounts for:

             •    Severance, restructuring and other exit costs
             •    Transaction and integration costs

Severance, restructuring and other exit costs include severance and other one-time benefits for terminated employees, termination charges for leases and
supplier contracts, and other costs incurred associated with an exit activity. These costs are reported separately in the condensed consolidated statements of
operations during the three months ended March 31, 2020 and 2019. Refer to Note 12 - Severance, Restructuring, and Other Exit Costs of these condensed
consolidated financial statements for further information.

Transaction and integration costs include expenses associated with legal, accounting, regulatory, and other transition services rendered in connection with
acquisition, travel expense, and other non-recurring direct expenses associated with acquisitions. Transaction and integration costs are expensed as incurred
in support of the integration. The Company incurred transaction and integration costs of $2.2 million and $9.2 million during the three months ended
March 31, 2020 and 2019, respectively. Transaction and integration costs have been included in selling, general and administrative expenses in the
condensed consolidated statements of operations and in cash flows from operating activities in the condensed consolidated statements of cash flows.

NOTE 3 — GOODWILL AND INTANGIBLE ASSETS

The goodwill balance was $1,763.7 million and $1,768.6 million as of March 31, 2020 and December 31, 2019, respectively. Additionally, the Company's
intangible asset balance was $465.4 million and $490.7 million as of March 31, 2020 and December 31, 2019, respectively.

The change in the carrying amount of goodwill for the three months ended March 31, 2020 was as follows (amounts in millions):

                 Goodwill - December 31, 2019                                                                            $          1,768.6
                  Adjustments to 2019 business combinations                                                                             (0.6)
                  Foreign currency translation adjustments                                                                              (4.3)
                 Goodwill - March 31, 2020                                                                               $          1,763.7


Goodwill is reviewed for impairment at least annually, in October, or more frequently if a triggering event occurs between impairment testing dates. There
were no triggering events or goodwill impairments identified for the three months ended March 31, 2020 and 2019.




                                                                             13




                                                                          A073
  Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 76 of 181 PageID #: 475




The following table summarizes the Company’s intangible assets as of March 31, 2020 and December 31, 2019 (amounts in millions):
                                                                    March 31, 2020                                          December 31, 2019
                                   Amortization       Gross Asset       Accumulated                           Gross Asset       Accumulated
                                     Period              Cost           Amortization     Net Book Value          Cost           Amortization       Net Book Value
Customer lists                      3-20 years    $        775.2    $          331.7     $     443.5      $        781.1    $           313.7      $      467.4
Non-compete agreements              3-5 years                4.7                   4.7            —                  4.7                  4.6               0.1
Intellectual property                10 years               38.0                16.3            21.7                38.3                 15.4              22.9
Tradename                           1-3 years                6.1                   5.9           0.2                 6.2                  5.9               0.3
                                                  $        824.0    $          358.6     $     465.4      $        830.3    $           339.6      $      490.7


Amortization expense was $21.1 million and $22.1 million for the three months ended March 31, 2020 and 2019, respectively.

Estimated amortization expense related to intangible assets subject to amortization at March 31, 2020 in each of the years subsequent to March 31, 2020 is
as follows (amounts in millions):

2020 remaining                                                                                                                                 $            63.3
2021                                                                                                                                                        82.6
2022                                                                                                                                                        69.5
2023                                                                                                                                                        57.0
2024                                                                                                                                                        51.5
2025 and beyond                                                                                                                                            141.5
Total                                                                                                                                          $           465.4


The Company reviews its intangible assets for impairment whenever events or circumstances indicate that the carrying amount of an asset may not be fully
recoverable. There were no triggering events or intangible asset impairments recognized for the three months ended March 31, 2020 and 2019.

NOTE 4 — PREPAID EXPENSES AND OTHER CURRENT ASSETS

The following table summarizes the Company’s prepaid expenses and other current assets as of March 31, 2020 and December 31, 2019 (amounts in
millions):

                                                                                                          March 31, 2020                December 31, 2019
Receivables from suppliers                                                                          $                       36.0    $                    10.7
Prepaid cost of telecommunications services                                                                                 19.4                         11.8
Prepaid selling, general and administrative                                                                                 12.6                         13.1
Deferred commissions                                                                                                        11.3                          9.8
Other                                                                                                                        2.8                          5.0
                                                                                                    $                       82.1    $                    50.4




                                                                              14




                                                                           A074
  Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 77 of 181 PageID #: 476




NOTE 5 — ACCRUED EXPENSES AND OTHER CURRENT LIABILITIES

The following table summarizes the Company’s accrued expenses and other current liabilities as of March 31, 2020 and December 31, 2019 (amounts in
millions):

                                                                                                               March 31, 2020                 December 31, 2019
Cost of telecommunications services                                                                       $                     91.7      $                    105.3
Interest rate swaps                                                                                                             86.7                            53.5
Compensation and benefits                                                                                                       25.6                            24.4
Taxes payable                                                                                                                   26.2                            28.3
Selling, general and administrative                                                                                             19.4                            18.1
Interest                                                                                                                        11.8                             0.4
Restructuring, current portion                                                                                                   6.7                             6.4
Other                                                                                                                            5.3                             4.4
                                                                                                          $                  273.4        $                    240.8


NOTE 6 — DEFERRED REVENUE

Total deferred revenue as of March 31, 2020 and December 31, 2019 was $339.0 million and $333.5 million, respectively, consisting of unamortized
prepaid services, IRUs, and deferred non-recurring revenue. Deferred revenue is recognized as current and long-term deferred revenue on the condensed
consolidated balance sheets.

Significant changes in deferred revenue balances during the period are as follows (amounts in millions):

                                                                                               Three Months Ended March 31, 2020
                                                                                               Contract Term
                                                                                                              Greater than 1
                                                                                   Less than 1 Year               Year                        Total
           Balance, December 31, 2019                                          $                22.5      $            311.0          $               333.5
           Revenue recognized from beginning balance                                           (17.9)                   (10.3)                        (28.2)
           Increase in deferred revenue (gross)                                                 49.2                     10.9                          60.1
           Revenue recognized on increase in deferred revenue                                  (22.0)                    (0.2)                        (22.2)
           Foreign currency translation adjustments                                             (0.1)                    (4.1)                         (4.2)
           Balance, March 31, 2020                                             $                31.7      $            307.3          $               339.0


Remaining amortization at March 31, 2020 and in each of the years subsequent to March 31, 2020 is as follows (amounts in millions):
                                                                    Contract Term
                                                                                         Greater than 1
                                                            Less than 1 Year                 Year                    Total
                                 2020 remaining         $               31.6         $                 32.7   $                64.3
                                 2021                                    0.1                           41.3                    41.4
                                 2022                                    —                             37.8                    37.8
                                 2023                                    —                             36.0                    36.0
                                 2024                                    —                             28.2                    28.2
                                 2025 and beyond                         —                         131.3                     131.3
                                                        $               31.7         $             307.3      $              339.0




                                                                               15




                                                                          A075
  Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 78 of 181 PageID #: 477




NOTE 7 — DEBT

As of March 31, 2020 and December 31, 2019, long-term debt was as follows (amounts in millions):

                                                                                                  March 31, 2020               December 31, 2019
 US Term loan due 2025                                                                      $                  1,739.0     $                  1,743.5
 EMEA Term loan due 2025                                                                                         951.5                          828.8
 7.875% Senior unsecured notes due 2024                                                                          575.0                          575.0
 Revolving line of credit due 2023                                                                                 65.0                         140.0
 Other secured loans                                                                                                2.1                           4.3
 Total debt obligations                                                                                        3,332.6                        3,291.6
 Unamortized debt issuance costs                                                                                 (26.6)                         (28.0)
 Unamortized original issuance discount, net                                                                     (48.0)                         (40.8)
 Carrying value of debt                                                                                        3,258.0                        3,222.8
 Less current portion                                                                                            (29.6)                         (30.2)
 Long-term debt less current portion                                                        $                  3,228.4     $                  3,192.6


2018 Credit Agreement

On May 31, 2018, the Company entered into a credit agreement (the "2018 Credit Agreement") that provides for (1) a $1,770.0 million term loan B facility
(the "US Term Loan Facility"), (2) a €750.0 million term loan B facility (the "EMEA Term Loan Facility"), and (3) a $200.0 million revolving credit
facility (the "Revolving Line of Credit Facility") (which includes a $50.0 million letter of credit facility). The US Term Loan Facility was issued at an
original issuance discount of $8.9 million and the EMEA Term Loan Facility was issued at an original issuance discount of €3.8 million. The Company is
the borrower under the U.S. Term Loan Facility and the Revolving Line of Credit Facility. The Company's wholly-owned subsidiary GTT Communications
B.V. is the borrower under the EMEA Term Loan Facility (the "EMEA Borrower").

The maturity date of the US Term Loan Facility and the EMEA Term Loan Facility (collectively the "Term Loan Facilities") is May 31, 2025 and the
maturity date of the Revolving Line of Credit Facility is May 31, 2023. Each maturity date may be extended per the terms of the 2018 Credit Agreement.

The principal amounts of the US Term Loan Facility and EMEA Term Loan Facility are payable in equal quarterly installments of $4.425 million and
€1.875 million, respectively, commencing on September 30, 2018 and continuing thereafter until the maturity date when the remaining balances of
outstanding principal amount is payable in full.

The Company may prepay loans under the 2018 Credit Agreement at any time, subject to certain notice requirements, LIBOR breakage costs, and
prepayment fees noted above.

At the Company’s election, the US Term Loan Facility may be made as either Base Rate Loans or Eurocurrency Loans. The EMEA Term Loan Facility will
bear interest at the European Money Markets Institute EURIBOR plus the applicable margin. The applicable margin for the US Term Loan Facility is
1.75% for Base Rate Loans and 2.75% for Eurocurrency Loans, subject to a “LIBOR floor” of 0.00%. The applicable margin for the EMEA Term Loan
Facility is 3.25%, subject to a “EURIBOR floor” of 0.00%. The applicable margin for revolving loans under the Revolving Line of Credit Facility is 1.75%
for Base Rate Loans, 2.75% for Eurocurrency Loans denominated in U.S. Dollars and certain other approved currencies other than Euros, and 3.25% for
revolving loans denominated in Euros.

The proceeds from the US Term Loan Facility and EMEA Term Loan Facility were used to finance the acquisition of Interoute Communications Holdings
S.A., to repay amounts outstanding under the Company's prior term loan facility, and to pay costs associated with such transactions.
On June 5, 2019, the Company entered into an Incremental Revolving Credit Assumption Agreement ("Incremental Agreement") to the 2018 Credit
Agreement. The Incremental Agreement establishes $50.0 million in new revolving credit commitments, bringing the total sum of revolving credit
commitments under the 2018 Credit Agreement, as modified by the Incremental Agreement, to $250.0 million. The revolving credit commitments made
pursuant to the Incremental Agreement have terms and conditions identical to the existing revolving credit commitments under the 2018 Credit Agreement.



                                                                           16




                                                                        A076
  Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 79 of 181 PageID #: 478




On February 28, 2020, the Company entered into an amendment to the 2018 Credit Agreement (“Amendment No. 2”), which established incremental term
loan commitments for $140 million of EMEA term loans (the “2020 EMEA Term Loan Facility”), bringing the total amounts of EMEA term loans
outstanding under the 2018 Credit Agreement, as modified by Amendment No. 2, to €750 million in Euro-denominated loans and $140 million in US
Dollar-denominated loans. The EMEA term loans under the 2020 EMEA Term Loan Facility were incurred with an original issue discount of $5.6 million.

The 2020 EMEA Term Loan Facility has terms substantially identical to the existing EMEA Term Loan Facility, except that: (1) each quarterly
amortization payment on the 2020 EMEA Term Loan Facility will be $350,000; (2) the EMEA Term Loan Facility has a prepayment penalty of 2.0% for
certain mandatory and voluntary prepayments occurring on or prior to the one year anniversary of the effective date of the EMEA Term Loan Facility and
1.0% for certain mandatory and voluntary prepayments occurring following the one year anniversary of the effective date of the EMEA Term Loan Facility
and until the second year anniversary thereof; (3) Amendment No. 2 added, for the benefit of the lenders under the 2020 EMEA Term Loan Facility, the
same covenant restrictions contained in Amendment No. 1, except that (a) the amount of secured debt that can be incurred on a pari passu basis with the
2020 EMEA Term Loan Facility and certain types of debt incurred by non-credit parties is limited to $50 million in the aggregate and (b) certain excess
asset sale proceeds will be required to prepay outstanding EMEA term loans or reinvest in long-term assets useful in the business within 30 days following
receipt of such proceeds, which covenant restrictions will remain in place for so long as the existing Revolving Line of Credit Facility and the 2020 EMEA
Term Loan Facility remain in effect; and (4) the applicable margin for the 2020 EMEA Term Loan Facility is (a) 3.25% for Base Rate Loans and 4.25% for
Eurocurrency Loans for the first two years following the effective date of the 2020 EMEA Term Loan Facility and (b) 3.75% for Base Rate Loans and
4.75% for Eurocurrency Loans on and following the second anniversary of the effective date of the 2020 EMEA Term Loan Facility.

The proceeds of the 2020 EMEA Term Loan Facility were used to repay amounts outstanding under the Revolving Line of Credit Facility and for general
corporate purposes.

The unused and available amount of the Revolving Line of Credit Facility at March 31, 2020 was as follows (amounts in millions):



                       Committed capacity                                                                $                 250.0
                       Borrowings outstanding                                                                              (65.0)
                       Letters of credit issued                                                                            (10.9)
                       Unused and available                                                              $                 174.1


The obligations of the Company under the 2018 Credit Agreement are secured by the substantial majority of the tangible and intangible assets of the
Company. The obligations of the Company under the U.S. Term Loan Facility and the Revolving Line of Credit Facility are guaranteed by certain of its
domestic subsidiaries, but not by any of the Company’s foreign subsidiaries. The obligations of the EMEA Borrower under the EMEA Term Loan Facility
are guaranteed by the Company and certain of its domestic and foreign subsidiaries. None of the foreign subsidiary guarantors of the EMEA Term Loan
Facility provide cross-guarantees of the guarantees of the EMEA Term Loan Facility provided by the Company and its domestic subsidiaries.

The 2018 Credit Agreement does not contain a financial covenant for the US Term Loan Facility or the EMEA Term Loan Facility, but it does include a
maximum Consolidated Net Secured Leverage Ratio applicable to the Revolving Line of Credit Facility in the event that utilization exceeds 30% of the
revolving loan facility commitment. At March 31, 2020, the Company's utilization (as defined) of the Revolving Line of Credit Facility commitment was
approximately 26%. On August 8, 2019, the Company entered into Amendment No. 1 to the 2018 Credit Agreement, which amends the Consolidated Net
Secured Leverage Ratio applicable to the Revolving Line of Credit Facility for each fiscal quarter ending September 30, 2019 through December 31, 2020.
If triggered, the covenant, as amended, requires the Company to maintain a Consolidated Net Secured Leverage Ratio, on a Pro Forma Basis, below the
maximum ratio specified as follows:




                                                                           17




                                                                        A077
   Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 80 of 181 PageID #: 479




                                                    Fiscal Quarter Ending                Maximum Ratio
                                                                  March 31, 2020      6.50:1
                                                                      June 30, 2020   6.50:1
                                                               September 30, 2020     6.25:1
                                                               December 31, 2020      6.25:1
                                                                  March 31, 2021      5.50:1
                                                                      June 30, 2021   5.00:1
                                                               September 30, 2021     5.00:1
                                                               December 31, 2021      4.50:1
                                                                  March 31, 2022      4.50:1
                                               June 30, 2022 and thereafter           4.25:1


While the financial covenant was not required to be measured as a result of the utilization level of the Revolving Line of Credit Facility as of March 31,
2020, the Company's Consolidated Net Secured Leverage Ratio, as defined in the 2018 Credit Agreement, was approximately 6.53:1.

In addition, Amendment No. 1 to the 2018 Credit Agreement added certain restrictions, which remain in place from the effective date of the Amendment
No. 1 until the delivery of the compliance certificate for the quarter ending March 31, 2021, demonstrating compliance with the Consolidated Net Secured
Leverage Ratio for that quarter, including without limitation the following: the Company and its restricted subsidiaries (as defined in the 2018 Credit
Agreement) may not make certain dividends, distributions and other restricted payments (as defined in the 2018 Credit Agreement), including that the
Company may not pay dividends; the Company and its restricted subsidiaries may not designate any subsidiary an “Unrestricted Subsidiary” (which would
effectively remove such subsidiary from the restrictions of the 2018 Credit Agreement); the Company and its restricted subsidiaries may not make
“permitted acquisitions” (as defined in the 2018 Credit Agreement) or certain other investments, unless the Company and its restricted subsidiaries have
liquidity (i.e., unrestricted cash and cash equivalents and availability under the revolving credit facility under the 2018 Credit Agreement) of at least $250
million (other than the acquisition of KPN Eurorings B.V., a private limited liability company (besloten vennootschap met beperkte aansprakelijkheid)
incorporated under the laws of the Netherlands with respect to which this liquidity requirement is not applicable); and the amount of incremental
borrowings under the 2018 Credit Agreement that the Company and its subsidiaries may request when the Consolidated Net Secured Leverage Ratio is
above 4.40 to 1.00 the Company and its subsidiaries was reduced to $300 million minus amounts previously requested (which amount is $50 million
requested under the Incremental Agreement described above).

Interest Rate Swaps

In April and May 2018, the Company entered into the following interest rate swap arrangements to partially mitigate the variability of cash flows due to
changes in the Eurodollar rate, specifically related to interest payments on our term loans under the 2018 Credit Agreement:

    Trade date                                       April 6, 2018                 May 17, 2018               May 17, 2018                 May 17, 2018
    Notional amount (in millions)      $                  500.0       $                200.0       $               300.0       €                 317.0
    Term (years)                                                  5                            7                           3                             7
    Effective date                                      4/30/2018                     6/29/2018                   6/29/2018                    6/29/2018
    Termination date                                    4/30/2023                     5/31/2025                   6/30/2021                    5/31/2025
    Fixed rate                                          2.6430 %                      3.0370 %                    2.8235 %                     0.8900 %
    Floating rate                                1-month LIBOR                 1-month LIBOR               1-month LIBOR             1-month EURIBOR


The interest rate swaps do not qualify for hedge accounting.




                                                                              18




                                                                           A078
   Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 81 of 181 PageID #: 480




The fair value of the interest rate swaps at March 31, 2020 and December 31, 2019 was as follows (in millions):

                                                                                                                    Fair Value
                                                                                               March 31, 2020                     December 31, 2019
                         Aggregate Notional            Effective      Maturity            Asset            Liability           Asset             Liability
   Derivative Instrument      Amount                     Date          Date             Derivatives       Derivatives        Derivatives        Derivatives
   Interest rate swap        $               500.0       4/30/2018     4/30/2023 $              —     $         (36.1)   $           —      $         (18.2)
   Interest rate swap        $               200.0       6/29/2018     5/31/2025                —               (27.1)               —                (15.3)
   Interest rate swap        $               300.0       6/29/2018     6/30/2021                —                (9.5)               —                 (5.8)
   Interest rate swap        €               317.0       6/29/2018     5/31/2025                —               (14.0)               —                (14.2)
                                                                                    $           —     $         (86.7)   $           —      $         (53.5)


The Company records the fair value of interest rate swaps in its condensed consolidated balance sheets within prepaid expenses and other current assets
when in an asset position and within accrued expenses and other current liabilities when in a liability position. Due to the change in fair value of its interest
rate swaps, the Company recognized a loss of $33.5 million and $15.3 million in other expense, net for the three months ended March 31, 2020 and 2019,
respectively.

7.875% Senior Unsecured Notes

During 2016 and 2017, the Company completed three private offerings for $575.0 million aggregate principal amount of its 7.875% senior unsecured notes
due in 2024 (collectively the “7.875% Senior Unsecured Notes”). Each offering was treated as a single series of debt securities. The 7.875% Senior
Unsecured Notes have identical terms other than the issuance date and offering price. The 7.875% Senior Unsecured Notes were issued at a combined
premium of $16.5 million.

The 7.875% Senior Unsecured Notes are guaranteed by the Company’s domestic subsidiaries that guarantee the Company’s obligations under the U.S.
Term Loan Facility and the Revolving Line of Credit Facility, but not by any of the Company’s foreign subsidiaries. We are in compliance with the
subsidiary guarantee requirements for the 7.875% Senior Unsecured Notes.

Other Secured Loans

In connection with the Interoute acquisition in May 2018, the Company acquired other loans secured by certain network assets. The balance of other
secured loans at March 31, 2020 and December 31, 2019 was $2.1 million and $4.3 million, respectively.

Effective Interest Rate

The effective interest rate on the Company's long-term debt at March 31, 2020 and December 31, 2019 was 5.2% and 5.2%, respectively. The effective
interest rate considers the impact of the interest rate swaps.

Long-term Debt Contractual Maturities
The aggregate contractual maturities of long-term debt (excluding unamortized debt issuance costs and unamortized original issuance discounts and
premiums) were as follows as of March 31, 2020 (amounts in millions):
                                                                                             Total Debt
                                        2020 remaining                                            $               22.9
                                        2021                                                                      27.3
                                        2022                                                                      27.5
                                        2023                                                                      92.5
                                        2024                                                                     602.4
                                        2025 and beyond                                                        2,560.0
                                                                                                  $            3,332.6




                                                                               19




                                                                            A079
   Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 82 of 181 PageID #: 481




Debt Issuance Costs and Original Issuance Discounts and Premiums

The following table summarizes the debt issuance costs activity for the three months ended March 31, 2020 (amounts in millions):


                                                                                               7.875% Senior         Revolving Line of
                                             US Term Loan          EMEA Term Loan             Unsecured Notes             Credit                  Total
   Balance, December 31, 2019            $              (9.9)      $           (2.7)        $           (12.3)       $           (3.1)       $            (28.0)
     Debt issuance costs incurred                         —                    (2.3)                       —                       —                       (2.3)
     Amortization                                        0.4                      0.3                     0.5                     0.2                       1.4
     Loss on debt extinguishment                          —                       2.3                      —                       —                        2.3
   Balance, March 31, 2020               $              (9.5)      $           (2.4)        $           (11.8)       $           (2.9)       $            (26.6)


Debt issuance costs are presented in the condensed consolidated balance sheets as a reduction to long-term debt. Interest expense associated with the
amortization of debt issuance costs was $1.4 million and $1.2 million for the three months ended March 31, 2020 and 2019, respectively.

The following table summarizes the original issuance (discount) and premium activity for the three months ended March 31, 2020 (amounts in millions):

                                                                                                                    7.875% Senior
                                                                   US Term Loan         EMEA Term Loan             Unsecured Notes               Total
    Balance, December 31, 2019                                 $           (34.2)       $             (18.7)     $            12.1       $               (40.8)
      New Original Issuance Discount                                          —                        (5.6)                     —                        (5.6)
      Fees paid to lenders                                                    —                        (3.4)                     —                        (3.4)
      Amortization                                                           1.4                        0.9                    (0.5)                       1.8
    Balance, March 31, 2020                                    $           (32.8)       $             (26.8)     $             11.6      $               (48.0)


Original issuance discounts and premiums are presented in the condensed consolidated balance sheets as a reduction to long-term debt. Amortization of
original issuance discounts and premiums was $1.8 million and $1.9 million for the three months ended March 31, 2020 and 2019, respectively.

NOTE 8 — FAIR VALUE MEASUREMENTS

The Company measures certain financial assets and liabilities at fair value on a recurring basis. For additional information on the Company's fair value
policies refer to Note 2 - Significant Accounting Policies to the consolidated financial statements contained in the Company's Annual Report on Form 10-K
for the fiscal year ended December 31, 2019.

Recurring Fair Value Measurements

The following table presents the Company's financial assets and liabilities that are required to be measured and recognized at fair value on a recurring basis
classified under the appropriate level of the fair value hierarchy as of March 31, 2020 and December 31, 2019. There were no transfers between Level 1
and Level 2 during the three months ended March 31, 2020 and 2019.




                                                                             20




                                                                           A080
   Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 83 of 181 PageID #: 482




                                                                                           March 31, 2020
                                                                                                                                Significant
                                                                                Quoted Prices in    Significant Other          Unobservable
                                                                                Active Markets      Observable Inputs             Inputs
                                                           Total                     Level 1              Level 2                 Level 3
            Assets:
              Interest rate swap agreements        $                 —      $                  —   $                —      $                —


            Liabilities:
              Interest rate swap agreements        $               (86.7)   $                  —   $             (86.7)    $                —


                                                                                          December 31, 2019
                                                                                                                                Significant
                                                                                Quoted Prices in    Significant Other          Unobservable
                                                                                Active Markets      Observable Inputs             Inputs
                                                           Total                     Level 1              Level 2                 Level 3
            Assets:
              Interest rate swap agreements        $                 —      $                  —   $                —      $                —


            Liabilities:
              Interest rate swap agreements        $               (53.5)   $                  —   $             (53.5)    $                —


Non-recurring Fair Value Measurements

In addition to assets and liabilities that are recorded at fair value on a recurring basis, the Company records assets and liabilities at fair value on a non-
recurring basis as required by GAAP.

Assets measured at fair value on a non-recurring basis include goodwill, tangible assets, and intangible assets. Such assets are reviewed quarterly for
impairment indicators. If a triggering event has occurred, the assets are re-measured when the estimated fair value of the corresponding asset group is less
than the carrying value. The fair value measurements, in such instances, are based on significant unobservable inputs (Level 3).

Other Fair Value Measurements

As of March 31, 2020 and December 31, 2019, the carrying amounts reflected in the accompanying consolidated balance sheets for cash and cash
equivalents, accounts receivable, accounts payable, accrued expenses and other current liabilities approximated fair value due to the short-term nature of
these instruments.

The table below presents the fair values for the Company's long-term debt as well as the input level used to determine these fair values as of March 31,
2020 and December 31, 2019. The carrying amounts exclude any debt issuance costs or original issuance discount (amounts in millions):




                                                                                21




                                                                            A081
  Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 84 of 181 PageID #: 483




                                                                                                                                   Fair Value Measurement Using
                                                                                                                                  Unadjusted Quoted Prices in Active
                                                                              Total Carrying Value in Consolidated                  Markets for Identical Assets or
                                                                                         Balance Sheet                                       Liabilities (1)
                                                                                                                                              (Level 1)
                                                                                                          December 31,                                  December 31,
                                                                                 March 31, 2020               2019                March 31, 2020             2019
   Liabilities not recorded at fair value in the Financial
   Statements:
   Long-term debt, including the current portion:
   US Term loan due 2025                                                     $           1,739.0      $           1,743.5     $           1,208.6      $           1,464.5
   EMEA Term loan due 2025                                                                   951.5                  828.8                    777.9                      787.9
   7.875% Senior unsecured notes due 2024                                                    575.0                  575.0                    370.9                      435.6
   Revolving line of credit due 2023                                                          65.0                  140.0                     65.0                      140.0
   Other secured loans                                                                         2.1                     4.3                     2.1                        4.3
   Total long-term debt, including current portion                           $           3,332.6      $           3,291.6     $           2,424.5      $           2,832.3
    (1) Fair   value based on the bid quoted price, except for the revolving line of credit and other secured loans for which carrying value approximates fair value.

NOTE 9 — SHARE-BASED COMPENSATION

Share-Based Compensation Plan

The Company grants share-based equity awards, including stock options and restricted stock, under the GTT Communications, Inc. 2018 Stock Option and
Incentive Plan (the "GTT Stock Plan"). The GTT Stock Plan is limited to an aggregate 14,250,000 shares of which 12,622,117 have been issued and are
outstanding as of March 31, 2020.

The GTT Stock Plan permits the granting of time-based stock options, time-based restricted stock, and performance-based restricted stock to employees
and consultants of the Company, and non-employee directors of the Company.

Time-based options granted under the GTT Stock Plan have an exercise price of at least 100% of the fair market value of the underlying stock on the grant
date and expire no later than 10 years from the grant date. The Company uses the Black-Scholes option-pricing model to determine the fair value of its
stock option awards at the time of grant. The stock options generally vest over four years with 25% of the options becoming exercisable one year from the
date of grant and the remaining vesting annually or quarterly over the following three years.

Time-based restricted stock granted under the GTT Stock Plan is valued at the share price of our common stock as reported on the NYSE on the date of
grant. Time-based restricted stock generally vests over four years with 25% of the shares becoming unrestricted one year from the date of grant and the
remaining vesting 75% annually or quarterly over the following three years.

Performance-based restricted stock is granted under the GTT Stock Plan subject to the achievement of certain performance measures. Once achievement of
these performance measures is considered probable, the Company starts to expense the fair value of the grant over the vesting period. The performance-
based restricted stock is valued at the share price of our common stock as reported on the NYSE on the date of grant. The performance grant vests quarterly
over the vesting period once achievement of the performance measure has been met and approved by the Compensation Committee, typically one to two
years.

The Compensation Committee of the Board of Directors, as administrator of the GTT Stock Plan, has the discretion to authorize a different vesting
schedule for any awards.

In 2019, the Company implemented a sell-to-cover program for employees who elect to sell shares to cover any withholding taxes due upon vesting.
Previously the Company netted shares upon vesting and paid the withholding taxes directly.

Share-Based Compensation Expense

The following tables summarize the share-based compensation expense recognized as a component of selling, general and administrative expenses in the
condensed consolidated statements of operations (amounts in millions):



                                                                                        22




                                                                                     A082
      Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 85 of 181 PageID #: 484




                                                                                                             Three Months Ended March 31,
                                                                                                               2020                         2019
                    Stock options                                                                    $                     —       $                   0.2
                    Restricted stock                                                                                      8.2                          8.3
                    ESPP                                                                                                  0.1                          0.2
                         Total                                                                       $                    8.3      $                   8.7


As of March 31, 2020, there was $50.1 million of total unrecognized compensation cost related to unvested share-based compensation awards. The
following table summarizes the unrecognized compensation cost and the weighted average period over which the cost is expected to be amortized (amounts
in millions):

                                                                                                                                March 31, 2020
                                                                                                  Unrecognized Compensation               Weighted Average Remaining
                                                                                                             Cost                        Period to be Recognized (Years)
Time-based stock options                                                                      $                                   —                                        0.25
Time-based restricted stock                                                                                                      48.1                                      2.64
Performance-based restricted stock       (1)                                                                                      2.0                                      0.25
      Total                                                                                   $                                  50.1                                      2.54
(1)
  Excludes $8.1 million, $25.1 million, and $12.1 million of unrecognized compensation cost related to the 2020 Performance Awards, 2018 Performance Awards, and 2017 Performance
Awards, respectively, where achievement of the performance criteria was not probable as of March 31, 2020.


The following table summarizes the restricted stock granted during the three months ended March 31, 2020 and 2019 (amounts in millions, except shares
data):
                                                                                            Three Months Ended March 31,
                                                                                                               2020                         2019
                    Time-based restricted stock granted                                                           1,183,525                      598,141
                    Fair value of time-based restricted stock granted                                $                  14.6       $                  19.3


                    Performance-based restricted stock granted                                                      651,350                        24,000
                    Fair value of performance-based restricted stock granted                         $                    8.1      $                   0.8


No stock options were issued in any period presented.

Performance-based Restricted Stock

The Company granted $17.4 million of restricted stock during 2015 and 2017 contingent upon the achievement of certain performance criteria (the "2015
Performance Awards"). The fair value of the 2015 Performance Awards was calculated using the value of GTT common stock on the respective grant
dates. Upon announcement of the Hibernia acquisition in November 2016, the achievement of two of the four performance criteria became probable and
the Company started recognizing share-based compensation expense for these grants. Expense recognition concluded during the first quarter of 2019.
Additionally, upon announcement of the Global Capacity acquisition in June 2017, the achievement of the final two performance criteria became probable
and the Company started recognizing share-based compensation expense for these grants. The Company did not recognize share-based compensation
expense related to the 2015 Performance awards during the three months ended March 31, 2020 as the awards were fully vested. The Company recognized
share-based compensation expense related to the 2015 Performance Awards of $1.1 million for the three months ended March 31, 2019. As of December
31, 2019, the 2015 Performance Awards were fully vested, and accordingly, the Company recognized no share-based compensation expense for the three
months ended March 31, 2020.

The Company granted $32.6 million of restricted stock during 2017 and 2018 contingent upon the achievement of certain performance criteria (the "2017
Performance Awards"). The fair value of the 2017 Performance Awards was calculated using the value of GTT common stock on the grant date. Upon the
closing of the Interoute acquisition in May 2018, the achievement of two



                                                                                       23




                                                                                   A083
   Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 86 of 181 PageID #: 485




of the four performance criteria became probable and the Company started recognizing share-based compensation expense for these grants. Expense
recognition is expected to continue through the second quarter of 2020. The Company recognized share-based compensation expense related to the 2017
Performance Awards of $1.0 million and $1.8 million for the three months ended March 31, 2020 and 2019, respectively. As of March 31, 2020, $5.4
million of unvested 2017 Performance Awards had been forfeited due to departures and remaining unrecognized compensation cost related to the unvested
2017 Performance Awards was $13.8 million, inclusive of unrecognized compensation cost where achievement of the performance criteria was not
probable as of March 31, 2020.

The Company granted $31.2 million of restricted stock during 2018 and 2019 contingent upon the achievement of certain performance criteria (the "2018
Performance Awards"). The fair value of the 2018 Performance Awards was calculated using the value of GTT common stock on the grant date. As of
March 31, 2020, achievement of the performance criteria was not probable. Accordingly, the Company recognized no share-based compensation expense
for the three months ended March 31, 2020. As of March 31, 2020, $6.1 million of unvested 2018 Performance Awards had been forfeited due to
departures and remaining unrecognized compensation cost related to the unvested 2018 Performance Awards was $25.1 million.

The Company granted $8.1 million of restricted stock during the three months ended March 31, 2020 contingent upon the achievement of certain
performance criteria ("the 2020 Performance Awards"). The fair value of the 2020 Performance Awards was calculated using the value of GTT common
stock on the grant date. As of March 31, 2020, achievement of the performance criteria was not probable. Accordingly, the Company recognized no share-
based compensation expense for the three months ended March 31, 2020.

Employee Stock Purchase Plan

The Company has an Employee Stock Purchase Plan ("ESPP") that permits eligible employees to purchase common stock through payroll deductions at the
lesser of the opening stock price or 85% of the closing stock price of the common stock during each of the three-month offering periods. The Company
expenses the discount offered as additional share-based compensation expense. The offering periods generally commence on the first day and the last day
of each quarter. At March 31, 2020, 241,902 shares were available for issuance under the ESPP.

NOTE 10 — LOSS PER SHARE

Basic loss per share is computed by dividing net loss available to common stockholders by the weighted average number of common shares outstanding.
Diluted loss per share reflects, in periods with earnings and in which it has a dilutive effect, the effect of common shares issuable upon exercise of stock
options and warrants.

The table below details the calculations of loss per share (in millions, except for share and per share amounts):

                                                                                                                        Three Months Ended March 31,
                                                                                                                          2020                   2019
Numerator for basic and diluted EPS – net loss available to common stockholders                                     $            (83.3)   $             (27.3)
Denominator for basic EPS – weighted average shares                                                                       57,259,699             55,839,212
Effect of dilutive securities                                                                                                      —                      —
Denominator for diluted EPS – weighted average shares                                                                     57,259,699             55,839,212


Loss per share:
 Basic                                                                                                              $            (1.45)   $             (0.49)
 Diluted                                                                                                            $            (1.45)   $             (0.49)


All outstanding stock options were anti-dilutive as of March 31, 2020 and 2019 due to the net loss incurred during the periods. There were approximately
376,960 and 474,880 outstanding stock options as of March 31, 2020 and 2019, respectively.

NOTE 11 — INCOME TAXES

The Company’s provision for income taxes is determined using an estimate of its annual effective tax rate, adjusted for the effect of discrete items arising in
the quarter. Each quarter the Company updates its estimate of the annual effective tax rate.



                                                                              24




                                                                           A084
   Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 87 of 181 PageID #: 486




The quarterly tax provision and the quarterly estimate of the Company's annual effective tax rate is subject to significant variation due to several factors,
including variability in accurately predicting pre-tax and taxable income (loss) and the mix of jurisdictions to which they relate, effects of acquisitions and
integrations, audit-related developments, changes in the Company's stock price, foreign currency gains (losses), and tax law developments. Additionally,
the Company's effective tax rate may be more or less volatile based on the amount of pre-tax income or loss and impact of discrete items.

The Company recorded a (benefit from) provision for income taxes of $(1.9) million and $1.8 million for the three months ended March 31, 2020 and
2019, respectively.

The Company assesses the available positive and negative evidence to estimate whether sufficient future taxable income will be generated to permit use of
the Company's existing deferred tax assets. A significant piece of objective negative evidence identified during the Company's evaluation was the
cumulative loss incurred over the three year period ended December 31, 2019. Such objective evidence limits the ability to consider other subjective
evidence, such as the Company's forecasts of future taxable income and tax planning strategies. On the basis of this evaluation as of March 31, 2020 and
December 31, 2019, the Company recognized a valuation allowance against its net U.S. deferred tax assets under the criteria of ASC 740 of $100.7 million
and $100.7 million, respectively, and the Company recognized a valuation allowance against its net foreign deferred tax assets under the criteria of ASC
740 of $111.3 million and $110.6 million, respectively. The amount of U.S. deferred tax asset considered realizable, has been recorded to recognize only
the portion of the deferred tax asset that is more likely than not to be realized. The amount of the deferred tax asset considered realizable, however, could
be adjusted if objective negative evidence in the form of cumulative losses is no longer present and additional weight is given to subjective evidence such
as forecasted taxable income. The Company will continue to evaluate the need to record valuation allowances against deferred tax assets and will make
adjustments in accordance with ASC 740.

On March 27, 2020, the Coronavirus Aid, Relief and Economic Security Act (the “CARES Act”) was signed into law in response to the COVID-19
pandemic. The CARES Act provides numerous tax provisions and stimulus measures, including temporary changes regarding the prior and future
utilization of net operating losses, temporary changes to the prior and future limitations on interest deductions, and technical corrections from prior tax
legislation for tax depreciation of certain qualified improvement property. The Company has evaluated the provisions of the CARES Act relating to income
taxes which will result in adjustments to certain deferred tax assets and liabilities. Due to the Company’s U.S. valuation allowance, the Company does not
expect the provisions of the CARES Act to have a material impact on its consolidated financial statements.

NOTE 12 — SEVERANCE, RESTRUCTURING, AND OTHER EXIT COSTS

The Company incurred severance, restructuring and other exit costs associated with 2019 and 2018 acquisitions and in connection with the termination of
certain facility leases. These costs include employee severance costs, termination costs associated with facility leases and network agreements, and other
exit costs related to the transactions. The Company records the current portion of severance, restructuring and other exit costs as a component of accrued
expenses and other current liabilities and the long-term portion of severance, restructuring and other exit costs as a component of other long-term liabilities.

The exit costs recorded and paid are summarized as follows for the three months ended March 31, 2020 (amounts in millions):

                                                            Balance,
                                                                                                                                Balance, March
                                                          December 31,             Charges               Payments
                                                                                                                                   31, 2020
                                                              2019
               Employee termination benefits          $               2.7    $               0.1     $             (0.6)    $              2.2
               Lease terminations                                     7.6                    2.0                   (0.8)                   8.8
               Other contract terminations                            3.6                     —                    (0.4)                   3.2
                                                      $              13.9    $               2.1     $             (1.8)    $             14.2


During the three months ended March 31, 2019, the Company incurred severance, restructuring and other exit costs of $2.8 million and made payments of
$8.4 million.

NOTE 13 — LEASES




                                                                              25




                                                                            A085
   Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 88 of 181 PageID #: 487




The Company enters into contracts to lease real estate, equipment, and vehicles, and has identified embedded leases within its colocation, dark fiber, and
duct supplier contracts. The lease contracts have remaining lease terms up to 31 years and certain leases include options to extend the lease term. The
Company is not party to any lease contracts with related parties. The Company’s lease agreements do not contain any residual value guarantees or
restrictive covenants.

The Company's lease expense is split between cost of telecommunications services and selling, general and administrative expenses in the condensed
consolidated statement of operations based on the use of the asset for which lease expense is being paid. The components of lease expense for the period
were as follows (amounts in millions):

                                                                                     Three Months Ended March 31,
                                                                                    2020                          2019
                        Operating lease expense                          $                   23.8     $                          28.6
                        Finance lease expense:
                          Amortization of right of use assets                                   0.5                               0.6
                          Interest on lease liabilities                                         1.3                               1.1
                        Total finance lease expense                                             1.8                               1.7
                        Short-term lease expense                                                5.0                               6.2
                        Variable lease expense                                                  5.6                               7.7
                        Total lease expense                              $                   36.2     $                          44.2


Supplemental cash flow information related to leases for the period was as follows (amounts in millions):

                                                                                                            Three Months Ended March 31,
                                                                                                          2020                            2019
  Cash paid for amounts included in the measurement of lease liabilities:
   Operating cash flows from operating leases                                               $                      21.7      $                    34.0
   Operating cash flows from finance leases                                                                         1.3                            1.1
   Financing cash flows from finance leases                                                                         2.1                            0.6


  Right of use assets obtained in exchange for new operating lease liabilities                                      2.4                            8.0
  Right of use assets obtained in exchange for new finance lease liabilities                                        1.0                            —


Supplemental balance sheet information related to leases for the period was as follows:

                                                                                                                         March 31, 2020
             Weighted average remaining lease term (amounts in years)
               Operating leases                                                                                                            6.25
               Finance leases                                                                                                             22.82


             Weighted average discount rate
               Operating leases                                                                                                           5.6 %
               Finance leases                                                                                                           13.0 %


Maturities of lease liabilities were as follows (amounts in millions):




                                                                               26




                                                                             A086
   Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 89 of 181 PageID #: 488




                                                                              Operating Leases                   Finance Leases
                          2020 remaining                                 $                     68.0      $                        5.1
                          2021                                                                 81.5                               5.1
                          2022                                                                 63.5                               5.2
                          2023                                                                 48.0                               5.2
                          2024                                                                 34.3                               5.3
                          2025 and beyond                                                      95.3                          111.2
                          Total lease payments                                                390.6                          137.1
                          Less: Present value discount                                        (63.3)                          (95.3)
                          Present value of lease obligations             $                    327.3      $                     41.8


NOTE 14 — COMMITMENTS AND CONTINGENCIES

Estimated annual commitments under contractual obligations, excluding those related to long-term debt and operating and finance leases, are as follows at
March 31, 2020 (amounts in millions):
                                                                                       Network Supply                Other
                             2020 remaining                                        $             369.1       $               12.1
                             2021                                                                367.1                        6.6
                             2022                                                                272.5                        3.7
                             2023                                                                 85.0                        2.8
                             2024                                                                 26.6                        2.4
                             2025 and beyond                                                      65.6                        7.2
                                                                                   $           1,185.9       $               34.8


Refer to Note 7 - Debt for the aggregate contractual maturities of long-term debt (excluding unamortized debt issuance costs and unamortized original
issuance discounts and premiums) at March 31, 2020 and refer to Note 13 - Leases for the aggregate contractual maturities of operating leases and finance
leases at March 31, 2020.

Network Supply Agreements

As of March 31, 2020, the Company had purchase obligations of $1,185.9 million associated with the telecommunications services that the Company has
contracted to purchase from its suppliers that are not accounted for as operating leases. The Company’s supplier agreements fall into two key categories,
the Company's core IP backbone and client specific locations (also referred to as "last mile" locations). Supplier agreements associated with the Company's
core IP backbone are typically contracted on a one year term and do not relate to any specific underlying client commitments. The short-term duration
allows the Company to take advantage of favorable pricing trends.

Supplier agreements associated with the Company's client specific locations, which represent the substantial majority of the Company's network spending,
are typically contracted so the terms and conditions in both the vendor and client contracts are substantially the same in terms of duration and capacity. The
back-to-back nature of the Company’s contracts means that its network supplier obligations are generally mirrored by its clients' commitments to purchase
the services associated with those obligations.

Legal Proceedings

From time to time, the Company is a party to legal proceedings arising in the normal course of its business. Except as disclosed below, the Company does
not believe that it is a party to any current or pending legal action that could reasonably be expected to have a material adverse effect on its financial
condition or results of operations and cash flow.

On July 30, 2019, a purported class action complaint was filed against the Company and certain of its current and former officers and directors in the U.S
District Court for the Eastern District of Virginia (Case No. 1:19-cv-00982) on behalf of certain GTT stockholders. The complaint alleges that defendants
made false or misleading statements and omissions of purportedly material



                                                                             27




                                                                          A087
  Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 90 of 181 PageID #: 489




fact, in violation of Sections 10(b) and 20(a) of the Securities Exchange Act of 1934 and Rule 10b-5 thereunder, in connection with disclosures relating to
GTT's acquisition and integration of Interoute Communications Holdings S.A. The complaint seeks unspecified damages. The Company believes that the
claims in this lawsuit are without merit and intends to defend against them vigorously. At this time, no assessment can be made as to its likely outcome or
whether the outcome will be material to the Company.

ITEM 2. MANAGEMENT’S DISCUSSION AND ANALYSIS OF FINANCIAL CONDITION AND RESULTS OF OPERATIONS
The following discussion and analysis of our financial condition and results of operations should be read together with our condensed consolidated
financial statements and the related notes and the other financial information included elsewhere in this Quarterly Report on Form 10-Q, as well as the
consolidated financial statements and Management's Discussion and Analysis ("MD&A") in our Annual Report on Form 10-K for the fiscal year ended
December 31, 2019. In addition to historical consolidated financial information, the following discussion contains forward-looking statements that reflect
our plans, estimates and beliefs.
We have attempted to identify these forward-looking statements by the use of words such as “may,” “will,” “seek,” “expects,” “anticipates,” “believes,”
“targets,” “intends,” “should,” “estimates,” “could,” “continue,” “assume,” “projects,” “plans” or similar expressions. Our actual results,
performance or achievements could differ materially from those discussed in the forward-looking statements. Factors that could cause or contribute to
these differences include, but are not limited to:
    • We are subject to risks associated with the actions of network providers and a concentrated number of vendors and clients.
    • We could be subject to cyber-attacks and other security breaches.
    • Our network could suffer serious disruption if certain locations experience damage or as we add features and update our network.
    • We are subject to risks associated with purchase commitments to vendors for longer terms or in excess of the volumes committed by our
          underlying clients, or sales commitments to clients that extend beyond our commitments from our underlying suppliers.
    • We may be unable to establish and maintain peering relationships with other providers or agreements with carrier neutral data center operators.
    • Our business, results of operation and financial condition are subject to the impacts of the COVID-19 pandemic and related market and economic
          conditions.
    • We may be affected by information systems that do not perform as expected or by consolidation, competition, regulation, or a downturn in our
          industry.
    • We may be liable for the material that content providers distribute over our network.
    • We have generated net losses historically and may continue to do so.
    • We may fail to successfully integrate any future acquisitions or to efficiently manage our growth.
    • We may be unable to retain or hire key employees.
    • We are subject to risks relating to the international operations of our business.
    • We may be affected by future increased levels of taxation.
    • We have substantial indebtedness, which could prevent us from fulfilling our obligations under our debt agreements or subject us to interest rate
          risk.
For a more complete description of the risks noted above and other risks that could cause our actual results to materially differ from our current
expectations, please see Part I, Item 1A "Risk Factors" in our Annual Report on Form 10-K for the fiscal year ended December 31, 2019, which we refer to
as our Annual Report and Part II, Item 1A "Risk Factors" in this Quarterly Report on Form 10-Q. We assume no obligation to update or revise publicly
any forward-looking statements, whether as a result of new information, future events or otherwise, unless required by law.
Unless otherwise indicated or unless the context requires otherwise, all references in this report to “we,” “us,” “our,” “GTT,” or the “Company” mean
GTT Communications, Inc. together with its consolidated subsidiaries.


Executive Summary

GTT Communications, Inc. serves large enterprise and carrier clients with complex national and global networking needs, and differentiates itself from the
competition by providing an outstanding service experience built on our core values of simplicity, speed and agility. We operate a Tier 1 internet network
ranked among the largest in the industry, and own a fiber network that includes an expansive pan-European footprint and subsea cables. Our global network
includes over 600 unique points of presence (PoPs) spanning six continents, and we provide services in more than 140 countries. Our comprehensive
portfolio of cloud networking services includes:



                                                                            28




                                                                         A088
   Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 91 of 181 PageID #: 490




    •    Wide area networking, including software-defined wide area networking (“SD-WAN”), multiprotocol label switching ("MPLS"), and virtual
         private LAN service ("VPLS");
    •    Internet, including IP transit, dedicated internet access, and broadband internet;
    •    Transport, including dedicated Ethernet and video transport;
    •    Infrastructure, including wavelength, colocation, and dark fiber;
    •    Unified Communication ("UC"), including Session Initiation Protocol ("SIP") trunking, cloud unified communication service, and traditional
         analog voice (POTS);
    •    Managed network services, including managed equipment and managed security; and
    •    Advanced solutions, including premium security services, hybrid cloud services, database and application management.

Impact of the COVID-19 Pandemic

In March 2020, the World Health Organization declared the outbreak of COVID-19 to be a pandemic, which continues to be spread throughout the U.S.
and the world. The impact from the rapidly changing market and economic conditions due to the COVID-19 outbreak is uncertain. It has disrupted the
business of our clients and suppliers, will impact our business and consolidated results of operations and could impact our financial condition in the future.
While we have not incurred significant disruptions thus far from the COVID-19 outbreak, we are unable to accurately predict the full impact that COVID-
19 will have due to numerous uncertainties, including the severity of the disease, the duration of the outbreak, actions that may be taken by governmental
authorities, the impact to the business of our customers and partners and other factors identified in Part II, Item 1A “Risk Factors” in this Form 10-Q. We
believe that our financial resources will allow us to manage the impact of COVID-19 on our business operations for the foreseeable future, but we are
continuing to actively monitor the situation and are developing plans should we begin to experience material impacts.

During the three months ended March 31, 2020, the pandemic did not have a material impact on our financial results.

With respect to the remainder of 2020, the negative impact COVID-19 may have on the broader global economy and the pace of the economic recovery is
unknown. Given the unknown magnitude of the depth and duration of this crisis, we anticipate a more challenging macroeconomic environment in the
remainder of the year.

In March 2020, we directed our workforce to work from home and severely limited all international and domestic travel.

Cash from operations could also be affected by various risks and uncertainties, including, but not limited to, the effects of the COVID-19 pandemic and
other risks detailed in Part II, Item 1A titled “Risk Factors” of this Quarterly Report on Form 10-Q. However, based on our current revenue outlook, we
believe that existing cash balances, together with funds generated from operations and amounts available under our credit facility, will be sufficient to
finance our operations and meet our foreseeable cash requirements through at least the next 12 months from the date of this filing.

Wide Area Networking

We provide a variety of wide area networking solutions to meet the growing needs of our clients, including SD-WAN, MPLS, and VPLS. Our wide area
networking solutions are positioned to provide the highest network quality and value with global reach, offering bandwidth speeds from 10 Mbps to 100
Gbps per port with burstable and aggregate bandwidth capabilities. Our VPLS service provides an any-to-any Layer 2 Virtual Private Network ("VPN")
service in a fully meshed configuration with multiple classes of service for prioritization of traffic types. Our MPLS service is an any-to-any Layer 3 IP
VPN service with the option of full management in a meshed configuration, providing a private IP network based on the client’s routing plan.

SD-WAN is an enterprise networking technology in the stage of accelerated market adoption with projected high growth based on industry forecasts. The
software-based network intelligence in SD-WAN enables more efficient delivery of traffic across a mix of access types, accelerates the speed of service
deployments, and improves application visibility and performance. GTT’s SD-WAN delivers managed global connectivity, enhanced application
performance and control, and secure access to cloud-based services and applications. Our service leverages GTT’s global, Tier 1 IP network, securely
connecting client locations to any destination on the internet or to any cloud service provider. We offer the widest range of access options and use multiple
network technologies, allowing us to provide tailored solutions to meet the specific requirements of our clients.

Through GTT's wide area networking services, clients can securely connect to cloud service providers in data centers and exchanges around the world. Our
Cloud Connect feature provides private, secure, pre-established connectivity to leading cloud



                                                                             29




                                                                          A089
    Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 92 of 181 PageID #: 491




service providers. Using GTT's global network, clients can connect to any office location in the world and to any application in the cloud.

Internet

GTT operates one of the largest Tier 1 global IP networks. Utilizing that platform we offer clients scalable, high-bandwidth global internet connectivity and
IP transit with guaranteed availability and packet delivery. Over 60 percent of our clients' IP traffic is delivered on-net, utilizing our Tier 1 global IP
network that is ranked among the largest in the industry for the breadth of connections to other autonomous systersm ("AS") numbers.*

Our internet services offer flexible connectivity with ports available at up to 100 Gbps. We also offer a wide range of broadband internet and wireless
internet access services. We support a dual stack of IPv4 and IPv6 protocols, enabling the delivery of seamless IPv6 services alongside existing IPv4
services.

* Based on CAIDA's ranking of AS which approximately map to internet service providers and organizations (which are a collection of one or more ASes). This ranking is derived from topological data collected by CAIDA's Archipelago
Measurement Infrastructure and Border Gateway Protocol (BGP) routing data collected by the Route Views Project and RIPE NCC.


Transport

GTT offers transport services, including dedicated ethernet and video transport.

GTT’s ethernet service enables clients to design a network environment best suited to their needs, with point-to-point and point-to-multipoint topology
options, and dynamic or fixed routing. GTT’s ethernet direct service provides enhanced performance capabilities for clients seeking guaranteed routes and
latency Service-Level Agreement ("SLAs") between key data centers and carrier hotels over a service-specific platform.

We offer video transport for clients in the media and entertainment industry, designed to support broadcast quality transmission of live events, sports
entertainment, and news. We can manage individual services, multicast distribution, and entire client networks, supporting all video formats required for
today's media workflow.

Infrastructure

We provide a suite of infrastructure services over our fiber network, enabling the transport of high volume data between data centers, large enterprise office
locations, and media hubs. Our service is differentiated based on an expansive pan-European fiber footprint and subsea cable infrastructure, network
diversity, and low latency connections between major financial and commercial centers in North America and Europe. Our clients for these services include
internet-based technology companies and Over-The-Tops, large banks, and other service providers requiring network infrastructure. All services are
available on a protected basis with the ability to specify pre-configured alternate routes to minimize the impact of any network disruption.

GTT’s wavelength service is designed to deliver scalable high-performance optical connectivity over a state-of-the-art dense wave division multiplexing
platform. We offer low latency services between the major financial centers and exchanges, tailored to meet the requirements of proprietary trading firms
for the fastest connections. In particular, GTT's Express transatlantic cable offers industry leading lowest latency between North America and Europe. We
also offer dark fiber and duct services across our fiber network.

We offer colocation services in over 100 facilities in Europe and North America. The turnkey service offering includes cabinets, racks, suites, and technical
support services, providing clients with efficient and secure access to other carrier networks.

Unified Communication

We offer unified communications globally including local voice services in over 55 countries around the world, along with global long-distance and toll-
free services. Our Session Initiation Protocol trunking service delivers worldwide Public Switched Telephone Network access to client telephony
equipment over an integrated data connection, driving efficiency and productivity organization-wide while allowing clients to retain control of their core
voice infrastructure. Our Cloud UC service allows clients to eliminate traditional voice infrastructure with communication services delivered through the
cloud, based on a soft client, offering a wide array of features and customization choices for each site and user. In the US, we offer traditional analog voice
services for clients with legacy or specialized telephony needs.




                                                                                                                30




                                                                                                            A090
   Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 93 of 181 PageID #: 492




Managed Network

We offer fully managed network services, including managed equipment and security.

GTT's managed equipment provides a turnkey solution for the end-to-end management of customer premise equipment. This includes the design,
procurement, implementation, monitoring, and maintenance of equipment including routers, switches, servers, and Wi-Fi access points.

GTT's managed security is available as a cloud-based or premises-based security service and provides a comprehensive, multi-layered security solution that
protects the network while meeting the most stringent security standards. Our unified threat management services include advanced firewall, intrusion
detection, anti-virus, web filtering, and anti-spam. We offer a full range of compliancy packages, which include developing, deploying, configuring, and
monitoring network and security assets, and providing documentation to comply with audits.

Advanced Solutions

The advanced solutions portfolio comprises three areas - (i) advanced security, (ii) hybrid cloud, and (iii) advanced and professional services.

GTT’s advanced security portfolio provides premium and standard security services including security consulting, Security Information and Event
Management/Security Operations Center event monitoring and response and other advanced security options on a customized basis, as well as firewalling,
Distributed Denial-of-Service and other services.

GTT’s hybrid cloud service provides cloud and compute infrastructure services underpinned by GTT's cloud networking capabilities. We provide managed
hybrid compute capabilities utilizing our own global compute platform, Virtual Data Center, as well as public cloud offerings from Amazon Web Services
and Microsoft Azure.

GTT’s advanced services portfolio provides a broad array of managed services for our clients including tailored SLAs covering networking, compute, and
application infrastructure. These services include consultancy and support for database systems - Oracle, Microsoft SQL, MySQL and others - as well as
services further up the application stack.

GTT provides an array of professional services to support our clients and augment the standard portfolio services, providing service, technical, and project
management, as well as consultancy for our clients across the globe.

Client and Network Supplier Contracts

Our client contracts are most commonly two to three years for the initial term but can range from one to five years or sometimes longer. Following the
initial term, these agreements typically provide for automatic renewal for specified periods ranging from one month to one year. Our prices are fixed for the
duration of the contract, and we typically bill monthly in advance for such services. If a client terminates its agreement, the terms of our client contracts
typically require full recovery of any amounts due for the remainder of the term or, at a minimum, our liability to any underlying suppliers.

Our revenue is composed of recurring revenue and non-recurring revenue. Recurring revenue relates to contracted ongoing service that is generally fixed
in price and paid by the client on a monthly basis for the contracted term. For the three months ended March 31, 2020, recurring revenue was
approximately 94% of our total revenue. Non-recurring revenue primarily includes installation and equipment charges to clients, one-time termination
charges for clients who cancel their services prior to the contract termination date, and usage revenue which represents variable revenue based on whether
a client exceeds its committed usage threshold as specified in the contract.

Our network supplier contracts do not have any market related net settlement provisions. We have not entered into, and do not plan to enter into, any
supplier contracts which involve financial or derivative instruments. The supplier contracts are entered into solely for the direct purchase of
telecommunications capacity, which is resold by us in the normal course of business.

Other than cost of telecommunication services provided, our most significant operating expenses are employment costs. As of March 31, 2020, we had
approximately 3,100 full-time equivalent employees. For the three months ended March 31, 2020, the total employee cash compensation and benefits
represented approximately 14% of total revenue.

Recent Developments Affecting Our Results



                                                                              31




                                                                           A091
   Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 94 of 181 PageID #: 493




Business Acquisitions

Since our formation, we have consummated a number of transactions accounted for as business combinations which were executed as part of our strategy
of expanding through acquisitions. These acquisitions, which are in addition to our periodic purchases of client contracts, have allowed us to increase the
scale at which we operate which in turn affords us the ability to increase our operating leverage, extend our network, and broaden our client base. The
accompanying condensed consolidated financial statements include the operations of the acquired entities from their respective acquisition dates.

There were no acquisitions completed during the three months ended March 31, 2020.

For material acquisitions completed during 2019, 2018, and 2017, refer to Note 3 - Business Acquisitions to the consolidated financial statements contained
in the Company's Annual Report on Form 10-K for the fiscal year ended December 31, 2019.

Indebtedness

As of March 31, 2020 and December 31, 2019, long-term debt was as follows (amounts in millions):

                                                                                                       March 31, 2020                December 31, 2019
 US Term loan due 2025                                                                          $                    1,739.0    $                    1,743.5
 EMEA Term loan due 2025                                                                                              951.5                            828.8
 7.875% Senior unsecured notes due 2024                                                                               575.0                            575.0
 Revolving line of credit due 2023                                                                                      65.0                           140.0
 Other secured loans                                                                                                     2.1                             4.3
 Total debt obligations                                                                                              3,332.6                         3,291.6
 Unamortized debt issuance costs                                                                                       (26.6)                          (28.0)
 Unamortized original issuance discount, net                                                                           (48.0)                          (40.8)
 Carrying value of debt                                                                                              3,258.0                         3,222.8
 Less current portion                                                                                                  (29.6)                          (30.2)
 Long-term debt less current portion                                                            $                    3,228.4    $                    3,192.6


On May 31, 2018, the Company entered into a credit agreement (the "2018 Credit Agreement") that provides for (1) a $1,770.0 million term loan B facility
(the "US Term Loan Facility"), (2) a €750.0 million term loan B facility (the "EMEA Term Loan Facility"), and (3) a $200.0 million revolving credit
facility (the "Revolving Line of Credit Facility") (which includes a $50.0 million letter of credit facility). In addition, we may request incremental term loan
commitments and/or incremental revolving loan commitments in an aggregate amount not to exceed the sum of $575.0 million and an unlimited amount
that is subject to pro forma compliance with a net secured leverage ratio test. The US Term Loan Facility was issued at an original issuance discount of
$8.9 million and the EMEA Term Loan Facility was issued at an original issuance discount of €3.8 million.

On June 5, 2019, we entered into an Incremental Revolving Credit Assumption Agreement ("Incremental Agreement") to the 2018 Credit Agreement. The
Incremental Agreement establishes $50.0 million in new revolving credit commitments, bringing the total sum of revolving credit commitments under the
2018 Credit Agreement, as modified by the Incremental Agreement, to $250.0 million. The revolving credit commitments made pursuant to the
Incremental Agreement have terms and conditions identical to the existing revolving credit commitments under the 2018 Credit Agreement.

The obligations of the Company under the 2018 Credit Agreement are secured by the substantial majority of the tangible and intangible assets of the
Company. The obligations of the Company under the U.S. Term Loan Facility and the Revolving Line of Credit Facility are guaranteed by certain of its
domestic subsidiaries, but not by any of the Company’s foreign subsidiaries. The obligations of the EMEA Borrower under the EMEA Term Loan Facility
are guaranteed by the Company and certain of its domestic and foreign subsidiaries. None of the foreign subsidiary guarantors of the EMEA Term Loan
Facility provide cross-guarantees of the guarantees of the EMEA Term Loan Facility provided by the Company and its domestic subsidiaries.

The 2018 Credit Agreement does not contain a financial covenant for the US Term Loan Facility or the EMEA Term Loan Facility, but it does include a
maximum Consolidated Net Secured Leverage Ratio applicable to the Revolving Line of Credit Facility in the event that utilization exceeds 30% of the
revolving loan facility commitment. At March 31, 2020, our utilization (as



                                                                              32




                                                                           A092
   Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 95 of 181 PageID #: 494




defined) of the Revolving Line of Credit Facility commitment was approximately 26%. On August 8, 2019, we entered into Amendment No. 1 to the 2018
Credit Agreement, which amends the Consolidated Net Secured Leverage Ratio applicable to the Revolving Line of Credit Facility for each fiscal quarter
ending September 30, 2019 through December 31, 2020. If triggered, the covenant, as amended, requires us to maintain a Consolidated Net Secured
Leverage Ratio, on a Pro Forma Basis, below the maximum ratio specified as follows:

                                                    Fiscal Quarter Ending                Maximum Ratio
                                                                  March 31, 2020     6.50:1
                                                                    June 30, 2020    6.50:1
                                                              September 30, 2020     6.25:1
                                                              December 31, 2020      6.25:1
                                                                  March 31, 2021     5.50:1
                                                                    June 30, 2021    5.00:1
                                                              September 30, 2021     5.00:1
                                                              December 31, 2021      4.50:1
                                                                  March 31, 2022     4.50:1
                                               June 30, 2022 and thereafter          4.25:1


While the financial covenant was not required to be measured as a result of the utilization level of the Revolving Line of Credit Facility as of March 31,
2020, our Consolidated Net Secured Leverage Ratio, as defined in the 2018 Credit Agreement, was 6.53:1.

In addition, Amendment No. 1 to the 2018 Credit Agreement added certain restrictions, which remain in place from the effective date of the Amendment
No. 1 until the delivery of the compliance certificate for the quarter ending March 31, 2021, demonstrating compliance with the Consolidated Net Secured
Leverage Ratio for that quarter, including without limitation the following: the Company and its restricted subsidiaries (as defined in the 2018 Credit
Agreement) may not make certain dividends, distributions and other restricted payments (as defined in the 2018 Credit Agreement), including that the
Company may not pay dividends; the Company and its restricted subsidiaries may not designate any subsidiary an “Unrestricted Subsidiary” (which would
effectively remove such subsidiary from the restrictions of the 2018 Credit Agreement); the Company and its restricted subsidiaries may not make
“permitted acquisitions” (as defined in the 2018 Credit Agreement) or certain other investments, unless the Company and its restricted subsidiaries have
liquidity (i.e., unrestricted cash and cash equivalents and availability under the revolving credit facility under the 2018 Credit Agreement) of at least $250
million (other than the acquisition of KPN Eurorings B.V., a private limited liability company (besloten vennootschap met beperkte aansprakelijkheid)
incorporated under the laws of the Netherlands with respect to which this liquidity requirement is not applicable); and the amount of incremental
borrowings under the 2018 Credit Agreement that the Company and its subsidiaries may request when the Consolidated Net Secured Leverage Ratio is
above 4.40 to 1.00 the Company and its subsidiaries was reduced to $300 million minus amounts previously requested (which amount is $50 million
requested under the Incremental Agreement described above).

On February 28, 2020, the Company entered into an amendment to the 2018 Credit Agreement (“Amendment No. 2”), which established incremental term
loan commitments for $140 million of EMEA term loans (the “2020 EMEA Term Loan Facility”), bringing the total amounts of EMEA term loans
outstanding under the 2018 Credit Agreement, as modified by Amendment No. 2, to €750 million in Euro-denominated loans and $140 million in US
Dollar-denominated loans. The EMEA term loans under the 2020 EMEA Term Loan Facility were incurred with an original issue discount of $5.6 million.

The 2020 EMEA Term Loan Facility has terms substantially identical to the existing EMEA Term Loan Facility, except that: (1) each quarterly
amortization payment on the 2020 EMEA Term Loan Facility will be $350,000; (2) the EMEA Term Loan Facility has a prepayment penalty of 2.0% for
certain mandatory and voluntary prepayments occurring on or prior to the one year anniversary of the effective date of the EMEA Term Loan Facility and
1.0% for certain mandatory and voluntary prepayments occurring following the one year anniversary of the effective date of the EMEA Term Loan Facility
and until the second year anniversary thereof; (3) Amendment No. 2 added, for the benefit of the lenders under the 2020 EMEA Term Loan Facility, the
same covenant restrictions contained in Amendment No. 1, except that (a) the amount of secured debt that can be incurred on a pari passu basis with the
2020 EMEA Term Loan Facility and certain types of debt incurred by non-credit parties is limited to $50 million in the aggregate and (b) certain excess
asset sale proceeds will be required to prepay outstanding EMEA term loans or reinvest in long-term assets useful in the business within 30 days following
receipt of such proceeds, which covenant restrictions will remain in place for so long as the existing Revolving Line of Credit Facility and the 2020 EMEA
Term Loan Facility remain




                                                                              33




                                                                          A093
  Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 96 of 181 PageID #: 495




in effect; and (4) the applicable margin for the 2020 EMEA Term Loan Facility is (a) 3.25% for Base Rate Loans and 4.25% for Eurocurrency Loans for
the first two years following the effective date of the 2020 EMEA Term Loan Facility and (b) 3.75% for Base Rate Loans and 4.75% for Eurocurrency
Loans on and following the second anniversary of the effective date of the 2020 EMEA Term Loan Facility.

The proceeds of the 2020 EMEA Term Loan Facility were used to repay amounts outstanding under the Revolving Line of Credit Facility and for general
corporate purposes.

Critical Accounting Policies and Estimates

Our consolidated financial statements have been prepared in accordance with GAAP. For information regarding our critical accounting policies and
estimates, please refer to "Management's Discussion and Analysis of Financial Condition and Results of Operations—Critical Accounting Policies and
Estimates" contained in our Annual Report on Form 10-K for the fiscal year ended December 31, 2019 and Note 2 - Significant Accounting Policies to our
consolidated financial statements contained therein. There have been no material changes to the critical accounting policies previously disclosed in that
report, except as described in Note 1 - Organization and Business to our condensed consolidated financial statements contained herein.

Results of Operations

Three months ended March 31, 2020 compared to three months ended March 31, 2019

Overview. The financial information presented in the tables below is comprised of the unaudited condensed consolidated financial information for the three
months ended March 31, 2020 and 2019 (amounts in millions):

                                                                                     Three Months Ended March 31,
                                                                  2020                  2019                $ Variance         % Change


Revenue:
 Telecommunications services                               $           424.7     $             450.2    $          (25.5)              (5.7) %


Operating expenses:
 Cost of telecommunications services                                   237.7                   241.8                (4.1)              (1.7) %
 Selling, general and administrative expenses                          108.2                   104.1                 4.1                3.9 %
 Severance, restructuring and other exit costs                            2.1                    2.8                (0.7)            (25.0) %
 Depreciation and amortization                                           67.5                   62.8                 4.7                7.5 %
Total operating expenses                                               415.5                   411.5                 4.0                1.0 %
Operating income                                                          9.2                   38.7               (29.5)            (76.2) %

Other expenses:
 Interest expense, net                                                 (48.8)                  (48.2)               (0.6)               1.2 %
 Loss on debt extinguishment                                             (2.3)                   —                  (2.3)                *
 Other expenses, net                                                   (43.3)                  (16.0)              (27.3)            170.6 %
Total other expenses                                                   (94.4)                  (64.2)              (30.2)             47.0 %
Loss before income taxes                                               (85.2)                  (25.5)              (59.7)            234.1 %
(Benefit from) provision for income taxes                                (1.9)                   1.8                (3.7)           (205.6) %
Net loss                                                   $           (83.3)    $             (27.3)   $          (56.0)            205.1 %
  * - Not meaningful


Revenue

Our revenue decreased by $25.5 million, or 5.7%, from $450.2 million for the three months ended March 31, 2019 to $424.7 million for the three months
ended March 31, 2020. Recurring revenue was approximately 94% and 93% of total revenue for the three months ended March 31, 2020 and 2019,
respectively. The decrease in revenue was primarily due to negative net installs,



                                                                           34




                                                                         A094
   Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 97 of 181 PageID #: 496




non-recurring revenue, and the effects of fluctuating foreign currency exchange rates, partially offset by an increase in revenue from the 2019 acquisition of
KPN International ("KPN").

On a constant currency basis using the average exchange rates in effect during the three months ended March 31, 2019, revenue would have been higher by
$5.8 million for the three months ended March 31, 2020.
Cost of Telecommunications Services Provided

Cost of telecommunications services provided decreased by $4.1 million, or 1.7%, from $241.8 million for the three months ended March 31, 2019 to
$237.7 million for the three months ended March 31, 2020. Recurring cost of telecommunications services was approximately 92% and 94% of total cost
of telecommunications services for the three months ended March 31, 2020 and 2019, respectively. Consistent with our decrease in revenue, the decrease in
cost of telecommunications services provided was principally driven by a corresponding reduction in costs related to negative net installs, cost synergies
realized in 2020, and the effects of fluctuating foreign currency exchange rates, partially offset by an increase in cost of telecommunications services from
KPN.

On a constant currency basis using the average exchange rates in effect during the three months ended March 31, 2019, cost of telecommunications
services provided would have been higher by $3.1 million for the three months ended March 31, 2020.

Operating Expenses

Selling, General and Administrative Expenses. Selling, general and administrative expenses increased by $4.1 million, or 3.9%, from $104.1 million for the
three months ended March 31, 2019 to $108.2 million for the three months ended March 31, 2020. The following table summarizes the major categories of
selling, general and administrative expenses for the three months ended March 31, 2020 and 2019 (amounts in millions):

                                                                                                                        Three Months Ended March 31,
                                                                                                2020                      2019               $ Variance      % Change
   Employee related compensation (excluding share-based
   compensation)                                                                      $                  59.6      $              53.6   $            6.0          11.2 %
   Share-based compensation                                                                               8.3                      8.7               (0.4)         (4.6) %
   Transaction and integration expense                                                                    2.2                      9.2               (7.0)        (76.1) %
   Other SG&A(1)                                                                                         38.1                     32.6                5.5          16.9 %
   Total                                                                              $                108.2       $             104.1   $            4.1           3.9 %
    (1) Includes   bad debt expense, professional fees, marketing costs, facilities, and other general support costs.


Employee related compensation increased primarily due to an increased investment in headcount. Share-based compensation expense decreases were
primarily driven by the 2015 performance awards becoming fully vested in the first quarter of the prior year. Transaction and integration costs decreased as
we have not made any acquisitions in 2020 and we continue to move away from the 2018 and 2019 Acquisitions. Other SG&A expense increased due to an
increase in bad debt expense.

On a constant currency basis using the average exchange rates in effect during the three months ended March 31, 2019, selling, general and administrative
expenses would have been higher by $1.1 million for the three months ended March 31, 2020.

Severance, Restructuring and Other Exit Costs. For the three months ended March 31, 2020, we incurred severance, restructuring and other exit costs of
$2.1 million primarily costs associated with charges incurred in connection with the termination of certain lease facilities. For the three months ended
March 31, 2019, we incurred exit costs of $2.8 million primarily relating to Interoute Communications Holdings S.A ("Interoute").

Depreciation and Amortization. Amortization of intangible assets decreased $1.0 million or 5%, from $22.1 million for the three months ended March 31,
2019 to $21.1 million for the three months ended March 31, 2020, primarily due to intangibles from prior year acquisitions becoming fully amortized
during the current and prior periods partially offset by the amortization of KPN intangibles. Depreciation expense increased $5.7 million or 14%, from
$40.7 million for the three months ended March 31, 2019 to $46.4 million for the three months ended March 31, 2020, primarily due to depreciation on
prior year and current year capital expenditures as well as depreciation of KPN assets.




                                                                                                    35




                                                                                                A095
   Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 98 of 181 PageID #: 497




Other Expense. Other expense increased by $30.2 million to $94.4 million for the three months ended March 31, 2020, compared to $64.2 million for the
three months ended March 31, 2019. This is primarily due to the three months ended March 31, 2020 including a non-cash mark-to-market loss on
derivative financial instruments of $33.5 million whereas the three months ended March 31, 2019 included a non-cash mark-to-market gain on derivative
financial instruments of $15.3 million.

Liquidity and Capital Resources

In March 2020, the World Health Organization declared the outbreak of COVID-19 to be a pandemic. COVID-19 has caused, and could continue to cause,
significant disruptions to the U.S. and global economy. The impact from the rapidly changing market and economic conditions due to the COVID-19
outbreak is uncertain and ensuring adequate liquidity is critical. We believe that our financial resources will allow us to manage the anticipated impact of
COVID-19 on our business operations for the foreseeable future, but we are continuing to actively monitor the situation and are developing plans should
we begin to experience material impacts.

Cash from operations could also be affected by various risks and uncertainties, including, but not limited to, the effects of the COVID-19 pandemic and
other risks detailed in Part II, Item 1A “Risk Factors” of this Quarterly Report on Form 10-Q. However, based on our current revenue outlook, we believe
that existing cash balances, together with funds generated from operations and amounts available under our credit facility, will be sufficient to finance our
operations and meet our foreseeable cash requirements through at least the next 12 months from the date of this filing.

Our primary sources of liquidity have been cash provided by operations, equity offerings, and debt financings. Our principal uses of cash have been
acquisitions, working capital, capital expenditures, and debt service requirements. We anticipate that our principal uses of cash in the future will be for
acquisitions, capital expenditures, working capital, and debt service.

Management monitors cash flow and liquidity requirements on a regular basis, including an analysis of the anticipated working capital requirements for the
next 12 months from the date of this filing. This analysis assumes our ability to manage expenses, capital expenditures, indebtedness, and the anticipated
revenue trajectory. If our operating performance differs significantly from our forecasts, we may be required to reduce our operating expenses and curtail
capital spending, and we may not remain in compliance with our debt covenants. In addition, if we are unable to fully fund our cash requirements through
operations and current cash on hand, we may need to obtain additional financing through a combination of equity and debt financings and/or renegotiation
of terms of our existing debt. If any such activities become necessary, there can be no assurance that we would be successful in obtaining additional
financing or modifying our existing debt terms.

Our capital expenditures decreased by $10.1 million, or 31.5% from $32.1 million (7.1% of revenue) for the three months ended March 31, 2019 to $22.0
million (5.2% of revenue) for the three months ended March 31, 2020. We anticipate that we will incur capital expenditures of approximately 5-6% of
revenue going forward. We continue to expect that our capital expenditures will be primarily success-based, i.e., in support of specific revenue
opportunities.

We believe that our cash flows from operating activities, in addition to cash on-hand and undrawn Revolving Line of Credit Facility, will be sufficient to
fund our operating activities and capital expenditures for the foreseeable future, and in any event for at least the next 12 to 18 months from the date of this
filing. However, no assurance can be given that this will be the case.

The Company may also, from time-to-time, seek to retire or purchase its outstanding debt obligations and/or equity in open market purchases, block trades,
privately negotiated purchase transactions, exchange transactions or otherwise and may seek to refinance some or all of its indebtedness based upon market
conditions. Any such retirement, purchase or exchange of debt and/or equity may be funded with operating cash flows of the business or other sources and
will depend upon prevailing market conditions, liquidity requirements, contractual restrictions and other factors, and the amounts involved may be material.

Cash Flows

The following table summarizes the components of our cash flows for the three months ended March 31, 2020 and 2019 (amounts in millions):



                                                                              36




                                                                           A096
   Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 99 of 181 PageID #: 498




             Condensed Consolidated Statements of Cash Flows Data                                   Three Months Ended March 31,
                                                                                               2020                2019              $ Variance
             Net cash provided by operating activities                                   $            41.5   $            16.1   $           25.4
             Net cash used in investing activities                                                  (22.0)              (32.6)               10.6
             Net cash provided by financing activities                                                42.9                10.7               32.2


Cash Provided by Operating Activities

Our largest source of cash provided by operating activities is monthly recurring revenue from our clients. Our primary uses of cash are payments to
network suppliers, compensation-related costs, interest expense, and third-party vendors such as agents, contractors, and professional service providers.

Net cash flows from operating activities increased by $25.4 million, from $16.1 million for the three months ended March 31, 2019 to $41.5 million for the
three months ended March 31, 2020. This increase was primarily due to the three months ended March 31, 2019 being negatively impacted by a use of cash
related to an increase in accounts receivable, due to the integration of Interoute's clients into GTT's billing system, which led to delays in invoice deliveries
and corresponding client payments, as well as lower non-recurring cash payments for severance and exit costs, and for transaction and integration costs
during three months ended March 31, 2020.

Cash Used in Investing Activities

Our primary uses of cash include acquisitions, purchases of client contracts, and capital expenditures.

Net cash flows used in investing activities decreased by $10.6 million, from $32.6 million for the three months ended March 31, 2019 to $22.0 million for
the three months ended March 31, 2020.

Cash used for the three months ended March 31, 2020 consisted of capital expenditures of approximately $22.0 million. Cash used for the three months
ended March 31, 2019 consisted of $0.5 million of additional cash consideration paid for API and capital expenditures of $32.1 million.

Cash Provided by Financing Activities

Our primary source of cash from financing activities are proceeds from debt and equity issuances. Our primary use of cash for financing activities is the
refinancing of our debt and repayment of principal pursuant to the debt agreements.

Net cash flows provided by financing activities increased by $32.2 million, from $10.7 million for the three months ended March 31, 2019 to $42.9 million
for the three months ended March 31, 2020. Cash provided for the three months ended March 31, 2019 consisted primarily of proceeds from the Revolving
Line of Credit Facility, partially offset by repayments of principal on term loans and other secured borrowings. Cash provided for the three months ended
March 31, 2020 consisted primarily of net proceeds from the 2020 EMEA Term Loan Facility, partially offset by net repayments on the Revolving Line of
Credit Facility, payment of debt issuance costs in connection with Amendment No. 2 to the 2018 Credit Agreement, and repayments of principal on term
loans and other secured borrowings.

Contractual Obligations and Commitments

The following table summarizes our significant contractual obligations as of March 31, 2020 (amounts in millions):



                                                                               37




                                                                            A097
 Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 100 of 181 PageID #: 499




                                                                   Total               Less than 1 year              1-3 years             3-5 years       More than 5 years
  Term loans                                              $            2,690.5       $                 27.6      $          55.2       $          55.2     $        2,552.5
  7.875% senior note                                                     575.0                          —                        —               575.0                  —
  Other secured loans                                                       2.1                         2.1                      —                     —                —
  Revolving line of credit                                                 65.0                         —                        —                65.0                  —
  Operating leases                                                       390.6                         87.6                138.7                  75.6                88.7
  Finance leases                                                         137.2                          6.4                 10.3                  10.6               109.9
  Network supplier agreements (1)                                      1,185.9                        369.1                639.6                 111.6                65.6
  Other (2)                                                                34.8                        13.3                      9.7               5.2                  6.6
                                                          $            5,081.1       $                506.1      $         853.5       $         898.2     $        2,823.3
    (1) Excludes   contracts where the initial term has expired and we are currently in month-to-month status.
    (2) "Other"   consists of vendor contracts associated with network monitoring and maintenance services.


Off-Balance Sheet Arrangements

As of March 31, 2020, we did not have any off-balance sheet arrangements, other than the contractual obligations disclosed in the table above, that have or
are reasonably likely to have a current or future effect on our financial condition, changes in financial condition, revenues or expenses, results of
operations, liquidity, capital expenditures, or capital resources that is material to investors.

Non-GAAP Financial Measures

In addition to financial measures prepared in accordance with accounting principles generally accepted in the United States ("GAAP"), from time to time
we may use or publicly disclose certain "non-GAAP financial measures" in the course of our financial presentations, earnings releases, earnings
conference calls, and otherwise. For these purposes, the U.S. Securities and Exchange Commission ("SEC") defines a "non-GAAP financial measure" as a
numerical measure of historical or future financial performance, financial positions, or cash flows that (i) exclude amounts, or is subject to adjustments that
effectively exclude amounts, included in the most directly comparable measure calculated and presented in accordance with GAAP in financial statements,
and (ii) include amounts, or is subject to adjustments that effectively include amounts, that are excluded from the most directly comparable measure so
calculated and presented.

Non-GAAP financial measures are provided as additional information to investors to provide an alternative method for assessing our financial condition
and operating results. We believe that these non-GAAP measures, when taken together with our GAAP financial measures, allow us and our investors to
better evaluate our performance and profitability. These measures are not in accordance with, or a substitute for, GAAP, and may be different from or
inconsistent with non-GAAP financial measures used by other companies. These measures should be used in addition to and in conjunction with results
presented in accordance with GAAP and should not be relied upon to the exclusion of GAAP financial measures.

Pursuant to the requirements of Regulation G, whenever we refer to a non-GAAP financial measure we will also generally present the most directly
comparable financial measure calculated and presented in accordance with GAAP, along with a reconciliation of the differences between the non-GAAP
financial measure we reference with such comparable GAAP financial measure.

Adjusted Earnings before Interest, Taxes, Depreciation and Amortization ("Adjusted EBITDA")

Adjusted EBITDA is defined by us as income/(loss) before interest, income taxes, depreciation and amortization ("EBITDA") adjusted to exclude
severance, restructuring and other exit costs, acquisition-related transaction and integration costs, losses on extinguishment of debt, share-based
compensation, and from time to time, other non-cash or non-recurring items.

We use Adjusted EBITDA to evaluate operating performance, and this financial measure is among the primary measures we use for planning and
forecasting future periods. We further believe that the presentation of Adjusted EBITDA is relevant and useful for investors because it allows investors to
view results in a manner similar to the method used by management and makes it easier to compare our results with the results of other companies that
have different financing and capital structures. In addition, we have debt covenants that are based on a leverage ratio that utilizes a modified EBITDA
calculation, as defined by our Credit



                                                                                                 38




                                                                                             A098
 Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 101 of 181 PageID #: 500




Agreement. The modified EBITDA calculation is similar to our definition of Adjusted EBITDA; however, it includes the pro forma Adjusted EBITDA of
and expected cost synergies from the companies acquired by us during the applicable reporting period. Finally, Adjusted EBITDA results, along with other
quantitative and qualitative information, are utilized by management and our compensation committee for purposes of determining bonus payouts to our
employees.
The following is a reconciliation of Adjusted EBITDA from Net loss (amounts in millions):

                                                                                           Three Months Ended March 31,
                                                                                             2020                        2019
                       Net loss                                                      $              (83.3)   $                  (27.3)
                        Provision for (benefit from) income taxes                                    (1.9)                        1.8
                        Interest expense, net                                                        48.8                        48.2
                        Other expenses (income), net                                                 43.3                        16.0
                        Loss on debt extinguishment                                                   2.3                         —
                        Depreciation and amortization                                                67.5                        62.8
                        Severance, restructuring and other exit costs                                 2.1                         2.8
                        Transaction and integration costs                                             2.2                         9.2
                        Share-based compensation                                                      8.3                         8.7
                         Adjusted EBITDA                                             $               89.3    $                  122.2


Free Cash Flow

Free Cash Flow is defined by us as net cash provided by operating activities less purchases of property and equipment.

We use Free Cash Flow as a measure to evaluate cash generated through normal operating activities. We believe that the presentation of Free Cash Flow is
relevant and useful to investors because it provides a measure of cash available to pay the principal on our debt and pursue acquisitions of businesses or
other strategic investments or uses of capital.

The following is a reconciliation of Free Cash Flow from Cash provided by operating activities (amounts in millions):

                                                                                           Three Months Ended March 31,
                                                                                             2020                        2019
                        Net cash provided by operating activities                   $                41.5    $                   16.1
                        Purchases of property and equipment                                         (22.0)                      (32.1)
                        Free Cash Flow                                              $                19.5    $                  (16.0)




                                                                            39




                                                                         A099
 Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 102 of 181 PageID #: 501




ITEM 3. QUANTITATIVE AND QUALITATIVE DISCLOSURES ABOUT MARKET RISK

We are exposed to certain market risks. These risks, which include interest rate risk and foreign currency exchange risk, arise in the normal course of our
business rather than from trading activities.

Interest Rate Sensitivity

Our exposure to market risk for changes in interest rates is primarily related to our outstanding term loans and revolving loans. As of March 31, 2020, we
had $2,690.5 million in term loans and $65.0 million in revolving loans with variable interest rates. The interest expense associated with our term loan and
revolving loan will vary with market rates.

The US Term Loan Facility carries an interest rate equal to either Base Rate Loans with applicable margin at 1.75% or Eurocurrency Loans at 2.75%,
subject to a floor of 0.00%. Based on current rates, a hypothetical 100 basis point increase in Eurodollar rate would increase annual interest expense by
approximately $7.4 million, which would decrease our income and cash flows by the same amount. This sensitivity analysis takes into account the impact
of the LIBOR-based interest rate swaps entered into during 2018.

The EMEA Term Loan Facility carries an interest rate equal to the European Money Markets Institute EURIBOR plus the applicable margin of 3.25%,
subject to a EURIBOR floor of 0.00%. Based on current rates, a hypothetical 100 basis point increase in EURIBOR rate would increase annual interest
expense by approximately $4.0 million, which would decrease our income and cash flows by the same amount. This sensitivity analysis takes into account
the impact of the EURIBOR-based interest rate swap entered into during 2018.

We may enter into additional derivative financial instruments in the future.

Exchange Rate Sensitivity

Our exposure to market risk for changes in foreign currency rate relates to our global operations. Our condensed consolidated financial statements are
denominated in U.S. Dollars, but a portion of our revenue and expenses are recorded in the local currency of our foreign subsidiaries. Accordingly, changes
in exchange rates between the applicable foreign currency and the U.S. Dollar will affect the translation of each foreign subsidiary’s financial results into
U.S. Dollars for purposes of reporting consolidated financial results.

The following is a summary of our revenues and expenses generated by non-US entities for the three months ended March 31, 2020:

                                                                     Three Months Ended March 31, 2020
                                                           Cost of
                                                                                 Selling, general and      Depreciation and
                              Revenues               Telecommunication                                                              Interest expense, net
                                                                               administrative expenses      amortization
                                                          Services
    EUR                                   39 %                       32 %                        32 %                     39 %                       21 %
    GBP                                   12 %                       22 %                         7%                      10 %                        1%
    Other                                  2%                         3%                          1%                       3%                        —%
    Total non-US                          53 %                       57 %                        40 %                     52 %                       22 %


We did not have any foreign currency derivatives as of March 31, 2020 but we may enter into derivative financial instruments in the future.

ITEM 4. CONTROLS AND PROCEDURES

Evaluation of Disclosure Controls and Procedures

Our management carried out an evaluation required by Rule 13a-15 under the Securities Exchange Act of 1934, as amended (the “Exchange Act”), under
the supervision of and with the participation of our Chief Executive Officer (“CEO”) and Chief Financial Officer (“CFO”), of the effectiveness of our
disclosure controls and procedures as defined in Rule 13a-15 and 15d-15 under the Exchange Act (“Disclosure Controls”).




                                                                               40




                                                                            A100
 Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 103 of 181 PageID #: 502




Based on our evaluation, our CEO and CFO concluded that our disclosure controls and procedures are designed at a reasonable assurance level and are
effective to provide reasonable assurance that information we are required to disclose in reports that we file or submit under the Exchange Act is recorded,
processed, summarized and reported within the time periods specified in Securities and Exchange Commission rules and forms and that such information is
accumulated and communicated to our management, including our CEO and CFO, as appropriate, to allow timely decisions regarding required disclosure.

The CEO and the CFO, with assistance from other members of management, have reviewed the effectiveness of our disclosure controls and procedures as
of March 31, 2020, and based on their evaluation, have concluded that the disclosure controls and procedures were effective as of such date.

Changes in Internal Control over Financial Reporting

There were no changes in our internal control over financial reporting (as defined in Rules 13a-15(f) and 15d-15(f) under the Exchange Act) as of
March 31, 2020, that have materially affected, or are reasonably likely to materially affect our internal control over financial reporting.




                                                                            41




                                                                         A101
  Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 104 of 181 PageID #: 503




                                                           PART II – OTHER INFORMATION

ITEM 1. LEGAL PROCEEDINGS

From time to time, we are party to legal proceedings arising in the normal course of business. Except as disclosed below, we do not believe that we are
party to any current or pending legal action that could reasonably be expected to have a material adverse effect on our financial condition or results of
operations and cash flow.

On July 30, 2019, a purported class action complaint was filed against the Company and certain of its current and former officers and directors in the U.S
District Court for the Eastern District of Virginia (Case No. 1:19-cv-00982) on behalf of certain GTT stockholders. The complaint alleges that defendants
made false or misleading statements and omissions of purportedly material fact, in violation of Sections 10(b) and 20(a) of the Securities Exchange Act of
1934 and Rule 10b-5 thereunder, in connection with disclosures relating to GTT's acquisition and integration of Interoute Communications Holdings S.A.
The complaint seeks unspecified damages. The Company believes that the claims in this lawsuit are without merit and intends to defend against them
vigorously. At this time, no assessment can be made as to its likely outcome or whether the outcome will be material to the Company.

ITEM 1A. RISK FACTORS

The following risk factor supplements the risk factors described under Part I, Item 1A. "Risk Factors” in our Annual Report on Form 10-K for the year
ended December 31, 2019, and should be read in conjunction with the other risk factors presented in the Annual Report on Form 10-K.

The COVID-19 pandemic and the resulting macroeconomic disruption have materially affected how we and our customers are operating our
businesses, and the duration and extent to which this will impact our future results of operations and overall financial performance remains uncertain.

In March 2020, the World Health Organization declared the outbreak of COVID-19 to be a global pandemic. COVID-19 has caused, and could continue to
cause, significant disruptions to the United States and global economy and has contributed to significant volatility and negative pressure in financial
markets. The global impact of the outbreak is continually evolving. Certain states and cities, including those in which our offices are located, have also
reacted by instituting quarantines, restrictions on travel, “shelter in place” rules, and restrictions on the types of business that may continue to operate.

As of the date of this Quarterly Report on Form 10-Q, we have temporarily closed our offices (including our corporate headquarters) in the United States
and several other impacted locations and implemented certain travel restrictions, both of which have begun to disrupt how we operate our business. In
addition, the conditions caused by the COVID-19 pandemic could adversely affect our clients' ability or willingness to purchase our service offerings, delay
prospective clients' purchasing decisions, adversely impact our ability to provide or deliver services to our clients, delay the provisioning of our service
offerings, or lengthen payment terms, all of which could adversely affect our future sales, operating results and overall financial performance.

While the potential economic impact brought by COVID-19 may be difficult to assess or predict, the pandemic has resulted in significant disruption of
global financial markets, and a recession or long-term market correction resulting from the spread of COVID-19 could cause severe disruption and
instability in the global financial markets or deteriorations in credit and financing conditions, which could make it difficult for us to access debt and equity
capital on attractive terms, or at all, and impact our ability to fund business activities and repay debt on a timely basis.

The duration and extent of the impact from the COVID-19 pandemic depends on future developments that cannot be accurately predicted at this time, such
as the severity and transmission rate of the virus, the extent and effectiveness of containment actions and the impact of these and other factors on our
employees, customers, partners and vendors. If we are not able to respond to and manage the impact of such events effectively, our business will be
harmed.

ITEM 2. UNREGISTERED SALES OF EQUITY SECURITIES AND USE OF PROCEEDS

None.


ITEM 3. DEFAULTS UPON SENIOR SECURITIES




                                                                              42




                                                                           A102
 Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 105 of 181 PageID #: 504




None.

ITEM 4. MINE SAFETY DISCLOSURES

None.

ITEM 5. OTHER INFORMATION

None.




                                       43




                                      A103
    Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 106 of 181 PageID #: 505




ITEM 6. EXHIBITS

   The following exhibits, which are numbered in accordance with Item 601 of Regulation S-K, are filed herewith or, as noted, incorporated by reference
herein:

Exhibit
Number                                                                 Description of Document
3.1               Second Amended and Restated Certificate of Incorporation, dated October 16, 2006 (incorporated herein by reference to Exhibit 3.1
                  to the Registrant’s Current Report on Form 8-K filed October 19, 2006).
3.2               Certificate of Amendment to Second Amended and Restated Certificate of Incorporation, dated December 31, 2013 (incorporated
                  herein by reference to Exhibit 3.1 to the Registrant’s Current Report on Form 8-K filed January 6, 2014).
3.3               Certificate of Designations (incorporated herein by reference to Exhibit 3.1 to the Registrant’s Current Report on Form 8-K filed
                  with the Commission on August 8, 2019).
3.4               Amended and Restated By-laws, dated April 16, 2019 (incorporated by reference to Exhibit 3.1 to the Registrant’s Current Report on
                  Form 8-K filed April 22, 2019).
3.5               Amendment No. 1 to Amended and Restated Bylaws of GTT Communications, Inc. (incorporated herein by reference to Exhibit 3.1
                  to the Registrant’s Current Report on Form 8-K filed February 25, 2020).
10.1*             Amendment No. 2 to Credit Agreement, dated as of February 28, 2020, among GTT Communications, Inc., a Delaware corporation,
                  as the borrower, GTT Communications B.V., KeyBank National Association, as administrative agent, and the lenders party thereto.
10.2+             Employment Agreement, dated April 6, 2020, between Steven Berns and GTT Communications, Inc. (incorporated herein by
                  reference to Exhibit 10.1 to the Registrant's Current Report on Form 8-K filed April 6, 2020).
10.3*+            Employment Agreement, dated March 10, 2014, by and between Global Telecom & Technology Americas, Inc. and Daniel M.
                  Fraser,
10.4*+            Amendment No. 1 to the Employment Agreement, dated October 17, 2019, by and between GTT Americas, LLC (formerly Global
                  Telecom & Technology Americas, Inc.) for Daniel M. Fraser.
31.1*             Certification of Chief Executive Officer of the Registrant, pursuant to Rules 13a-14(a) of the Securities Exchange Act of 1934.
31.2*             Certification of Chief Financial Officer of the Registrant, pursuant to Rules 13a-14(a) of the Securities Exchange Act of 1934.
32.1**            Certification of Chief Executive Officer of the Registrant, pursuant to 18 U.S.C. Section 1350, as adopted pursuant to Section 906 of
                  the Sarbanes-Oxley Act of 2002.
32.2**            Certification of Chief Financial Officer of the Registrant, pursuant to 18 U.S.C. Section 1350, as adopted pursuant to Section 906 of
                  the Sarbanes-Oxley Act of 2002.
101.SCH*          Inline XBRL Taxonomy Extension Schema Document.
101.CAL*          Inline XBRL Taxonomy Extension Calculation Linkbase Document.
101.DEF*          Inline XBRL Taxonomy Extension Definition Linkbase Document.
101.LAB*          Inline XBRL Taxonomy Extension Label Linkbase Document.
101.PRE*          Inline XBRL Taxonomy Extension Presentation Linkbase Document.
104*              Cover Page Interactive Data File (formatted as inline XBRL with applicable taxonomy extension information contained in Exhibits
                  101.*)


*        Filed herewith
**       Furnished herewith
+        Denotes a management or compensatory plan or arrangement




                                                                             44




                                                                          A104
 Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 107 of 181 PageID #: 506




                                                                  SIGNATURES

   Pursuant to the requirements of the Securities Exchange Act of 1934, the registrant has duly caused this report to be signed on its behalf by the
undersigned, thereunto duly authorized.

                                                                                    GTT Communications, Inc.


                                                                                    By: /s/ Richard D. Calder, Jr.
                                                                                          Richard D. Calder, Jr.
                                                                                          President, Chief Executive Officer and
                                                                                          Director (Principal Executive Officer)

                                                                                    By: /s/ Steven Berns
                                                                                          Steven Berns
                                                                                          Chief Financial Officer
                                                                                          (Principal Financial Officer)

                                                                                    By: /s/ Daniel M. Fraser
                                                                                          Daniel M. Fraser
                                                                                          Senior Vice President, Corporate Controller and
                                                                                           (Principal Accounting Officer)
Date:   May 8, 2020




                                                                        45




                                                                      A105
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 108 of 181 PageID #: 507

 DiLorenzo v. Edgar, Not Reported in F.Supp.2d (2004)
 2004 WL 609374

                                                                   Executive Officer and Chairman of the Board. Edgar was
                                                                   the Executive Vice President and Vice Chairman. Guillemin
                   2004 WL 609374
                                                                   was the Chief Financial Officer and Treasurer. On or about
     Only the Westlaw citation is currently available.
                                                                   May 12, 2003, the Former Director defendants purchased in
       United States District Court, D. Delaware.
                                                                   aggregate 7,297,298 shares of dELiA*s common stock at a
     Stephen J. DILORENZO, derivatively on behalf                  price of $0.37 per share for a total of $2.7 million. (D.I.1, ¶ 12)
        of dELiA*S Corp. and Alloy, Inc., Plaintiff,               Of this amount Kahn purchased 4,054,054 shares; Karetsky
                           v.                                      purchased 2,702,703 shares; Edgar purchased 337,838 shares;
                                                                   and Guillemin purchased 202,703 shares. Further, dELiA*s
        Christopher EDGAR, Geraldine Karestky,
                                                                   issued to the Former Director defendants a total of 600,000
       Stephen I. Kahn, Evan Guillemin, dELiA*S
                                                                   warrants to purchase shares at $0.37 a share.
            Corp., and Alloy, Inc., Defendants.
                                                                   3. On July 30, 2003, dELiA*s entered into an agreement
                    No. Civ. 03–841–SLR.
                                                                   with Alloy to conduct a tender offer for all of the publicly
                               |
                                                                   held shares of dELiA*s. At that time, Karetsky and Kahn
                      March 24, 2004.
                                                                   entered into an agreement to support the merger and tender
 Attorneys and Law Firms                                           their shares. Kahn, Edgar and Guillemin each received
                                                                   employment agreements with Alloy upon the effective date
 Theodore J. Tacconelli, Ferry, Joseph & Pearce, P.A.,             of the merger. (Id., ¶ 10, 15)
 Wilmington, DE, for Plaintiff.
                                                                   4. On August 6, 2003, Dodger Acquisition Corp., a direct
 Allen M. Terrell, Jr., Richards, Layton & Finger, Jon E.
                                                                   wholly owned subsidiary of Canal Park Trust and an indirect
 Abramczyk, Morris, Nichols, Arsht & Tunnell, Wilmington,
                                                                   wholly owned subsidiary of Alloy, commenced a tender offer
 DE, for Defendants.
                                                                   for 100% of dELiA*s shares at a price of $.0928 per share.
                                                                   (Id., ¶ 25; D.I. 12, at ex. 1) Plaintiff contends that the Former
                                                                   Director defendants obtained short-swing profits in violation
                 MEMORANDUM ORDER                                  of § 16(b) as a result of an August 6, 2003 tender-offer by
                                                                   Alloy to dELiA*s shareholders for a cash-out merger between
 ROBINSON, J.
                                                                   the corporations.
  *1 At Wilmington, this 24 th day of March, 2004, having
                                                                   5. During the offer period, plaintiff commenced the present
 reviewed the motions of defendants to dismiss (D.I.10, 13),
                                                                   action but did not tender his shares. On September 7, 2003,
 and the memoranda submitted therewith;
                                                                   the merger closed and plaintiff, along with other nontendering
                                                                   shareholders, was cashed-out and his shares canceled. Canal
 IT IS ORDERED that defendants' motions (D.I.10, 13) to
                                                                   Park Trust is now the sole shareholder of dELiA*s stock.
 dismiss are denied for the reasons that follow:
                                                                   (D.I.12)
 1. Plaintiff filed this derivative action on August 27, 2003
                                                                   6. Plaintiff was a dELiA*s shareholder at the time of the filing
 alleging violations of § 16(b) of the Securities Exchange Act
                                                                   of the complaint. Plaintiff also contends that at the time of the
 of 1934, codified at 15 U.S.C. § 78p(b). (D.I.1) The suit
                                                                   transaction he was an Alloy shareholder and has maintained
 is brought on behalf of dELiA*s Corporation (“dELiA*s”)
                                                                   that interest. Plaintiff seeks a disgorgement of $4,071,892 in
 and Alloy, Inc. (“Alloy”), and seeks to recover short-swing
                                                                   profits received by the Former Director defendants as a result
 profits obtained by defendants Christopher Edgar, Geraldine
                                                                   of the transaction. Plaintiff also seeks $334,800 related to the
 Karetsky, Stephen Kahn and Evan Guillemin (“Former
                                                                   acquisition of the 600,000 warrants.
 Director defendants”). On October 16, 2003, the defendants
 filed motions to dismiss pursuant to Fed.R.Civ.P. 12(b) 1 and
                                                                    *2 7. Defendants' motions to dismiss contend that plaintiff's
 12(b)(6). (D.I.10, 13)
                                                                   complaint fails for a lack of standing because he is no longer
                                                                   a shareholder of dELiA*s and because he failed to make
 2. During the relevant time period, the Former Director
                                                                   demand upon the corporation's board of directors.
 defendants were directors of dELiA*s. Kahn was the Chief


                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                                1

                                                                 A106
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 109 of 181 PageID #: 508

 DiLorenzo v. Edgar, Not Reported in F.Supp.2d (2004)
 2004 WL 609374

                                                                          ownership, only that he has “some continuing financial
 8. Standard of Review. In analyzing a motion to dismiss                  stake in the litigation” so as to satisfy minimum standing
 pursuant to Rule 12(b)(6), the court must accept as true all             requirements imposed by the jurisdictional limitations of
 material allegations of the complaint and it must construe the           Article III. See id. at 125.
 complaint in favor of the plaintiff. See Trump Hotels & Casino
 Resorts, Inc. v. Mirage Resorts, Inc., 140 F.3d 478, 483 (3d              *3 12. In the present case, plaintiff's complaint alleges that
 Cir.1998). “A complaint should be dismissed only if, after               he owned shares of stock issued by dELiA*s at the time
 accepting as true all of the facts alleged in the complaint,             he filed the present action. Consequently, plaintiff satisfied
 and drawing all reasonable inferences in the plaintiff's favor,          the statutory requirements for standing at the time the suit
 no relief could be granted under any set of facts consistent             was instituted. Defendants contend, however, that plaintiff is
 with the allegations of the complaint.” Id. Claims may be                no longer a shareholder and lacks the requisite standing to
 dismissed pursuant to a Rule 12(b)(6) motion only if the                 maintain the suit. Plaintiff argues that his ownership of shares
 plaintiff cannot demonstrate any set of facts that would entitle         in Alloy provide a basis for his continuing financial interest
 him to relief. See Conley v. Gibson, 355 U.S. 41, 45–46, 78              in the outcome of the litigation.
 S.Ct. 99, 2 L.Ed.2d 80 (1957). The moving party has the
 burden of persuasion. See Kehr Packages, Inc. v. Fidelcor,               13. In Gollust, the Supreme Court considered the effect of a
 Inc., 926 F.2d 1406, 1409 (3d Cir.1991).                                 stock-exchange merger upon the plaintiff's previously filed §
                                                                          16(b) action. The unanimous Court concluded that although
 9. In considering a motion to dismiss, a court may                       plaintiff was no longer a shareholder of the issuer, as his
 consider Securities Exchange Commission documents that                   stock was exchanged for stock in the new corporation, he
 are expressly relied upon in the complaint. See In re                    nonetheless had the minimal financial interest in the outcome
 Burlington Coat Factory Sec. Litig., 114 F.3d 1410, 1426 (3d             of the litigation to satisfy constitutional concerns. Id. at
 Cir.1997); Indeck Maine Energy, L.L.C. v. ISO New England                126–28. Consequently, under Gollust, where a plaintiff has
 Inc., 167 F.Supp.2d 675 (D.Del.2001). Further, on a motion               standing at the commencement of the suit, an involuntary
 to dismiss the court may take judicial notice of the contents            change in his status as a security holder resulting from a
 of documents required by law to be filed, and actually filed,            restructuring will not affect his standing to maintain the suit
 with federal or state officials. See Oran v. Stafford, 226 F.3d          so long as minimal constitutional requirements are satisfied
 275, 289 (3d Cir.2000); Ieradi v. Myland Lab, Inc., 230 F.3d             through the presence of some financial interest in the outcome
 594, 600 n. 3 (3d Cir.2000) (citing Fed.R.Evid. 201).                    of the litigation.

 10. Standing under Section 16(b). Section 16(b) establishes              14. In the present case, the major distinguishing factor is the
 strict liability for covered individuals who engage in the sale          form of restructuring. Instead of a stock-exchange merger,
 or purchase of a covered security. 15 U.S.C. § 78p(b). The               dELiA*s effectuated a cash-out merger. The court concludes
 right of recovery under § 16(b) is held, however, solely by              that § 16(b)'s remedial purpose should not be truncated by the
 the issuer of the security. Id. A shareholder may bring a                legal nuances of the corporate restructuring. A shareholder of
 derivative action “in the name and in behalf of the issuer if            a parent corporation has a financial interest, albeit tenuous,
 the issuer shall fail or refuse to bring such suit within sixty          in the disgorgement of profits obtained by insiders of a
 days after request or shall fail diligently to prosecute the same        corporate subsidiary. Although Congress did not provide
 thereafter.” Id.                                                         statutory standing for such a party to institute a § 16(b) suit, 1
                                                                          a shareholder of a parent corporation has a cognizable interest
 11. There are three requirements for shareholder standing to             for purposes of satisfying constitutional requirements. See
 bring suit under § 16(b). See Gollust v. Mendell, 501 U.S.               Allen v. Wright, 468 U.S. 737, 751, 104 S.Ct. 3315, 82 L.Ed.2d
 116 (1991). First, the plaintiff must own a security within              556 (1984) (“A plaintiff must allege personal injury fairly
 the meaning of the section. Second, the security held by the             traceable to the defendant's allegedly unlawful conduct and
 plaintiff must be a security of the issuer of the security traded        likely to be redressed by the requested relief.”). Consequently,
 by the covered individual. Third, the plaintiff must own a               the court concludes that plaintiff satisfies the constitutional
 security of the issuer at the time the § 16(b) action is instituted.     requirements to maintain the suit.
 Id. at 123–24. Unlike a typical shareholder derivative action,
 there is not a requirement that the plaintiff maintain continual



                  © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                                    2

                                                                        A107
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 110 of 181 PageID #: 509

 DiLorenzo v. Edgar, Not Reported in F.Supp.2d (2004)
 2004 WL 609374

 1                                                                         accept as true plaintiff's allegations of demand futility. Id. at
        Where a shareholder of a parent corporation brings a
                                                                           380.
        suit against a subsidiary of the parent under a derivative
        theory, the suit is referred to as double derivative
                                                                            *4 17. In the present case, plaintiff pleads demand futility
        in nature. Section 16(b) suits premised upon double
        derivative standing have been rejected by a majority of
                                                                           stating that he “has not made demand on dELiA*s Board of
        courts. See Lewis v. McAdam, 762 F.2d 800, 804 (9th                Directors because such demand would be futile in view of
        Cir.1985) (concluding that standing does not exist in              Alloy's acquisition of the company and defendants' control
        a cash-stock merger); Untermeyer v. Valhil, Inc., 665              of dELiA*s Board.” (D.I.1, ¶ 28) Plaintiff's allegations of
        F.Supp. 297, 300–01 (S.D.N.Y.1987) (concluding that                control are supported by those documents submitted by
        standing does not exist in a cash-out merger). These cases         defendants in support of their motion to dismiss. 2 (D.I.12)
        are distinguished, however, because the Supreme Court
                                                                           Further, had plaintiff made a demand, § 16(b) would preclude
        in Gollust differentiated between standing to institute suit
                                                                           him from filing suit until either sixty days had passed or the
        and a sufficient interest to maintain suit. See Gollust, 501
                                                                           board had rejected his demand. Due to the short timing of the
        U.S. at 123–24.
                                                                           merger, plaintiff's shares would be canceled before he would
 15. Demand. Defendants also contend that plaintiff does                   have been permitted to bring suit. The failure of the dELiA*s
 not have standing for failure to satisfy Fed.R.Civ.P. 23.1's              board to bring suit on its own behalf after becoming aware
 requirements for demand. It is clear, however, that Rule 23.1             of plaintiff's suit also supports plaintiff's futility allegations.
 does not apply to actions brought pursuant to § 16(b). For                See Berkwich, 239 F.Supp. at 794. Consequently, for purposes
 example, unlike typical derivative actions, the decision to               of resolving the pending motion to dismiss the court finds
 bring a § 16(b) enforcement action does not enjoy protection              that plaintiff has sufficiently alleged the existence of demand
 of the business judgment rule. See Cramer v. General                      futility.
 Telephone & Elec. Corp., 582 F.2d 259, 276 (3d Cir.1978).
 Similarly, as discussed above, there are no requirements of               2       For example, the Former Director defendants represent
 continuous ownership. See Gollust, 501 U.S. at 124–25.
                                                                                   four of the eleven members of the former dELiA*s and
                                                                                   include three of the four former officers. (D.I. 12, ex.
 16. Where demand would have been futile, courts have                              2 at B–3) Collectively, the Former Director defendants
 excused the requirement under § 16(b). See Berkwich                               owned 37.8% of the dELiA*s stock.
 v. Mencher, 239 F.Supp. 792, 793–94 (S.D.N.Y.1965);
 Grossman v. Young, 72 F.Supp. 375 (S.D.N.Y.1947). On a                    All Citations
 motion to dismiss for failure to state a claim, the court must
                                                                           Not Reported in F.Supp.2d, 2004 WL 609374

  End of Document                                                      © 2020 Thomson Reuters. No claim to original U.S. Government Works.




                 © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                                          3

                                                                       A108
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 111 of 181 PageID #: 510

 EDIX Media Group, Inc. v. Mahani, Not Reported in A.2d (2006)
 2006 WL 3742595

                                                                           See, e.g., 50 Cent, Poor Lil Rich, on Get Rich or Die
                                                                           Tryin' (Shady Records/Aftermath Records/Interscope
                   2006 WL 3742595
                                                                           Records, 2003) (“I let my watch talk for me, my whip
     Only the Westlaw citation is currently available.                     talk for me, my gat [gun] talk for me, BOW!”).

           UNPUBLISHED OPINION. CHECK                               Personal reputation plays a significant role in this dispute.
           COURT RULES BEFORE CITING.                               Plaintiff hired defendant first as an employee and then as
                                                                    an independent contractor to sell advertising space in its
              Court of Chancery of Delaware.                        magazine and on its website. After two years of working
                                                                    together, the relationship between the parties began to
              EDIX MEDIA GROUP, INC., a
                                                                    deteriorate, and plaintiff terminated defendant's contract.
              Delaware corporation, Plaintiff,                      From that moment starts a story of recriminations and
                           v.                                       revenge, accusation and counter-accusation, and pointed
              Parham MAHANI, Defendant.                             language hurled back and forth in a very public manner.

                     No. Civ.A. 2186-N.
                                                                    Plaintiff comes before this Court seeking both damages
                              |
                                                                    and injunctive relief, listing ten different theories under
                  Submitted Nov. 27, 2006.
                                                                    which defendant has violated his duties as an employee or
                              |
                                                                    independent contractor, breached his contractual obligations
                   Decided Dec. 12, 2006.
                                                                    of confidentiality and non-competition, or otherwise revealed
 Attorneys and Law Firms                                            EDIX's secrets and caused it to lose face in the community.
                                                                    Plaintiff asks this Court to enjoin defendant from working
 Matthew F. Boyer and Timothy M. Holly, of Connolly Bove            with plaintiff's clients or customers within its territory, from
 Lodge & Hutz, LLP, Wilmington, Delaware, for Plaintiff.            revealing any further confidential information, and from
                                                                    making any further damaging statements.
 Joseph M. Bernstein, Wilmington, Delaware, for Defendant.
                                                                    The parties disagree upon both legal and factual issues.
                                                                    The provenance of three anonymous emails, two of them
                 MEMORANDUM OPINION                                 sent from accounts controlled by EDIX, remains contested.
                                                                    The parties dispute plaintiff's motivation in terminating
 CHANDLER, J.                                                       defendant's relationship. Over three days of trial testimony, it
                                                                    became clear that plaintiff and defendant even disagree upon
  *1 Before me is a seemingly ordinary dispute in an
                                                                    the factual scope of plaintiff's operations within the industry,
 unusual industry. Plaintiff EDIX Media Group and defendant
                                                                    let alone what activities constitute competition with EDIX's
 Parham Mahani both operate within a multi-billion dollar
                                                                    business.
 “niche” industry concerning after-market modifications to the
 vehicles of automotive enthusiasts. These hobbyists spend
                                                                    Before I may address the legal issues, I must pull from the
 great amounts of time, effort, and money “pimping their
                                                                    evidence submitted by both parties a set of facts to which
 rides” or “tricking out” their cars through such alterations
                                                                    I may apply the law. In disputes such as this, in which
 as vertically-opening doors, bass-heavy audio systems, or
                                                                    passions run high and there is no particular concealment
 highly-customized paint work. Like any group of aficionados,
                                                                    of the parties' distaste for one another, a finder of fact is
 custom car fans employ their own colorful argot, gather
                                                                    challenged to separate reliable testimony from inevitable
 to compete or display their achievements, seek the newest,
                                                                    overstatement. This case presents no exception. The two
 greatest or most stylish customizations in order to stand out,
                                                                    chief witnesses-Lance Burris, the CEO of EDIX, and the
 and most importantly pay attention to events and people
                                                                    defendant himself-both provided testimony that concerns this
 active in their hobby. The world of “whips” is a small one in
                                                                    Court and raises questions as to their credibility. The evidence
 which reputation matters greatly. 1                                overwhelmingly indicates that defendant accessed plaintiff's
                                                                    computer systems and fraudulently contacted dozens, if not
 1      “Whip,” as used in the name of defendant's company          hundreds, of customers while purporting to be an “insider”
        SponsoredWhips, is a slang term for an automobile.          still employed by the firm. On the other hand, evidence



                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                                1

                                                                  A109
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 112 of 181 PageID #: 511

 EDIX Media Group, Inc. v. Mahani, Not Reported in A.2d (2006)
 2006 WL 3742595

 strongly suggests that plaintiff recharacterized defendant's            StreetTrenz magazine and banner advertisements on related
 employment relationship as one of an independent contractor             websites, although testimony suggested that his duties
 not because his duties and activities fairly merited the                occasionally extended beyond these two roles. As a condition
 description but in order to avoid withholding taxes and                 of his employment, defendant executed a non-competition
 providing other benefits. Further, some of Burris's testimony,          and confidentiality agreement, pursuant to which he would:
 both on the stand and in depositions, seemed overly cunning             keep confidential any non-public information provided to
 and calculated, designed to obfuscate rather than enlighten.            him during his period of employment; refrain from soliciting
 Such responses, whatever their intended purpose, do not                 “any Customer for the purpose of transacting business with
 provide comfort to a finder of fact in considering other                [EDIX's] Customers in the products or services provided by
 testimony from the same witness.                                        [EDIX];” make no attempt to interfere with any contractual
                                                                         relationship between EDIX and any independent contractor
  *2 For this reason, I rely very heavily upon the paper                 or employee; and enter into no business relationship with
 record in my findings of fact, and assign little weight to the          an entity “conducting any business which is in competition
 testimonial evidence of either Mahani or Burris. Where I                with respect to [EDIX's] Business or is substantially similar
 credit the testimony of one party or another, I make specific           to Corporation's Business” within the same territory. 3 The
 mention of it, bearing in mind the burdens of proof and                 agreement also specified that defendant would indemnify
 production borne by each party.                                         plaintiff for any attorney's fees arising from enforcement of
                                                                         the agreement.


                    I. FINDINGS OF FACT                                  3      Pl.Ex. 2. The agreement defines Customer as “those
                                                                                readers of [EDIX's] publications, vendors, advertisers,
 A. EDIX employs Mahani                                                         and/or show facility owners and operators who have
 Plaintiff is a Delaware corporation that serves a demographic,                 contracted with the Corporation at any time before or
 mostly consisting of young men, who enjoy modifying and                        during the term of [Mahani's] engagement, or who have
 tuning automobiles. Plaintiff describes its business in the                    contacted [EDIX] or be contacted or solicited by [EDIX]
 broadest possible manner, but evidence presented at trial                      with respect to [EDIX's] Business during the 24 months
 suggests that the bulk of EDIX operations involve selling                      before or at any time during the term of [Mahani's]
 memberships to automotive enthusiasts and advertising space                    employment or engagement, as well as any such person's
 to industry players. Members receive certain exclusive                         or entity's subsidiaries and affiliates.”

 discounts on parts and accessories and a one-year subscription          By all accounts, defendant enjoys modifying cars, attends car
 to StreetTrenz, EDIX's glossy magazine full of the latest news          shows regularly, and is well-connected with other enthusiasts.
 on car shows, how-to modification guides, comely female                 Plaintiff credits him with developing the StreetTrenz web-
 models, and ever-present advertisements. Manufacturers,                 presence on MySpace.com, a strategy that led to several
 resellers, and car shows provide the bulk of EDIX's                     new memberships, and plaintiff raises no doubts as to
 revenue by paying for placement in either StreetTrenz                   defendant's enthusiasm for or experience with the after-
 magazine or on its accompanying website. 2 While plaintiff's            market modification industry. Indeed, Mahani brought more
 internet presence theoretically gives it world-wide reach, its          to the table than merely marketing expertise and technical
 main business markets are eastern Pennsylvania, Delaware,               acumen. His family had a long-standing and personal
 Maryland, and southern New Jersey. Lance Burris is EDIX's               friendship with one of EDIX's customers, a friendship that
 majority owner and President.                                           Mahani quickly put to use. His personal relationship with
                                                                         model Kerry Acteson allowed him to introduce to EDIX
 2                                                                       several models who could grace the pages of StreetTrenz
        Two websites, http://www.streettrenz.com and http://
                                                                         magazine or distribute literature at car shows for EDIX or
        www.myspace .com/streettrenz, were mentioned at trial
                                                                         their clients.
        as belonging to plaintiff. The latter website, hosted on the
        community portal MySpace.com, provided an additional
        channel for EDIX to market to enthusiasts, many of                *3 Nevertheless, the relationship began to sour in early
        whom were also MySpace users.                                    2006, although the parties disagree as to the sources of

 Burris hired defendant Parham Mahani, a Delaware resident,              discontent. 4 On May 14, plaintiff terminated its relationship
 in the summer of 2004 primarily to sell advertising for                 with its “independent contractor,” 5 and although it did listen


                 © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                                      2

                                                                       A110
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 113 of 181 PageID #: 512

 EDIX Media Group, Inc. v. Mahani, Not Reported in A.2d (2006)
 2006 WL 3742595

 to an appeal, eventually told defendant that its decision was                and “StreetTrenz Magazine,” respectively, as opposed to
 final.                                                                       any reference to a position in an external entity.


 4                                                                     B. Mahani's campaign to discredit EDIX
        According to plaintiff, Mahani contacted Sony
        Electronic, Inc. in April 2006, requesting a digital           Mahani did not go quietly. By May 19, plaintiff had already
        camera and various accessories in order to write a             heard from customers that Mahani was contacting them in
        product review. The next month, EDIX learned that Sony         efforts to solicit business for a competing magazine, 6 and
        had received an empty box instead of its camera and            instructed its attorneys to issue Mahani a shot across the
        had been told by defendant that they should file an            bow in the form of a cease and desist letter. Rather than
        insurance claim for the missing item. EDIX conducted an        complying, Mahani took this as a sign that he should resort
        investigation and concluded that digital photos taken by
                                                                       to skullduggery.
        Mahani after the return date on the box contained digital
        imprints matching the missing equipment. On May 14,
                                                                       6      Mr. Alfred Vega, owner of a customization business
        after confronting defendant with this evidence, plaintiff
        terminated his contract. Mahani requested reinstatement               that advertises with EDIX, testified that Mahani offered
        and wrote a letter asking for forgiveness from EDIX's                 him a quarter page advertisement in a to-be-published
        partners, but they denied him any leniency and refused                magazine on May 17. Plaintiff offered no evidence,
        to reconsider.                                                        however, that plans for such a magazine ever left the
           At trial, Mahani disavowed his letter and protested                drawing board.
           his innocence in the Sony matter, suggesting a              Shortly after 6:00 a.m. on May 21, Mahani entered a
           different motive for his termination. On April 3,
                                                                       copy center in Wilmington, Delaware and rented time on a
           2005, EDIX required Mahani-who at that point was
                                                                       computer terminal connected to the internet. From here he
           working as an independent contractor-to submit to
                                                                       gained access to EDIX's mail server using a username and
           a new commission structure. Purportedly addressing
                                                                       password he had acquired during his employment. Within
           a problem with rising receivables, the new structure
           provides for a sliding commission based upon                the next hour, over sixty of plaintiff's largest customers
           collected revenue and penalizes Mahani if Burris            received an email, claiming to be from an insider in the
           “writes” one of his accounts. This agreement provided       StreetTrenz billing department, that contained allegations of
           plaintiff with the potential for a substantial windfall     inflated membership numbers and web traffic statistics. The
           if defendant were to be terminated, as no commission        letter provided details of advertising rates paid by various
           would be required on revenues that had been booked          customers, information which EDIX obviously would not
           but not collected.                                          wish other advertisers to know. Even worse, a second email
           No legal question requires me to make a factual             followed only a few minutes later, supposedly releasing
           finding as to the actual motivation behind Mahani's         all advertisers from their contracts and any payments still
           dismissal, nor are the two alternatives mutually
           exclusive: EDIX may have been quite pleased to
                                                                       due on their accounts. 7 Almost immediately after receiving
           be free of a duplicitous “contractor” while happily         these emails, customers began to call and email plaintiff
           pocketing the resulting profits. I describe the dispute     and defendant asking for explanations. Advertisers began
           in detail to highlight the degree to which the parties      cancelling their contracts.
           differ as to each other's motivations.
 5                                                                     7      Mahani seems to have been unaware that the server logs
        Although plaintiff insists upon characterizing its
                                                                              on computers at EDIX and the copy center could be used
        relationship with defendant in its legal filings as one
                                                                              to verify the location from which he sent the email, or
        of contractor/customer, the April 3, 2006 agreement
                                                                              that the video cameras at the copy center would capture
        renegotiating defendant's commissions certainly seems
                                                                              him at the scene.
        inconsistent with this assertion. The document, a letter
        from Burris with a signature by Mahani to show his             From this point onward, Mahani began a continual and
        consent, states, “You [Mahani] have presented some very        underhanded campaign to discredit EDIX, refusing to cease
        good ideas and I do like where we are going as a company       his activities even after agreeing to a stipulated restraining
        and a team.” (Emphasis added). Mahani's title and
                                                                       order entered by this Court. 8 In emails carrying his own
        company affiliation are given as “Account Executive”
                                                                       name, Mahani's temperate prose merely referred customers
                                                                       to Burris for further information. He reserved his venom for



                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                                      3

                                                                     A111
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 114 of 181 PageID #: 513

 EDIX Media Group, Inc. v. Mahani, Not Reported in A.2d (2006)
 2006 WL 3742595

 messages sent under various aliases. Advertisers received             *4 Disparaging a former employer, however satisfying it
 at least one anonymous email from “Tuner Mag Fan”                    may have been for Mahani, does not pay the bills. While
 encouraging them to “get the diverted dollars” back from             keeping the pressure on EDIX in his spare time, Mahani
 EDIX and to contact defendant directly. On June 6, Mahani            sought a way to make money within the industry. He kept his
 donned yet another mask, and as “StreetTrenz Insider”                contacts current: when Shawn Ramsey of TunerAction asked
 distributed a mass mailing from a computer at his local              if he knew someone who could sit at a car show booth for him,
 YMCA. 9 This last email not only disparaged StreetTrenz'             Mahani recommended a personal friend. 10 When he heard
 s ability to provide value for an advertising dollar and             that Sound of Tri-State or other firms might need models,
 revealed rates that EDIX supposedly had charged to different         he suggested that his girlfriend and her associates work for
 customers, but also described the membership program as              them. And on June 14, he registered SponsporedWhips.com,
 a “scam” and made various none-too-veiled insinuations               a website he would use to pursue his own business. 11
 about Burris's private life. To distract attention from himself,
 Mahani left as a signature only the initials “JB.”                   10     An unclear relationship exists between plaintiff,
                                                                             defendant and TunerAction, a company owned by Shawn
 8      On June 1, 2006, this Court issued a Stipulated                      Ramsey. Ramsey's deposition testimony suggests, as
        Temporary Restraining Order supposedly acceptable to                 an initial matter, that TunerAction exists as little more
        both parties. I enjoined Mahani from making any further              than a website with a few members that never grew
        disclosures of confidential information, from operating a            into a business. Plaintiff accuses Mahani of helping
        business that competes with EDIX, from working with                  Ramsey start a membership program in competition with
        or for EDIX customers, and from engaging in certain                  EDIX, while Ramsey suggests that the program was
        specific communications.                                             his own idea. Similarly, Ramsey accuses Mahani of
 9                                                                           starting a MySpace.com site for TunerAction without his
        Analysis of server logs demonstrates that the message
                                                                             authorization and stealing from him the idea to start a
        was sent from a YMCA where Mahani is a member.
                                                                             company that writes sponsorship proposals.
        Membership records show that Mahani entered the
        YMCA shortly before the June 6 email was distributed.         11     Mahani also registered a MySpace account for
        Nevertheless, Mahani denied having written the email at              SponsoredWhips.com.
        a hearing to show cause why he should not be found in
                                                                      The parties dispute whether SponsoredWhips competes with
        contempt of the temporary restraining order.
                                                                      EDIX and whether Mahani's business violates the terms of
           While it is not entirely impossible that the
           protestations of innocence in defendant's deposition       the restraining order. Both companies seek to attract the
           are sincere, and that his presence at the YMCA that        same types of auto enthusiasts wishing to improve their
           morning is an incredibly unfortunate coincidence, the      vehicles. SponsoredWhips' principle customers and main
           strong preponderance of the evidence suggests that he      source of revenue, however, are enthusiasts who want free
           is the author of the June 6 email. He has certainly        (or heavily discounted) parts from major manufacturers
           presented nothing credible to suggest otherwise.           in exchange for displaying products (and “vinyls”) 12 at
 Shortly after the June 6 email, Burris notified EDIX                 car shows. Mahani's firm offers to evaluate a prospective
 customers that Delaware State Police were investigating              owner's case for sponsorship and write proposals that can be
 defendant. Mahani then distributed a response, entitled “My          sent to manufacturers. SponsoredWhips receives no revenue
 Side,” to those same customers. (Mahani considered this to be        from manufacturers themselves. EDIX, on the other hand,
 a merely “technical violation” of the restraining order issued       receives most of its revenue from advertisers-who may be
 by this Court.) For this infraction, as well as for posting          manufacturers, resellers, car shows, or other industry players-
 the question “Did you get screwed, or scammed, by ‘Sport             in order to put their message before members of EDIX's car
 Compact Pro’, ‘StreetTrenz’ or ‘CarSponsorship.com’?” on a           club.
 website under his control, Mahani was found in contempt on
 June 27, 2006 and ordered to pay plaintiff $5,000.                   12     A vinyl is a sticker that may be affixed to an
                                                                             automobile, often displaying a company's logo. Vinyls
                                                                             are particularly useful to manufacturers or retailers
 C. SponsoredWhips                                                           whose products are installed in places where their logos




                 © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                                     4

                                                                    A112
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 115 of 181 PageID #: 514

 EDIX Media Group, Inc. v. Mahani, Not Reported in A.2d (2006)
 2006 WL 3742595

         are otherwise hidden, e.g., a subwoofer mounted in a          the Deceptive Trade Practices Act (Count X). In addition
         trunk.                                                        to denying all allegations, defendant requests that this Court
 EDIX does offer “a sponsorship” to one member per                     determine SponsoredWhips to be outside the reach of the
 year. This member is chosen by the EDIX editorial staff               parties' non-competition agreement.
 and receives free parts from EDIX advertisers. Plaintiff
 spent considerable time at trial attempting to convince this
 Court that SponsoredWhips assistance as a scrivener was                                       III. ANALYSIS
 “substantially similar” to EDIX's offer of what is, essentially,
 a membership prize. 13 I cannot agree.                                A. Claims involving breaches of confidentiality, non-
                                                                       disclosure and trade secrets
 13                                                                     *5 Counts I, V and VI all turn upon defendant's unlawful
         Burris also testified that he had made several “verbal”
                                                                       disclosure of information belonging to EDIX. Given the facts
         offers to help with sponsorships, but EDIX provided
                                                                       recited above, there can be no doubt that defendant violated
         no evidence that it had ever offered such a service
         commercially or that writing sponsorship proposals was        both his contractual duties and the common law through
         a regular part of EDIX's business. Nor was any written        his series of antagonistic messages. Indeed, the addresses
         evidence presented to suggest that EDIX had ever              contained in the May 21 and June 6 emails themselves
         consummated such an offer.                                    revealed confidential information. When EDIX sent emails
                                                                       to multiple customers, its general practice was to hide the
 Although both businesses appeal to the same automotive
                                                                       list of distributees using a ‘blind carbon copy’ function,
 enthusiasts, manufacturers and trade shows, they do so
                                                                       both to safeguard the privacy of individual recipients' email
 in very different ways. Only in an attenuated sense
                                                                       addresses and to keep the list from falling into competitor's
 does SponsoredWhips provide advertising services for
                                                                       hands. Mahani made no attempt to follow standard corporate
 manufacturers. This is at best a tertiary part of its business,
                                                                       practice, thus exposing this list to the world.
 from which it derives no revenue. Plaintiff also complains that
 SponsoredWhips competes by “advertising” for car shows,
                                                                       Even had Mahani concealed the address list, his emails
 in that it lists dates for events on a specific web page.
                                                                       flagrantly violated his duty to keep information confidential.
 This stretches the concept of advertising beyond its logical
                                                                       To the extent that the information therein was true,
 limit: defendant has placed a calendar of events useful to
                                                                       both messages purported to disclose membership numbers,
 its members on a website, having received no compensation
                                                                       employee salaries, rates charged for advertising, in-kind deals
 from the organizers themselves. This is a far cry from the
 promotions for which EDIX is paid.                                    and other information never given to the general public. 14
                                                                       Mahani's liability for these actions is certain. It remains
                                                                       necessary to consider plaintiff's three counts only because
                                                                       they differ in appropriate legal and equitable remedies
                      II. CONTENTIONS
                                                                       available to plaintiff.
 Although plaintiff's complaint weighs in with ten distinct
 legal theories, they can be usefully grouped into three               14     To attempt to weave a list of truths and untruths from
 categories. The first category involves disclosures of                       the snarled allegations penned by defendant would be
 plaintiff's proprietary information that constitute violations of            inappropriate. If the emails damaged EDIX's reputation
 defendant's contract (Count I), the unlawful use of plaintiff's              among its customers, no good can come from this
                                                                              Court affirming their content. Thankfully, I need make
 trade secrets (Count V), and the breach of common law
                                                                              no determination as to their truth. To the extent that
 duties to an employer (Count VI). The second category
                                                                              any statement in the May 21 or June 6 emails were
 focuses on breaches of the covenant not to compete with
                                                                              confidential and true, Mahani's liability devolves from
 EDIX, including unlawful competition (Count II), unlawful
                                                                              his breach of duties of confidentiality. To the extent that
 solicitation of customers (Count III), and unlawful solicitation             they were false and misleading, he is similarly liable for
 of workers (Count IV). The last category encompasses three                   defamation under Count IX.
 common law claims, unfair competition (Count VII), tortious
                                                                       The breach of contract claim contained in Count I presents
 interference with business relationships (Count VIII), and
                                                                       the most straightforward issue. Plaintiff has proven that
 defamation (Count IX), and a statutory cause of action under
                                                                       defendant breached his agreement and that the breach led to



                 © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                                        5

                                                                     A113
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 116 of 181 PageID #: 515

 EDIX Media Group, Inc. v. Mahani, Not Reported in A.2d (2006)
 2006 WL 3742595

 damages. Mahani agreed to keep confidential “information               competitors could assemble a similar list through information
 not in the public domain ... including ... financial data, ...         in the public domain without a similar expenditure of time
 invoices and other financial statements, ... any and all               and money. Where such assembly would be difficult or
 information concerning Customers, Corporation employee                 impossible, trade secret protection may be appropriate, but
 salaries, ... names, addresses or any other compilation of             “[w]here customers in a particular industry can be easily
 information, written or unwritten, which is used in the                identified, their identity is less likely to be a trade secret....” 19
                            15
 Corporation's business.” His emails contained information              The May 21 and June 6 emails were sent primarily to
 concerning all of these. To the extent that such revelations           advertisers, and the bulk of the list could be compiled simply
 damaged plaintiff, defendant stands responsible for the harm.          by paging through an issue of StreetTrenz magazine and
                                                                        listing the customers found there. To the extent that the list
 15     Pl.Ex. 1.                                                       contained addresses from advertising agencies, rather than
                                                                        advertisers themselves, I am not convinced by plaintiff's
 Count V, involving the unlawful use of trade secrets, requires
                                                                        assertion that compiling this list would require considerable
 more consideration. To prove the misappropriation of a trade
                                                                        efforts on the part of a determined competitor. Nor does
 secret, plaintiff must show first that a trade secret actually
                                                                        the fact that the list contained personal email addresses of
 existed; second, that it was communicated by plaintiff to
                                                                        account representatives elevate it to the status of a trade
 defendant; third, that it was accompanied by an express or
 implied understanding that secrecy would be respected; and             secret. 20 The information may be personal, but marketing
 fourth, that the secret has been improperly used or disclosed          executives by their very nature want to be in contact
                                                                        with potential advertising services. Given the small market
 by plaintiff to defendant's injury. 16 Plaintiff has met the
                                                                        plaintiff described at trial, it seems unlikely that considerable
 last three of these four requirements, but it remains to be
                                                                        expenditure would be necessary to compile plaintiff's list from
 determined which, if any, disclosures qualify as a trade secret.
                                                                        public sources. 21 Nor did plaintiff convincingly demonstrate
 16                                                                     that the list has independent economic value. It is doubtful,
        Delaware Express Shuttle, Inc. v. Older, 2002 WL
                                                                        for instance, that EDIX's competitors would pay for a copy.
        31458243, at *16 (Del. Ch. Oct. 23, 2002).
 Not all confidential information is a trade secret. The                19      Delaware Express Shuttle, Inc., 2002 WL 31458243, at
 Delaware Trade Secrets Act provides three prerequisites                        *18 (quoting Franklin Fibre-Lamitex Corp. v. Marvec
 for trade secret protection. 17 First, the Act protects                        Mfg., Inc., 1997 WL 153825, at *2 (Del. Ch. Mar. 26,
 only information, including but not limited to formulae,                       1997)).
 compilations, patterns, programs, devices, methods,                    20      Mahani used some personal addresses containing the
 techniques, and processes. Second, this information must
                                                                                name of specific customer contacts in his mailing lists,
 derive independent economic value from not generally being
                                                                                but he also included several generic mailboxes (akin to
 known or readily accessible by proper means by other                           “billing@streettrenz.com,” the supposed sender). Such
 people. Third, reasonable steps must be taken to protect                       addresses are often listed on company websites.
 the information. Of the data revealed in the May 21 and
                                                                        21      A list of subscribers to StreetTrenz, on the other hand,
 June 6 emails, only the customer list and listing of prices
 could colorably constitute trade secrets as opposed to simply                  might qualify for trade secret protection. To the extent
                                                                                that EDIX has alleged that Mahani took such a list, it has
 confidential information. 18
                                                                                not proven that Mahani used it to either his advantage or
                                                                                the detriment of EDIX.
 17     6 Del. C. § 2001(4).
                                                                        On the other hand, the rates that advertisers pay to
 18     The distribution numbers mentioned in the email might           EDIX would constitute a trade secret. A magazine such
        arguably constitute trade secrets were they true. Plaintiff     as StreetTrenz derives substantial value by concealing any
        attests that the numbers are false, however, and if             deviations from published rates given to large or favored
        false they would not constitute information given to the        advertisers, as this secrecy helps them to enforce the rate card
        defendant.                                                      with respect to other firms. Mahani willfully and maliciously
  *6 In determining whether a customer list qualifies as a              revealed this information to the world, and as such must
 trade secret, this Court places great weight upon whether



                    © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                                      6

                                                                      A114
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 117 of 181 PageID #: 516

 EDIX Media Group, Inc. v. Mahani, Not Reported in A.2d (2006)
 2006 WL 3742595

 pay EDIX any actual damages arising from his conduct and             more restrictive than an employer's legitimate interests justify
                                              22
 exemplary damages up to twice that value.                            or that is oppressive to an employee.” 28

 22     6 Del. C. § 2003.                                             24     Delaware Express Shuttle, Inc., 2002 WL 31458243, at
                                                                             *11 (quoting McCann Surveyors Inc. v. Evans, 611 A.2d
 Finally, Count VI, concerning Mahani's breach of common
                                                                             1, 3 (Del. Ch.1987)).
 law duties of confidentiality to an employer, either fails
 to state a claim or is wholly redundant and need not                 25     Id.
 be considered. To the extent that plaintiff complains that
                                                                      26     Id.
 defendant disclosed trade secrets, the Uniform Trade Secrets
 Act bars any common law claim.         23
                                         Plaintiff makes no           27     Id.
 attempt to identify confidential information disclosed by            28     See Elite Cleaning Co., Inc. v. Capel, 2006 WL 1565161,
 defendant not covered by the breach of his confidentiality
                                                                             at *8 (Del. Ch. June 2, 2006) (quoting RHIS, Inc. v.
 agreement. Thus, even if Count VI somehow states a claim,
                                                                             Boyce, 2001 WL 1192203, at *6-7 (Del. Ch. Sept. 26,
 its damages are entirely coterminous with those of Count I.
                                                                             2001)).

 23     6 Del. C. § 2007(a) (displacing conflicting common or            1. May the covenant not to compete be enforced as
        statutory law involving trade secrets).                          written?
                                                                      Defendant fails to show a breach of plaintiff's own contractual
 B. Claims involving the agreement not to compete with                duties that might excuse performance. At trial, defendant
 EDIX                                                                 suggested that plaintiff failed to pay commissions due to him
 Plaintiff's reliance upon its covenant not to compete presents       during his last period of employment. Although both parties'
 two difficult issues. As an initial matter, I must determine to      testimony raises suspicions that Mahani should have received
 what degree and in what manner a covenant not to compete             some payment in May, such doubts do not constitute a
 is enforceable. Only then should I decide the extent to which        preponderance of the evidence demonstrating a prior material
 Mahani's actions breached the enforceable aspects of the
                                                                      breach on the part of plaintiff. 29 Nor are there any concerns
 covenant.
                                                                      that the covenant is overbroad in time or geography: the
                                                                      text of the agreement limits its scope to plaintiff's primary
 *7 Covenants not to compete are not subject to mechanical
                                                                      operating areas for a period of two years.
 enforcement. 24 As a policy matter, such covenants concern
 both the legitimate interests of commercial enterprises and          29     Plaintiff's estimate of damages discloses significant
 restrictions on the ability of individuals to support themselves
                                                                             revenue billed in the month of May, and suggests that
 and their families. When considering such agreements, the                   many of the clients who cancelled their advertising
 Court must carefully consider the factual circumstances                     were similarly billed in the months of March and April.
 surrounding both the contract and the parties. 25 The analysis              Plaintiff explained that Mahani did not receive a draw for
 requires two steps. This Court must determine whether                       his commissions within his terminal period because of
 the contract may be enforced at all, taking into account                    low call volume. Given this fact, plaintiff would seem to
 both standard concerns of contract formation such as                        owe defendant commissions unless (a) draws from prior
                                                                             months had not been earned by defendant or (b) plaintiff
 consideration, agreement, or excuse of performance, and two
                                                                             collected absolutely no revenue on defendant's accounts
 specific limitations on covenants not to compete. First, a
                                                                             during that time or (c) none of these accounts were, in
 covenant must be reasonably limited in geography and time.
                                                                             fact, Mahani's.
 Second, the covenant must advance a legitimate interest of
                                                                                Defendant did not present any documentary evidence
 the employer. 26 This Court traditionally exercises discretion                 to suggest that plaintiff in fact collected revenues on
 in specifically enforcing a covenant's terms, balancing the                    these accounts in April or May, and plaintiff's damages
 equities and refusing enforcement where the benefit to the                     claim alone is insufficient to prove the existence of
 employer is ephemeral or the harm to the employee would be                     such revenues. Thus, defendant does not meet the
                                                                                burden required to show a breach of contract. On
 grave. 27 This Court does not enforce an agreement “that is
                                                                                the other hand, plaintiff's assertion that Mahani was
                                                                                owed no money under his April 31, 2006 commission



                 © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                                      7

                                                                    A115
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 118 of 181 PageID #: 517

 EDIX Media Group, Inc. v. Mahani, Not Reported in A.2d (2006)
 2006 WL 3742595

           agreement casts great suspicion upon the plaintiff's                     to enforce a covenant not to compete may have a more
           claims for damages, a matter that I will revisit in my                   limited protectable interest.”); Starkings Court Reporting
           discussion of remedies.                                                  Services, Inc. v. Collins, 313 S.E.2d 614 (N.C.App.1984)
                                                                                    (finding covenant not to compete to exceed legitimate
 Nevertheless, the covenant not to compete may not be
                                                                                    interests of employer where employee was independent
 enforced against defendant as rigidly as plaintiff desires
                                                                                    contractor).
 because it exceeds EDIX's legitimate interests in restricting
 the “substantially similar” operations of an independent                   The traditional employee/employer relationship usually
 contractor. On its face, the Non-Compete and Confidentiality               involves a much more intimate relationship than that of an
 Agreement applies equally to employees and independent                     independent contractor. Independent contractors maintain a
 contractors, but courts traditionally treat the two relationships          greater degree of control over how they accomplish tasks;
                                                                            remain engaged to a much greater extent in a distinct
 distinctly. 30 Although the Court is unaware of a prior
                                                                            occupation or business (as opposed to an employee, who
 Delaware decision directly addressing covenants not to
                                                                            may be asked to perform other reasonable tasks as required);
 compete in the context of employees and independent
 contractors, there are strong reasons to recognize the                     and traditionally work with a lesser degree of supervision. 32
                                                                            Independent contractors are not protected under the Wage
 distinction. 31
                                                                            Act 33 (and thus accept a greater risk of non-payment)
 30                                                                         and are responsible for paying their own income taxes.
         See, e.g., Rypac Packaging Mach. Inc. v. Coakley,
                                                                            Both the traditional and statutory relationships between
         2000 WL 567895, at *13 (Del. Ch. May 1, 2000)
         (differentiating between employees and contractors for
                                                                            employers and employees reflect a closer bond: the employer
         purposes of Wage Act); In re McKelvey v. Manley,                   pays a percentage of the employee's social cost (through
         1997 WL 528001, at *2-3 (Del.Super.Feb. 20, 1997)                  tax contributions or social security payments), must accept
         (describing the difference between employee and                    greater legal duties, and is responsible for the employees' torts
         contractor as a matter for the fact-finder, unbound                in negligence. 34 Firms will in general invest a greater amount
         by parties' own self-description); RESTATEMENT                     of firm-specific know-how in employees than in contractors
         (SECOND) OF AGENCY § 220(2) (providing factors
         for consideration in determining whether one acting
                                                                            who are engaged in a “distinct occupation.” 35
         for another is a servant or an independent contractor,
         including extent to which the master may oversee details           32      RESTATEMENT (SECOND) OF AGENCY § 220(c).
         of the work and extent to which one is engaged in a
                                                                            33      See Rypac Packaging Mach. Inc., 2000 WL 567895, at
         distinct occupation or business).
                                                                                    *13.
 31      Few jurisdictions have directly addressed the effect of
                                                                            34      See Fisher v. Townsend, 695 A.2d 53, 58 (Del.1997).
         independent contracting status on the enforceability of
         covenants not to compete. Most jurisdictions allow such            35      RESTATEMENT (SECOND) OF AGENCY § 220(2)
         agreements with an independent contractor, subject to
                                                                                    (b).
         limitations similar to those on employees. See, e.g.,
         Eichmann v. Nat'l Hosp. and Health Care Services,                   *8 The legitimate economic interests of an employer
         Inc., 719 N.E.2d 1141, 1146 (Ill.App.1999) (finding no             in restricting the substantially similar activities of an
         less scrutiny appropriate to covenants of independent              independent contractor will be more limited than they would
         contractors than employees); Bristol Window and Door,              be with respect to an employee. A firm like EDIX that
         Inc. v. Hoogenstyn, 650 N.W.2d 670 (Mich.App.2002);                hires a salesman as an independent contractor may very
         Quaker City Engine Rebuilders, Inc. v. Toscano, 535                well have a legitimate interest in preventing the contractor
         A.2d 1083, 1087-9 (Pa.Super.1987). Other jurisdictions
                                                                            from engaging in activities that “directly compete” with
         have taken this Court's position that the nature of the
                                                                            the firm after the contract is terminated. Preventing such
         relationship constitutes one factor in considering the
                                                                            a contractor from engaging in any activities “substantially
         enforceable scope of a non-compete agreement. See,
                                                                            similar” to plaintiff's activities, however, raises the risk that
         e.g., Hope Found., Inc., v. Edwards, 2006 WL 3247141,
         at *9 (S.D.Ind. Apr. 12, 2006) (“If a person is an                 a contractor in an independent business may be forced
         independent contractor, that fact may signal a greater             entirely from employment in a given industry. This implicates
         likelihood that he has brought his own strengths and               the traditional concern of this Court for the preservation
         abilities to the joint enterprise, such that the party seeking     of competition, and suggests strongly that enforcement of



                   © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                                           8

                                                                          A116
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 119 of 181 PageID #: 518

 EDIX Media Group, Inc. v. Mahani, Not Reported in A.2d (2006)
 2006 WL 3742595

 “substantially similar” provisions in non-competition clauses                 contractor status solely because EDIX desired to
 will be both inequitable to the contractor and against public                 avoid withholding taxes on Mahani's income. Whether
                                                                               this recharacterization of Mahani's role would survive
 policy. 36
                                                                               scrutiny by the Internal Revenue Service is beyond
                                                                               the jurisdiction of this Court. Certainly the expectation
 36      To the extent that plaintiff relies upon Delaware Express             that Mahani would work fixed hours, meet a particular
         Shuttle, Inc. v. Older, 2002 WL 31458243 (Del. Ch.                    target for daily phone calls (irrespective of whether he
         Apr. 20, 2002), the distinction between competing with                felt this technique would in fact earn him fees), and
         a former employer and being involved in a substantially               was given the title “Account Executive,” leaves this
         similar business should be familiar. When interpreting a              Court unconvinced that for any other purpose it would
         non-competition clause without a geographic limitation                actually consider Mahani to be a contractor rather than
         in Delaware Express, this Court declined to enforce                   an employee. Plaintiff has insisted upon the form of
         the “substantially similar” clause on the grounds that                the relationship, however, and should be estopped from
         no workable geographic limitation emerged from the                    considering defendant an employee for purposes of its
         text, but held that a defendant could be prevented from               non-compete agreement.
         “competing with” his former firm because the phrase was
                                                                        The non-competiton agreement is therefore limited to actions
         self-limiting geographically. Id. at 13.
                                                                        that are the same as, and compete directly with, EDIX's own
 This case presents just such an injustice. Defendant's                 business activities. There is evidence that such competition
 relationship to the after-market modification industry is more         did occur. EDIX provides models for its advertisers, and
 than ephemeral: he is romantically attached to an industry             Mahani connected EDIX advertisers with the modeling
 model, has personal friendships with industry participants,            services of his girlfriend and their associates. Similarly,
 and is himself an auto enthusiast. Plaintiff insists that its non-     defendant used pictures paid for by EDIX as images on
 compete agreement must be read so broadly that defendant               his own websites. If not enjoined, SponsoredWhips could,
 breaches it by publishing a calendar of upcoming automotive            in the future, feature paid-for banner advertisements on its
 events, merely because some of those car shows advertise               website, and this too would constitute a competing service.
 in their magazine, or that a collage of logos on a webpage,            Plaintiff's claims of unlawful competition, however, must be
 only some of which include EDIX advertisers, compete with              constrained to this limited scope. I evaluate each Count in
 advertisements in their magazine, despite a lack of evidence           turn.
 to suggest that the manufacturers ever paid anything to
 SponsoredWhips, or indeed were aware of the use of their
 trademarks. 37 Indeed, plaintiff suggests that Mahani would               2. Count II: Breach of contract resulting from unlawful
 violate his non-compete agreement by the simple act of                    competition
 showing up at a car show in his truck, opening the tailgate,            *9 Neither SponsoredWhips nor TunerAction engage
 and revealing the manufacturer's vinyl for the speakers in             primarily in activities directly in competition with EDIX's
 his own car. Certainly EDIX's interests in an independent              business. First, according to Shawn Ramsey's deposition
 contractor cannot be so broad as to drive defendant not only           testimony, TunerAction is barely a going concern, at most
 from his livelihood, but also from his hobbies. Plaintiff asks         operating a website and having no paid-for members at
 this Court to deny Mr. Mahani-supposedly an independent                present. Its business model is entirely different, deriving what
 contractor-virtually any opportunity to work in his chosen             profits it may eventually achieve by forwarding customers to
                                                                        a single automotive reseller. Overall, however, TunerAction
 industry in the area in which he lives. 38 This requested relief
                                                                        appears to be a shell company waiting for a purpose.
 is unenforceable as a matter of policy.

                                                                        I find Shawn Ramsey's deposition testimony claiming
 37      The idea that the logo collage is competitive flies in         to have written the advertising copy for TunerAction's
         the face of common sense. Given SponsoredWhips' size           membership plan to be credible. The appearance of this text
         and customer base, the logo collage exists to provide
                                                                        on TunerAction's website cannot be attributed to Mahani and,
         credibility to Mahani's company, not as promotional
                                                                        thus, does not violate his covenant. Though Mahani may
         advertising for manufacturers.
                                                                        have engaged in unlawful competition by collaborating with
 38      All evidence before the Court suggests that plaintiff          TunerAction in other ways, I do not find the evidence before
         converted Mahani from employee to independent




                 © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                                       9

                                                                      A117
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 120 of 181 PageID #: 519

 EDIX Media Group, Inc. v. Mahani, Not Reported in A.2d (2006)
 2006 WL 3742595

 me sufficient to conclude that either plaintiff suffered damage
                                                                            3. Count III: Breach of contract arising from unlawful
 or defendant received profits that he might disgorge . 39
                                                                            solicitation of customers
                                                                         Plaintiff presented testimony clearly showing that Mahani
 39      I do find that defendant unlawfully solicited customers         unlawfully solicited customers in two ways. First, he
         from EDIX, as discussed in Count III below.                     contacted a StreetTrenz customer and offered him a
 Nor does SponsoredWhips, for the most part, directly                    TunerAction membership as a replacement for StreetTrenz
 compete with EDIX. Plaintiff has not shown that the writing             services. This customer, however, remains a StreetTrenz
 of sponsorship proposals is a significant part of its business,         customer, and it is not clear that he ever actually joined
 nor has it shown revenues or activities undertaken by                   TunerAction. 41 More importantly, Mr. Ramsey no longer
 SponsoredWhips that directly compete with EDIX. It is not               seems to be running TunerAction as a going concern. To the
 enough that the same customers might seek out both firms for            extent that this was a violation, plaintiff has proven very little
 different purposes, even though ultimately the customer's goal          in the way of damages.
 is to receive parts. Nor is it enough, as plaintiff alleges, that
 an enthusiast who gains a sponsorship through the assistance            41      According to Shawn Ramsey's deposition, TunerAction
 of defendant will be less likely to buy parts through EDIX in
                                                                                 has eight or nine members, and although there is a
 the future. 40 Such activities may be substantially similar to                  nominal membership fee of $99 that would entitle
 EDIX business, but they are not directly competitive.                           these individuals to additional benefits, no member has
                                                                                 actually paid.
 40      Plaintiff's repeated assertion that selling parts at a          Second, Mahani also unlawfully solicited customers by
         discount to their members constituted the same act of           greeting visitors to the SponsoredWhips website with the
         “sponsorship” as would be undertaken by a company               question, “Did you get screwed, or scammed, by ...
         solicited by SponsoredWhips strikes this Court as               ‘StreetTrenz’ ... ?” Such a question is always rhetorical,
         particularly fanciful. Plaintiff insists that the term          asserting that a scam exists. Once again, however, plaintiff
         “sponsorship” or “partial sponsorship” is used in
                                                                         has failed to show any particularly concrete damages arising
         the industry to describe what in ordinary language
                                                                         from the incident. Nor has it shown that these statements-a
         would be considered a membership discount. Whatever
                                                                         few lines on a website-motivated customers to leave EDIX,
         the industry terminology, however, this Court looks
         to the substance of the transaction, not its label.
                                                                         unsubscribe from StreetTrenz, or even request a sponsorship
         SponsoredWhips does not offer memberships, let alone            proposal. Without such evidence, Mahani should not be
         membership discounts, while EDIX does not write                 required to disgorge any profits he may have made from his
         proposals.                                                      otherwise non-competing enterprise.
            EDIX also compares its sponsorship of a vehicle
            with defendant's business activities. When EDIX               *10 Finally, plaintiff suggests that Mahani solicited
            “sponsors” a car they are determining which end              customers by offering them the use of models for the Ocean
            user will receive free or discounted goods, essentially      City car show. The evidence consists of a single email to an
            providing a sponsorship. SponsoredWhips does no              EDIX customer (who is also a close personal friend of the
            such thing, but rather helps customers solicit. Far from     Mahani family), reading almost in its entirety: “[Acteson and
            being competitors, these services compliment each
                                                                         Kirchman] used to work for me at [StreetTrenz ], but don't
            other. In an ideal world, EDIX might even accept
                                                                         want to if I am not there. [Another EDIX Customer] was
            sponsorship proposals from their former employee.
                                                                         going to hire them, now isn't sure. I didn't want to wait for his
 SponsoredWhips might eventually compete with EDIX in the                answer. They really love the OC show and they def. want to
 area of paid-for banner advertisements, or by expanding into
                                                                         come, do you think [you] can use them?” 42
 provision of modeling services. To avoid this risk, Mahani
 shall for an appropriate time be enjoined as I describe below.
                                                                         42      On its own, the email is subject to two interpretations. It
 Under Count II, EDIX failed to prove that Mahani has
                                                                                 might represent an attempt by defendant to intrude upon
 engaged in unfair competition within the enforceable scope
                                                                                 plaintiff's activities as a provider of models. On the other
 of his contract and, thus, states no claim for damages.
                                                                                 hand, it may simply be read as a recommendation letter
                                                                                 for two models searching for work. While it would no
                                                                                 doubt have been better for the two models to contact



                  © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                                      10

                                                                       A118
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 121 of 181 PageID #: 520

 EDIX Media Group, Inc. v. Mahani, Not Reported in A.2d (2006)
 2006 WL 3742595

         a potential employer directly, there is no indication           44     Plaintiff wishes me to find that the following
         that defendant was paid for any services rendered by
                                                                                conversation via email constitutes a contractual
         the models. Nor is there any indication that Sponsored
                                                                                relationship frustrated by defendant:
         Whips gained any customer goodwill by providing a
                                                                                   BURRIS: “Please let me know which shows you can
         model, as its customers are end users, not retailers.                        attend and I will let you know how much space we
 It is likely that defendant breached his contract through his                        have.”
 email. On the other hand, plaintiff's only suggestion that its                    HERNANDEZ: “You can for sure put me down for the
 customer actually did use either model is Burris's belief that                       OC Car Show. I know, I really want to go to that
 they worked the Ocean City show. And even if the models                              and I will be up there.... The OC Car Show is a go
                                                                                      for me.”
 did work, there is no testimony that allows me to conclude
                                                                                   BURRIS: “OK, we will be getting down there on
 that (a) plaintiff would have been paid by their advertiser in
                                                                                      Friday and staying thru Sunday.”
 the absence of the offer, or (b) that this client didn't desire the
                                                                                   The bare bones of a contractual relationship can be
 services of Acteson or Kirchman in particular.
                                                                                   inferred from this conversation: an offer (“You can
                                                                                   for sure put me down for the OC Car Show”); an
 I find that plaintiff has failed to show any actual damages                       acceptance (“OK”); and through prior relationships,
 arose with respect to TunerAction and StreetTrenz, or in                          the implication of consideration (a percentage of any
 solicitation for the use of models. Some of these actions were                    sponsorships sold).
 breaches of the covenant not to compete, however, and I
                                                                         Burris at trial described Hernandez as a contractor, not an
 award plaintiff nominal damages in an amount in accordance
                                                                         employee, whose job was to speak to potential members at
 with our common law tradition, six cents. 43 Additionally,              car shows and try to sell memberships. Plaintiff has presented
 Mr. Mahani will be enjoined from similar activities for the             no evidence that Hernandez had an ongoing contractual
 remaining duration of the non-competition agreement.                    relationship with EDIX. Even assuming the existence of
                                                                         a contract, plaintiff's only admissible evidence suggesting
 43      See Standard Distrib. Co. v. NKS Distribs., Inc., 1996          Mahani's interference is a phone call between defendant and
         WL 944898, at *11 (Del.Super.Jan. 3, 1996).                     a personal friend. 45 This is thin soup indeed.

    4. Count IV: Breach of contract by unlawfully soliciting             45     Plaintiff also relies upon a portion of the June 1, 2006
    workers                                                                     email exchange between Burris and Hernandez, where
 The complaint alleges that defendant urged three individuals                   in response to Burris's question, “Who have you been
 to cease working with plaintiff: Kelly Acteson, Jessie                         talking to over there?” Hernandez replies, “I am pretty
 Kirchman and Mark Hernandez. I must consider whether,                          sure it has been [Mahani] and [Acteson].” I allowed,
 in violation of his agreement, Mahani induced or attempted                     over defendant's objection, emails from third parties
 to induce any employee or contractor to quit “employment                       not present to be admitted into evidence solely for the
 or any contractual relationship.” The trial transcript says                    purpose of proving the motivation of those parties. Del.
 remarkably little about Hernandez's role at EDIX, and only                     R. Evid. 803(3). Mahani testified that he did not recall
                                                                                speaking to Hernandez about TunerAction. If plaintiff
 one series of emails suggests a contract ever existed. 44 In this
                                                                                wished to rebut that statement with Hernandez's words,
 document, Mr. Hernandez first agrees to participate in the OC
                                                                                then he should have been put on the stand, where
 Car show on May 29, and subsequently backs down from his                       defendant would have had an opportunity for cross-
 agreement on June 1. He gives as one reason among many the                     examination. To prove that Hernandez thought he was
 fact that he has been talking to TunerAction, and specifically                 speaking to defendant, the email suffices. To prove that
 Mahani, about a car sponsorship. Phone records indicate that                   a prohibited conversation actually took place, or that
 defendant spoke to Hernandez on May 30. Plaintiff wishes me                    Mahani actually made an offer of sponsorship, such
 to infer from this that Hernandez's change of heart stemmed                    evidence is hearsay.
 from his conversation with defendant. Defendant, on the other            *11 It is clear from the evidence that Mahani did solicit work
 hand, denies knowing that Hernandez had ever been paid or               for his girlfriend and some of her friends. Plaintiff does not
 employed by plaintiff prior to his dismissal. Plaintiff submits         suggest that either model was under an exclusive contract,
 not a single cancelled check to that effect.                            nor that they were contracted to work at the Ocean City
                                                                         show. Further, plaintiff strains the imagination of the Court in



                 © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                                  11

                                                                       A119
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 122 of 181 PageID #: 521

 EDIX Media Group, Inc. v. Mahani, Not Reported in A.2d (2006)
 2006 WL 3742595

 asking me to believe that after firing Ms. Acteson's boyfriend                 Total Care Physicians, P.A. v. O'Hara, 798 A.2d 1043,
 and proceeding into a very acrimonious lawsuit, it is in any                   1057 (Del.Super.2001). There are other definitions used
 way likely that the models were going to work for EDIX in                      in differing factual situations, as befits this rather
 the future, whether or not Mahani attempted to induce such                     amorphous cause of action. See, e.g., State ex rel.
                                                                                Brady v. Wellington Homes, Inc ., 2003 WL 22048231,
 refusal. In the absence of such evidence, it is difficult to see
                                                                                at *2 (“The essence of unfair competition is the
 how plaintiff has established a contractual relationship with
                                                                                fraudulently seeking to sell one's goods for those of
 which defendant interfered, let alone what damages might
                                                                                another, and the true test is whether the defendant's acts
 plausibly be considered.
                                                                                are reasonably calculated to deceive the average buyer
                                                                                under the ordinary conditions prevailing in the particular
                                                                                trade.” (quoting Coca-Cola Co. v. Nehi Corp., 36 A.2d
 C. Common law and statutory claims not concerning
                                                                                156, 165 (Del.1944))).
 confidentiality or non-competition
 Plaintiff also demands compensation for three claims at                Count VII thus becomes completely redundant in light of
 common law and one statutory violation. Two of the three               plaintiff's other claims. Unfair competition affords plaintiff no
 common law claims are redundant and need be given only                 relief at common law from breaches of confidentiality that its
 cursory consideration. Plaintiff's allegations of defamation           claim in contract does not. Nor does it expand upon damages
 require slightly more discussion, particularly as to appropriate       derived from the non-competition agreement: if defendant's
 damages. Finally, plaintiff requests treble damages for                post-employment activities do not breach his contractual
 violation of the Deceptive Trade Practices Act.                        duties, they are not in some other way wrongful. No additional
                                                                        damages may stem from this Count.

   1. Count VII: Unfair competition and Count VIII:                     Likewise, plaintiff's claim for tortious interference with
   Tortious interference with business relationships                    business relationships makes no case for any additional
 Plaintiff maintains that defendant has engaged in and will             liability. Tortious interference requires that plaintiff
 continue to engage in unfair competition. The complaint                demonstrate that (1) a contract existed, (2) the defendant knew
 provides no detail as to precisely what actions constitute             of the contract, (3) defendant's intentional actions played
 unfair competition, and I note as an initial matter that               a significant role in causing the breach of such contract,
 Delaware courts have struggled to precisely define the                 (4) defendant acted without justification, and (5) the breach
 boundaries of the common law in this area. 46 The essential            caused injury. 48 Mahani's emails no doubt qualify as a
 element separating unfair competition from legitimate market           tortious interference in EDIX contractual relationships, being
 participation, however, is an unfair action on the part of             intentional, unexcused and the cause of cancellation for
 defendant by which he prevents plaintiff from legitimately             some contracts. The scope of Count VII compliments that
 earning revenue. 47                                                    of Count I in only one respect: where a customer cancelled
                                                                        their contract with EDIX on the basis of information in
 46                                                                     Mahani's emails, their motivation becomes irrelevant. If the
        See, e.g., State ex rel. Brady v. Wellington Homes,
                                                                        customer reacted to information that was not confidential but
        Inc., 2003 WL 22048231 (Del.Super.Aug. 20,
                                                                        otherwise wrongful, damages are appropriate under Count
        2003) (“Deceptive conduct constituting unreasonable
        interference with another's promotion and conduct of            VII but not necessarily Count I. 49 I find, however, that where
        business is part of a heterogeneous collection of legal         EDIX suffered damages from lost contracts, such damages
        wrongs known as ‘unfair trade practices.’ This type of          arose primarily on the basis of confidential disclosure of
        conduct is notoriously undefined. Commonly referred to          information and, thus, Count VII does little additional work.
        as ‘unfair competition,’ its metes and bounds have not          Unfair competition and tortious interference are thus almost
        been charted.”)                                                 entirely redundant, and need not be considered in calculating
 47     In Total Care Physicians, P.A. v. O'Hara, the Superior          damages.
        Court held that to succeed in a claim for unfair
        competition, a plaintiff must show (a) a reasonable             48      Irwin & Leighton, Inc. v. W.M. Anderson Co., 532 A.2d
        expectancy of entering into a valid business relationship,              983 (Del. Ch.1987).
        (b) interference with that relationship by defendant, and
                                                                        49      For instance, a hypothetical customer might have
        (c) consequent defeat of plaintiff's legitimate expectancy.
                                                                                cancelled his contract because of defamatory statements



                 © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                                    12

                                                                      A120
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 123 of 181 PageID #: 522

 EDIX Media Group, Inc. v. Mahani, Not Reported in A.2d (2006)
 2006 WL 3742595

         concerning Burris, but not because of confidential           55      Grand Ventures, Inc. v. Whaley, 622 A.2d 655
         disclosures.
                                                                              (Del.Super.1992). (“Treble damages are available only
                                                                              in conjunction with injunctive relief under 6 Del. C. §
    2. Count IX: Defamation                                                   2533(a). The association of the treble damage remedy
  *12 In Delaware, defamation requires (a) a defamatory                       with injunctive relief indicates that the Act is directed at
 communication, (b) publication, (c) communication that                       patterns of deceptive conduct, not isolated incidents of
 refers to the plaintiff, such that (d) a third party understands             consumer fraud.”)
 the communication's defamatory character, and (e) there is           Mahani's deceptive acts were the emails of May 21 and June
               50
 an injury.     Four types of defamatory statement do not             6, both of which made disparaging accusations about EDIX.
 require plaintiff to show any special damages: maligning a           I am not convinced that defendant wrote these emails, as
 person in his trade or business, imputing a crime of moral           suggested in plaintiff's complaint, in an effort to “destroy
 turpitude, implying a person suffers from a loathsome disease,       and eliminate competition from EDIX.” 56 At the point that
                                               51
 or imputing the unchastity of a woman.          Additionally,        Mahani wrote these emails, he had neither a magazine nor an
 for the letter to be defamatory to plaintiff, as opposed to          auto club with which he might benefit were EDIX to go out
 plaintiff's employees, it must contain statements that “reflect      of business, and to the extent that he might have plans for
 discredit upon the method by which the corporation conducts          such an operation in mind, there is no evidence that he had the
 its business.” 52                                                    financing, experience or other required wherewithal to start
                                                                      one. Mahani's motivation for writing the emails was almost
 50                                                                   certainly the simplest and most old-fashioned of all: revenge.
         Delaware Express Shuttle, 2002 WL 31458243, at *21.
                                                                      For this he is liable under both defamation and breach of
 51      Id.                                                          contract theories, and in addition will quite possibly suffer
                                                                      criminal penalties. But I do not believe that the Legislature
 52      Id.                                                          adopted the Deceptive Trade Practices Act in order to convert
 There can be no doubt that defendant defamed EDIX in his             acts of passion into acts of corporate malfeasance resulting in
 June 6 email, to say nothing of any other communication.             treble damages.
 Plaintiff deserves nominal damages in the amount of six cents,
 as well as compensatory damages. Once again, however,                56      Supplemental Verified Compl. at 17.
 compensatory damages will be largely the same as those
 implicated by Count I.
                                                                             IV. DAMAGES AND INJUNCTIVE RELIEF

    3. Count X: Deceptive Trade Practices                             A. Compensatory damages
 Finally, plaintiff seeks the protection of 6 Del. C. § 2532(a),      Having woven a path through plaintiff's various theories, it
 which forbids deceptive trade practices, in order to justify an      remains only to determine the amount of damages to which
 award of treble damages and attorney's fees. The facts proven        plaintiff is entitled. Compensatory damages, arising primarily
 at trial do not justify such relief.                                 from breaches of the confidentiality agreement, are warranted
                                                                      by Counts I, III, V, and IX. Both parties have briefed this issue,
 The Deceptive Trade Practices Act forbids “disparage[ment]           debating in detail each and every contested and cancelled
 of the goods, services or business of another by false or            contract.
 misleading representations of fact,” 53 acts that defendant
 committed, but requires such activity to be conducted “in the         *13 The law “does not require certainty in the award
                                                                      of damages where a wrong has been proven and injury
 course of a business, vocation, or occupation.” 54 The DTPA
 was designed to prevent “patterns of deceptive conduct,” not         established.” 57 Nevertheless, the law does require that
                                                                      plaintiff show not only an injury, but also that the injury was
 isolated incidents. 55
                                                                      caused by defendant. I am not convinced that Mahani's actions
                                                                      were the root cause of each and every cancelled payment that
 53      6 Del. C. § 2532(a)(8).                                      EDIX suffered. After all, plaintiff itself forced a revision in
 54      6 Del. C. § 2532(a).                                         the payment structure for independent contractors in part to
                                                                      encourage collection of a mountain of over $60,000 worth of


                    © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                                 13

                                                                    A121
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 124 of 181 PageID #: 523

 EDIX Media Group, Inc. v. Mahani, Not Reported in A.2d (2006)
 2006 WL 3742595

 uncollected receivables that had accrued over a month before                 Court considerable pause. Aamp's detailed explanation
 any conflict arose. This suggests considerable uncertainty as                of their reasons for canceling their contract includes
 to whether some of these revenues were ever to be collected.                 confusion as to the reasons behind the dismissal of
 Mahani should pay for his sins, but not the obstinacy of others.             Mahani. Other advertisers may have felt the same way,
                                                                              irrespective of Mahani's emails.

 57      Total Care Physicians, 2003 WL 21733023, at *3 n. 16          59     I allowed considerable testimony by Burris, over
         (citing Delaware Express Shuttle, 2002 WL 31458243,                  defendant's objections, as to the motivations of EDIX
         at *13).                                                             advertisers. As I explained at trial, the testimony was
                                                                              properly admitted as it was offered to show motivation
 In making a client-by-client listing of damages, plaintiff
                                                                              rather than truth of the statements themselves. In the
 has presented a mélange of differing agreements (including
                                                                              absence of other evidence, however, I have given this
 signed contracts, unsigned contracts, and testimony involving                little weight.
 verbal contracts) and various proofs of cancellation. As
 already mentioned, I have given considerable weight to                The first category consists of advertisers for which plaintiff
 documentary evidence provided by third parties. Having                has provided either no independent proof of motive or
 found the testimony of Burris to be not much more credible            causation, or where that proof is insufficient to show that
 than that of defendant, I do not consider plaintiff to have           Mahani's emails led to plaintiff's loss. I have only conflicting
 proven causation by a preponderance of the evidence when              trial testimony with regard to the motivations of Texas Heat
 the sole sign that a contract existed is trial testimony. On          Wave, Mobil Spec, the Installer Institute or Apollo America
 the other hand, I do not believe (as defendant suggests) that         in cancelling their contracts. For some advertisers, the emails
 plaintiff must put forward a signed contract in order to prove        introduced by plaintiff as evidence of motive simply do not
 that a contractual relationship existed. Where plaintiff has          allow me to make a confident inference as to the advertiser's
 shown that a client placed advertisements in the magazine             state of mind. For instance, JGY Customs simply notes that
 consistent with the claimed contract, and defendant has put           there was a “lot of drama” after Mahani was fired. Elevation
 forth no evidence to rebut the existence of a contract, plaintiff     Audio gripes that “this is getting to be a nonsense situation,”
 has met its burden.                                                   and asks for a phone call from Burris, but gives no indication
                                                                       that Mahani's emails provide the impetus for cancelling their
 The same general rule applies to causation. Plaintiff                 advertisements. Finally, plaintiff complains that Absolute
 and defendant both spoke at trial regarding reasons that              USA refused to pay for advertisements run in April, May, and
 advertisers might have cancelled contracts, and not all               June, although two months of bills would have been payable
 evidence points towards defendant. Plaintiff's own evidence           before Mahani sent any messages. It is possible that they
 suggests that some customers were irregular in their                  refused to pay at defendant's urging, but it is equally possible
 payments. There are indications in the record that some               that they simply continued in their delinquency. Plaintiff has
 customers' loyalty was to Mahani, and that they would                 failed to meet the burden of proof necessary to show damages
 have withdrawn their support after his firing without further         with regard to any of these accounts.

 provocation. 58 It is not unusual for clients to leave when
                                                                       *14 Two other accounts merit special consideration: O2 and
 a favored salesperson is dismissed. In order to provide a
                                                                       Dual Electronics. Plaintiff presents no signed contract with
 preponderance of evidence, plaintiff needs to produce some
                                                                       O2, nor any non-testimonial evidence that they ever intended
 non-hearsay evidence in addition to Burris's testimony to
 indicate that a customer ceased their relationship due to             to renew their contract. 60 As for Dual Electronics, plaintiff
                                                                       submits a written contract and evidence that Dual advertised
 defendant's actions . 59 Where no such evidence is available,
                                                                       for their first month as planned and, thus, it is reasonable
 and there are many possible reasons the contract might have
                                                                       to conclude that a contract existed. On the other hand, the
 been cancelled, plaintiff has not shown that it is more likely
                                                                       email submitted by plaintiff to show Dual's motivation in
 than not that the cancellation was caused by Mahani. With
                                                                       cancelling their advertisements lists a number of concerns,
 these rules in mind, it is easy to identify several categories of
                                                                       some of which implicate Mahani's actions and some of which
 advertisers.
                                                                       do not.

 58      The one advertiser upon which both parties agree that         60     Defendant, on the other hand, submits an email from
         defendant is liable, Aamp of America, actually gives the
                                                                              O2 stating that the company cancelled its contract due



                 © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                               14

                                                                     A122
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 125 of 181 PageID #: 524

 EDIX Media Group, Inc. v. Mahani, Not Reported in A.2d (2006)
 2006 WL 3742595

         to the receipt of a better offer for advertising from an      coupled with the $5,000 already paid by defendant as a result
         EDIX competitor. Once again, the letter is inadmissible       of plaintiff's first motion for contempt. Second, evidence
         for purposes of proving the truth of the matter-that an       offered at trial has convinced me that the initial temporary
         offer was received-but is admissible as evidence of O2's      restraining order, despite having been stipulated to by both
         motivation.
                                                                       parties, was nonetheless more expansive than appropriate,
 I conclude that no damages can be awarded with regard to O2,          preventing defendant from many reasonable and appropriate
 as plaintiff has not shown the existence of a contract. Dual          activities. Although plaintiff complains of several violations,
 Electronics is a more difficult matter. The email provided by         most of them are either de minimus or not matters for which
 plaintiff shows that Dual was motivated in part by Mahani's           damages are awarded in this final judgment. Nor is the
 actions, and in part by other concerns. For this reason, I            final permanent injunction to be as broad as the temporary
 find that plaintiff should be awarded nothing for this claim.         restraining order. Thus damages for these infractions seem
 Because of the mixture of motives underlying Dual's decision          neither equitable nor necessary.
 to end its advertising relationship with EDIX, I cannot find
 that plaintiff has proved any damages attributable to Mahani.          *15 On the other hand, given defendant's less than
                                                                       exemplary record in following orders of this Court, I note here
 Defendant's liability for the other customers is hardly in            that failure to abide by any further orders will be met with
 doubt. Plaintiff has presented either written contracts or            punitive sanctions. Further, plaintiff's leave to file lis pendens
 shown that advertisers actually ran advertisements. Emails            on property purportedly transferred from Mahani to his father
 plaintiff has submitted from these advertisers unambiguously          is granted pending either satisfaction of this judgment in full
 indicate that Mahani's actions motivated their cancellations          or plaintiff's prosecution of a fraudulent conveyance action.
 or non-payments. Therefore, plaintiff is awarded the full
 amount requested with regards to HD Wheels ($5,000), Metra
 ($3,600), Monkey Video ($2,400), and Aamp of America                  C. Other damages
 ($3,500), for actual damages arising from lost advertisers in         Besides compensatory damages arising from plaintiff's
 the amount of $14,500.                                                claims or from contempt of court, plaintiff is also
                                                                       entitled to exemplary damages for willful and malicious
                                                                       misappropriation of trade secrets, and nominal damages for
 B. Plaintiffs' motions for contempt of court and leave to file        breach of contract arising from unlawful solicitation and
 lis pendens                                                           defamation. Nominal damages on all counts that merit them
 Plaintiff also asks that I award damages for defendant's              are awarded in the amount of six cents. In addition, I find that
 alleged violations of the stipulated restraining order. Penalties     $2,000 should be awarded to plaintiff in exemplary damages
 for civil contempt of a restraining order are appropriate             under the Delaware Trade Secrets Act. 63
 when the Court seeks to achieve compliance with its order
 and preserve the rights of an aggrieved party. 61 Even an             63      6 Del. C. § 2003(b) (exemplary damages not to exceed
 imperfect or erroneous order of this Court must still be                      twice any award made for compensatory damages).
 followed, and a court may punish disobedience with penalties                  It is difficult to divine with precision how much of
 for contempt so long as the order was not issued in excess                    the $14,500 in compensatory damages derive from
 of the Court's jurisdiction. 62 Nevertheless, I find that further             defendant's misappropriation of advertising rates, but
 damages for contempt would be inappropriate.                                  $1,000 would be a reasonable, if conservative, estimate.


 61                                                                    D. Attorney's fees, costs of litigation, and other costs
         See City of Wilmington v. Gen. Teamsters Local Union
                                                                       As part of the Non-Compete and Confidentiality Agreement,
         326, 321 A.2d 123, 125 (Del.1974). The Court of
                                                                       defendant agreed to indemnify plaintiff for any legal fees
         Chancery possesses both common law and statutory
         contempt powers that may be used to enforce its               incurred by plaintiff in attempting to enforce this agreement,
         judgments. See id.; 10 Del. C. §§ 370-71.                     and such agreements are enforceable. 64 I do not hesitate
 62                                                                    to award fees in this case, as defendant has done very little
         See Mayer v. Mayer, 132 A.2d 617, 621 (Del.1957).
                                                                       at any stage of this litigation to mitigate plaintiff's costs in
 First, the damages delineated above are adequate recompense           pursuing its rights under the employment agreement. Plaintiff
 for the actual harm suffered by plaintiff, especially when            is also entitled to reasonable reimbursement of expenses paid



                 © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                                 15

                                                                     A123
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 126 of 181 PageID #: 525

 EDIX Media Group, Inc. v. Mahani, Not Reported in A.2d (2006)
 2006 WL 3742595

                                                                        agreement; or (d) directly or indirectly providing modeling
 to third parties in investigating the source of defendant's
 malicious emails. Plaintiff shall submit affidavits detailing          services.
 these expenses for reimbursement.

 64     Delaware Express Shuttle, 2002 WL 31458243, at *23.                                   V. CONCLUSION

                                                                        Plaintiff is awarded monetary damages in the amount of
 E. Injunctive relief
                                                                        $16,500.06, the total of $14,500 in compensatory damages,
 Finally, plaintiff should enjoy the protection of both the
                                                                        $2,000 in exemplary damages and six cents in nominal
 confidentiality agreement and, to the degree it is enforceable,
                                                                        damages. Defendant shall be enjoined from revealing
 the non-competition agreement. Therefore, defendant shall
                                                                        confidential information and engaging in activities that
 be enjoined from the following activities until May 13,
                                                                        directly compete with EDIX operations as defined above.
 2008:(a) directly or indirectly using or disclosing to any
 person or other entity any of plaintiff's confidential or
                                                                        Counsel shall confer and submit within twenty days a
 proprietary information; (b) directly or indirectly owning,
                                                                        proposed form of final order to implement this Memorandum
 managing, operating, joining, being employed by, controlling
                                                                        Opinion. The order shall make provision for attorney's fees
 or managing any automotive club or other membership-based
                                                                        and costs, as described herein.
 subscription business involving the after-market automotive
 parts industry; (c) directly or indirectly providing paid-for or
 otherwise compensated advertising, either in print or online,          All Citations
 for any EDIX advertiser, as limited by the non-competition
                                                                        Not Reported in A.2d, 2006 WL 3742595

  End of Document                                                   © 2020 Thomson Reuters. No claim to original U.S. Government Works.




                 © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                               16

                                                                    A124
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 127 of 181 PageID #: 526

 Ninespot, Inc. v. Jupai Holdings Limited, Not Reported in Fed. Supp. (2018)
 2018 WL 3626325

                                                                       in Ninespot. (D.I. 1). Plaintiff was an online and livestream
                                                                       video platform creator, incorporated in Delaware with its
                   2018 WL 3626325
                                                                       principal place of business in California. (Id. at 3). In
     Only the Westlaw citation is currently available.
                                                                       2015, Plaintiff’s Chief Executive Officer and Chairman met
       United States District Court, D. Delaware.
                                                                       with the Vice President of Puji in California to discuss a
                 NINESPOT, INC., Plaintiff,                            collaboration between the two parties. (Id. ¶ 18). After months
                           v.                                          of communication, Plaintiff and Puji executed a Business
  JUPAI HOLDINGS LIMITED, Puji Media Holdings                          Collaboration Agreement that laid out terms discussing
                                                                       Puji’s proposed assistance to Plaintiff in creating strategic
  Limited, Puji Jupai Asset Management, Defendants.
                                                                       partnerships, expanding Plaintiff’s products, and securing
                 Civil Action No. 18-144-RGA                           investment capital in the Asian market. (Id. ¶¶ 24-26). Puji
                               |                                       then introduced Jupai to Plaintiff as a potential investor
                      Signed 07/30/2018                                in Plaintiff’s business, relying on Puji’s close working
                                                                       relationship with Jupai to assist with the proposed investment.
 Attorneys and Law Firms                                               (Id. ¶¶ 30-31). Executives from both Puji and Jupai negotiated
                                                                       terms for the proposed investment in Plaintiff in exchange for
 Christopher Page Simon, Cross & Simon, LLC, Wilmington,
                                                                       a number of shares of stock from Plaintiff, executed in a non-
 DE, Jonathan Sablone, Pro Hac Vice, Kacey H. Walker, Pro
                                                                       binding term sheet, signed by Plaintiff and stamped by Jupai.
 Hac Vice, for Plaintiff.
                                                                       (Id. ¶¶ 53-54). 1
 Michael A. Barlow, Andrew John Peach, Abrams & Bayliss
 LLP, Adam V. Orlacchio, David A. Dorey, Blank Rome                    1       Gordon Chu, Vice President at Puji, served as the
 LLP, Thomas G. Macauley, Macauley LLC, Wilmington, DE,                        contact to Plaintiff on behalf of Jupai and Puji in all
 Kevin M. Askew, Pro Hac Vice, Michael C. Tu, Pro Hac                          communications regarding formation and negotiation of
 Vice, Sunny Hwang, Pro Hac Vice, Jeffrey Rosenfeld, Pro                       the various agreements prepared for execution of the
 Hac Vice, Mike Margolis, Pro Hac Vice, Ping Zhang, Pro                        proposed investment. (D.I. 1).
 Hac Vice, Jonathan P. Hersey, Pro Hac Vice, Junyong Huang-            Further negotiations were conducted by Puji, on behalf of
 Stowers, Pro Hac Vice, for Defendants.                                Jupai, regarding additional equity structured into the proposed
                                                                       investment deal. (Id. ¶¶ 55-56). In December 2016, a draft
                                                                       of a Series B Stock Purchase Agreement was sent from
                  MEMORANDUM ORDER                                     Plaintiff to Puji, incorporating the terms by which Plaintiff
                                                                       and Jupai agreed to execute the planned investment. (Id. ¶
 Richard G. Andrews, United States District Judge                      58). Puji continued to request changes to the draft of the
                                                                       Stock Purchase Agreement and in April, 2017, Plaintiff and
  *1 Presently before this Court are motions to dismiss filed
                                                                       PJ executed the Series B Stock Purchase Agreement, with
 by Defendants Jupai Holdings Limited (“Jupai”) (D.I. 80),
                                                                       terms including the number of shares to be purchased by
 Puji Media Holdings Limited (“Puji”) (D.I. 79), and Puji Jupai
                                                                       PJ for its investment of $18 million in Plaintiff. (Id. ¶¶
 Asset Management (“PJ”) (D.I. 77). The motions to dismiss
                                                                       92-93). Up until approximately May, 2017, Puji, on behalf of
 are based on Federal Rules of Civil Procedure 12(b)(2), 12(b)
                                                                       Jupai’s designated offshore investing entity, PJ, represented
 (6), and 9(b). The matter is fully briefed. (D.I. 78, 81, 82, 88,
                                                                       to Plaintiff that Jupai was prepared to make the investment.
 90, 91, 94). The Court heard oral argument on June 28, 2018.
 (D.I. 101).                                                           (Id. ¶ 98). 2 By June of 2017, the investment had not
                                                                       been received, and Plaintiff sent a demand letter through its
 For the reasons set forth herein, Defendants’ motions are             counsel to Jupai seeking assurance that Jupai had attempted
 granted in part and denied in part.                                   in good faith to fund the first installment of the investment.
                                                                       (Id. ¶ 105). Plaintiff received a response from PJ, which
                                                                       disclaimed all contractual obligations from any agreement
    I. BACKGROUND                                                      formed in connection with the proposed investment, stated the
 On October 10, 2017, Plaintiff Ninespot filed this action             Chinese government’s tightened restrictions on the outbound
 against Jupai, Puji, and PJ for breach of contract and related        flow of investment capital from China prevented PJ from
 claims in connection with a potential investment by Jupai


                 © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                                     1

                                                                     A125
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 128 of 181 PageID #: 527

 Ninespot, Inc. v. Jupai Holdings Limited, Not Reported in Fed. Supp. (2018)
 2018 WL 3626325

 wiring the money, which constituted an unforeseeable and                the defendant in the forum comports with the Due Process
 uncontrollable force majeure, and declared PJ would cease all           Clause of the Constitution. Id.
 efforts on the investment. (Id. ¶¶ 107-08). 3
                                                                         The court applies the law of the state in which, the
 2                                                                       district court is located. See id. Delaware’s long-arm statute
         One of Plaintiff’s claims, Count Six, is filed against Puji
                                                                         authorizes jurisdiction over a nonresident when, among other
         for intentional interference with prospective economic
                                                                         things, that party or its agent:
         relations. It is based on allegations that when Puji
         represented to Plaintiff that Jupai was willing to
         move forward with the investment in Plaintiff, Puji
         represented to a potential acquisition target of Plaintiff                   (1) Transacts any business or performs
         that the investment was moving slowly and that business                         any character of work or service in
         agreements with Plaintiff may not be fruitful. (Id. ¶ 48).                      the State; (2) Contracts to supply
 3                                                                                       services or things in this State;
         The demand letter sent from Plaintiff was addressed to
         Jupai, and Oreans Yuan, Puji’s Chief Financial Officer,
                                                                                         (3) Causes tortious injury in the
         sent the response to Plaintiff, responding in his capacity                      State by an act or omission in this
         as Director of PJ. (Id. ¶ 107).                                                 State; (4) Causes tortious injury
                                                                                         in the State or outside the State
  *2 Plaintiff’s complaint alleges the failure to invest and
                                                                                         by an act or omission outside the
 related claims have effectively rendered Plaintiff’s business
                                                                                         State if the person regularly does
 worthless. Plaintiff seeks to recover damages accordingly. (Id.
                                                                                         or solicits business, engages in any
 ¶ 118).
                                                                                         other persistent course of conduct
                                                                                         in the State or derives substantial
     II. LEGAL STANDARDS                                                                 revenue from services, or things
                                                                                         used or consumed in the State....

                          a. Rule 12(b)(2)

 When reviewing a motion to dismiss pursuant to Rule 12(b)               10 Del. C. § 3104(c)(1)–(4). “With the exception of (c)(4), the
 (2), a court must accept as true all allegations of jurisdictional      long-arm statute requires a showing of specific jurisdiction.”
 fact made by the plaintiff and resolve all factual disputes in          Phunware, Inc. v. Excelmind Grp. Ltd., 117 F.Supp.3d
 the plaintiff’s favor. Toys “R” Us, Inc. v. Step Two, S.A., 318         613, 622 (D. Del. 2015). Subsection (c)(4), on the other
 F.3d 446, 457 (3d Cir. 2003). “Once a jurisdictional defense            hand, confers general jurisdiction, such that while a general
 has been raised, the plaintiff bears the burden of establishing         presence in Delaware is necessary to assert jurisdiction, the
 with reasonable particularity sufficient contacts between               contacts of the nonresident (or its agent) need not relate to the
 the defendant and the forum state to support jurisdiction.”             instant litigation. See Reach & Assocs., P.C. v. Dencer, 269
 Provident Nat’l Bank v. Cal. Fed. Sav. & Loan Ass’n, 819                F.Supp.2d 497, 505 (D. Del. 2003). The court should interpret
 F.2d 434, 437 (3d Cir. 1987). To meet this burden, the plaintiff        the language of these provisions liberally, as “conferring
 must produce “sworn affidavits or other competent evidence,”            jurisdiction to the maximum extent of the Due Process
 since a Rule 12(b)(2) motion “requires resolution of factual            clause.” Jeffreys v. Exten, 784 F.Supp. 146, 151 (D. Del.
 issues outside of the pleadings.” Time Share Vacation Club v.           1992). Further, the Delaware long-arm statute is a “single
 Atlantic Resorts, Ltd., 735 F.2d 61, 67 n.9 (3d Cir. 1984).             act” statute, whereby even one transaction engaged in by the
                                                                         nonresident in Delaware establishes jurisdiction. Eudaily v.
 The personal jurisdiction analysis involves both a statutory            Harmon, 420 A.2d 1175, 1180 (Del. 1980).
 and constitutional inquiry. Shoemaker v. McConnell, 556
 F.Supp.2d 351, 354 (D. Del. 2008). First, the court must                 *3 Due Process is satisfied if the court finds the existence of
 consider whether a defendant’s actions come within any of               “minimum contacts” between the nonresident defendant and
 the provisions of the state long-arm statute. See Intel v.              the forum state, “such that the maintenance of the suit does not
 Broadcom, 167 F.Supp.2d 692, 700 (D. Del. 2001). Second,                offend traditional notions of fair play and substantial justice.”
 the court must determine whether exercising jurisdiction over           International Shoe Co. v. Washington, 326 U.S. 310, 316,




                  © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                                  2

                                                                       A126
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 129 of 181 PageID #: 528

 Ninespot, Inc. v. Jupai Holdings Limited, Not Reported in Fed. Supp. (2018)
 2018 WL 3626325

 66 S.Ct. 154, 90 L.Ed. 95 (1945) (internal quotation marks            Second, it argues Plaintiff has failed to state a claim in the five
 omitted).                                                             counts in which it is a defendant. (Id. at 1). Puji and PJ, in
                                                                       their motions to dismiss, argue the counts in which they are
                                                                       defendants fail to state a claim. (D.I. 77, 79). Puji also relies
                                                                       on Rule 9(b) for its argument. (D.I. 79).
                   b. Rules 12(b)(6) and 9(b)

 When reviewing a motion to dismiss pursuant to Federal
                                                                          a. Jupai’s 12(b)(2) motion to dismiss
 Rule of Civil Procedure 12(b)(6), the Court must accept the
                                                                       Jupai moves the Court to dismiss it for lack of personal
 complaint’s factual allegations as true. 4 See Bell Atl. Corp.        jurisdiction pursuant to Federal Rule of Civil Procedure 12(b)
 v. Twombly, 550 U.S. 544, 555–56, 127 S.Ct. 1955, 167                 (2). The case was filed in California. The District Court
 L.Ed.2d 929 (2007). Rule 8(a) requires “a short and plain             there transferred the case here on motion of the other two
 statement of the claim showing that the pleader is entitled           defendants. Plaintiff argues that this Court can exercise
 to relief.” Id. at 555, 127 S.Ct. 1955. The factual allegations       jurisdiction over Jupai based on the California court’s
 do not have to be detailed, but they must provide more                decision in its grant of the motion to transfer. That court held
 than labels, conclusions, or a “formulaic recitation” of the          that Jupai consented to jurisdiction in Delaware because it
 claim elements. Id. (“Factual allegations must be enough              was “closely related” to the Stock Purchase Agreement that
 to raise a right to relief above the speculative level ... on         contained the Delaware forum selection clause. (D.I. 88 at 4).
 the assumption that all the allegations in the complaint are
 true (even if doubtful in fact).”). Moreover, there must be            *4 In order to determine if Jupai is subject to personal
 sufficient factual matter to state a facially plausible claim to      jurisdiction in Delaware, the main issue is whether Jupai is
 relief. Ashcroft v. Iqbal, 556 U.S. 662, 678, 129 S.Ct. 1937,         bound by the Delaware forum selection clause. When a party
 173 L.Ed.2d 868 (2009). The facial plausibility standard is           is bound by a forum selection clause, the party consents to
 satisfied when the complaint’s factual content “allows the            personal jurisdiction. Hadley v. Shaffer, 2003 WL 21960406,
 court to draw the reasonable inference that the defendant is          at *3 (D. Del. Aug. 12, 2003); Res. Ventures, Inc. v. Res.
 liable for the misconduct alleged.” Id. (“Where a complaint           Mgmt. Int’l, Inc., 42 F.Supp.2d 423, 431 (D. Del. 1999)
 pleads facts that are merely consistent with a defendant’s            ). Further, express consent to jurisdiction, like that found
 liability, it stops short of the line between possibility and         from a party bound by a forum selection clause, satisfies the
 plausibility of entitlement to relief.” (internal quotation marks     requirement of due process owed in a personal jurisdiction
 omitted) ).                                                           inquiry, and thus the minimum contacts analysis becomes
                                                                       superfluous. Hadley, 2003 WL 21960406, at *3 (finding
 4       There is no question that I can consider, in addition         “[s]uch consent is deemed to be a waiver of any objection on
         to the complaint, the various purported contracts and         Due Process grounds and an analysis of minimum contacts
         agreements that form the basis for the claims. See Lum v.     becomes unnecessary.”).
         Bank of America, 361 F.3d 217, 221 n. 3 (3d Cir. 2004).
 Federal Rule of Civil Procedure 9(b) requires that a complaint        In accordance with Delaware law, a three-part test is used
 must state with particularity the circumstances constituting          to determine if a non-signatory party is bound by a forum
 fraud or mistake. Conditions of a person’s mind may be                selection clause. First, is the forum selection clause valid?
 alleged generally. Fed. R. Civ. P. 9(b). Complaints that fail         Second, is the challenging party a third-party beneficiary or
 to plead fraud or false claims grounded in fraud with the             “closely related” to the agreement? Third, do the claims at
 requisite particularity are dismissed in the same manner as a         issue arise from the non-signatory’s standing relative to the
 dismissal under rule 12(b)(6). Vess v. Ciba-Geigy Corp. USA,          agreement? Hadley, 2003 WL 21960406, at *4; Aviation West
 317 F.3d 1097, 1107 (9th Cir. 2003).                                  Charters, LLC v. Freer, 2015 WL 5138285, at *4 (Del. Super.
                                                                       Ct. July 2, 2015). If each of the answers to the three-part test
                                                                       is affirmative, then the party is bound by the forum selection
    III. DISCUSSION                                                    clause. Aviation West Charters, LLC, 2015 WL 5138285, at
 Jupai makes two principal arguments in its motion to dismiss.         *4.
 First, it argues Delaware courts lack personal jurisdiction over
 Jupai because it was not a signatory to the agreement that            Forum selection clauses carry a high degree of presumed
 contained a Delaware forum selection clause. (D.I. 81 at 3).          validity. Jupai has not challenged the validity of the forum


                 © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                                   3

                                                                     A127
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 130 of 181 PageID #: 529

 Ninespot, Inc. v. Jupai Holdings Limited, Not Reported in Fed. Supp. (2018)
 2018 WL 3626325

 selection clause in its motion to dismiss. (D.I. 81 at 16-20).        Jupai was closely related based on its involvement in the Side
 Thus, the forum selection clause in the Stock Purchase                Letter Agreement. (Id.) Thus, even if the California court did
 Agreement is presumed valid.                                          mistakenly interpret “Jupai” in the Side Letter Agreement to
                                                                       signify “Jupai Holdings Ltd.” rather than PJ, Jupai can still
 Jupai challenges the last two prongs of the forum selection           be found to be closely related through the two other above-
 clause test, by arguing it is not closely related to the Stock        mentioned connections to the Stock Purchase Agreement. 5
 Purchase Agreement such that it could be bound by the
 forum selection clause. (Id.). Specifically, Jupai argues the         5      I do not think the California court was wrong. The
 transferring court made a factual error when it found Jupai
                                                                              Side Letter Agreement says “Jupai and its Affiliates.”
 was closely related to the agreement. (Id. at 17.) Second, Jupai
                                                                              “Affiliates” is a defined term in the Stock Purchase
 argues that Plaintiff’s claims against it do not arise out of the            Agreement. (D.I. 1-2, Exh. B, 31, 4(a) ). Thus, even if
 Stock Purchase Agreement, but from a different agreement,                    Defendant Jupai is not the “Jupai” of the Side Letter
 the Term Sheet. (Id.; see D.I. 1 ¶¶ 131-36). The Term Sheet                  Agreement, it is an affiliate of the “Jupai” of the Side
 does not contain a Delaware forum selection clause. (D.I. 31,                Letter Agreement.
 Exh. 1).
                                                                        *5 While Jupai was not a named party nor signatory to
                                                                       the Stock Purchase Agreement, Jupai was involved in the
 I disagree with Jupai on both points. In order to be considered
                                                                       planning and negotiation of the Stock Purchase Agreement
 “closely related” to an agreement as a non-signatory, a party
                                                                       to such a degree that it could expect to be bound by the
 “must receive a direct monetary or non-monetary benefit from
                                                                       agreement. It was Jupai’s deal.
 the agreement.” Phunware, Inc. v. Excelmind Group Ltd.,
 117 F.Supp.3d 613, 630 (D. Del. 2015) (emphasis omitted);
                                                                       Throughout the negotiations and up until the last minute
 Capital Group Co. Inc. v. Armour, 2004 WL 2521295, at *6
                                                                       before the execution of the Stock Purchase Agreement,
 n. 40 (Del. Ch. Oct. 29, 2004). In addition, Delaware Courts
                                                                       communicating through Puji, Jupai requested changes be
 also consider whether it was foreseeable to the party that it
                                                                       made to the terms of the Stock Purchase Agreement, such as
 would be bound by the agreement. Aviation West Charters,
                                                                       the structuring of tranche investments, and the inclusion of
 LLC, 2015 WL5138285, at *4.
                                                                       a liability disclaimer clause. (D.I. 1 ¶¶ 80, 89). One month
                                                                       before the Stock Purchase Agreement was executed, Plaintiff
 First, Jupai argues the California court read the Side Letter
                                                                       and a Jupai attorney, Jinchang Wang (sometimes referred to
 Agreement (D.I. 1-3, Exh. C) to bind Jupai to the agreement
                                                                       as “Augusto”), directly communicated via email regarding
 as the Letter states, “Jupai and its Affiliates shall purchase
                                                                       the logistics of the investment. The Jupai attorney referred
 additional Shares of Series B Preferred Stock ... in accordance
                                                                       to the investment as “our preliminary agreement.” The Jupai
 with Section 1.1(c) of the Stock Purchase Agreement.” (Id.)
                                                                       attorney advised Plaintiff to reach out to Puji or “myself with
 Jupai argues this reading of the letter is incorrect, because
                                                                       any questions.” (D.I. 41, Exh. 1).
 the Stock Purchase Agreement defines “Jupai” to mean “Puji
 Jupai Asset Management,” or PJ. (D.I. 1-2, Exh. B). Jupai
                                                                       PJ was the designated entity to deliver the investment to
 argues the California court “relied heavily on the Side Letter
                                                                       Plaintiff in exchange for shares in Plaintiff. But it was
 Agreement” to find that Jupai is bound to the Stock Purchase
                                                                       Jupai who raised the capital for the investment. It was
 Agreement. (D.I. 81 at 17). But the Side Letter Agreement
                                                                       Jupai who agreed to fund the investment. It was Jupai who
 was only part of the analysis. The California court’s order first
                                                                       requested allocation of additional shares of Plaintiff to be
 specifies that Jupai is closely related to the Stock Purchase
                                                                       given to Probanca Advisory Limited, a British Virgins Island
 agreement because Jupai was party to the Term Sheet. (D.I.
                                                                       corporation, which would then be distributed between Jupai
 52 at 5). The relevant provision of the Term Sheet provided
                                                                       and Puji to cover fees associated with the investment. (D.I.
 that Jupai itself would invest in Plaintiff pursuant to the
                                                                       1 ¶¶ 55, 80). Though Jupai was not set to receive Plaintiff’s
 terms of the Stock Purchase Agreement. (D.I. 31, Exh. 1
                                                                       shares directly from Plaintiff from the execution of the Stock
 at 2). Second, the California court premised its decision
                                                                       Purchase Agreement, Jupai’s request to have Plaintiff allocate
 on the fact that Jupai “negotiated the specific terms of the
                                                                       shares to Probanca, to then be distributed to Jupai and Puji,
 [Stock Purchase Agreement], including that the investment be
                                                                       was functionally identical because Jupai was still set to
 structured in tranches to accommodate Jupai’s concerns about
                                                                       receive a benefit from the execution of the Stock Purchase
 capital outflow.” (Id.) Third, the California court decided
                                                                       Agreement. (D.I. 1 ¶ 55; D.I. 101 at 23-24).


                 © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                                     4

                                                                     A128
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 131 of 181 PageID #: 530

 Ninespot, Inc. v. Jupai Holdings Limited, Not Reported in Fed. Supp. (2018)
 2018 WL 3626325

                                                                       understood the completion of the terms of the Stock Purchase
 Thus, in accordance with the court’s reasoning in Hadley and          Agreement to depend on Jupai wiring the money to Plaintiff.
 Aviation West, Jupai stood to receive the direct benefit of
 shares in Plaintiff from the completion of the Stock Purchase         Finally, some of Plaintiff’s claims against Jupai are based
 Agreement. (D.I. 1). The receipt of a direct benefit makes            on Jupai’s involvement in the Stock Purchase Agreement.
 Jupai “closely related” to the Stock Purchase Agreement.              Plaintiff alleges that “Jupai’s conduct, as set forth herein,
 Hadley, 2003 WL 21960406, at *5; Aviation West, 2015 WL               prevented [PJ] from performing its obligations under the
 5138285, at *4.                                                       [Stock Purchase Agreement].” (D.I. 1 ¶ 146). Plaintiff further
                                                                       alleges “each of the Defendants made false representations ...
 Jupai argues its separate corporate existence from PJ, the            concerning ... the status of the investment into [Plaintiff]
 signatory on the Stock Purchase Agreement, and its inaction           and Jupai’s and/or [PJ]’s willingness and ability to fund the
 after the execution of the Stock Purchase Agreement preclude          investment.” (D.I. 1 ¶ 162). Of the five claims against Jupai,
 it from being closely related to the agreement. CompuCom              three claims, Counts Five, Eight, and Nine, are based on the
 Sys., Inc. v. Getronics Fin. Holdings B.V., 2012 WL 4963308,          Stock Purchase Agreement.
 at *2 (D. Del. Oct. 16, 2012) (noting principle that
 non-signatories that maintain separate corporate existence            Plaintiff orally raised the additional argument that Jupai is
 throughout the course of the transaction are not closely related      subject to personal jurisdiction in Delaware on the basis
 to the agreement); Phunware, 117 F.Supp.3d at 629 (holding            of Counts Three and Four, relating to breach of the Term
 that “the evaluation of when a party is ‘closely related’ to          Sheet. (D.I. 101 at 28). Plaintiff argues Jupai is subject
 a contract turns on the party’s actions after the contract was        to jurisdiction here because Jupai entered into a contract
 executed....”). I find both of these arguments unpersuasive.          with Plaintiff, a Delaware corporation, and subsequently
                                                                       harmed the Delaware corporation by breaching the contract.
 First, CompuCom found a non-signatory party that                      Id. Plaintiff did not cite to the Delaware Long-Arm Statute.
 maintained the formality of separate corporate existence but          I reject this argument as a basis for personal jurisdiction
 was a “driving force” behind the transaction in suit, to be           because the Delaware Long-Arm Statute does not provide
 “closely related” to an agreement. CompuCom, 2012 WL                  for jurisdiction over defendants who enter into a contract
 4963308, at *4. Rather than Jupai and PJ being two entirely           with a Delaware corporation and subsequently cause harm by
 separate and independent corporate entities, as Jupai argues,         breaching the contract, when the harm does not occur in the
 the relationship between Jupai and PJ was similar to that of the      state. 10 Del.C. § 3104(c)(2).
 parties in CompuCom. In communications between Plaintiff
 and PJ, officials from Jupai were often copied on emails or           Thus, it is my opinion that Jupai is bound by the Delaware
 communicated directly with Plaintiff. (D.I. 1 ¶¶ 78, 107).            forum selection clause in the Stock Purchase Agreement, and
 Jupai, through Puji’s point person, was the party that made           therefore is subject to personal jurisdiction in the State of
 all the requests for changes to the Stock Purchase Agreement.         Delaware. I will deny Jupai’s motion to dismiss pursuant to
 (D.I. 1 ¶ 89). Jupai could fairly be considered a “driving force”     Rule 12(b)(2).
 behind the execution of the Stock Purchase Agreement.

  *6 Second, while Delaware case law provides that whether                b. Defendants’ Rule 12(b)(6) motions to dismiss
 a non-signatory is closely related to an agreement depends            Puji, Jupai, and PJ all move to dismiss each of Plaintiff’s
 on the non-signatory’s actions after the execution of the             claims pursuant to Federal Rules of Civil Procedure 12(b)(6)
 agreement, this does not allow Jupai to deny the close                for failure to state a claim. I will analyze each count in order
 relationship. One month after the execution of the Stock              to determine whether Plaintiff has sufficiently stated a claim.
 Purchase Agreement, Puji’s point person represented to
 Plaintiff that Jupai’s first attempt to wire the money was
                                                                         A. Count One against Puji for breach of contract
 rejected, and that Jupai and Puji both were seeking alternate
                                                                       Count One is based on Puji’s breach of the Business
 routes to fund the investment. (D.I. 1 ¶ 98). Regardless of
                                                                       Collaboration Agreement, (D.I. 1-1, Exh. A). The Business
 whether Jupai attempted to wire the money at all or Jupai
                                                                       Collaboration Agreement is governed by California law.
 requested the representation be made, it is evident all parties
                                                                       (D.I. 1-1, Exh. A at 4). Puji moves to dismiss, arguing the




                 © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                                5

                                                                     A129
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 132 of 181 PageID #: 531

 Ninespot, Inc. v. Jupai Holdings Limited, Not Reported in Fed. Supp. (2018)
 2018 WL 3626325

 Business Collaboration Agreement does not form a binding             one of the parties, which would be to say there was no contract
 or enforceable contract and thus cannot be breached. (Id.)           at all.” Shortell v. Evans-Ferguson Corp., 98 Cal. App. 650,
                                                                      660, 277 P. 519 (1929). At this stage, however, Plaintiff
 Puji argues there is no consideration in the Business                has alleged a claim that satisfies the pleading requirements.
 Collaboration Agreement, or, alternatively, any consideration        Plaintiff points to the California Civil Code, which provides
 is illusory. (Id.) The terms of the Business Collaboration           that, “a written instrument is presumptive evidence of a
 Agreement provide that in exchange for Puji’s assistance and         consideration.” CAL. CIV. CODE § 1614. Further, California
 advice in connection with expanding Plaintiff’s business in          courts have found that consideration to be paid at one party’s
 China, Puji would be compensated with a number of shares             discretion is enough to establish mutuality of obligation,
 of Plaintiff’s common stock. (D.I. 1-1, Exh. 1 at 2-3). Puji         based on the duty of good faith. Larwin-S. Cal., Inc. v. JGB
 points, however, to provisions in the agreement that specify         Inv. Co., 101 Cal. App. 3d 626, 640, 162 Cal.Rptr. 52 (1979).
 that the issuance of stock to Puji is subject to. approval           As the Business Collaboration Agreement is governed by
 from Plaintiff’s Board of Directors and the execution of             California law, Plaintiff’s claims may not be dismissed.
 a Restricted Stock Award Agreement. (Id.) The agreement
 further expressly bars any claim by Puji to any equity if            Puji also argues that, even if the Business Collaboration
 the Restricted Stock Award Agreement is not executed. (Id.)          Agreement is found to be an enforceable contract, Plaintiff
 Under California law, Puji argues there are two theories             failed to plead its own performance or excuse, breach of the
 under which there is a lack of consideration in the Business         agreement by Puji, and the existence of damages proximately
 Collaboration Agreement. First, two conditions precedent,            caused by the breach. (D.I. 82 at 7). Puji’s position that
 the Board’s approval and the execution of the Restricted             Plaintiff did not perform does not defeat Plaintiff’s claims at
 Stock Award Agreement, were not met, and therefore the               this stage. Plaintiff claims it was “prepared to perform [the
 contract never became enforceable. (D.I. 82 at 5). Second,           obligations] in due course,” (D.I. 1 ¶ 123) and though Puji
 the equity compensation offered by Plaintiff was an illusory         argues this statement is conclusory, Plaintiff has alleged the
 promise, because Plaintiff could choose not to seek the              timing of these actions remained at its discretion, without
 Board’s approval or not to execute the Restricted Stock Award        rendering that choice illusory. (D.I. 88 at 14).
 Agreement. (Id.)
                                                                      Plaintiff also alleges Puji breached the Business Collaboration
  *7 Here, the two conditions precedent were not performed.           Agreement by failing to facilitate the launch of Plaintiff’s
 Puji argues that the failure to meet two conditions precedent        product in China and the investment into Plaintiff from
 to the formation of the contract renders the agreement               Jupai. (D.I. 1 ¶ 124). Puji argues the language of the
 unenforceable. (D.I. 82 at 5). Plaintiff argues that these two       Business Collaboration Agreement does not impose the
 conditions were conditions to the issuance of stock to Puji,         specific duties Plaintiff alleges. (D.I. 82 at 7). But at this stage,
 not conditions to the formation of the contract. (D.I. 88 at         Plaintiff’s factual allegations are plausible, when considering
 13). Plaintiff cites to California case law that supports the        the statement of facts contained in the complaint that recount
 reasoning it argues here. In Jacobs v. Freeman, the California       the discussions and other communications surrounding the
 Court of Appeals found conditions of board approval to               execution of the Business Collaboration Agreement. Finally,
 release the escrow from a property sale were intended to be          Puji argues Plaintiff cannot plead for damages caused by the
 conditions precedent to the “seller’s duty to convey the title       breach because California law does not typically allow a new
 to the land rather than a condition precedent to the formation       business to claim lost prospective profits due to uncertainty
 of a contract.” 104 Cal. App. 3d 177, 189, 163 Cal.Rptr. 680         and lack of proof. (D.I. 82 at 7; citing Macmorris Sales Corp.
 (1980). Plaintiff has plausibly alleged similar facts to those       v. Kozak, 263 Cal. App. 2d 430, 442-43, 69 Cal.Rptr. 719
 in Jacobs. Thus, at this pleading stage, Plaintiff’s claim can       (1968) ). Plaintiff does not request damages for lost profits in
 move forward.                                                        its Prayer for Relief, but compensatory damages, and those
                                                                      damages available pursuant to 6 Del. C. § 2533(c). (D.I. 1
 Turning to the argument of an illusory promise, Puji argues          at 31). While it may be that a new business cannot receive
 Plaintiff’s ability to choose to not seek approval from              damages for lost profits that is not a reason to dismiss the
 the Board or to not execute the Restricted Stock Award               claim.
 Agreement renders the agreement “devoid of all mutuality, for
 it would be leaving the existence of the contract to the will of     Thus, I deny Puji’s motion to dismiss as to Count One.



                 © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                                    6

                                                                    A130
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 133 of 181 PageID #: 532

 Ninespot, Inc. v. Jupai Holdings Limited, Not Reported in Fed. Supp. (2018)
 2018 WL 3626325


                                                                             C. Count Three against Jupai for breach of contract
    B. Count Two against PJ for breach of contract                        Count Three is based on breach of the Term Sheet, which is
  *8 Count Two is based on PJ’s breach of the Stock Purchase              governed by California law. (D.I. 31, Exh. 1). Jupai argues the
 Agreement, which is governed by Delaware law. (D.I. 1-2,                 Term Sheet does not form a binding or enforceable contract
 Exh. B). The Stock Purchase Agreement provides the terms                 and thus cannot be breached. (D.I. 81 at 5-6). The Term
 of the investment and exchange of the stock issuance to PJ.              Sheet provided the proposed terms for Jupai’s investment into
 (Id.) The parties dispute whether the agreement formed an                Plaintiff. (D.I. 1 ¶ 132). The document was signed by Plaintiff
 enforceable contract, due to the lack of an initial closing date         and “stamped” by Jupai. (Id.) Plaintiff claims the Term Sheet
 specified in the document. (D.I. 78 at 5). PJ argues that the            constituted a binding promise from Jupai to invest in Plaintiff,
 missing initial closing date, to which the execution of all terms        and that Jupai breached the contract when it failed to fund the
 are subject, indicates the agreement is missing essential terms,         investment. (Id.) Accordingly, Plaintiff argues the agreement
 and therefore cannot be considered a binding enforceable                 provides that the terms would be memorialized in a formal
 contract. (Id.) Accordingly, PJ argues the claim of breach of            binding writing, the Stock Purchase Agreement. (D.I. 88 at
 contract should be dismissed. (Id.) Alternatively, PJ argues             17). Plaintiff points to California contract law, which states
 that even if the Stock Purchase Agreement is found to be an              that “negotiations [oral or written terms] ordinarily result
 enforceable contract, the inclusion of an “exculpatory clause”           in a binding contract when all of the terms are definitely
 in the agreement prevents Plaintiff from imposing liability              understood, even though the parties intend that a formal
 on PJ for not completing the investment. (Id.) 6 By contrast,            writing embodying these terms shall be executed later.” Pac.
 Plaintiff argues that the lack of a specified initial closing            Grove-Asilomar Operating Corp. v. County of Monterey,
 date does not render the contract unenforceable, because the             43 Cal. App. 3d 675, 686, 117 Cal.Rptr. 874 (1974). The
 agreement was executed in April of 2017 with the intent                  Term Sheet, however, in the introductory paragraph, states
 of both parties to execute the terms of the agreement. (D.I.             it “constitutes a non-binding obligation or commitment ...”
 88 at 22). Alternatively, Plaintiff argues the “exculpatory              and that the “definitive terms and obligations between parties
 clause” only bars liability if PJ were not able to purchase the          are subject to executed investment agreements.” (D.I. 31,
 “full amount” of the total shares, not if PJ fails to purchase           Exh. 1 at 4). California law holds that if the language
 any at all. (Id.) I think the allegations in the complaint,              of the agreement is clear, the language must govern the
 taken as true, are sufficient at this stage to overcome PJ’s             interpretation of the agreement. Biller v. Toyota Motor Corp.,
 argument for dismissal. Both cases PJ cites to as support for            668 F.3d 655, 662 (9th Cir. 2012). The non-obligation clause
 its motion, Leonard v. University of Delaware, 204 F.Supp.2d             and the postponement of binding terms to future agreements
 784, 787-88 (D. Del. 2002) (settlement agreement) and In                 means that the Term Sheet cannot be considered a binding
 re Frederick’s of Hollywood, 2000 WL130630, at *6-7 (Del.                agreement.
 Ch. Jan. 31, 2000) (exculpatory clause), are not on point.
 The Stock Purchase Agreement is quite different from the                 Thus, I grant Jupai’s motion to dismiss as to Count Three.
 agreements in the above-mentioned cases. In Eagle Force
 Holdings, LLC v. Campbell, the Delaware Supreme Court
                                                                             D. Count Four against all Defendants for breach of
 found that an agreement with an execution date left blank was
                                                                             implied covenant of good faith and fair dealing
 sufficiently definite to state a claim. Eagle Force Holdings,
                                                                          All Defendants move to dismiss Count Four, for breach of
 LLC v. Campbell, 2018 WL 2351326, at *18, 187 A.3d 1209
                                                                          the implied covenant of good faith and fair dealing. Plaintiff’s
 (Del. May 24, 2018). Eagle Force is much more relevant
                                                                          claims against each Defendant are based on each of their
 authority. Thus, I will deny PJ’s motion to dismiss as to Count
                                                                          respective agreements. Under California law, which governs
 Two.
                                                                          the Term Sheet agreement between Jupai and Plaintiff, the
                                                                          covenant of good faith is “an implied term of a contract, [and
 6       The clause in question reads: “Notwithstanding anything          thus] the existence of a contractual relationship is prerequisite
         to the contrary set forth herein, no Initial Purchaser shall     for any action for breach of contract.” Scott v. Solano County
         have any liability to the Company or any third party
                                                                          Health & Social Services Dept., 459 F.Supp.2d 959, 967 (E.D.
         for its failure to purchase the full amount of its Total
                                                                          Cal. 2006); Smith v. City and County of San Francisco, 225
         Share Commitment by the Outside Funding Date for any
                                                                          Cal.App.3d 38, 49, 275 Cal.Rptr. 17 (1990). Because I find
         reason.” (D.I. 1-2, Exh. B at 2).
                                                                          the Term Sheet agreement between Jupai and Plaintiff is not


                  © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                                   7

                                                                        A131
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 134 of 181 PageID #: 533

 Ninespot, Inc. v. Jupai Holdings Limited, Not Reported in Fed. Supp. (2018)
 2018 WL 3626325

 a binding agreement, I will grant Jupai’s motion to dismiss as         that PJ’s email to Plaintiff disclaiming liability to fulfill the
 to Count Four.                                                         terms of the investment in response to Plaintiff’s demand
                                                                        letter is a breach of the implied covenant. But that contention
  *9 In the claim against Puji based on the Business                    is the same as the breach of contract claim that PJ did not
 Collaboration Agreement, Puji argues primarily that there              make the investment. In addition, the email response was
 is no contractual relationship with Plaintiff. Because I have          the last course of conduct taken by either party immediately
 denied Puji’s motion to dismiss for breach of the Business             before Plaintiff filed this action. It makes no sense to say
 Collaboration Agreement, I will analyze this claim assuming            that a communication sent in response to Plaintiff’s letter
 that there is a contractual relationship between the two parties.      threatening legal action, denying liability, constitutes conduct
                                                                        done to frustrate the overall purpose of the contract. Thus, I
 The complaint alleges that Puji breached the implied covenant          will grant PJ’s motion to dismiss as to Count Four.
 by making false statements and frustrating Plaintiff’s right
 to receive the benefits of the agreement, specifically by the
 intentional interference into Plaintiff’s business relationship           E. Count Five against Puji and Jupai for intentional
 with OurCam. (D.I. 1 ¶ 141; D.I. 88 at 24). As will be                    interference with contractual relations
 discussed in the following sections, Plaintiff’s claim in              Plaintiff claims Puji and Jupai were aware of the contractual
 Count Six against Puji for interference with OurCam will               obligations contained in the Stock Purchase Agreement
 be dismissed. Thus, the interference theory is not grounds             between Plaintiff and PJ, and took intentional steps to prevent
 for alleging breach of the implied covenant. Plaintiff also            Plaintiff from receiving the benefits of the contract and/
 argues that Puji’s false representations about the status of the       or PJ from fulfilling its obligations. (D.I. 1 ¶¶ 146-47).
 investment constitute a breach of the implied covenant. Under          In order to successfully prove an intentional interference
 California law, which governs the Business Collaboration               with contractual relations, a plaintiff must prove: 1) a valid
 Agreement, allegations of the breach of the implied covenant           contract existed, 2) defendant had knowledge of the contract,
 may not stand alone as independent claims if they are                  3) defendant acted intentionally in a manner that was a
 duplicative of the breach of contract claim. Shaterian v.              significant part of the breach, 4) actual breach occurred
 Wells Fargo Bank, N.A., 829 F.Supp.2d 873, 884 (N.D. Cal.              without justification, and 5) plaintiff was injured by the
 2011). As an exception to this principle, claims of breach of          defendant’s actions. Beard Research, Inc. v. Kates, 8 A.3d
 the implied covenant may be considered valid claims if the             573, 605 (Del. Ch. 2010); Tenneco Automotive, Inc. v. El Paso
 allegations plead the “defendant acted in bad faith to frustrate       Corp., 2007 WL 92621, at *5 (Del. Ch. Jan. 8, 2007); United
 the contract’s actual benefits.” Id. Because I think Plaintiff has     Nat’l Maint., Inc. v. San Diego Convention Center, Inc., 766
 alleged sufficient facts about Puji’s false representations to         F.3d 1002, 1006 (9th Cir. 2014).
 Plaintiff about the status of the investment, I will deny Puji’s
 motion to dismiss as to Count Four.                                     *10 Both Puji and Jupai argue they are exempt from liability
                                                                        because they are not strangers to the contract. They argue they
 Finally, Plaintiff’s claim against PJ is based on the Stock            are affiliates to the contract, and thus shielded from liability
 Purchase Agreement, which is governed by Delaware law.                 by the affiliate privilege doctrine. I agree with Puji and Jupai
 PJ argues the complaint’s allegations of breach of the                 here.
 implied covenant go no further than the allegations of breach
 of contract. (D.I. 78 at 11). Delaware courts have found               Delaware law protects parties or enterprises from liability for
 that allegations of breach of the implied covenant do not              tortious interference if they are affiliated with the contract
 apply when the conduct is also addressed by breach of                  and/or the contracting parties by common ownership or
 contract allegations. Nationwide Emerging Managers, LLC                shared economic interests. AM General Holdings LLC v.
 v. Northpointe Holdings, LLC, 83 R.I. 58, 112 A.2d 878,                Renco Group, Inc., 2013 WL 5863010, at *12 (Del. Ch. Oct.
 896 (Del. 2015). While Plaintiff attempts to assert the                21, 2013). Only where the affiliate party acts in accordance
 complaint falls in the small window of opportunity that allows         with the “stringent bad faith standard” can liability for this
 breach of the implied covenant claims where the conduct                tort be established. Id. Plaintiff argues that Puji and Jupai
 “frustrate[d] the overarching purpose of the contract,” I think        are strangers to the contract for purposes of this Count, but
 the allegations fall short. See Gerbitz v. ING Bank, FSB,              considering that the complaint as a whole is premised on the
 967 F.Supp.2d 1072, 1081 (D. Del. 2013). Plaintiff contends            closeness of the relationship between all three entities, that
                                                                        argument cannot hold up.


                 © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                                  8

                                                                      A132
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 135 of 181 PageID #: 534

 Ninespot, Inc. v. Jupai Holdings Limited, Not Reported in Fed. Supp. (2018)
 2018 WL 3626325


 Alternatively, under California law, it may be that the stranger       *11 More importantly, however, Plaintiff must allege
 requirement is not as strict. (D.I. 101 at 77). California courts     the independent act of making these representations to
 have held that “liability for this tort [intentional interference     OurCam was wrongful or unlawful, in other words, that
 with economic relations] exists to protect the parties to             the independent act was “proscribed by some constitutional,
 that relationship from ‘interference by a stranger to the             statutory, regulatory, common law, or other determinable
 agreement.” United Nat’l Maint., Inc., 766 F.3d at 1007.              standard.” Id. at 1159, 131 Cal.Rptr.2d 29, 63 P.3d 937.
 Further explanation of this doctrine was provided by the              Plaintiff claims that at the same time Puji communicated with
 California Supreme Court, however, when that Court held               OurCam, Puji communicated to Plaintiff that the investment
 that a plaintiff must prove not only intentional interference,        was still on track. (D.I. 88 at 35). Based on the facts
 but “conduct that was wrongful by some legal measure other            contained in the complaint, it appears that the investment
 than the fact of interference itself as well. Delia Penna v.          was in fact moving slowly. (D.I. 1). However, assuming
 Toyota Motor Sales, U.S.A., Inc., 11 Cal. 4th 376, 393, 45            the representations were false at the time they were made,
 Cal.Rptr.2d 436, 902 P.2d 740 (1995). Plaintiff states its claim      Plaintiff points to no standard or law that prohibits the nature
 for intentional interference “does not rely on allegations of         of the communication from Puji to OurCam. It may be
 fraud.” (D.I. 88 at 30). Because Plaintiff does not allege that       alleged to be false, but there is no allegation it was unlawful.
 Puji and Jupai’s actions were wrongful on some other basis,           Therefore I will grant Puji’s motion to dismiss as to Count Six.
 Plaintiff’s allegations are not sufficient to claim intentional
 interference.
                                                                          G. Count Seven against Puji for breach of fiduciary
 Because Puji and Jupai are affiliates to PJ and the contract,            duty
 and because Plaintiff does not allege Puji and Jupai acted in         Plaintiff claims Puji breached a fiduciary duty owed to
 accordance with the stringent bad faith standard, I will grant        Plaintiff, based on Plaintiff and Puji’s business relationship,
 Puji and Jupai’s motion to dismiss as to Count Five.                  summarized in the Business Collaboration Agreement. (D.I. 1
                                                                       ¶ 157). Plaintiff argues the nature of the relationship between
                                                                       Plaintiff and Puji, as well as its reliance on Puji’s “advice
    F. Count Six against Puji for intentional interference             and guidance on key business matters,” formed a fiduciary
    with prospective economic relations                                relationship that was breached when Puji failed to deliver
 Plaintiff also brings a claim against Puji for intentional            on its promises. (Id.) The Business Collaboration Agreement
 interference with prospective economic relations based on             is governed by California law. The elements for breach
 Puji’s communications with Plaintiff’s potential acquisition          of fiduciary duty under California law are as follows: 1)
 target, OurCam. (D.I. 1 ¶ 152). Plaintiff contends Puji,              fiduciary duty exists, 2) breach of that duty, and 3) damage
 while aware of the potential partnership and/or acquisition           to the plaintiff resulting from the breach. Pellegrini v. Weiss,
 between Plaintiff and OurCam, represented to OurCam that              165 Cal. App. 4th 515, 524, 81 Cal.Rptr.3d 387 (2015).
 the investment from Jupai into Plaintiff was moving slowly.
 (Id. ¶ 50). Further, Puji told OurCam that it should “give up”        Plaintiff argues a special relationship exists with Puji based
 on a partnership with Plaintiff. (Id.). Plaintiff alleges these       on the terms summarized in the Business Collaboration
 representations were wrongfully and intentionally false. (Id.         Agreement. (D.I. 1 ¶ 157). Although Plaintiff received
 ¶ 152).                                                               guidance and advice from Puji, I do not find this creates a
                                                                       fiduciary duty.
 In order for Plaintiff to prove Puji intentionally interfered
 in this regard, Plaintiff must first allege: 1) an economic           California case law states that an agreement between two
 relationship between Plaintiff and OurCam with the                    parties, where one party may have superior knowledge and
 probability of future economic benefit to Plaintiff, 2) Puji’s        expertise relative to the subject of the agreement, does not
 knowledge of the relationship, 3) intentional acts by Puji            create a fiduciary duty. City of Hope National Medical Center
 designed to disrupt the relationship, 4) actual disruption of         v. Genentech, 43 Cal. 4th 375, 389, 75 Cal.Rptr.3d 333, 181
 the relationship, and 5) economic harm done to Plaintiff,             P.3d 142 (2008). Further, it is not “unusual for a party to enter
 proximately caused by Puji’s acts. Korea Supply Co. v.                into a contract for the very purpose of obtaining the superior
 Lockheed Martin Corp., 29 Cal. 4th 1134, 1153, 131                    knowledge or expertise of the other party.” Id. That is what
 Cal.Rptr.2d 29, 63 P.3d 937 (2003).                                   Plaintiff was doing in this case. The Business Collaboration


                 © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                                 9

                                                                     A133
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 136 of 181 PageID #: 535

 Ninespot, Inc. v. Jupai Holdings Limited, Not Reported in Fed. Supp. (2018)
 2018 WL 3626325

 Agreement states, “The parties recognize ... there may be            Plaintiff’s demand letter. (D.I. 88 at 25; D.I. 1-5, Exh.
 mutually beneficial business objectives that can be achieved         E). This includes the statement in the email that neither
 through their collaboration....” (D.I. 1-1, Exh. A at 2). In         Jupai nor PJ raised money in connection with the proposed
 this way, the relationship is similar to the contract in which       investment. (Id.) While Plaintiff admits the email does not
 the court found there was no fiduciary duty created where            substantiate all of the false representations it claims Puji
 both parties entered into a mutually beneficial contract. City       made, Plaintiff here pleads with enough particularity that at
 of Hope National Medical Center, 43 Cal. 4th at 389, 75              least some of the statements Puji made were false. Plaintiff
 Cal.Rptr.3d 333, 181 P.3d 142.                                       also sufficiently pleads that it reasonably relied on Puji’s
                                                                      statements by choosing to pursue this investment with Jupai
 Thus, for the purpose of analyzing Count Seven, the Business         based on arguably credible statements about the status of
 Collaboration Agreement documented a relationship in which           the investment at the time the statements were made. At
 each party would exchange valuable consideration. Puji is            this pleading stage, Plaintiff does not have to allege how
 alleged to have been in a position of superior knowledge,            Puji knew its representations were false, only that Puji made
 but this fact alone cannot make Puji a fiduciary to Plaintiff.       representations to Plaintiff that were factually different than
 Therefore, I will grant Puji’s motion to dismiss as to Count         what Puji knew to be true. Because Plaintiff satisfies that
 Seven.                                                               pleading requirement, I will deny Puji’s motion to dismiss as
                                                                      to Count Eight.

    H. Count Eight against all Defendants for intentional             Against Jupai and PJ however, Plaintiff’s claim of intentional
    misrepresentation                                                 misrepresentation falls short. Even viewed in the light most
 Plaintiff alleges all Defendants made false and intentional          favorable to the Plaintiff, Plaintiff does not argue Jupai or
 misrepresentations on which Plaintiff reasonably relied, and         PJ made representations about the status of the investment
 thus suffered substantial harms as a result. (D.I. 1 ¶¶ 161-65).     prior to or immediately following the execution of the Stock
 In order to claim intentional misrepresentation, Plaintiff           Purchase Agreement. (D.I. 88 at 26-28). Both Jupai and PJ
 must plead these elements of fraud with particularity: 1)            contend that Plaintiff has not pled specific allegations of
 misrepresentation, 2) knowledge of the misrepresentation,            fraud against each defendant with the requisite particularity.
 3) intent to defraud or induce Plaintiff to act or
                                                                      (Id.). 7 Plaintiff primarily relies on representations made by
 refrain from acting, 4) Plaintiff’s justifiable reliance upon
                                                                      Puji about PJ and Jupai’s involvement. The only specific
 the representation, and 5) resulting damages. Robinson
                                                                      allegation involving PJ and Jupai is PJ’s email response to the
 Helicopter Co. v. Dana Corp., 34 Cal. 4th 979, 990, 22
                                                                      demand letter, which happened after Plaintiff threatened legal
 Cal.Rptr.3d 352, 102 P.3d 268 (2004); Hauspie v. Stonington
 Partners, Inc., 945 A.2d 584, 586-87 (Del. 2008).                    action. 8 Neither PJ nor Jupai made earlier representations
                                                                      about the status of the investment that Plaintiff has alleged
  *12 In response to the claim against it and for the purposes        with specific facts were false at the time the statements were
 of this motion, Puji concedes that the complaint does allege         made. 9 For the purposes of this opinion, I assume without
 a list of statements and/or communications made to Plaintiff         deciding that the demand letter sent from Plaintiff to Jupai
 on behalf of Puji. (D.I. 82 at 16). But, Puji argues that there      (D.I. 1-4, Exh. D) and the email response to the demand letter
 are no particular facts alleged that indicate Puji was aware the     sent from PJ (D.I. 1-5, Exh. E), are not made inadmissible by
 statements were false, or that Puji had an intent to defraud         Rule 408 of the Federal Rules of Evidence.
 Plaintiff. (Id.) Puji points to two instances where it claims
 Plaintiff chose to ignore Puji’s advice to avoid focusing all of     7      Jupai specifically points to both Delaware and California
 its resources on one potential investment source, and to seek               case law that finds plaintiff’s must plead, with the
 additional funding elsewhere. (Id.). Moreover, Puji argues                  required particularity, allegations of fraud against each
 Plaintiff does not allege its scienter with enough specificity,             individual defendant. Sandvik AB v. Advent Int’l Corp.,
 but as Plaintiff notes, Rule 9(b) only requires the factual                 83 F.Supp.2d 442, 448 (D. Del. 1999); Kronk v. Landwin
 circumstances of the fraud be alleged with particularity; the               Grp., LLC, 2011 WL 13143096, at *6 (CD. Cal. June 7,
 mental state may be alleged generally. Fed. R. Civ. P. 9(b).                2011).
                                                                      8      The email response letter from Oreans Yuan, acting
 Plaintiff argues that Puji admitted the falsity of some                     on behalf of PJ, was the last communication between
 of the representations it made in the email response to


                 © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                                10

                                                                    A134
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 137 of 181 PageID #: 536

 Ninespot, Inc. v. Jupai Holdings Limited, Not Reported in Fed. Supp. (2018)
 2018 WL 3626325

         Plaintiff and any of Defendants before the complaint was          Court, based on their “review of the statute, legislative intent,
         filed. Thus, Plaintiff cannot claim it reasonably relied on       and context of the Deceptive Trade Practices Act with regard
         this email response in any of the choices it made with            to its sister provision, the Consumer Fraud Act,” held that a
         regards to its decision to pursue the Jupai investment.           litigant only has standing to bring a claim under this law if
         (D.I. 78 at 13).                                                  it has a horizontal relationship with the other party. Grand
 9                                                                         Ventures, Inc. v. Whaley, 632 A.2d 63, 70 (Del. 1993). In
         It is not surprising that Plaintiff has not made such
                                                                           short, Delaware courts have defined horizontal relationships
         allegations. As Plaintiff candidly stated at oral argument,
                                                                           as ones where the two parties are in direct competition with
         Plaintiff’s theory is that Defendants intended to make the
                                                                           each other. Livery Coach Solutions, LLC v. Music Express/
         investment until some point in time when Defendants
         changed their mind.                                               East, Inc., 245 F.Supp.3d 639, 648 (D. Del. 2017). 10
  *13 Thus, I will grant Jupai and PJ’s respective motions to
                                                                           10      More specifically, the court in Livery Coach Solutions
 dismiss as to Count Eight. I will deny Puji’s motion to dismiss
 as to Count Eight.                                                                adopted the definition of horizontal relationships from
                                                                                   Chase Bank USA, N.A. v. Hess, 2013 WL 5314706, at
                                                                                   *5 (D. Del. Sep. 20, 2013), which held that a horizontal
    I. Count Nine against all Defendants for violation of                          relationship “exists between at least two businesses on
    the Delaware Deceptive Trade Practices Act                                     the same market level, because they manufacture similar
 In its final claim, Plaintiff alleges all three Defendants                        products in the same geographic region, or are direct
                                                                                   competitors.” Livery Coach Solutions, 245 F.Supp.3d at
 violated the Delaware Deceptive Trade Practice Act, 6 Del.C.
                                                                                   648.
 § 2532. (D.I. 1 ¶¶ 167-68). Because the claims against
 Defendants are all based on the same allegations, I will                  The nature of the relationship between Plaintiff and all three
 analyze the argument against each as a whole. Plaintiff, Jupai,           Defendants is not one of competition, but consists of advising,
 and Puji argue in their briefing about whether the Deceptive              facilitating, and supporting an investment in exchange for
 Trade Practices Act can apply to injurious conduct that does              shares. There is no horizontal relationship between Plaintiff
 not physically take place in the state of Delaware. (D.I. 81, 82,         and any of the three Defendants. Thus I will grant Puji, Jupai
 88). There is some case support offered by Defendants that                and PJ’s respective motions to dismiss as to Count Nine.
 the Deceptive Trade Practices Act is not available to litigants
 who cannot show any evidence of wrongful conduct or injury
                                                                              IV. CONCLUSION
 taking place in Delaware. See Guidance Endodontics, LLC
                                                                            *14 For the reasons stated above, Jupai’s motion to dismiss,
 v. Dentsply Int’l, Inc., 663 F.Supp.2d 1138, 1155 (D.N.M.
                                                                           pursuant to Rule 12(b)(2) for lack of personal jurisdiction
 2009). Plaintiff points out that Guidance Endodontics dealt
                                                                           (D.I. 80), is DENIED. Puji’s motion to dismiss, pursuant to
 with a party incorporated in Delaware. (D.I. 88 at 37). Here, as
                                                                           Rule 12(b)(6) (D.I. 79) as to Counts One, Four, and Eight, is
 Plaintiff argues, there is a lack of Delaware case law regarding
                                                                           DENIED. PJ’s motion to dismiss, pursuant to Rule 12(b)(6)
 this specific issue.
                                                                           (D.I. 77) as to Count Two, is DENIED. Except as just noted,
                                                                           the remaining motions to dismiss, pursuant to Rule 12(b)(6)
 However, I do not need to decide whether the Act can apply if
                                                                           (D.I. 77, 79, 80), are otherwise GRANTED.
 the actions and injury did not take place in Delaware, because
 Plaintiff is unable to meet one of the other requirements for
                                                                           As requested (D.I. 88 at 53), Plaintiff is GRANTED leave to
 standing under the Act. Though Plaintiff cites to language
                                                                           amend its complaint within two weeks.
 in the statute that reads, “[in] order to prevail in an action
 under this chapter, a complainant need not prove competition
 between the parties....” 6 Del. § 2532(b), Delaware courts                All Citations
 have consistently held that the purpose of the DTPA is
 to protect horizontal relationships. The Delaware Supreme                 Not Reported in Fed. Supp., 2018 WL 3626325

  End of Document                                                      © 2020 Thomson Reuters. No claim to original U.S. Government Works.




                  © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                                    11

                                                                       A135
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 138 of 181 PageID #: 537

 UbiquiTel Inc. v. Sprint Corp., Not Reported in A.2d (2005)
 2005 WL 3533697

                                                                     entities”), and Nextel Communications, Inc. (“Nextel”)
                                                                     various claims arising out of the merger of Sprint and Nextel.
                   2005 WL 3533697
                                                                     Among other things, UbiquiTel has asserted claims of tortious
     Only the Westlaw citation is currently available.
                                                                     interference with contract and civil conspiracy against Nextel.
           UNPUBLISHED OPINION. CHECK                                Nextel has moved to dismiss these two claims for failure to
           COURT RULES BEFORE CITING.                                state a claim under Court of Chancery Rule 12(b)(6). For the
                                                                     reasons set forth below, Nextel's motion is denied.
              Court of Chancery of Delaware.

              UBIQUITEL INC. and Ubiquitel
            Operating Company, Plaintiffs,                                                    I. FACTS 1
                         v.
                                                                     1      The facts set forth herein are taken from the Complaint
       SPRINT CORPORATION, Sprint Spectrum
                                                                            and accepted as true for purposes of Nextel's Motion to
      L.P., Wirelessco, L.P., Sprint Communications
                                                                            Dismiss.
          Company L.P., Sprint Telephony PCS,
          L.P., Sprint PCS License, L.L.C., and
        Nextel Communications, Inc., Defendants.                                             A. The Parties

                      No. Civ.A. 1489-N.                             UbiquiTel is a Delaware corporation with its principal place
                               |                                     of business in Conshohocken, Pennsylvania.
                   Submitted Aug. 26, 2005.
                               |                                     Sprint, a Kansas corporation with its principal place of
                    Decided Dec. 14, 2005.                           business in Kansas, offers a range of communications
                               |                                     products nationwide. Sprint Spectrum L.P., WirelessCo, L.P.,
                    Revised Dec. 19, 2005.                           Sprint Communications Company L.P. and Sprint Telephony
                                                                     PCS, L.P. are Delaware partnerships with their principal
 Attorneys and Law Firms                                             places of business in Kansas; each is a directly or indirectly
                                                                     owned subsidiary of Sprint. Sprint PCS License, L.L.C. is a
 Kurt M. Heyman, Patricia L. Enerio, Linda E. Beebe, The
                                                                     Delaware limited liability company with its principal place of
 Bayard Firm, Wilmington, Delaware; Emily Nicklin, Barry
                                                                     business in Kansas; it, too, is an indirectly owned subsidiary
 E. Fields, Gabor Balassa, Kirkland & Ellis LLP, Chicago,
                                                                     of Sprint. Together, Sprint and several of the Sprint entities
 Illinois, for Plaintiffs UbiquiTel Inc. and UbiquiTel Operating
                                                                     hold and control personal communications services (“PCS”)
 Company.
                                                                     licenses to provide voice and data services using wireless
 Michael D. Goldman, Stephen C. Norman, Brian C. Ralston,            technology in a nationwide network (the “PCS Network”).
 Potter Anderson & Corroon LLP, Wilmington, Delaware;
 Robert C. Weber, Dennis L. Murphy, Geoffrey J. Ritts,               Nextel, a Delaware corporation with its principal place of
 Melissa J. Nandi, Jones Day, Cleveland, Ohio, for Defendant         business in Virginia, also offers a variety of communications
 Nextel Communications, Inc.                                         products nationwide.



                 MEMORANDUM OPINION                                                B. The Management Agreement

 PARSONS, Vice Chancellor.                                           When Sprint obtained its PCS licenses from the Federal
                                                                     Communications Commission (“FCC”), it agreed to construct
  *1 Plaintiffs UbiquiTel Inc. and UbiquiTel Operating Co.
                                                                     a percentage of its nationwide wireless services network
 (“UbiquiTel” or “Plaintiffs”) have asserted against Sprint
                                                                     within five years. In furtherance of its agreement, Sprint
 Corp. (“Sprint”), Sprint Spectrum L.P., WirelessCo, L.P.,
                                                                     contracted with various “Affiliates” to finance, construct,
 Sprint Communications Co. L.P., Sprint Telephony PCS,
                                                                     operate, manage, maintain and upgrade the PCS Network in
 L.P., Sprint PCS License, L.L.C. (collectively, the “Sprint
                                                                     certain smaller markets. In October 1998, UbiquiTel became



                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                                   1

                                                                   A136
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 139 of 181 PageID #: 538

 UbiquiTel Inc. v. Sprint Corp., Not Reported in A.2d (2005)
 2005 WL 3533697

 a Sprint Affiliate and entered into a PCS Management                5       Id. ¶ 41 (quoting id. Ex. A (Management Agreement §
 Agreement (“Management Agreement”) with several of the                      12.2(a)).
 Sprint entities. As of the filing of its Complaint, UbiquiTel
 was responsible for the PCS Network in certain parts of nine
 states-California, Nevada, Washington, Idaho, Wyoming,                                  C. The Sprint-Nextel Merger
 Utah, Indiana, Kentucky and Tennessee.
                                                                     On December 15, 2004, Sprint announced that it intended to
 The Management Agreement governs the relationship                   merge with Nextel. In a conference call to UbiquiTel and the
 between Sprint and UbiquiTel. It provides, inter alia, that         other Affiliates that same day, Sprint acknowledged that post-
 UbiquiTel                                                           merger integration with Nextel would conflict with Sprint's
                                                                     obligations to the Affiliates. 6 Similarly, in their joint proxy
                                                                     solicitation materials seeking shareholder approval of the
                                                                     merger, Sprint and Nextel acknowledged that the former's
              will be the only person or entity that                 arrangements with the Affiliates “may limit the ability to
              is a manager or operator for Sprint                    fully integrate the operations of Sprint and Nextel in areas
              PCS with respect to the Service Area                   managed by the [Affiliates]” 7 and “restrict Sprint's and its
              and neither Sprint PCS nor any of                      affiliates' ability to own, operate, build or manage wireless
              its Related Parties will own, operate,                 communications networks or to sell Sprint's wireless services
              build or manage another Wireless
                                                                     within specified geographic areas.” 8
              Mobility Communications Network in
              the Service Area so long as this
                                                                     6       Id. ¶ 42.
              agreement remains in full force and
              effect.... 2                                           7       Id. ¶ 43.
                                                                     8       Id. ¶ 44.
                                                                     UbiquiTel filed its Complaint on July 12, 2005. The
 2      Compl. ¶ 27.                                                 Complaint alleges that when the merger is completed, Nextel
  *2 Wireless Mobility Communications Network is defined             will merge with and into a wholly owned subsidiary of
 in the Management Agreement as “a radio communications              Sprint and Sprint will change its name to Sprint Nextel.
 system operating in the 1900 MHZ spectrum range under the           The combined entity will continue to be bound by the
 rules designated as Subpart E of Part 24 of the FCC's rules.” 3     Management Agreement with UbiquiTel. 9

 3      Id. Ex. E at 77.                                             9       Id. ¶ 48. The merger closed after the filing of the
                                                                             Complaint. See Form 8-A/A of Sprint Nextel Corp. (Aug.
 The Management Agreement also requires that UbiquiTel
                                                                             12, 2005), available at http://www.sec.gov/edgar/shtml.
 regularly provide Sprint with “competitively sensitive and
 highly confidential information concerning nearly every
 aspect of UbiquiTel's operations,” including, for example,                                    II. ANALYSIS
 pricing and billing information, build-out and other business
 plans and details about every UbiquiTel customer. 4 Pursuant        In Counts III and IV of the Complaint, UbiquiTel alleges that
 to the Management Agreement, Sprint must “ ‘keep                    Nextel tortiously interfered with the Management Agreement,
 confidential, not disclose to others and use only for the           a contract between UbiquiTel and various Sprint entities, and
 purposes authorized in this agreement, all Confidential             conspired with Sprint and the Sprint entities to so interfere. 10
 Information disclosed by the other party to the party in            Nextel seeks dismissal of both counts under Rule 12(b)(6) for
 connection with this agreement....” ’ 5                             failure to state a claim.


 4                                                                   10      Compl. ¶¶ 91-102.
        Id. ¶¶ 35-36.




                 © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                                   2

                                                                   A137
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 140 of 181 PageID #: 539

 UbiquiTel Inc. v. Sprint Corp., Not Reported in A.2d (2005)
 2005 WL 3533697

                                                                         5) the basic policies underlying the particular field of law;
                                                                         6) certainty, predictability and uniformity of result; and 7)
        A. Standard for Dismissal under Rule 12(b)(6)
                                                                         ease in the determination and application of the law to be
 The standard for dismissal pursuant to Rule 12(b)(6) is well            applied. 17 In a tort action, the Court considers four specific
 settled. A court will grant the motion only if a “plaintiff             contacts in applying these broad policy considerations to the
 would not be entitled to recover under any reasonably                   choice of law determination: 1) the place where the injury
 conceivable set of circumstances susceptible of proof.” 11              occurred; 2) the place where the conduct causing the injury
 “In considering a motion to dismiss under Rule 12(b)(6), the            occurred; 3) the domicile, residence, nationality, place of
 court is required to assume the truthfulness of all well-pleaded        incorporation and place of business of the parties; and 4) the
                                                                         place where the relationship, if any, between the parties is
 allegations of fact in the complaint.” 12 “[N]either inferences
 nor conclusions of fact unsupported by allegations of specific          centered. 18 “These contacts are to be evaluated according
 facts are accepted as true. That is, a trial court need not blindly     to their relative importance with respect to the particular
 accept as true all allegations, nor must it draw all inferences         issue.” 19
 from them in the plaintiffs' favor unless they are reasonable
 inferences.” 13                                                         16      Travelers Indem. Co. v. Lake, 594 A.2d 38, 47
                                                                                 (Del.1991). “As the forum state, Delaware must apply
 11      Precision Air, Inc. v. Standard Chlorine of Del., Inc., 654             its own choice of law rule .” Nat'l Acceptance Co. of
         A.2d 403, 406 (Del.1995) (internal citations omitted).                  Cal. v. Mark S. Hurm, M.D., P.A., 1989 WL 70953,
                                                                                 at *2 (Del.Super. June 16, 1989); VantagePoint Venture
 12      Albert v. Alex. Brown Mgmt. Servs., Inc., 2005 WL                       Partners 1996 v. Examen, Inc., 871 A.2d 1108, 1116
         1594085, at *11 (Del. Ch. June 29, 2005) (internal                      (Del.2005) (“[Plaintiff] acknowledges that the courts of
         citations omitted).                                                     Delaware, as the forum state, may apply Delaware's own
                                                                                 substantive choice of law rules.”) (citing Allstate Ins. Co.
 13      Id.                                                                     v. Hague, 449 U.S. 302 (1981)).

  *3 Finally, Delaware is a notice pleading state. 14 Thus,              17      Restatement (Second) of Conflicts of Laws § 145(1)
 Plaintiffs “need not plead evidence. Rather, the [P]laintiff[s]                 (1971) (citing Restatement (Second) of Conflicts of
 need only allege facts, that, if true, state a claim upon which                 Laws § 6 (1971)).
 relief can be granted.” 15                                              18      Id. § 145(2).

 14                                                                      19      Id.; see also Travelers Indem., 594 A.2d at 48 (“[T]he
         Ct. Ch. R. 8(a); VLIW Tech., LLC v. Hewlett-Packard Co.,
         840 A.2d 606, 611 (Del.2003).                                           Restatement test does not authorize a court to simply
                                                                                 add up the interests on both sides of the equation and
 15      VLIW Tech., 840 A.2d at 611 (emphasis added).                           automatically apply the law of the jurisdiction meeting
                                                                                 the highest number of contacts listed in Sections 145 and
                                                                                 6. Section 145 has a qualitative aspect.”).
                         B. Choice of Law

 Before applying the 12(b)(6) standard, the Court must                                           1. Place of injury
 determine which state's substantive law governs Plaintiffs'
 claims. Plaintiffs argue Delaware law governs, while Nextel             UbiquiTel alleges that, as a result of Nextel's conduct, both
 contends Pennsylvania law applies.                                      its competitive position in the marketplace and the goodwill it
                                                                         enjoys from customers as a result of its exclusive arrangement
 Delaware has adopted the most significant relationship                  with Sprint will be injured and its opportunity to market
 test from the Restatement (Second) of Conflicts of Laws                 a unique product will be destroyed. 20 In other words, the
                                    16                                   injuries UbiquiTel complains of are usurpation of business
 (the “Conflicts Restatement”).       Thus, seven broad policy
 considerations inform all choice of law decisions: 1) the               opportunities and loss of customers and trade. The place of
 needs of the interstate and international systems; 2) the               injury is thus the nine states where UbiquiTel has cellular
 relevant policies of the forum; 3) the relevant policies of other       operations. 21 It is, of course, impossible to apply the law of
 interested states; 4) the protection of justified expectations;         nine states to the instant dispute.


                   © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                                          3

                                                                       A138
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 141 of 181 PageID #: 540

 UbiquiTel Inc. v. Sprint Corp., Not Reported in A.2d (2005)
 2005 WL 3533697


 20      Compl. ¶ 74.                                                    24      It is unlikely the negotiations occurred in Delaware or
                                                                                 Pennsylvania. See infra at II.B.2.
 21      Integral Res. (PVT) Ltd. v. ISTIL Group, Inc., 2004 WL
         2758672, at *3 (D.Del. Dec. 2, 2004) (“The complaint            25      Compl. ¶ 3.
         alleges that [defendant] ... orchestrated a scheme to usurp
                                                                         *4 The place of injury factor thus favors application of
         from [plaintiff] the economic benefits of the [ ] Contract
         and its business relationships with [a third party]. The        Pennsylvania law. 26
         [ ] Contract that is the subject of [defendant's] unlawful
         conduct was negotiated and performed in Ukraine and             26      Cf. Brown v. SAP Am., Inc., 1999 WL 803888,
         Pakistan. The places of injury are, therefore, Ukraine and              at *6-8 (Del. Ch. Sept. 13, 1999) (observing that
         Pakistan.”); M.M. Global Servs. Inc v. Dow Chem. Co.,                   the principal place of business of the injured party
         283 F.Supp.2d 689, 703-04 (D.Conn.2003) (holding that                   is of “substantial importance” for choice of law
         place of injury is where business would be usurped by                   determination in a misrepresentation case and holding
         alleged interference with contractual relations).                       that that state's law applied where the injured party
 After acknowledging that “[s]uch customers or trade will                        relied on misrepresentations in that state, received the
 frequently be lost in two or more states,” the Conflicts                        misrepresentations in that state and was to render
                                                                                 performance in that state).
 Restatement observes that where, as here, the injury
 complained of is the loss of customers or trade, “[t]he effect of
 the loss, which is pecuniary in its nature, will normally be felt
                                                                                       2. Place of injury causing conduct
 most severely at the plaintiff's headquarters or principal place
 of business.” 22 “But,” the Conflicts Restatement continues,            Where, as here, the injury will occur in more than one
 “this place may have only a slight relationship to the                  state, “the place where the defendant's conduct occurred will
 defendant's activities and to the plaintiff's loss of customers         usually be given particular weight in determining the state of
 or trade.” 23                                                           the applicable law.” 27 Two courses of conduct are relevant to
                                                                         this factor because both are required to give rise to a claim for
 22                                                                      tortious interference with contract. These courses of conduct
         Restatement (Second) of Conflicts of Laws § 145(2) cmt.
         f (1971); see also id. § 148(2) cmt. i (stating, in the         are those involving interference and those causing injury. 28
         context of choice of law for fraud and misrepresentation
         claims, that “[t]he plaintiff's ... principal place of          27      Int'l Bus. Machs. Corp. v. Comdisco, Inc., 1991 WL
         business, if plaintiff is a corporation, [is a] contact of
                                                                                 269965, at *8 & n. 7 (Del.Super.Dec. 4, 1991) (citing
         substantial significance when the loss is pecuniary in
                                                                                 Restatement (Second) of Conflicts of Laws § 145(2) cmt.
         nature.... This is so because a financial loss will usually
                                                                                 e) (assigning the place of injury little weight because it
         be of greatest concern to the state with which the person
                                                                                 was impossible to pinpoint).
         suffering the loss has the closest relationship.”).
                                                                         28      A claim for tortious interference with contract under
 23      Restatement (Second) of Conflicts of Laws § 145(2) cmt.
                                                                                 Pennsylvania law requires 1) a contract, 2) purposeful
         f (1971).
                                                                                 action by the defendant, 3) absence of privilege
 Nextel's relevant activities are its competition with UbiquiTel                 or justification and 4) actual legal damage. Pelgatti
 and its negotiations with Sprint. Nextel competes with                          v. Cohen, 536 A.2d 1337, 1343 (Pa.Super.Ct.1987)
 UbiquiTel in nine states that do not include Delaware or                        (internal citations omitted). Under Delaware law, the
 Pennsylvania; the record is silent as to where Nextel's                         claim requires 1) a contract, 2) of which the defendant
                                                                                 was aware, 3) an intentional act by the defendant,
 negotiations with Sprint occurred. 24 UbiquiTel does
                                                                                 4) without justification and 5) injury. Griffin Corp.
 have its “principal executive offices in Conshohocken,                          Servs., LLC v. Jacobs, 2005 WL 2000775, at *4 (Del.
 Pennsylvania,” 25 but the record before the Court contains                      Ch. Aug. 11, 2005) (citing Irwin & Leighton, Inc. v.
 no other information regarding UbiquiTel's relationship to                      W .M. Anderson Co., 532 A.2d 983, 992 (Del. Ch.1987)
 Pennsylvania. As such, it appears that Pennsylvania has                         (internal citations omitted)).
 little, if any, relationship with Nextel's activities, but some         The first course of conduct consists of the negotiations and
 relationship with UbiquiTel's loss of customers and trade.              closing of the merger and the filing of the Certificate of



                  © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                                         4

                                                                       A139
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 142 of 181 PageID #: 541

 UbiquiTel Inc. v. Sprint Corp., Not Reported in A.2d (2005)
 2005 WL 3533697

 Merger with the Delaware Secretary of State. The Complaint                      32     See Compl. ¶¶ 70-71.
                                                              29
 does not indicate where the negotiations occurred. Sprint                       33     See, e.g., id. ¶ 52 (“Sprint and Nextel plan to breach this
 is headquartered in Kansas, while Nextel is headquartered in
                                                                                        exclusivity provision after consummating the merger.”);
 Virginia. Presumably, the negotiations took place in one of
                                                                                        id. ¶ 64 (“After the merger” Sprint Nextel will compete
 those two states or even somewhere in between. Either way,
                                                                                        in the 1900 MHz band.).
 UbiquiTel has not pled that the negotiations took place in
 Delaware.                                                                       The place of injury causing conduct thus favors application
                                                                                 of Delaware law, but only very slightly.
 29     The Complaint also does not indicate where the closing
        occurred. (The closing did not occur until after the filing
        of the Complaint.) It is logical to infer it did not take place                   3. Domicile, residence, nationality, place of
        in Delaware for the same reasons that the negotiations                         incorporation and place of business of the parties
        likely did not take place in Delaware.
                                                                                 Although both UbiquiTel and Nextel are incorporated in
 The filing of the Certificate of Merger with the Delaware
                                                                                 Delaware, “a corporation's principal place of business is a
 Secretary of State did, of course, happen in Delaware. Indeed,
 Plaintiffs make much of the facts that the merger of Sprint and                 more important contact than the place of incorporation.” 34
 Nextel is a merger of two Delaware corporations, i.e., Sprint's                 This is particularly true where, as here, the corporation
 merger subsidiary and Nextel, and that the merger becomes                       does little or no business in the state of incorporation. 35
                                                                          30     Further, where the injury occurs in two or more states, the
 effective only upon the filing of the Certificate of Merger.
 These technical facts, secondary as they are to the substantive                 plaintiff's principal place of business “is the single most
 conduct at issue, only weigh slightly in favor of Delaware                      important contact for determining the state of the applicable
 because the tortious conduct complained of is not the merger                    law as to most issues in situations involving ... financial
 itself, but rather includes things such as Nextel's actions in                  [or economic] injury....” 36 UbiquiTel's principal place of
                                                    31                           business is in Pennsylvania; thus this factor favors application
 inducing Sprint to enter into the merger.     Moreover, the
 merger is a mere precursor to the conduct that allegedly will                   of Pennsylvania law. 37
 injure UbiquiTel.
                                                                                 34     Restatement (Second) of Conflicts of Laws § 145(2) cmt.
 30     Pls.' Mem. in Opp. to Nextel Commc'ns' Mot. to Dismiss                          e (1971); id. (place of business most important contact
        (“POB”) at 8-9.                                                                 when “the interest is a business or financial one, such as
                                                                                        in the case of unfair competition [or] interference with
 31     Plaintiffs' counsel conceded as much at argument. Tr. at                        contractual relations”).
        39 (“I don't think the place of execution of the contract
        is the magic. The tort in this case is not about a piece of              35     Id. The Conflicts Restatement is silent on whether the
        paper signed.”)                                                                 fact that Plaintiffs also do “little or no business” in
                                                                                        the state of their principal place of business affects the
 The second course of conduct is that which allegedly will
                                                                                        analysis. That fact would seem to weaken the case for
 injure UbiquiTel. To wit, post-merger competition by the
                                                                                        application of Pennsylvania law.
 combined Sprint Nextel entity in UbiquiTel's territory and
 Sprint's sharing of UbiquiTel's confidential information with                   36     Restatement (Second) of Conflicts of Laws § 145(2) cmt.
        32                                                                              e (1971); see also Pittway Corp. v. Lockheed Aircraft
 Nextel.    UbiquiTel does not allege that the merger of the
 two Delaware corporations involved here and the filing of                              Corp., 641 F .2d 524, 528 (7th Cir.1981) (“The harm
                                                                                        that [plaintiff] suffered and for which it seeks to be
 the Certificate of Merger with the Delaware Secretary of
                                                                                        compensated was purely economic and as such was
 State actually will injure UbiquiTel. 33 Instead, the injury-                          sustained in Illinois, where [plaintiff's] principal place of
 causing conduct will occur in the nine states where UbiquiTel                          business is located....”).
 and Nextel compete and wherever Sprint allegedly will share
                                                                                 37     The nationality of the parties is irrelevant because both
 UbiquiTel's confidential information with Nextel, which also
                                                                                        are United States corporations. The domicile of the
 is likely to occur in Kansas or Virginia. It is unlikely any of
                                                                                        parties-Pennsylvania and Virginia-adds some weight in
 this conduct will occur in Delaware or Pennsylvania.
                                                                                        favor of application of Pennsylvania law.




                 © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                                                    5

                                                                               A140
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 143 of 181 PageID #: 542

 UbiquiTel Inc. v. Sprint Corp., Not Reported in A.2d (2005)
 2005 WL 3533697

                                                                                 but Delaware has a similar interest in protecting its corporate
                                                                                 citizens from such interference.
        4. Relationship between UbiquiTel and Nextel

 *5 UbiquiTel and Nextel's relationship is one of competitors                    40      The following factors are irrelevant here: 1) the needs of
                                                                          38             the interstate and international systems and 7) ease in the
 in the nine states where UbiquiTel has cellular operations.
 The companies have no relationship in Delaware or                                       determination and application of the law to be applied.
                                                                                         Although this Court is more familiar with Delaware law,
 Pennsylvania. In addition, the pre-merger actions complained
                                                                                         it can ascertain the law of Pennsylvania with relative
 of do not arise out of any relationship between UbiquiTel
                                                                                         ease.
 and Nextel, while the post-merger actions arise out of their
 relationship as competitors in nine states. Accordingly, this                   It is the sixth consideration-certainty, predictability, and
 factor is neutral as between application of Delaware and                        uniformity of result-that weighs in favor of applying
                                                                                 Delaware law. This action is one of two currently before this
 Pennsylvania law. 39
                                                                                 Court with virtually identical causes of action and virtually
 38                                                                              identical facts giving rise to those causes of action. 41 It would
         Compl. ¶¶ 2, 10; POB at 9 (stating that UbiquiTel and
                                                                                 be somewhat inefficient if this Court applied Pennsylvania
         Nextel's relationship “is entirely that of competitors in
         the nine states where UbiquiTel operates”).
                                                                                 law in this case, but Delaware, or even another state's law,
                                                                                 in the Horizon case. However, UbiquiTel cannot reasonably
 39      Plaintiffs argue that the Court should consider the                     argue that it has some justified expectation in the application
         relationship between Nextel and the Sprint entities. POB                of Delaware law to the tort claims it asserted against
         at 9. The Conflicts Restatement, however, indicates that                Nextel when UbiquiTel's principal place of business is in
         the relevant relationship is that between the plaintiff                 Pennsylvania and its operations are dispersed among nine
         (UbiquiTel) and the defendant (Nextel). See Restatement
                                                                                 other states.
         (Second) of Conflicts of Laws § 145(2) cmt. e (1971)
         (“When there is a relationship between the plaintiff and
                                                                                 41      See Complaint, Horizon Pers. Commc'ns, Inc., et al. v.
         the defendant and when the injury was caused by an
         act done in the course of the relationship, the place                           Sprint Corp., et al., C.A. No. 1518-N (asserting, inter
         where the relationship is centered is another contact to be                     alia, claims for tortious interference with contract and
         considered.”). Even assuming for purposes of argument                           civil conspiracy against Nextel).
         that the relationship between Nextel and the Sprint                     The broad policy considerations that inform choice of law
         entities is relevant to this factor, it still may not weigh in          decisions thus weigh slightly in favor of applying Delaware
         favor of applying Delaware law because, on the current
                                                                                 law.
         record, the location of the relationship between the Sprint
         entities and Nextel is indeterminate. As discussed in
         the context of the place of injury causing conduct, it is
         not the filing of the Certificate of Merger in Delaware                                   6. Choice of law conclusion
         that will injure UbiquiTel. See supra II.A.2. Rather, it
         is the pre-merger conduct of Nextel that gives rise to                  At this stage in the proceedings, it appears as if Pennsylvania
         UbiquiTel's alleged tortious interference with contract                 has the most significant relationship to UbiquiTel's tort
         claim and the post-merger conduct of the combined                       claims. UbiquiTel's principal place of business is in
         entity that allegedly will injure UbiquiTel.                            Pennsylvania and it will, in a financial and economic sense,
                                                                                 be injured in Pennsylvania by the loss of customers and trade.
                                                                                 Thus, for purposes of the instant motion, the Court will apply
                      5. Policy considerations
                                                                                 the substantive law of Pennsylvania. 42
 An evaluation of the seven broad policy considerations set
 out in the Conflicts Restatement weighs slightly in favor of                    42      Based on the undeveloped state of the record with
                             40
 applying Delaware law. Both Delaware and Pennsylvania                                   respect to many of the factors relevant to the choice
 have an interest in deterring tortious interference with contract                       of law analysis, this conclusion is preliminary only. As
 and punishing those who do so interfere. Pennsylvania                                   such, it is possible that a more fully developed factual
 also has an interest in protecting its residents from, and                              record combined with the policy considerations that
                                                                                         favor application of Delaware law will cause this Court
 compensating them for, tortious interference with contract,


                  © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                                                  6

                                                                               A141
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 144 of 181 PageID #: 543

 UbiquiTel Inc. v. Sprint Corp., Not Reported in A.2d (2005)
 2005 WL 3533697

         to conclude after trial that it should apply the substantive     “an injury [was] certain or substantially certain to occur as
         law of Delaware to the tort claims in Counts III and IV
                                                                          a result of his action.” 49 This level of intent comports with
         of the Complaint.
                                                                          that evinced in the Restatement (Second) of Torts (the “Torts
                                                                          Restatement”), whose formulation of this cause of action the

      C. Intentional Interference with Contract Claim 43                  Pennsylvania Supreme Court has adopted. 50

 43      In Pennsylvania, the tort complained of here is referred         48      Def.'s Opening Br. in Support of its Motion to Dismiss
         to as “intentional interference with contract,” while                    (“DOB”) at 8-9 (citing Glenn v. Point Park Coll., 272
         in Delaware it is referred to as “tortious interference                  A.2d 895, 899 (Pa.1971)).
         with contract.” The parties have used those terms
                                                                          49      Leonard A. Feinberg, Inc. v. Cent. Asia Capital Corp.,
         interchangeably and so, too, will the Court.
                                                                                  974 F.Supp. 822, 846 (E.D.Pa.1997) (internal citations
 To set forth a legally sufficient cause of action for intentional                omitted); Total Care Sys., Inc. v. Coons, 860 F.Supp.
 interference with contractual relations, UbiquiTel must plead                    236, 241 (E.D.Pa.1994) (“[I]intent in this [tortious
 four elements:                                                                   interference with contract] case may be shown where the
                                                                                  actor knows an injury is certain or substantially certain
   (1) the existence of a contractual ... relation between the                    to occur as a result of his action.”) (internal citation
   complainant and a third party;                                                 omitted).

   (2) purposeful action on the part of the defendant,                    50      Alder, Barish, Daniels, Levin & Creskoff v. Epstein, 393
   specifically intended to harm the existing relation ...;                       A .2d 1175, 1183 (Pa.1978); accord Thompson Coal Co.
                                                                                  v. Pike Coal Co ., 412 A.2d 466, 470 (Pa.1979).
   (3) the absence of privilege or justification on the part of
                                                                          In Comment j to Section 766 (Intentional Interference
   the defendant; and
                                                                          with Performance of Contract by Third Person), the Torts
   (4) the occasioning of actual legal damage as a result of the          Restatement states that the cause of action “is broader ... in its
                                                                          application than to cases in which the defendant has acted with
   defendant's conduct. 44
                                                                          [the] purpose or desire” of interference with a contract. 51 The
 44                                                                       cause of action also includes
         Pelgatti, 536 A.2d at 1343 (internal citations omitted).
 Failure to plead any one of the elements adequately will result          51      Restatement (Second) of Torts § 766 cmt. j (1979).
 in dismissal of UbiquiTel's claim.
                                                                            intentional interference, as that term is defined in § 8A, in
  *6 The Court finds that UbiquiTel has adequately pled the
                                                                            which the actor does not act for the purpose of interfering
 existence of a contract between it and Sprint, 45 the absence of           with the contract or desire it but knows that the interference
 a privilege or justification on the part of Nextel 46 and actual           is certain or substantially certain to occur as a result of his
 legal damage that will result from Nextel's conduct. 47 Thus,              action. The rule applies, in other words, to an interference
 the dispositive question for purposes of the pending motion                that is incidental to the actor's independent purpose and
 is whether UbiquiTel has alleged that Nextel acted with the                desire but known to him to be a necessary consequence of
 requisite intent.                                                          his action. 52
                                                                          52     Id.
 45      Compl. ¶ 17 & Ex. A.                                             Section 8A defines “intent” for purposes of the Torts
 46      Id. ¶ 95.
                                                                          Restatement. It provides that “[i]f the actor knows that the
                                                                          consequences are certain, or substantially certain, to result
 47      Id. ¶¶ 51-71, 83, 96.                                            from his act, and still goes ahead, he is treated by the law as
 Nextel argues that the requisite intent is an act taken “with the        if he had in fact desired to produce the result.” 53
 specific intent to harm UbiquiTel's contractual relations with
 Sprint.” 48 Nextel overstates the required intent. To plead              53      Restatement (Second) of Torts § 8A (1979). Nextel's
 this element, UbiquiTel need only allege that Nextel knew                        citation to Glenn in support of its argument that



                     © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                                      7

                                                                        A142
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 145 of 181 PageID #: 544

 UbiquiTel Inc. v. Sprint Corp., Not Reported in A.2d (2005)
 2005 WL 3533697

        UbiquiTel must plead that it acted purposefully to                            in bringing about the breach of the contract), 95 (the act
        harm UbiquiTel is unavailing. Glenn set out this more                         was without justification), 51-71, 83, 96 (injury).
        particularized intent for cases of alleged intentional
        interference with prospective contractual relations. 272
        A.2d 895, 899; see also Thompson Coal, 412 A.2d at                                      D. Temporal Considerations
        466 (acknowledging “a trend to separate those instances
        in which there has been an alleged interference with                   *7 Nextel argues, in the alternative, that it cannot be liable
        an existing contract right from instances in which                    for tortious interference with contract as a matter of law
        the interference is charged with affecting prospective                because “ ‘[i]t is hornbook law that a party or successor
        contractual relations.”). Further, the Court has found no             party to a contract cannot tortiously interfere with its own
        case in which a Pennsylvania court has applied Glenn' s
                                                                              contracts.” ’ 59 In Nextel's view, the tort of intentional
        particularized intent standard in the context of a claim for
                                                                              interference with contract is not complete until the party
        intentional interference with contractual relations.
                                                                              subject to the inducement-here, Sprint-breaches the contract
 UbiquiTel has pled, at least, that Nextel knew that its actions
                                                                              and injures the other party, UbiquiTel. 60 Thus, according to
 would cause Sprint to breach its contract with UbiquiTel.
                                                                              Nextel, by the time the combined entity completes the tort,
 In its Complaint, UbiquiTel quotes from Sprint and Nextel's
                                                                              Nextel will be a party to the contract. The combined entity
 joint proxy statement. There, Nextel acknowledged that
                                                                              may be liable for breach, but not for tortious interference with
 “[a]ll of these [Affiliate] arrangements restrict Sprint's and
                                                                              contract.
 its affiliates' ability to own, operate, build or manage
 wireless communications networks or to sell Sprint's
                                                                              59      DOB at 10-11 (quoting First & First, Inc. v. Dunkin'
 wireless services within specified geographic areas.” 54
                                                                                      Donuts, Inc., 1990 WL 36139 (E.D.Pa. Mar. 27, 1990));
 Nextel also acknowledged that the arrangements with the                              Def.'s Reply Brief Br. in Support of its Mot. to Dismiss
 Affiliates subject Sprint to “other restrictions” 55 besides                         (“DRB”) at 8-10.
 the exclusivity provisions like, for example, the provisions                 60      DOB at 11 & n. 6; DRB at 8.
 concerning the protection of the Affiliates' confidential
 information. UbiquiTel alleges that Nextel “was aware                        Nextel's argument ignores the doctrine of anticipatory breach.
 of UbiquiTel's exclusive rights under Section 2.3 of the                     “Pennsylvania law has long recognized that an anticipatory
 Management Agreement and aware that if Sprint merged                         repudiation by an obligor to a contract gives the obligee the
 with Nextel, then Sprint, or its successor in interest, would                immediate right to sue for breach of contract....” 61 “[T]o
                                                          56                  constitute anticipatory breach under Pennsylvania law there
 breach that contractual obligation to UbiquiTel.” Finally,
 UbiquiTel alleges that “Nextel intentionally caused Sprint to                must be an absolute and unequivocal refusal to perform or
 execute the merger agreement-a significant factor giving rise                a distinct and positive inability to do so.” 62 Whether in
                                                                       57     this case there has been an absolute and unequivocal refusal
 to the imminent breach of the Management Agreement.”
 UbiquiTel thus has adequately alleged the four elements                      or there was a distinct and positive inability to perform
 of a claim for intentional interference with contract under                  constitutes a mixed question of fact and law inappropriate for
 Pennsylvania law. 58                                                         resolution now. 63 To survive a motion to dismiss, UbiquiTel
                                                                              must allege facts that, if proven true, could allow the trier
 54     Compl. ¶ 44.
                                                                              of fact to find anticipatory breach. This it has done. In the
                                                                              Complaint, UbiquiTel alleges that Sprint thrice indicated that
 55     Id. ¶ 43.                                                             merging with Nextel “would conflict with Sprint's obligations
 56     Id. ¶ 93.                                                             to the Affiliates.” 64 The fact that Sprint went ahead with
                                                                              the merger without resolving these issues with the Affiliates
 57     Id. ¶ 94.                                                             through negotiation, as it allegedly told the Affiliates it would
 58     The Court finds that UbiquiTel also has adequately                    attempt to do, 65 may support a finding of an anticipatory
        alleged a claim for tortious interference with contract               breach. 66
        under Delaware law. See Compl. ¶¶ 17 & Ex. A
        (contract), 44 (Nextel's awareness of the contract), 93, 94           61      2401 Pa. Ave. Corp. v. Fed'n of Jewish Agencies of
        (an intentional act by Nextel that is a significant factor
                                                                                      Greater Phila., 489 A.2d 733, 742 (Pa.1985) (Larsen,



                    © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                                            8

                                                                            A143
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 146 of 181 PageID #: 545

 UbiquiTel Inc. v. Sprint Corp., Not Reported in A.2d (2005)
 2005 WL 3533697

        J., dissenting) (citing McClelland v. New Amsterdam             to the confidential information provisions, UbiquiTel has
        Cas. Co., 185 A. 198 (Pa.1938); Weinglass v. Gibson,            pled facts that if proven true could give rise to a finding
        155 A. 439 (Pa.1931); Cameron v. Eynon, 3 A.2d 423              of anticipatory breach. To wit, UbiquiTel alleges that 1)
        (Pa.1939)); see also Restatement (Second) of Contracts
                                                                        Sprint possesses UbiquiTel's confidential information, 68 2)
        § 250 (1981) (“A repudiation is (a) a statement by the
        obligor to the obligee indicating that the obligor will
                                                                        “[d]isclosure of this information to UbiquiTel's competitors
        commit a breach that would of itself give the obligee           would irreparably harm UbiquiTel,” 69 3) Nextel is a
        a claim for damages for total breach....”). Delaware            competitor of UbiquiTel, 70 4) Nextel will continue to sell
        law recognizes the same principle: “[T]he law generally
        has acknowledged for more than one hundred years
                                                                        Nextel products after the merger, 71 and 5) Nextel will have
        that an unequivocal statement by a promisor that he             access to the confidential information by virtue of the merger
        will not perform his promise gives the injured party an         with and into Sprint. 72 The merger of Sprint and Nextel
        immediate claim to damages for total breach, in addition        while Sprint possesses UbiquiTel's confidential information
        to discharging his remaining duties of performance.”            and is obligated not to use such information to compete with
        Carteret Bancorp, Inc. v. Home Group, Inc ., 1988 WL            UbiquiTel conceivably could evidence, at least at the pleading
        3010, at *5 (Del. Ch. Jan. 13, 1988); see also Wells
                                                                        stage, a distinct and positive inability to perform under the
        v.. Lee Builders, Inc., 99 A.2d 620, 622 (Del.1953)
                                                                        contract.
        (acknowledging doctrine of anticipatory breach).
 62     Edwards v. Wyatt, 2005 WL 1349531, at *1 (3d Cir.               67     See Tr. at 60-61 (counsel for Nextel arguing that “those
        June 8, 2005) (internal citation omitted) (emphasis in                 quoted sections of the proxy complaint simply won't bear
        original).                                                             that weight, because ... they say that the intention is
 63                                                                            to follow the agreements and pointing out, as a matter
        2401 Pa. Ave. Corp. v. Fed'n of Jewish Agencies of
                                                                               of risk disclosure, that a dispute over those agreements
        Greater Phila., 466 A.2d 132, 136 (Pa.Super.1983)
                                                                               might arise and ... might impose burdens on Sprint-
        (“The first question raised is whether the preceding set
                                                                               Nextel.”).
        of facts is sufficient, as a matter of law, to support the
        finding of an anticipatory breach ....”), aff'd, 489 A.2d       68     Compl. ¶ 35-37.
        733 (Pa.1985); 2401 Pa. Ave. Corp., 489 A.2d at 736
                                                                        69     Id. ¶ 39.
        (majority opinion) (concluding that “[t]he facts of this
        case indicate no statement or action which constituted          70     Id. ¶ 10.
        an absolute or unequivocal refusal to perform or a
        distinct and positive statement of an inability to do so.”)     71     Id. ¶ 54.
        (emphasis added).
                                                                        72     Id. ¶ 69.
 64     Compl. ¶¶ 42-44.
                                                                         *8 Whether an anticipatory breach of contract completes
 65     Id. ¶ 42.                                                       the tort of intentional interference with contract appears to
 66     Cf. 2401 Pa. Ave. Corp., 489 A.2d at 737 (majority              be a matter of first impression in Pennsylvania. 73 At least
        opinion) (noting that party's continued negotiations            one court, however, has ruled on this issue. In Hawkinson v.
        support the conclusion that it's words and conduct did not      Bennett, the Supreme Court of Kansas held that anticipatory
        constitute an unequivocal refusal to perform).                  breach is sufficient to satisfy the breach element of a claim
 Nextel argues that the portions of it and Sprint's public              for tortious interference with contract. 74
 disclosures cited by UbiquiTel do not show an immediate
 intention of the combined entity to breach the Management              73     Cf. First & First, 1990 WL 36139, at *93 (declining to
 Agreements and thus UbiquiTel has not pled breach, whether                    grant preliminary injunction on tortious interference with
 actual or anticipatory. 67 Underlying Nextel's argument is                    business relations claim because defendants said they
 the possibility that the combined entity will abide by the                    would honor all of third party's contractual commitments
                                                                               and because it is hornbook law that a party cannot
 provisions the Management Agreement to the detriment of
                                                                               tortiously interfere with a contract to which it is a
 the financial and economic success of the combined entity.
                                                                               party, but not addressing the question of whether an
 Nextel may be right with respect to the exclusivity provisions
                                                                               anticipatory breach, which was not present in that case,
 of the Management Agreement, but, at least with respect                       could give rise to a claim of tortious interference with



                    © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                                     9

                                                                      A144
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 147 of 181 PageID #: 546

 UbiquiTel Inc. v. Sprint Corp., Not Reported in A.2d (2005)
 2005 WL 3533697

         contract). It also appears to be a matter of first impression     “[T]o state a cause of action for civil conspiracy, a plaintiff
         in Delaware. In Universal Studios, Inc. v. Viacom,                must show that two or more persons combined or agreed with
         Inc., then Vice Chancellor (now Chief Justice) Steele             intent to do an unlawful act or to do an otherwise lawful act
         confronted a very similar factual scenario: MCA and               by unlawful means. Proof of malice, i.e., an intent to injure,
         Paramount were parties to a contract that prohibited them
         from owning or operating a competing cable television
                                                                           is essential in proof of conspiracy.” 76 The Court already has
         station. Viacom, an operator of competing television              found that UbiquiTel has alleged that two persons (Sprint and
         stations, merged with Paramount and MCA sued. The                 Nextel) agreed to do an unlawful act (intentionally interfere
         Court concluded that “MCA ha[d] not carried its burden            with UbiquiTel and Sprint's contract). Thus, the dispositive
         of proof on the required element of an intent to interfere        question is whether UbiquiTel has pled that Nextel acted with
         in the performance of the parties' obligations under              an intent to cause injury.
         this joint venture agreement,” but observed, in dicta,
         that there “can be no tortious interference by Viacom             76      Skipworth by Williams v. Lead Indus. Assoc., 690 A.2d
         because the act complained of is the merger. But the
                                                                                   169, 174 (Pa.1997) (internal citation omitted).
         merger, in and of itself, is not violative of Paramount's
         obligations under the Guarantee or the Agreement.” 705            Court of Chancery Rule 9(b) provides that “[m]alice,
         A.2d 579, 593 (Del. Ch.1997). Chief Justice Steele thus           intent, knowledge and other conditions of mind of a
         did not address the question of whether there had been            person may be averred generally.” UbiquiTel has pled
         an anticipatory breach of the agreement and, if there was,        that Nextel had knowledge of the Management Agreement
         whether that would have been sufficient to satisfy the
                                                                           before consummating the merger 77 and was “aware that
         injury requirement for a claim of tortious interference
                                                                           if Sprint merged with Nextel, then Sprint, or its successor
         with contract.
                                                                           in interest, would breach that contractual obligation to
 74      962 P.2d 445, 471-72 (Kan.1998).                                  UbiquiTel.” 78 UbiquiTel also has pled that Nextel announced
 At this stage in the proceeding, where the Court has made                 plans to compete with UbiquiTel in the 1900 MHz band
 only a tentative decision as to which state's substantive law             “immediately.” 79 Assuming these facts are true, as the Court
 applies and where the parties have not fully briefed the issue,           must do on a motion to dismiss under Rule 12(b)(6), they
 the Court is inclined to agree with the reasoning of the Kansas           are sufficient to suggest an inference that Nextel intended
 court that anticipatory breach is sufficient to satisfy the breach        to cause injury. Whether Nextel's intent rises to the level of
 element for tortious interference with contract. If the Court
                                                                           actual malice is a question of fact for trial. 80
 were to hold otherwise, it might allow a party to a merger to
 tortiously interfere with a contract but then avoid tort liability
                                                                           77      Compl. ¶¶ 44, 92-93.
 for such interference by consummating the merger. Such a
 result arguably would be inequitable because it would permit              78      Id. ¶ 93.
 a party to commit a wrong in tort without being exposed to
                                                                           79      Id. ¶ 66.
 liability for a tort-based remedy. 75 Although the injured party
 still would have an action sounding in contract, i.e., for breach         80      The Court finds that UbiquiTel has adequately alleged
 of contract, situations may exist where the injured party would                   a cause of action for civil conspiracy under Delaware
 prefer to bring an action sounding in tort. For example, the                      law. To state a claim for civil conspiracy under Delaware
 damages flowing from a contract cause of action may be more                       law, a plaintiff must allege “(i) a confederation or
 limited than from a tort cause of action.                                         combination of two or more persons; (ii) an unlawful act
                                                                                   done in furtherance of the conspiracy; and (iii) damages
 75                                                                                resulting from the action of the conspiracy parties.”
         See Agostino v. Hicks, 2004 WL 443987, at *9 (Del. Ch.
                                                                                   Albert, 2005 WL 2130607, at *10. See Compl. ¶¶ 2
         Mar. 11, 2004) (“[E]quity will not suffer a wrong without
                                                                                   (confederation), 44, 93-94 (unlawful act), 51-71, 83, 96
         a remedy....”); Medi-Tec of Egypt Corp. v. Bausch &
                                                                                   (injury/damages).
         Lomb Surgical, 2004 WL 415251, at *2 n. 12 (same).
                                                                           Nextel denies having had any intent to compete unfairly
                                                                           against UbiquiTel, arguing that it has a different competitive
                    E. Civil Conspiracy Claim                              focus than UbiquiTel. 81 Nextel relies on a document attached
                                                                           to the Complaint to support its allegation that it has a different




                  © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                                     10

                                                                         A145
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 148 of 181 PageID #: 547

 UbiquiTel Inc. v. Sprint Corp., Not Reported in A.2d (2005)
 2005 WL 3533697

                                                                       84      VLIW Tech., 840 A.2d at 615 (internal citation omitted);
 competitive focus from UbiquiTel. 82 The Complaint,
                                                                               see also Orman v. Cullen, 794 A.2d 5, 16 n. 9 (Del.
 however, specifically alleged that Nextel has announced an
                                                                               Ch.2002) (“ ‘On a motion to dismiss for failure to state a
 intent to compete with UbiquiTel. 83 On a motion to dismiss,                  claim, a trial court cannot choose between two differing
 the Court “cannot choose between two differing reasonable                     reasonable interpretations of ambiguous documents.” ’)
 interpretations of ambiguous provisions.” 84 “Dismissal ...                   (quoting Vanderbilt Income & Growth Assocs., L.L.C.
 is proper only if the defendant's interpretation is the only                  v. Arvida/JMB Managers, Inc., 691 A.2d 609, 613
                                                                               (Del.1996)).
 reasonable construction as a matter of law.” 85 Nextel's
 argument that it and Sprint cannot have conspired to harm             85      VLIW Tech., 840 A.2d at 615 (internal citation omitted).
 UbiquiTel because they do not compete is not the only                 86      Furthermore, at the pleading stage the Court does not
 reasonable inference that the Court can draw from the
                                                                               consider itself bound to accept the truth of all matters set
 Complaint and its attached documents. 86 It is also reasonable                forth in documents attached to the Complaint, such as
 to infer, for example, that Sprint and Nextel, when they                      Exhibit D.
 were negotiating the merger, intended to begin competing
 with UbiquiTel. Because the Complaint supports a reasonable
 inference sufficient to state a claim for civil conspiracy to                                III. CONCLUSION
 tortiously interference with contract, the Court cannot dismiss
                                                                        *9 For all of the reasons stated herein, Nextel's motion to
 UbiquiTel's claim.
                                                                       dismiss UbiquiTel's tortious interference with contract and
                                                                       civil conspiracy claims is DENIED.
 81     DRB at 11; see also DOB at 13 (“UbiquiTel's pleaded
        facts cannot support an inference that Nextel is
                                                                       IT IS SO ORDERED.
        improperly using confidential information to compete
        with UbiquiTel.”).
 82     Compl. Ex. D. at 79.                                           All Citations

 83     Id. ¶ 66.                                                      Not Reported in A.2d, 2005 WL 3533697


  End of Document                                                  © 2020 Thomson Reuters. No claim to original U.S. Government Works.




                    © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                                  11

                                                               A146
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 149 of 181 PageID #: 548

Sturgeon v. Pharmerica Corp., --- F.Supp.3d ---- (2020)
Med & Med GD (CCH) P 306,709, 111 Fed. R. Evid. Serv. 585

                                                                       submitted, as required to state claims for violations of False
                                                                       Claims Act;
                   2020 WL 586978
    United States District Court, E.D. Pennsylvania.
                                                                       [5] allegations that pharmacy substituted brand-name drugs in
              STURGEON, et al., Plaintiff,                             violation of applicable federal and state law alleged particular
                       v.                                              details of scheme to submit false claims paired with reliable
            PHARMERICA CORP., Defendant.                               indicia leading to strong inference that claims were actually
                                                                       submitted, as required to state claims for violations of False
                 CIVIL ACTION NO. 15-6829                              Claims Act;
                             |
                     Filed 02/05/2020                                  [6] relators failed to allege that Department of Health and
                                                                       Human Services had exercised its discretion to demand
Synopsis                                                               payment from pharmacy under corporate integrity agreement,
Background: Relators brought qui tam action against long-              as required to state claim under reverse false claims provision
term care pharmacy for violations of federal False Claims Act          of the False Claims Act; and
and false claims statutes of 26 states, alleging that pharmacy
submitted false claims for government reimbursement for                [7] relator alleged that she engaged in protected conduct, as
prescriptions it illegally altered without physician consent.          required to state claim against long-term care pharmacy under
Individual relator also alleged that pharmacy retaliated               False Claims Act's retaliation provision.
against her after she attempted to bring to its attention alleged
instances of fraudulent activity. Pharmacy moved to dismiss
and requested judicial notice of a number of documents.                Motion granted in part and denied in part.



Holdings: The District Court, Cynthia M. Rufe, J., held that:           West Headnotes (45)

[1] allegations against pharmacy in prior False Claims Act
                                                                        [1]     Evidence       Official proceedings and acts
action were not substantially similar to relators' allegations,
and thus allegations were not precluded by public disclosure                    Federal Civil Procedure         Matters
bar;                                                                            considered in general
                                                                                Courts will take judicial notice of certain
[2] relator's allegations were not based on same underlying                     matters of public record on a motion to
facts as those in prior action, nor did allegations have qualities              dismiss; examples of matters of public record
of host/parasite relationship, and thus allegations were not                    include Securities and Exchange Commission
precluded by government action bar;                                             filings, court-filed documents, and Federal Drug
                                                                                Administration reports published on the FDA
[3] allegations that pharmacy substituted different form or                     website. Fed. R. Evid. 201.
dosage of non-controlled substance than one prescribed
alleged particular details of scheme to submit false claims
paired with reliable indicia leading to strong inference that           [2]     Evidence       Judicial Proceedings and
claims were actually submitted, as required to state claims for                 Records
violations of False Claims Act;
                                                                                Evidence       Official proceedings and acts

[4] allegations that pharmacy systematically altered essential                  Courts may take judicial notice of public
elements of prescriptions for controlled substances so as                       records, including publicly available records and
to substitute more profitable alternatives alleged particular                   transcripts from judicial proceedings. Fed. R.
details of scheme to submit false claims paired with reliable                   Evid. 201.
indicia leading to strong inference that claims were actually




                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                                 1
                                                                     A147
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 150 of 181 PageID #: 549

 Sturgeon v. Pharmerica Corp., --- F.Supp.3d ---- (2020)
 Med & Med GD (CCH) P 306,709, 111 Fed. R. Evid. Serv. 585

                                                                        alleging pharmacy violated False Claims Act
  [3]    Evidence       Records and decisions in other                  by submitting false claims for reimbursement,
         actions or proceedings                                         although manuals and report would be judicially
         Federal Civil Procedure        Matters                         noticed only for their existence and not for their
         considered in general                                          truth, where manuals and report were not just
         Publicly available records from other judicial                 information on government website, but were
         proceedings may be judicially noticed in the                   published reports of federal agency that happen
         context of a motion to dismiss. Fed. R. Evid. 201.             to be available online. 31 U.S.C.A. § 3729(a)(1)
                                                                        (A), (B), (G); Fed. R. Evid. 201.


  [4]    Evidence       Records and decisions in other
         actions or proceedings                                  [8]    Federal Civil Procedure           Matters
                                                                        considered in general
         Evidence       Effect of judicial notice
                                                                        Federal Civil Procedure           Motion
         Publicly available records from other judicial
         proceedings may only be judicially noticed to                  Courts may consider documents integral to or
         show what was in the public realm at the time,                 explicitly relied upon in the complaint without
         not whether the contents of those documents are                converting a motion to dismiss into one for
         true. Fed. R. Evid. 201.                                       summary judgment.



  [5]    Evidence       Records and decisions in other           [9]    Federal Civil Procedure           Matters
         actions or proceedings                                         considered in general
         Evidence       Effect of judicial notice                       Although generally courts avoid looking at
                                                                        evidence outside the complaint at the motion-to-
         Federal Civil Procedure        Matters
                                                                        dismiss stage, an exception can be made where
         considered in general
                                                                        a plaintiff would be able to maintain a claim of
         On a motion to dismiss, a court may take judicial
                                                                        fraud by extracting an isolated statement from a
         notice of another court's opinion—not for the
                                                                        document and placing it in the complaint, even
         truth of the facts recited therein, but for the
                                                                        though if the statement were examined in the
         existence of the opinion, which is not subject to
                                                                        full context of the document, it would be clear
         reasonable dispute over its authenticity. Fed. R.
                                                                        that the statement was not fraudulent; in that
         Evid. 201.
                                                                        case, fairness would require examining the whole
                                                                        document, even if the plaintiff did not attach it as
                                                                        an exhibit to the complaint.
  [6]    Evidence       Official proceedings and acts
         Courts may take judicial notice of records and                 1 Cases that cite this headnote
         reports of administrative bodies. Fed. R. Evid.
         201.                                                    [10]   Federal Civil Procedure           Matters
                                                                        considered in general
                                                                        The narrow exception allowing a court to, at
  [7]    Evidence       Official proceedings and acts                   the motion-to-dismiss stage, look at evidence
         Court would take judicial notice of                            outside the complaint where the plaintiff would
         administrative guidance manuals issued by                      be able to maintain a claim of fraud by extracting
         Centers for Medicare and Medicaid Services                     an isolated statement from a document and
         (CMS) and report on standard practices within                  placing it in the complaint is limited to cases
         long-term care pharmacy industry commissioned                  where the claims in the complaint are based on an
         by CMS and prepared by consultant, in qui                      extrinsic document, and does not apply where the
         tam action against long-term care pharmacy                     complaint merely cites an extrinsic document.


               © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                             2
                                                              A148
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 151 of 181 PageID #: 550

 Sturgeon v. Pharmerica Corp., --- F.Supp.3d ---- (2020)
 Med & Med GD (CCH) P 306,709, 111 Fed. R. Evid. Serv. 585




  [11]   Evidence        Historical facts                          [15]   United States        Other particular bars
         Federal Civil Procedure            Matters                       A host/parasite relationship exists, as will
         considered in general                                            support a finding that an action is based upon the
         In resolving motion to dismiss, court would not                  same allegations or transactions as an action to
         take judicial notice of promotional brochures                    which the government was a party, for purposes
         from website of provider of nursing home                         of the False Claims Act's government action
         prescription submission platform that explained                  bar, if the relator's case is receiving support,
         how platform worked, in qui tam action against                   advantage, or the like from the host case, in
         long-term care pharmacy alleging pharmacy                        which the government is a party, without giving
         violated False Claims Act by submitting false                    any useful or proper return to the government, or
         claims for reimbursement, where relators did not                 at least having the potential to do so. 31 U.S.C.A.
         cite brochures in complaint, nor could relators'                 § 3730(e)(3).
         claims be said to be based on brochures, and,
         further, brochures were promotional business
         materials from provider's corporate website and           [16]   United States        Other particular bars
         thus were not sort of source whose accuracy                      The government action inquiry for determining
         could not reasonably be questioned. 31 U.S.C.A.                  whether an action is based upon the same
         § 3729(a)(1)(A), (B), (G); Fed. R. Evid. 201.                    allegations or transactions as an action to which
                                                                          the government was a party, for purposes of
                                                                          the False Claims Act's government action bar,
  [12]   United States       Who May Bring Action for                     is essentially a test of factual similarity; if a
         False Claims                                                     relator's allegations are the same as allegations
         United States       Plaintiff's right to share of                already made by the government, or are similar
         award                                                            enough to be characterized as feeding off of the
                                                                          government's allegations, the government action
         The False Claims Act empowers a person, or
                                                                          bar applies, but if a relator's case is seeking to
         relator, to sue on behalf of the United States those
                                                                          remedy fraud that the government has not yet
         who defraud the government, and to share in any
                                                                          attempted to remedy, the government action bar
         ultimate recovery. 31 U.S.C.A. § 3729 et seq.
                                                                          does not apply. 31 U.S.C.A. § 3730(e)(3).


  [13]   United States       Other particular bars
                                                                   [17]   United States        Public Disclosure Bar
         The government action bar prevents suits under
                                                                          The False Claims Act's public disclosure bar
         the False Claims Act based upon allegations or
                                                                          applies when there has been (1) a public
         transactions which are the subject of a civil suit
                                                                          disclosure (2) in one of the statute's specified fora
         in which the Government is already a party. 31
                                                                          (3) of allegations or transactions of fraud (4) that
         U.S.C.A. § 3730(e)(3).
                                                                          are substantially the same as those alleged by the
                                                                          relator. 31 U.S.C.A. § 3730(e)(4)(A).

  [14]   United States       Original source exception
         The public disclosure bar prevents suits under            [18]   United States        Original source exception
         the False Claims Act when the alleged fraud has
                                                                          An “original source” of information, for
         been publicly disclosed in at least one of several
                                                                          purposes of the False Claims Act's public
         enumerated sources, unless the relator is an
                                                                          disclosure bar, is one who has voluntarily
         original source of certain information underlying
                                                                          disclosed information to the government or
         the action. 31 U.S.C.A. § 3730(e)(4).
                                                                          one who has knowledge that is independent


                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                               3
                                                                A149
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 152 of 181 PageID #: 551

 Sturgeon v. Pharmerica Corp., --- F.Supp.3d ---- (2020)
 Med & Med GD (CCH) P 306,709, 111 Fed. R. Evid. Serv. 585

         of and materially adds to information already                  rule concerning pleading of special matters. 31
         publicly disclosed. 31 U.S.C.A. §§ 3730(e)(4)                  U.S.C.A. § 3729 et seq.; Fed. R. Civ. P. 9(b).
         (A), 3730(e)(4)(B).


                                                                 [23]   Federal Civil Procedure        Fraud, mistake
  [19]   United States       Public Disclosure Bar                      and condition of mind
         Courts examine the similarity of the allegations               To satisfy the heightened pleading standard of
         on a claim-by-claim basis when determining                     the rule concerning pleading of special matters,
         whether the False Claims Act's public disclosure               a relator alleging claims under the False Claims
         bar applies. 31 U.S.C.A. § 3730(e)(4)(A).                      Act must plead particular details of a scheme to
                                                                        submit false claims paired with reliable indicia
                                                                        that lead to a strong inference that claims were
  [20]   United States       Public Disclosure Bar                      actually submitted. 31 U.S.C.A. § 3729 et seq.;
                                                                        Fed. R. Civ. P. 9(b).
         Allegations against long-term care pharmacy
         in prior False Claims Act action were not
         substantially similar to relators' allegations in
         subsequent False Claims Act action against              [24]   Federal Civil Procedure        Fraud, mistake
         pharmacy, and thus subsequent case was not                     and condition of mind
         precluded by public disclosure bar, where each                 A relator alleging claims under the False Claims
         of three prescription-related schemes disclosed                Act can satisfy the heightened pleading standard
         in prior action concerned dispensations of                     of the rule concerning pleading of special matters
         medication in the absence of any prescription by               in two ways: either by pleading the date, place,
         a variety of means, while relators in subsequent               or time of the fraud, or by using an alternative
         action alleged scheme to alter valid prescriptions             means of injecting precision and some measure
         so as to maximize reimbursements. 31 U.S.C.A.                  of substantiation into their allegations of fraud.
         § 3730(e)(4)(A).                                               31 U.S.C.A. § 3729 et seq.; Fed. R. Civ. P. 9(b).



  [21]   United States       Other particular bars               [25]   United States       Pleading; complaint filed
         Relator's allegations in False Claims Act action               under seal
         against long-term care pharmacy were not based                 A relator alleging claims under the False Claims
         on same underlying facts as those in prior                     Act need not present specific fraudulent claims
         False Claims Act action against pharmacy, nor                  for payment at the pleading stage; indeed, this is
         did allegations have qualities of host/parasite                not necessarily required to prevail even at trial.
         relationship, and thus allegations were not                    31 U.S.C.A. § 3729 et seq.
         precluded by government action bar, where each
         of three prescription-related schemes disclosed
         in prior action concerned dispensations of              [26]   Federal Civil Procedure        Fraud, mistake
         medication in the absence of any prescription by               and condition of mind
         a variety of means, while relators alleged scheme
                                                                        In an action under the False Claims Act, it
         to alter valid prescriptions so as to maximize
                                                                        is the underlying scheme that must be pled
         reimbursements. 31 U.S.C.A. § 3730(e)(3).
                                                                        with particularity to give defendants fair notice
                                                                        of the claims against them, protect defendants
                                                                        from reputational harm, and prevent the filing of
  [22]   Federal Civil Procedure        Fraud, mistake                  baseless suits that amount to fishing expeditions.
         and condition of mind                                          31 U.S.C.A. § 3729 et seq.; Fed. R. Civ. P. 9(b).
         Claims under the False Claims Act are subject
         to the heightened pleading standard of the


               © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                           4
                                                              A150
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 153 of 181 PageID #: 552

 Sturgeon v. Pharmerica Corp., --- F.Supp.3d ---- (2020)
 Med & Med GD (CCH) P 306,709, 111 Fed. R. Evid. Serv. 585

                                                                         submitted, as required to state claims for
  [27]   United States       Elements                                    violations of False Claims Act, where relators
         To establish a violation of the provision of                    alleged not only that pharmacy altered drug form
         the False Claims Act concerning presentment                     on prescriptions for non-controlled substances,
         of a false or fraudulent claim for payment                      but also that pharmacy altered dosage and
         or approval, a relator must show that (1) the                   quantity, which were undisputedly required
         defendant presented or caused to be presented                   elements of valid prescription, and relators
         to an agent of the United States a claim for                    identified example of prescription whose dosage
         payment; (2) the claim was false or fraudulent;                 was allegedly altered without consent of
         and (3) the defendant knew the claim was false                  prescribing physician. 31 U.S.C.A. §§ 3729(a)
         or fraudulent. 31 U.S.C.A. § 3729(a)(1)(A).                     (1)(A), 3729(a)(1)(B); Fed. R. Civ. P. 9(b).



  [28]   United States       Elements                             [31]   Federal Civil Procedure        Fraud, mistake
         To establish a violation of the provision of the                and condition of mind
         False Claims Act imposing liability for making                  Allegations that long-term care pharmacy
         or using a false record or statement material to                violated federal and state laws requiring
         a false or fraudulent claim, a relator must show                that pharmacists first obtain approval from
         that the defendant (1) made, used, or caused to be              prescribing medical practitioner before deviating
         made or used, a false record or statement; (2) the              from prescription alleged particular details of
         defendant knew the statement to be false; and (3)               scheme to submit false claims paired with
         the statement was material to a false or fraudulent             reliable indicia leading to strong inference that
         claim. 31 U.S.C.A. § 3729(a)(1)(B).                             claims were actually submitted, as required to
                                                                         state claims for violations of False Claims Act.
                                                                         31 U.S.C.A. §§ 3729(a)(1)(A), 3729(a)(1)(B);
  [29]   United States       False claim                                 Fed. R. Civ. P. 9(b).
         United States       False certification
         A claim is “factually false,” for purposes of False
                                                                  [32]   Federal Civil Procedure        Fraud, mistake
         Claims Act, when the claimant misrepresents
                                                                         and condition of mind
         what goods or services it provided to the
         government; by contrast, a claim is “legally                    Allegations that long-term care pharmacy's
         false” when the claimant knowingly falsely                      proprietary medicine dispensing system was
         certifies that it has complied with a statute                   designed to prompt clerks to fill prescriptions
         or regulation the compliance with which is a                    in most profitable way and that pharmacy
         condition for government payment. 31 U.S.C.A.                   instructed clerical personnel to physically alter
         §§ 3729(a)(1)(A), 3729(a)(1)(B).                                prescriptions to make it appear as though
                                                                         physician had prescribed drug in different form,
                                                                         quantity and/or dosage alleged particular details
  [30]   Federal Civil Procedure         Fraud, mistake                  of scheme to submit false claims paired with
         and condition of mind                                           reliable indicia leading to strong inference that
                                                                         claims were actually submitted, as required to
         Allegations that long-term care pharmacy
                                                                         state claims for violations of False Claims Act,
         submitted false claims for payment for filling
                                                                         although relators' complaint omitted details like
         prescription orders that were altered by
                                                                         names of individuals who designed dispensing
         substituting different form or dosage of non-
                                                                         system or altered prescriptions, where complaint
         controlled substance than one prescribed alleged
                                                                         described alleged scheme in adequate detail,
         particular details of scheme to submit false
                                                                         explaining mechanism of alleged fraud and
         claims paired with reliable indicia leading
                                                                         generic identities of those involved. 31 U.S.C.A.
         to strong inference that claims were actually



                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                          5
                                                               A151
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 154 of 181 PageID #: 553

 Sturgeon v. Pharmerica Corp., --- F.Supp.3d ---- (2020)
 Med & Med GD (CCH) P 306,709, 111 Fed. R. Evid. Serv. 585

         §§ 3729(a)(1)(A), 3729(a)(1)(B); Fed. R. Civ. P.              claims were actually submitted, as required
         9(b).                                                         to state claims for violations of False Claims
                                                                       Act, where relators identified two particular
                                                                       substitutions that were allegedly made and
  [33]   Federal Civil Procedure        Fraud, mistake                 alleged that brand-name drugs pharmacy
         and condition of mind                                         dispensed were more expensive than their
                                                                       available generic equivalents. 31 U.S.C.A. §§
         A relator alleging violations of the False Claims
                                                                       3729(a)(1)(A), 3729(a)(1)(B); Fed. R. Civ. P.
         Act must do more than identify a general
                                                                       9(b).
         sort of fraudulent conduct while specifying
         no particular circumstances of any discrete
         fraudulent statement. 31 U.S.C.A. § 3729 et seq.;
         Fed. R. Civ. P. 9(b).                                  [36]   United States        Reverse false claims
                                                                       Relators failed to allege that Department of
                                                                       Health and Human Services had exercised
  [34]   Federal Civil Procedure        Fraud, mistake                 its discretion to demand payment from long-
         and condition of mind                                         term care pharmacy under corporate integrity
                                                                       agreement between Department and pharmacy,
         Allegations that long-term care pharmacy
                                                                       as required to state claim under reverse false
         systematically altered essential elements of
                                                                       claims provision of the False Claims Act;
         prescriptions for controlled substances, such as
                                                                       terms of agreement did not describe established
         form or dosage specified, so as to substitute
                                                                       duty to pay money to government at time
         more profitable alternative and that each time
                                                                       agreement was breached, but instead described
         pharmacy submitted claim for reimbursement
                                                                       possible future duty, and because there was
         for dispensation pursuant to altered prescription
                                                                       no established duty until Department exercised
         it falsely certified that dispensation complied
                                                                       its discretion to demand payment, agreement's
         with all applicable laws and regulations alleged
                                                                       stipulated penalties were not obligations for
         particular details of scheme to submit false
                                                                       purposes of reverse false claims provision. 31
         claims paired with reliable indicia leading
                                                                       U.S.C.A. § 3729(a)(1)(G); Fed. R. Civ. P. 9(b).
         to strong inference that claims were actually
         submitted, as required to state claims for
         violations of False Claims Act, where relators
         identified specific time frame of alleged              [37]   Labor and Employment       Reporting
         fraudulent claims and definite number of claims               or Opposing Wrongdoing; Criticism and
         allegedly submitted. 31 U.S.C.A. §§ 3729(a)(1)                "Whistleblowing"
         (A), 3729(a)(1)(B); Fed. R. Civ. P. 9(b).                     To state a claim under the False Claims Act's
                                                                       retaliation provision, a relator must allege (1) that
                                                                       she engaged in “protected conduct,” that is, acts
  [35]   Federal Civil Procedure        Fraud, mistake                 done in furtherance of a False Claims action, and
         and condition of mind                                         (2) that she was discriminated against because
                                                                       of that protected conduct. 31 U.S.C.A. § 3730(h)
         Allegations that long-term care pharmacy
                                                                       (1).
         substituted brand-name drugs in violation of
         applicable federal and state law and that
         each time pharmacy submitted claim for
         reimbursement for dispensation pursuant to             [38]   Labor and Employment             Protected
         altered prescription it falsely certified that                activities
         dispensation complied with all applicable laws                “Protected conduct,” for purposes of the False
         and regulations alleged particular details of                 Claims Act's retaliation provision, includes
         scheme to submit false claims paired with                     investigation for, initiating of, testimony for, or
         reliable indicia leading to strong inference that



               © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                             6
                                                             A152
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 155 of 181 PageID #: 554

 Sturgeon v. Pharmerica Corp., --- F.Supp.3d ---- (2020)
 Med & Med GD (CCH) P 306,709, 111 Fed. R. Evid. Serv. 585

         assistance in a qui tam action. 31 U.S.C.A. §                  including investigating and reporting potential
         3730(h)(1).                                                    false claims, as required to state claim against
                                                                        pharmacy under False Claims Act's retaliation
                                                                        provision, where relator alleged that when she
  [39]   Labor and Employment           What Constitutes                brought results of her investigation to attention
         Adverse Action                                                 of senior vice president for sales and marketing,
                                                                        he shut down meeting and ordered relator to
         “Discrimination,” for purposes of the False
                                                                        stop her investigation and demanded that she
         Claims Act's retaliation provision, includes
                                                                        stop conferring with management about issues
         actions that might have dissuaded a reasonable
                                                                        that she had identified, and that when she
         worker from engaging in the protected conduct,
                                                                        persisted, management sought to conceal her
         and the cumulative impact of retaliatory acts
                                                                        findings by discrediting her work, limiting her
         may become actionable even though the actions
                                                                        authority, redefining her role, and narrowing her
         would be de minimis if considered in isolation.
                                                                        responsibilities. 31 U.S.C.A. § 3730(h)(1).
         31 U.S.C.A. § 3730(h)(1).


                                                                 [43]   Judgment         What constitutes diversity of
  [40]   Labor and Employment           Protected
                                                                        issues
         activities
                                                                        Judgment         Facts Necessary to Sustain
         Labor and Employment           What Constitutes
                                                                        Judgment
         Adverse Action
                                                                        Relator's claim against long-term care pharmacy
         In assessing a claim under the False Claims Act's
                                                                        under False Claims Act's retaliation provision, in
         retaliation provision, both the protected conduct
                                                                        which relator alleged that pharmacy materially
         inquiry and the discrimination inquiry are fact
                                                                        diminished her duties in relation for investigating
         specific and context dependent. 31 U.S.C.A. §
                                                                        and reporting pharmacy's alleged violations of
         3730(h)(1).
                                                                        Act, was not collaterally estopped by jury
                                                                        verdict in relator's prior action against pharmacy
                                                                        for breach of her employment agreement and
  [41]   Labor and Employment           Protected
                                                                        violation of Pennsylvania Wage Payment and
         activities
                                                                        Collection Law, where question posed to jury
         Relator alleged that she engaged in protected                  in prior action was why relator resigned
         conduct, as required to state claim against                    her position, not whether relator experienced
         long-term care pharmacy under False Claims                     material diminution in her duties, and thus jury's
         Act's retaliation provision, where relator alleged             determination that relator did not experience
         that she conducted internal investigation                      material diminution in her duties was not
         into potential false claims while working                      essential to jury's verdict. 31 U.S.C.A. § 3730(h)
         at pharmacy, during which she discovered                       (1).
         violations she alleged in qui tam action, and
         that she reported her findings to superiors at
         pharmacy at least four times during that period.
                                                                 [44]   Judgment        Nature and requisites of former
         31 U.S.C.A. § 3730(h)(1).
                                                                        adjudication as ground of estoppel in general
                                                                        Collateral estoppel applies when (1) the issue
                                                                        sought to be precluded is the same as that
  [42]   Labor and Employment           Other particular
                                                                        involved in the prior action; (2) that issue was
         actions
                                                                        actually litigated; (3) it was determined by a final
         Relator alleged that long-term care pharmacy                   and valid judgment; and (4) the determination
         discriminated against her for engaging in                      was essential to the prior judgment.
         protected conduct while she worked at pharmacy,



               © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                             7
                                                              A153
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 156 of 181 PageID #: 555

Sturgeon v. Pharmerica Corp., --- F.Supp.3d ---- (2020)
Med & Med GD (CCH) P 306,709, 111 Fed. R. Evid. Serv. 585

                                                                              Laws Ann. §§ 400.601–.615 (West 2019); Minn. Stat.
 [45]      Judgment        Essentials of Adjudication                         Ann. §§ 15C.01–.16 (West 2019); Mont. Code Ann. §§
           A determination ranks as “necessary” or                            17-8-401 to -416 (West 2019); Nev. Rev. Stat. Ann. §§
           “essential” for collateral-estoppel purposes only                  357.010– .250 (West 2019); N.H. Rev. Stat. Ann. §§
           when the final outcome hinges on it.                               167:61-A to -E (2019); N.J. Stat. Ann. §§ 2A:32C-1
                                                                              to -18 (West 2019); N.M. Stat. Ann. §§ 44-9-1 to
                                                                              -14 (West 2019); N.C. Gen. Stat. Ann. §§ 1-605 to
                                                                              -618 (West 2019); Okla. Stat. Ann. tit. 63, §§ 5053–
                                                                              54 (West 2019); 9 R.I. Gen. Laws Ann. §§ 9-1.1-1
                                                                              to -1.1-9 (West 2019); Tenn. Code Ann. §§ 4-18- 101
Attorneys and Law Firms
                                                                              to -108, 71-5-181 to -185 (West 2019); Tex. Hum.
                                                                              Res. Code Ann. §§ 36.001-.132 (West 2019); Va. Code
Catherine Pratsinakis, Jesse N. Silverman, Jessica L. Titler-
                                                                              Ann. § 8.01-216.1 to -216.19 (West 2019); Wash. Rev.
Lingle, Joshua D. Wolson, Marie-Theres Difillippo, Mark A.
                                                                              Code Ann. § 74.66.005–.130 (West 2019). Relators also
Schiavo, Dilworth Paxson LLP, Philadelphia, PA, Teresa N.                     brought claims under the Maryland False Claims Act.
Cavenagh, Duane Morris LLP, Philadelphia, PA, Michael M.                      Md. Code Ann., Health–Gen. § 2-601 to -611 (West
Mustokoff, Duane Morris LLP, Phila, PA, for Plaintiff.                        2019). That statute requires that claims be dismissed
                                                                              if the state does not elect to intervene. See Doc. No.
Carolyn P. Short, Michael R. Manthei, William F. Pezzolo,                     81. Accordingly, Relators' claims under Maryland's false
Holland & Knight LLP, Philadelphia, PA, for Defendant.                        claims statute were dismissed by stipulation of the
                                                                              parties. See Doc. No. 82.


                 MEMORANDUM OPINION                                        I. BACKGROUND 3
                                                                       3      The facts set forth below are drawn from the Amended
Rufe, J.
                                                                              Complaint and assumed true for purposes of resolving
 *1 Relators Lena Sturgeon, Anthony Ferrante, Anthony                         this Motion to Dismiss.
Sciole, and Nathan Niles bring this qui tam action against
PharMerica Corporation alleging violations of the federal
                                                                            A. PharMerica Is a Long-Term Care Pharmacy
False Claims Act 1 and the false claims statutes of twenty-
six states. 2 Relators allege that PharMerica, a long-term             PharMerica is the second largest institutional pharmacy in the
care pharmacy, submitted false claims for government                   United States. 4 It fills prescription orders only for nursing
reimbursement for prescriptions it illegally altered without           homes and other long-term care facilities and is not open to
physician consent. Relator Sturgeon also alleges that
                                                                       the general public. 5
PharMerica retaliated against her after she attempted to bring
to its attention alleged instances of fraudulent activity. The
                                                                       4      See Amend. Compl. ¶ 38.
state and federal governments declined to intervene and
PharMerica has moved to dismiss the Amended Complaint.                 5      See id. ¶ 37; see PharMerica Mem. Supp. Mot. to Dismiss
                                                                              [Doc. No. 51-1] at 2.
1       31 U.S.C. §§ 3729(a)(1)(A), (B), (G).                          Nursing home physicians submit prescriptions to PharMerica
2       Cal. Gov't Code §§ 12650–56 (West 2019); Colo. Rev.            electronically through a “widely-used nursing home
        Stat. §§ 25.5-4-303.5 to -310 (West 2019); Conn. Gen.          platform” called PointClickCare. 6 PharMerica also
        Stat. §§ 4-274 to -289 (West 2019); Del. Code Ann. tit. 6,     uses its own “proprietary medicine dispensing system
        §§ 1201–11 (West 2019); Fla. Stat. Ann. §§ 68.081–.092         known as the LTC400” to fill prescriptions received
        (West 2019); Ga. Code Ann. §§ 49-4-168 to -168.6 (West
                                                                       through PointClickCare. 7 Prescription data transmitted via
        2019); Haw. Rev. Stat. Ann. §§ 661-21 to -31 (West
                                                                       PointClickCare is not migrated automatically to the LTC400
        2019); 740 Ill. Comp. Stat. Ann. 175/1–175/8 (West
        2019); Ind. Code Ann. §§ 5-11-5.5-1 to 5-11-5.5-18
                                                                       to create an order for filling a prescription. Instead,
        (West 2019); Iowa Code Ann. §§ 685.1–.7 (West 2019);           when a prescription is received through the PointClickCare
        La. Stat. Ann. §§ 46:437.1–440.16 (2019); Mass. Gen.           system, a pharmacy technician or data entry clerk at
        Laws Ann. ch. 12, §§ 5A–5O (West 2019); Mich. Comp.



                 © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                                     8
                                                                     A154
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 157 of 181 PageID #: 556

Sturgeon v. Pharmerica Corp., --- F.Supp.3d ---- (2020)
Med & Med GD (CCH) P 306,709, 111 Fed. R. Evid. Serv. 585

PharMerica manually inputs the prescription information into          17     Id. ¶ 144.
              8
the LTC400.                                                           PharMerica certifies its compliance with applicable laws and
                                                                      regulations each time it submits a claim for reimbursement.
6      Amend. Compl. ¶ 46.                                            When a pharmacy like PharMerica “dispenses drugs to a
7                                                                     Medicare beneficiary, it submits an electronic claim to the
       Id. ¶ 48.
                                                                      beneficiary's Part D plan and receives reimbursement from
8      Id. ¶¶ 48–49.                                                  the plan sponsor for the costs not paid by the beneficiary.” 18
                                                                      That claim submission must be accompanied by a certification
                                                                      of compliance with applicable laws and regulations, 19
              B. Overview of Medicare Part D
                                                                      including compliance with the requirement that drugs be
 *2 “Medicare is a federally funded and administered health           dispensed only pursuant to a valid prescription. 20 This
insurance program for certain groups, primarily elderly and           is also true of PharMerica's claims under the analogous
disabled persons.” 9 “The Department of Health and Human              state Medicaid programs. 21 PharMerica also receives direct
Services (‘HHS’) administers the Medicare program through             payments from nursing home facilities using Medicare Part A
the Centers for Medicare and Medicaid Services (‘CMS’).” 10           funds with analogous requirements. 22
Relevant here are two components of the Medicare program:
Part A, the hospital insurance benefits program, 11 and Part          18     Spay, 913 F. Supp. 2d at 132.
                                                      12
D, the voluntary prescription drug benefit program.                   19     Amend. Compl. ¶ 141.

9                                                                     20     Id. ¶ 142.
       See United States ex rel. Spay v. CVS Caremark Corp.,
       913 F. Supp. 2d 125, 131 (E.D. Pa. 2012).                      21     Id. ¶ 144.
10     Id.                                                            22     Id. ¶¶ 138, 141.
11     42 U.S.C. §§ 1395c, 1395d; see Amend. Compl. ¶¶ 138,
       141.
                                                                                   C. Relator Sturgeon's Investigation
12     42 U.S.C. § 1395w-101 et seq.; see Amend. Compl. ¶¶
       138–42.                                                        Reliant Health Management Services is the owner
                                                                      and operator of more than twenty nursing homes in
“Medicare Part D is based on a private market model,
wherein Medicare contracts with private entities, known as            Pennsylvania. 23    In June 2013, Reliant began using
Part D ‘sponsors,’ to administer prescription drug plans.”     13     PharMerica as its institutional pharmacy. 24 Soon after
“Part D [p]lan sponsors subcontract with many entities to             Reliant switched to PharMerica, it noticed that its “nursing
provide drugs to the Medicare Part D beneficiaries enrolled           home facilities experienced a significant increase in pharmacy
in their plans.” 14 PharMerica is one such subcontractor. 15          costs ranging from $2.00-$3.00 per patient per day.” 25
Its contracts with Part D plan sponsors “require PharMerica           Reliant complained. 26 PharMerica's Senior Vice President
to comply with applicable federal laws, regulations, and CMS          for Sales and Marketing Mark Lindemoen asked Sturgeon,
instructions.” 16 This is also true of PharMerica's contracts         who by that time was working at PharMerica as its Executive
under the analogous state Medicaid programs. 17                       Vice President, to review the issue. 27

13                                                                    23     Id. ¶¶ 24, 33.
       Spay, 913 F. Supp. 2d at 132.
14                                                                    24     Id. ¶ 33.
       Id. at 133.
15                                                                    25     Id. ¶ 67.
       Amend. Compl. ¶¶ 138–40.
16                                                                    26     Id.
       Id. ¶ 138.




                   © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                            9
                                                                    A155
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 158 of 181 PageID #: 557

Sturgeon v. Pharmerica Corp., --- F.Supp.3d ---- (2020)
Med & Med GD (CCH) P 306,709, 111 Fed. R. Evid. Serv. 585

27      Id. ¶¶ 29, 67.                                               the discrepancies she had identified while employed at
                                                                     PharMerica and discovered the source of those discrepancies:
As she reviewed Reliant's complaint, Sturgeon began to
                                                                     an alleged scheme to alter prescriptions systematically so as
notice “significant discrepancies” between prescription order
data received via PointClickCare and prescription fill data in       to increase reimbursements. 40

the LTC400. 28 That is, it appeared to Sturgeon that on some
                                                                     37      Id. ¶ 100.
occasions PharMerica had dispensed medications different
from those prescribed. These discrepancies “consistently             38      Id.
                                        29
favored PharMerica's bottom line.” Sturgeon brought her              39      Id. ¶¶ 33, 101.
findings to Lindemoen, who “refused to acknowledge the
problems” or investigate further. 30 When Sturgeon raised            40      Id. ¶ 101.
the issue with him again after returning from a brief medical
leave, Lindemoen “shut down the meeting and ordered
                                                                             D. Alleged Prescription Alteration Scheme
Sturgeon to stop her investigation.” 31 Other senior-level
management executives responded similarly. 32                        Relators' audit revealed that PharMerica systematically
                                                                     altered prescriptions “and did so to enhance its profit
28      Id. ¶¶ 68–69.                                                margins and increase its rebates from manufacturers and
                                                                     suppliers.” 41 The use of both the PointClickCare system
29      Id. ¶ 68.
                                                                     and the LTC400 made this possible in two ways. First, the
30      Id. ¶¶ 70–71.                                                system of manually entering prescription data received via
                                                                     PointClickCare allowed PharMerica to direct its clerks to
31      Id. ¶¶ 72–74.
                                                                     alter the data intentionally. 42 That is, in some instances, the
32      Id. ¶¶ 75–76, 80–81.                                         data as originally entered in the LTC400 did not match the
                                                                     prescription data received via PointClickCare. Second, the
 *3 After Sturgeon reported her findings to management,
                                                                     LTC400 itself was programmed so that whenever an ordered
“there was an unexplained and sudden diminution of
                                                                     drug was out of stock, the platform would prompt clerks to
Sturgeon's duties and responsibilities.” 33 Sturgeon was             replace it with the most profitable alternative, even if the data
“removed from the Mid-Atlantic region sales and marketing
                                                                     was correctly transcribed. 43 In either case, PharMerica did
strategies and development initiatives” and stripped of her
                                                                     not comply with applicable laws and regulations requiring
authority to negotiate and terminate contracts and to review
                                                                     that pharmacists get the prescribing physician's consent
and approve capital expenditures and development projects
and of her responsibility for “all customer relationships in         before altering any essential element of a prescription. 44

Florida.” 34 This diminution in her job responsibilities was
                                                                     41      Id.
“retaliatory.” 35 Sturgeon resigned her position. 36
                                                                     42      Id. ¶ 59.
33      Id. ¶ 83.                                                    43      Id. ¶¶ 54–56.
34      Id. ¶ 86.                                                    44      Id. ¶¶ 150–53; see, e.g., 55 Pa. Code § 1121.52(c).
35      Id. ¶ 89.                                                    Relators allege that PharMerica illegally altered prescriptions
36                                                                   in this manner for both controlled and non-controlled
        Id. ¶¶ 85, 87–88.
                                                                     substances, sometimes altering the drug's dosage and other
After leaving PharMerica, Sturgeon began working as a                times altering its form (i.e., tablet vs. capsule) or the
consultant in the nursing home and pharmacy industries. 37           drug itself (i.e., brand name vs. generic). 45 Specifically,
Reliant retained her to audit its relationship with                  Relators allege that their audit turned up at least 5,687
PharMerica. 38 Relators Ferrante, Sciole, and Niles are              instances of PharMerica altering dosages without notice to
corporate officers at Reliant and appear to have been involved       the prescribing physician; 46 10,540 instances of PharMerica
                39
in the audit.        In conducting the audit, Sturgeon confirmed


                     © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                           10
                                                                   A156
 Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 159 of 181 PageID #: 558

Sturgeon v. Pharmerica Corp., --- F.Supp.3d ---- (2020)
Med & Med GD (CCH) P 306,709, 111 Fed. R. Evid. Serv. 585

altering drug forms without notice; 47 and an unspecified          because they are either “generally known within the trial
number of instances of PharMerica dispensing a brand-name          court's territorial jurisdiction” or “can be accurately and
                                                                   readily determined from sources whose accuracy cannot
drug instead of the prescribed generic drug. 48
                                                                   reasonably be questioned.” 55 A court “must” take judicial
45                                                                 notice if a party requests it and supplies the court with the
       Amend. Compl. ¶ 101–03, 110, 118, 127.
                                                                   necessary information. 56
46     Id. ¶ 106.
47                                                                 55     Fed. R. Evid. 201(b)(2).
       See id. ¶ 119.
48                                                                 56     Fed. R. Evid. 201(c)(2).
       Id. ¶ 127.
                                                                    [1] The Third Circuit has cautioned that taking judicial notice
                                                                   “should be done sparingly at the pleadings stage. Only in
                    E. Procedural Background
                                                                   the clearest of cases should a district court reach outside
Relators filed this qui tam action in 2015. The case               the pleadings for facts necessary to resolve a case at that
was voluntarily dismissed in 2018 after Relators' attorney         point.” 57 Courts will, however, take judicial notice of certain
informed them that the United States had declined to               matters of public record on a motion to dismiss; examples
intervene, but Relators then moved for relief pursuant to          of matters of public record include “Securities and Exchange
Federal Rule of Civil Procedure 60(b), arguing that their          Commission filings, court-filed documents, and Federal Drug
counsel never informed them that he was filing a notice of         Administration reports published on the FDA website.” 58
             49
dismissal. Indeed, when the notice of dismissal was filed,
Relators were in the process of seeking replacement counsel,       57     Victaulic Co. v. Tieman, 499 F.3d 227, 236 (3d Cir. 2007).
as their counsel would no longer represent them after the
                                                                   58     United States ex rel. Spay v. CVS Caremark Corp., 913
United States declined to intervene. 50 The Court granted the
                                                                          F. Supp. 2d 125, 139 (internal citations omitted) (quoting
motion and reopened the case. 51                                          McGehean v. AF & L Ins. Co., No. 09-1792, 2009 WL
                                                                          3172763, at *2 (E.D. Pa. Oct. 2, 2009)).
49     Doc. No. 39 at 1–2.
50     Id.                                                               A. Materials from Prior Judicial Proceedings
51     Id. at 3–4.                                                  [2]   [3]    [4]    [5] Courts may take judicial notice of
*4 After the case was reopened, Relators filed the First           public records, including “publicly available records and
Amended Complaint, which is the operative pleading here. 52        transcripts from judicial proceedings.” 59 In particular,
PharMerica moved to dismiss the First Amended Complaint            publicly available records from other judicial proceedings
and requested judicial notice of a number of documents in          may be judicially noticed in the context of a motion to
support of its Motion to Dismiss. 53 The Court held oral           dismiss. 60 Such records may only be judicially noticed to
argument limited to three disputed issues related to the Motion    show “what was in the public realm at the time, not whether
to Dismiss. 54                                                     the contents of those documents are true.” 61 Thus, “on a
                                                                   motion to dismiss, [a court] may take judicial notice of
52                                                                 another court's opinion—not for the truth of the facts recited
       Doc. No. 43.
                                                                   therein, but for the existence of the opinion, which is not
53     Doc. Nos. 51, 52.                                           subject to reasonable dispute over its authenticity.” 62
54     Doc. Nos. 74, 80.
                                                                   59     Golden v. Cook, 293 F. Supp. 2d 546, 551 (W.D. Pa.
   II. MOTION FOR JUDICIAL NOTICE                                         2003); see Sands v. McCormick, 502 F.3d 263, 268 (3d
PharMerica requests judicial notice of a number of documents              Cir. 2007).
to support its motion to dismiss. A court may take judicial        60     Spay, 913 F. Supp. 2d at 139–40.
notice of facts that are not subject to reasonable dispute


                  © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                             11
                                                                  A157
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 160 of 181 PageID #: 559

Sturgeon v. Pharmerica Corp., --- F.Supp.3d ---- (2020)
Med & Med GD (CCH) P 306,709, 111 Fed. R. Evid. Serv. 585

61      Id. (citing Benak ex rel. Alliance Premier Growth Fund       66     M & M Stone Co. v. Pennsylvania, 388 F. App'x 156,
        v. Alliance Capital Mgmt., L.P., 435 F.3d 396, 401 n.15             162 (3d Cir. 2010) (“In the context of deciding a Rule
        (3d Cir. 2006).                                                     12(b)(6) motion that raises issue preclusion concerns,
                                                                            and where a plaintiff has not included the existence or
62      S. Cross Overseas Agencies, Inc. v. Wah Kwong Shipping              substance of the prior adjudications in the body of, or
        Grp., Ltd., 181 F.3d 410, 426 (3d Cir. 1999).                       attachments to, its complaint, it is axiomatic that a court
PharMerica requests judicial notice of four filings from                    must still consider the prior adjudication in order to
a prior False Claims Act case, United States ex rel.                        determine whether issue preclusion bars that plaintiff's
Denk v. PharMerica, which it argues precludes Relators'                     claims.”).

claims as discussed below. 63 Those filings are: Relator             67     Id.
Denk's original Complaint; Relator Denk's First Amended
                                                                     68     Relators' Reply Mem. Opp. Mot. for Judicial Notice
Complaint; the Government's Notice of Election to Intervene
                                                                            [Doc. No. 58] at 2–3.
in Part and Decline to Intervene in Part; and the Government's
Complaint. Copies of all four filings are included as exhibits
to the Motion for Judicial Notice, and all are unsealed and                           B. Administrative Reports
publicly available. The Court can—in fact, it must—evaluate
the content of these records in assessing whether the public          [6]   [7] Courts may also take judicial notice of “records
                         64
disclosure bar applies.     Judicial notice, however, extends        and reports of administrative bodies.” 69 PharMerica requests
only as far as recognizing what the parties in Denk pled and         judicial notice of three documents in this category. Two are
argued—in other words, what was publicly disclosed—and               administrative guidance manuals issued by CMS. 70 The
not to the truth of the judicially noticed records. Relators do      third is a report on standard practices within the long-
not object to the Court taking notice of these documents for         term care pharmacy industry, which appears to have been
this purpose. 65                                                     commissioned by CMS and prepared by a consultant, the
                                                                     Lewin Group. 71
63      Civil Action No. 09-720 (E.D. Wis. filed July 23, 2009).
64                                                                   69     Golden, 293 F. Supp. 2d at 551; see Pension Benefit
        United States ex rel. Kraxberger v. Kan. City Power &
        Light Co., 756 F.3d 1075, 1083 (8th Cir. 2014).                     Guar. Corp. v. White Consol. Indus., Inc., 998 F.2d 1192,
                                                                            1197 (3d Cir. 1993).
65      Relators' Reply Mem. Opp. Mot. for Judicial Notice
                                                                     70     Doc. No. 77, Ex. I (U.S. Dep't of Health & Human Servs.,
        [Doc. No. 58] at 2–3.
                                                                            CMS, Pub. No. 100-07, State Operations Manual:
 *5 PharMerica also requests judicial notice of four filings                Appendix PP – Guidance to Surveyors for Long-Term
from Relator Sturgeon's prior employment action against                     Care Facilities (Rev. 173, Nov. 22, 2017)); id., Ex. J
PharMerica, which it argues preclude her retaliation claims                 (U.S. Dep't of Health & Human Servs., CMS, Pub. No.
here. Those filings are: the Complaint; the First Amended                   100-07, State Operations Manual: Chapter 7 – Survey
Complaint; the Verdict Slip; and the Judgment. Copies of all                and Enforcement Process for Skilled Nursing Facilities
four filings are included as exhibits to the Motion for Judicial            and Nursing Facilities (Rev. 185, Nov. 16, 2018)).
Notice, and all four are publicly available. The Court must          71     Id., Ex. K (The Lewin Group, CMS Review of Current
consider these documents in determining whether Relator
                                                                            Standards of Practice for Long-Term Care Pharmacy
Sturgeon's retaliation claim is precluded by the jury verdict in            Services (Dec. 30, 2004)).
her prior employment action. 66 They may only be judicially
                                                                     Relators argue that the Court should decline to take judicial
noticed, however, to establish their existence, “and not for the
                                                                     notice of these reports because they are not authenticated. 72
truth of the facts asserted” in those filings. 67 Relators do not
                                                                     PharMerica responds that information found on government
object to the Court taking notice of these documents for this
                                                                     websites is considered authenticated, and that these three
purpose. 68 Accordingly, the Court will take judicial notice of      reports are reliable in that they are not subject to change at
these eight documents.                                               any time, like most websites, because they are either archived
                                                                     or contain a “change log that tracks all revisions.” 73




                   © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                               12
                                                                    A158
 Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 161 of 181 PageID #: 560

Sturgeon v. Pharmerica Corp., --- F.Supp.3d ---- (2020)
Med & Med GD (CCH) P 306,709, 111 Fed. R. Evid. Serv. 585

72     Relators' Mem. Opp. Mot. for Judicial Notice [Doc.             75     See In re Wellbutrin SR/Zyban Antitrust Litig., 281 F.
       No. 58] at 4–6. Relators also objected that PharMerica                Supp. 2d 751, 754 n.2 (E.D. Pa. 2003) (“The fact that an
       had provided only hyperlinks to the reports online                    agency report is ‘published’ on the world wide web does
       but had not attached copies of the documents. It                      not affect the Court's ability to take judicial notice of the
       is obviously problematic to take judicial notice of                   contents of that report.”).
       materials found online based only on hyperlinks. After
                                                                      76     See PharMerica's Mem. Supp. Mot. to Dismiss [Doc. No.
       all, one of the hyperlinks PharMerica provided in its
       Memorandum stopped working after PharMerica filed                     51] at 2–4, 28–29.
       its Motion on July 22, 2019, and another hyperlink in          77     Id. at 28–29.
       its Reply Memorandum stopped working sometime after
       September 26, 2019. The Court assumes, of course,              It would be one thing to rely on the CMS manuals as showing
       that both hyperlinks worked when PharMerica filed its          what was publicly known at a given time in order to prove, for
       briefs. The concern is not so much that the documents          example, that the defendants were not on notice that certain
       themselves might change, but that their location on            conduct was fraudulent. 78 But PharMerica seeks to rely on
       the internet might change—as it apparently has here—
                                                                      them as substantive evidence that comprehensive regulations
       leaving unclear to future readers what was in the record
                                                                      governing the pharmacy industry make pharmacy fraud
       before the court. The best practice would be for a party
                                                                      categorically implausible. The Court declines to foreclose
       seeking judicial notice to both attach copies as exhibits
       to the motion for judicial notice and hyperlink to the
                                                                      all proof on such a central question by looking outside the
       website where the material can be found. Since that was        record at the motion-to-dismiss stage, so these materials will
       not done here, the Court ordered PharMerica to provide         be judicially noticed only for their existence and not for their
       copies of the documents for which it sought judicial           truth.
       notice and PharMerica did so. Doc. No. 74; Doc. Nos.
       77, 78.                                                        78     See Allergan, 746 F. App'x at 108 (taking judicial notice
73                                                                           of CMS guidance manuals in a False Claims Act case
       PharMerica's Reply Mem. Supp. Mot. for Judicial Notice
                                                                             in order to determine whether available guidance put
       [Doc. No. 61] at 1–2.
                                                                             the defendants on inquiry notice that their conduct was
 *6 PharMerica is correct that information found on                          unlawful).
government websites is widely considered both self-
authenticating and subject to judicial notice. 74 Indeed, these
CMS reports are not just information on a government                        C. Materials from the PointClickCare Website
website—they are published reports of a federal agency
                                                                       [8] [9] [10] Courts may consider documents “ ‘integral
that happen to be available online. 75 The question remains,          to or explicitly relied upon in the complaint’...‘without
however, whether to take judicial notice of these reports only        converting the motion [to dismiss] into one for summary
for their existence, or also for the truth of their contents.
                                                                      judgment.’ ” 79 Although generally courts avoid looking
PharMerica cites these three reports in its briefs to support
                                                                      at evidence outside the complaint at the motion-to-dismiss
factual assertions about the business model of the long-
                                                                      stage, an exception can be made where a plaintiff would be
term care pharmacy industry and the regulatory environment
                                                                      “able to maintain a claim of fraud by extracting an isolated
in which long-term care pharmacies operate, 76 based on               statement from a document and placing it in the complaint,
which it argues that pharmacy fraud is inherently implausible         even though if the statement were examined in the full context
because the pharmacy industry is so closely regulated. 77             of the document, it would be clear that the statement was not
                                                                      fraudulent.” 80 In that case, fairness would require examining
74     See Gregory P. Joseph, Judicial Notice of Internet             the whole document, even if the plaintiff did not attach it
       Evidence, 82 U.S. Law Week No. 34, at 2 (Mar. 11, 2014)        as an exhibit to the complaint. This narrow exception is
       (collecting cases); see also United States v. Allergan, 746    limited, however, to cases where “the claims in the complaint
       F. App'x 101, 108 (3d Cir. 2018) (taking judicial notice       are ‘based’ on an extrinsic document,” and does not apply
       of CMS administrative guidance); Spay, 913 F. Supp. 2d
                                                                      where the complaint merely cites an extrinsic document. 81
       at 139–40 (same).
                                                                      For example, in In re Burlington Coat Factory Securities
                                                                      Litigation, the plaintiffs alleged that the company had omitted



                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                                     13
                                                                     A159
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 162 of 181 PageID #: 561

Sturgeon v. Pharmerica Corp., --- F.Supp.3d ---- (2020)
Med & Med GD (CCH) P 306,709, 111 Fed. R. Evid. Serv. 585

material information from its annual financial report. 82 Even       website for several reasons. First, “[a]nyone may purchase
though the plaintiffs had not attached the report to the             an internet address,” so authentication of internet materials
complaint or explicitly cited it, the report could be considered     was particularly important. 88 Second, “a company's website
in ruling on a motion to dismiss because the claims in the           is a marketing tool” and the information found therein might
complaint were necessarily based on the report. 83                   well be “full of imprecise puffery that no one should take
                                                                     at face value.” 89 Finally, the court was particularly troubled
79     In re Burlington Coat Factory Sec. Litig., 114 F.3d 1410,     that such materials were judicially noticed at the motion-to-
       1426 (3d Cir. 1997) (emphasis omitted) (quoting Shaw          dismiss stage. 90
       v. Digital Equipment Corp., 82 F.3d 1194, 1220 (1st Cir.
       1996)).                                                       87     Victaulic, 499 F.3d at 236.
80     Id.                                                           88     Id.
81     Id. (emphasis added).                                         89     Id.
82     Id. at 1415.                                                  90     Id. at 236–37. It is certainly true that taking judicial
83     Id. at 1426.                                                         notice of internet materials has become vastly more
                                                                            common and more accepted over the years, and even
*7    [11] PharMerica requests judicial notice of three                     since the Third Circuit decided Victaulic in 2007. See
documents it argues fall into this category. 84 The three                   Joseph, supra note 74, at 1–2. But concerns about puffery
documents appear to be promotional brochures from the                       in promotional business materials remain valid, and
PointClickCare website that explain how the PointClickCare                  courts are just as cautious now as they were in 2007 about
platform works. PharMerica argues that these brochures                      looking to materials outside the complaint in deciding a
are “integral” to Relators' claims, which are “premised                     motion to dismiss.
on their analysis of information contained in” the                   These concerns apply squarely to the PointClickCare
                            85                                       brochures, which are promotional business materials from
PointClickCare platform.     As PharMerica acknowledges,
however, Relators do not cite these (or any) PointClickCare          PointClickCare's corporate website. Such “private corporate
                                                                     websites, particularly when describing their own business,
brochures in the Amended Complaint. 86 Nor can Relators'
                                                                     generally are not the sorts of ‘sources whose accuracy
claims be said to be “based on” the brochures. This is unlike
                                                                     cannot reasonably be questioned' that our judicial notice rule
Burlington, where the court looked to the document that
constituted the alleged fraud in order to place the statements       contemplates.” 91 This is especially true when a party seeks
quoted in the complaint in their proper context. Of course,          to use promotional materials found online for their truth, as
the existence of the PointClickCare system and the way               PharMerica does here. 92 Accordingly, the Court will not take
it functions are relevant to Relators' claims—but Relators           judicial notice of the PointClickCare website materials.
base their allegations on their first-hand knowledge of the
platform, not on PointClickCare's promotional brochures.             91     Victaulic, 499 F.3d at 236 (internal citation omitted)
                                                                            (citing Fed. R. Evid. 201(b)).
84     See PharMerica's Mem. Supp. Mot. for Judicial Notice          92     See PharMerica's Mem. Supp. Mot. to Dismiss
       [Doc. No. 52] at 3–4. As noted above, PharMerica
                                                                            [Doc. No. 51] at 28–29 & n.14 (citing pamphlets
       provided only hyperlinks to online PDFs of these
                                                                            from PointClickCare website as evidence that the
       documents and the Court ordered it to provide copies
                                                                            PointClickCare platform “is specifically designed to
       filed as exhibits.
                                                                            assist the nursing home in complying with [regulatory]
85     Id. at 7–8.                                                          requirements”); cf. Joseph, supra note 74, at 3 (“Pages of
                                                                            a corporate website offered by the corporation to prove
86     Id. at 7.                                                            the truth of self-serving advertising claims are inherently
Moreover, the Third Circuit warned in Victaulic against                     dubious, but the same pages may be appropriate for
                                                                            judicial notice when offered or used to show that the
taking judicial notice of exactly this kind of information. 87
                                                                            claims were made....”).
There, the court held that it was improper for the district
court to take judicial notice of facts found on a company's


                   © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                               14
                                                                   A160
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 163 of 181 PageID #: 562

Sturgeon v. Pharmerica Corp., --- F.Supp.3d ---- (2020)
Med & Med GD (CCH) P 306,709, 111 Fed. R. Evid. Serv. 585

                                                                                 promoting those which the government is not equipped
     III. MOTION TO DISMISS                                                      to bring on its own.”).
                                                                         96      The public disclosure bar originally imposed
  A. Motion to Dismiss Pursuant to 31 U.S.C. § 3730(e)                           jurisdictional limitations on False Claims Act cases. See
                                                                                 Moore, 812 F.3d at 297. Congress amended the bar in
 [12]    [13]     [14] The False Claims Act “empowers a                          2010 as part of the Affordable Care Act, altering the
person, or ‘relator,’ to sue on behalf of the United States                      language so as to make the bar nonjurisdictional. Id. at
those who defraud the government, and to share in any                            297–300. By contrast, the language of the government
ultimate recovery.” 93 That financial incentive, of course,                      action bar was never explicitly jurisdictional. See 31
creates the risk that individuals without knowledge of new,                      U.S.C. § 3730(e)(3). Nevertheless, perhaps because it
unremedied frauds might piggy-back on others' discoveries,                       was interpreted in tandem with the pre-ACA public
                                                                                 disclosure bar, the government action bar has sometimes
earning a payout for themselves without contributing any
                                                                                 been described as jurisdictional. See Farfield, 2013 WL
information of real value. 94 The Act's design therefore aims                    3327505, at *9–10. The statutory language strongly
at “promot[ing] private citizen involvement in exposing fraud                    suggests, however, that the government action bar is not
against the government, while at the same time prevent[ing]                      jurisdictional. Cf. United States ex rel. Heath v. AT & T,
parasitic suits by opportunistic late-comers who add nothing                     Inc., 791 F.3d 112, 120 (D.C. Cir. 2015) (holding that
to the exposure of the fraud.” 95 To that end, the Act bars                      the FCA's first-to-file bar is not jurisdictional because
                                                                                 that provision, like the government action bar, lacks the
qui tam actions in two circumstances relevant here. 96 First,                    express jurisdictional language of other statutory bars to
the “government action bar” prevents suits “based upon                           FCA actions).
allegations or transactions which are the subject of a civil
                                                                         97      31 U.S.C. § 3730(e)(3); see Farfield, 2013 WL 3327505,
suit...in which the Government is already a party.” 97 Second,
                                                                                 at *11.
the “public disclosure bar” prevents suits “when the alleged
fraud has been publicly disclosed in at least one of several             98      Moore, 812 F.3d at 297; see 31 U.S.C. § 3730(e)(4).
enumerated sources—unless the relator is an original source
of certain information underlying the action.” 98 PharMerica
argues that both the government action bar and public                           1. Legal Standard: Government Action Bar
disclosure bar preclude this action because an earlier qui tam
                                                                          *8 Section 3730(e)(3) bars qui tam suits “based upon
suit against PharMerica, in which the Government intervened,
                                                                         allegations or transactions which are the subject of a civil
alleged substantially the same fraudulent scheme.
                                                                         suit...in which the Government is already a party.” But “the
                                                                         breadth with which we should read the phrase ‘allegations or
93      United States ex rel. Moore & Co., P.A. v. Majestic Blue         transactions which are the subject of a civil suit’ is not readily
        Fisheries, LLC, 812 F.3d 294, 296 (3d Cir. 2016).
                                                                         apparent from the text of the statute.” 99
94      See United States ex rel. Duxbury v. Ortho Biotech
        Prods., L.P., 719 F.3d 31, 33 (1st Cir. 2013).                   99      United States ex rel. S. Prawer & Co. v. Fleet Bank of
95                                                                               Maine, 24 F.3d 320, 326 (1st Cir. 1994).
        United States ex rel. Int'l Bhd. of Elec. Workers v. Farfield
        Co., No. 09-4230, 2013 WL 3327505, at *10 (E.D. Pa.               [15] [16] To determine whether an action is “based upon”
        July 2, 2013) (quoting Costner v. URS Consultants, Inc.,         the same allegations or transactions as an action to which
        153 F.3d 667, 675–76 (8th Cir. 1998)); see also United           the government was a party, many courts have followed
        States ex rel. Springfield Terminal Ry. Co. v. Quinn,            the First Circuit in looking for signs of a “host/parasite
        14 F.3d 645, 651 (D.C. Cir. 1994) (Wald, J.) (“The
                                                                         relationship.” 100 Such a relationship exists if the relator's
        history of the FCA qui tam provisions demonstrates
                                                                         case is “receiving ‘support, advantage, or the like’ from the
        repeated congressional efforts to walk a fine line
        between encouraging whistle-blowing and discouraging
                                                                         ‘host’ case (in which the government is a party) ‘without
        opportunistic behavior....They must be analyzed in the           giving any useful or proper return’ to the government (or
        context of these twin goals of rejecting suits which             at least having the potential to do so).” 101 Similarly, the
        the government is capable of pursuing itself, while              Ninth Circuit has described the bar as preventing qui tam
                                                                         suits “based on the same underlying facts” as a government



                 © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                                     15
                                                                        A161
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 164 of 181 PageID #: 563

Sturgeon v. Pharmerica Corp., --- F.Supp.3d ---- (2020)
Med & Med GD (CCH) P 306,709, 111 Fed. R. Evid. Serv. 585

action. 102 Thus, the government action inquiry is essentially        is an “original source of the information.” 107 An “original
a test of factual similarity. If a relator's allegations are the      source” is one who “has voluntarily disclosed information
same as allegations already made by the government, or                to the Government or one ‘who has knowledge that is
are similar enough to be characterized as feeding off of the          independent of and materially adds to’ information already
government's allegations, the government action bar applies.          publicly disclosed.” 108
By contrast, if a relator's case “is seeking to remedy fraud
that the government has not yet attempted to remedy,” the             106    See United States ex rel. Zizic v. Q2Administrators, LLC,
government action bar does not apply. 103                                    728 F.3d 228, 235 (3d Cir. 2013). As noted above, the
                                                                             public disclosure bar was amended in 2010. Zizic defined
100    E.g., Farfield, 2013 WL 3327505, at *11 (quoting                      the fourth element of the test as requiring “that the
       Prawer, 24 F.3d at 327); see also Claire M. Sylvia, The               relator's action be ‘based upon’ ” the public disclosures.
       False Claims Act: Fraud Against the Government § 11:32                Id. That comported with the pre-2010 version of the
       Allegations already the subject of Government litigation:             statute. The amended version, which applies to this
       31 U.S.C.A. § 3730(e)(3) —Allegations or transactions.                case, provides that “the relator's fraud need only be
                                                                             ‘substantially the same’ as, rather than ‘based on,’ the
101    Prawer, 24 F.3d at 327–28 (quoting Parasite, Random                   publicly disclosed allegations or transactions in order
       House Dictionary of the English Language 1409 (2d ed.                 to trigger the public disclosure bar.” United States ex
       Unabridged 1987).                                                     rel. Silver v. Omnicare, 903 F.3d 78, 85 n.6 (3d Cir.
102                                                                          2018), cert. denied sub nom. PharMerica Corp. v. United
       United States ex rel. Kelly v. Boeing Co., 9 F.3d 743, 746
                                                                             States ex rel. Silver, ––– U.S. ––––, 140 S. Ct. 202, 205
       (9th Cir. 1993).
                                                                             L.Ed.2d 195 (2019). That change, the Third Circuit has
103    Prawer, 24 F.3d at 328; see also Costner, 153 F.3d at 676.            observed, “merely codified the law as it already existed
                                                                             in this Circuit,” since “based upon” had been interpreted
PharMerica argues that an earlier qui tam suit against it                    to mean “supported by” or “substantially similar to.” Id.
brought by another relator, United States ex rel. Denk v.                    (citing United States ex rel. Atkinson v. Pa. Shipbuilding
PharMerica, 104 bars this action because the government                      Co., 473 F.3d 506, 519 (3d Cir. 2007)). For clarity, the
intervened in that case. There is no dispute that the                        Court has used the updated “substantially the same”
                                                                             language.
government was a party to Denk. 105 Thus, the question is
whether the allegations in this case are sufficiently similar to      107    31 U.S.C. § 3730(e)(4)(A).
those in Denk to conclude that Relators are receiving support         108    United States v. Premier Educ. Grp., L.P., No. 11-3523,
or advantage from Denk.
                                                                             2016 WL 2747195, at *6 (D.N.J. May 11, 2016) (quoting
                                                                             31 U.S.C. § 3730(e)(4)(B)); see Moore, 812 F.3d at 298–
104    Civil Action No. 09-720 (E.D. Wis. filed July 23, 2009).              99.
105    Relators' Mem. Opp. Mot. to Dismiss [Doc. No. 57] at            *9 The public disclosure bar is relevant here because
       13 n.2.                                                        both the Relator's Complaint and the Government Complaint
                                                                      in Denk were (1) public disclosures (2) in a federal
                                                                civil proceeding. 109 There can be no question that the
        2. Legal Standard: Public Disclosure Bar
                                                                public disclosures in Denk consisted of (3) “allegations or
 [17] [18] Section 3730(e)(4)(A) provides that a court “shall transactions” of fraud—in this case, allegations—as opposed
dismiss” a qui tam suit “if substantially the same allegations  to more general information. 110 “An allegation of fraud is an
or transactions as alleged in the action or claim were publicly explicit accusation of wrongdoing.” 111 The Denk disclosures
disclosed” in any of several sources, including federal civil   were allegations of fraud in the most literal sense—explicit
proceedings. In other words, the public disclosure bar applies  accusations of fraud, itemized and filed in federal court.
when there has been (1) a public disclosure (2) in one of the
statute's specified fora (3) of allegations or transactions of  109     Relators' Mem. Opp. Mot. to Dismiss [Doc. No. 57] at
fraud (4) that are substantially the same as those alleged by           17 n.4; see 31 U.S.C. § 3730(e)(4)(A)(i); Atkinson, 473
the relator. 106 When the public disclosure bar is triggered,                F.3d at 519.
however, the action can nonetheless proceed if the relator



                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                                  16
                                                                    A162
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 165 of 181 PageID #: 564

Sturgeon v. Pharmerica Corp., --- F.Supp.3d ---- (2020)
Med & Med GD (CCH) P 306,709, 111 Fed. R. Evid. Serv. 585

110    Zizic, 728 F.3d at 235 n.6 (“The FCA ‘bars suits based            two fraud allegations against the same defendant begin to
       on publicly disclosed “allegations or transactions,” not          sound similar. Although two complaints might seem similar
       information.’ ” (quoting United States ex rel. Dunleavy           “at first blush,” courts must nevertheless take a careful look
       v. County of Delaware, 123 F.3d 734, 740 (3d Cir. 1997),          at the details of each alleged fraud. 116 For example, in
       abrogated on other grounds by Graham Cty. Soil &                  Leveski v. ITT Educational Services, the Seventh Circuit
       Water Conservation Dist. v. United States ex rel. Wilson,
                                                                         noted the superficial similarities between the relator's claims
       559 U.S. 280, 130 S.Ct. 1396, 176 L.Ed.2d 225 (2010)));
                                                                         and an earlier False Claims Act case alleging violations
       Sylvia, supra note 100, § 11:52, Allegations publicly
                                                                         of the Higher Education Act (“HEA”). Both relators were
       disclosed in certain hearings, reports or the news media:
                                                                         “former employees of [the defendant]—and even held the
       31 U.S.C.A. § 3730(e)(4)—Allegations or transactions
       underlying the complaint.                                         same job title,” and both alleged that the defendant “violated
                                                                         the incentive compensation provision of the HEA.” 117
111    Zizic, 728 F.3d at 235–36.
                                                                         Nevertheless, the court held that “the details of how [the
 [19] The question here, then, is whether Relators' claims are           defendant] allegedly violated the HEA [were] quite different
substantially the same as the allegations of fraud made public           in Leveski's case” than in the earlier one. 118 Because Leveski
           112
in Denk.         Courts examine the similarity of the allegations        had alleged “a more sophisticated, second-generation method
on a claim-by-claim basis. 113 “Where some, but not all,                 of violating the HEA,” the court concluded that the district
allegations in a complaint have been publicly disclosed,                 court had “view[ed] the allegations at too high a level of
[the public disclosure bar] does not prohibit the remaining              generality” when it dismissed the complaint. 119
allegations from proceeding.” 114
                                                                         115    United States ex rel. Mateski v. Raytheon Co., 816 F.3d
112    See Omnicare, 903 F.3d at 83.                                            565, 577 (9th Cir. 2016); United States ex rel. Goldberg
                                                                                v. Rush Univ. Med. Ctr., 680 F.3d 933, 935–36 (7th Cir.
113    See, e.g., Atkinson, 473 F.3d at 520–31 (proceeding                      2012) (“[B]oosting the level of generality in order to
       claim by claim); Premier, 2016 WL 2747195, at *9–                        wipe out qui tam suits that rest on genuinely new and
       10 (citing United States ex rel. Merena v. SmithKline                    material information is not sound.”); United States ex
       Beecham Corp., 205 F.3d 97, 102 (3d Cir. 2000)).                         rel. Baltazar v. Warden, 635 F.3d 866, 868–69 (7th Cir.
       PharMerica argues based on the Third Circuit's decision                  2011).
       in Zizic that if Relators' allegations are “even partly based
                                                                         116    Leveski v. ITT Educ. Servs., 719 F.3d 818, 832 (7th Cir.
       upon” the Denk allegations, they should be dismissed.
       PharMerica's Mem. Supp. Mot. to Dismiss at 18 (quoting                   2013).
       Zizic, 728 F.3d at 238). But that observation in Zizic            117    Id.
       referred to relators who allege the same scheme as one
       previously disclosed, while merely adding undisclosed             118    Id. (emphasis added).
       factual details. Zizic did not hold that a complaint
                                                                         119    Id.
       alleging two schemes—one previously disclosed and
       one never before disclosed—should be dismissed in                  *10 The Third Circuit endorsed this particularized, fact-
       its entirety. See also United States ex rel. Winkelman            specific approach to the substantial similarity inquiry in both
       v. CVS Caremark Corp., 827 F.3d 201, 210 (1st Cir.
       2016) (“[A] complaint that targets a scheme previously            Zizic and United States v. Omnicare. 120 By requiring courts
       revealed through public disclosures is barred even if it          to look carefully at the factual similarity between a relator's
       offers greater detail about the underlying conduct.”).            allegations and a public disclosure, this approach strikes the
                                                                         proper balance between “encouraging private persons to root
114    Sylvia, supra note 100, § 11:54, Allegations publicly
                                                                         out fraud and stifling parasitic lawsuits.” 121
       disclosed in certain hearings, reports or the news media:
       31 U.S.C.A. § 3730(e)(4) —Allegations or transactions
       underlying the complaint—Which allegations in the                 120    See Omnicare, 903 F.3d at 89–90 (citing with approval
       complaint are barred.                                                    the Seventh Circuit's approach in Baltazar and United
                                                                                States ex rel. Gear v. Emergency Medical Associates
Several courts have cautioned against conducting the
                                                                                of Illinois, Inc., 436 F.3d 726 (7th Cir. 2006), and
substantial similarity inquiry at too high a level of
                                                                                relying on Mateski, 816 F.3d 565, which adopted the
generality. 115 After all, cast in unduly general terms, any                    Seventh Circuit's approach); Zizic, 728 F.3d at 237–38


                   © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                                17
                                                                       A163
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 166 of 181 PageID #: 565

Sturgeon v. Pharmerica Corp., --- F.Supp.3d ---- (2020)
Med & Med GD (CCH) P 306,709, 111 Fed. R. Evid. Serv. 585

       (analogizing to Gear and Baltazar to determine whether                 so, accords with the heightened showing required by
       relator's allegations were substantially similar to public             Federal Rule of Civil Procedure 9(b) when pleading a
       disclosures).                                                          claim of fraud in FCA actions.”).
121    Schindler Elevator Corp. v. United States ex rel. Kirk,
       563 U.S. 401, 413, 131 S.Ct. 1885, 179 L.Ed.2d 825                                3.The Denk Allegations
       (2011) (quoting Graham Cty., 559 U.S. at 295, 130 S.Ct.
       1396).                                                          *11 As noted above, PharMerica argues that an earlier
Based on these cases, the Court is not persuaded by                   qui tam suit against it, United States ex rel. Denk v.
PharMerica's argument that disclosures that merely “set               PharMerica, 125 concerned essentially the same alleged
government investigators on the trail of fraud” are enough            fraudulent scheme. As PharMerica characterizes them, both
to bar subsequent qui tam suits. 122 That kind of superficial         actions relate a scheme to submit false claims for Medicare
similarity is contrary to the statutory language, which bars          and Medicaid reimbursement for medications that were
suits that allege “substantially the same” fraud as the               dispensed in the absence of a legally valid prescription in
public disclosure in question. 123 Allowing any tip, however          violation of state and federal law. 126 As a result, it contends,
factually different, to preclude subsequent qui tam suits would       Relators' suit is precluded under either the government action
not accord with the careful approach of Zizic and Omnicare,           bar, the public disclosure bar, or both.
nor with the heightened particularity requirements that apply
                                                                      125
to False Claims Act cases. 124                                                Civil Action No. 09-720 (E.D. Wis. July 23, 2009).
                                                                      126     PharMerica's Mem. Supp. Mot. to Dismiss [Doc. No. 51]
122    Quinn, 14 F.3d at 655; see PharMerica's Mem. Supp.                     at 18.
       Mot. to Dismiss [Doc. No. 51] at 19 (citing Dingle
                                                                      A careful review of both Relator Denk's Complaint and
       v. Bioport Corp., 388 F.3d 209, 214 & n.3 (6th Cir.
                                                                      the Government's Complaint in Denk reveals that Denk
       2004)). PharMerica has argued that a public disclosure
       that merely puts the government on notice of the               disclosed a number of allegations of fraud unrelated to invalid
       possibility of fraud and allows it to investigate could        prescriptions and therefore irrelevant here. 127 Relator Denk's
       bar any subsequent qui tam suits (within a certain time        Complaint also, however, disclosed two alleged fraudulent
       frame, presumably) regarding any fraudulent scheme,            schemes that do implicate prescription validity.
       because once the government was on the case, it had the
       opportunity to investigate any and all potential frauds        127     See Denk Compl. ¶¶ 99–123 (alleging scheme of
       that might be afoot. This is a misconception. The “on
                                                                              unlawful kickbacks); id. ¶¶ 125–37 (alleging retaliation
       the trail of fraud” concept is part of the third element
                                                                              against Relator Denk); id. ¶¶ 46, 81–90 (alleging that
       (allegations or transactions) of the public disclosure bar
                                                                              PharMerica failed to credit the United States for drugs
       analysis, not the fourth element (substantial similarity).
                                                                              returned unused and that PharMerica sometimes re-billed
       See Quinn, 14 F.3d at 655; Dingle, 388 F.3d at
                                                                              the United States for those unused drugs).
       212–14. Publicly disclosed information is enough to
       constitute an “allegation” if it gave adequate notice
       to set the government on the trail of fraud. But a             The Emergency Scheme
       relator's allegations are not substantially similar to a       Denk alleged that PharMerica submitted false claims
       public disclosure merely because the disclosure could          for reimbursement in situations where it had violated
       have set the government on the trail of the separate fraud     federal regulations governing dispensation of Schedule II–
       alleged by the relator. See also Sylvia, supra note 100, §     V narcotics in emergencies. PharMerica was alleged to have
       11:52, Allegations publicly disclosed in certain hearings,     violated those emergency regulations in several different
       reports or the news media: 31 U.S.C.A. § 3730(e)(4)—           ways. Specifically, Denk alleged (1) that PharMerica relied
       Allegations or transactions underlying complaint.              on regulations allowing narcotics to be dispensed on only
123    31 U.S.C. § 3730(e)(4)(A).                                     an oral prescription in emergency situations but failed to
                                                                      secure a written prescription within seven days thereafter
124    See Omnicare, 903 F.3d at 91 (“Finally, our refusal
                                                                      as required; 128 (2) that PharMerica dispensed narcotics
       to afford preclusive effect to information that discloses
                                                                      on an emergency basis without even an oral prescription,
       merely a potential or possibility of fraud, without any
       indication of who is perpetrating it or how they are doing     instead using old prescriptions and order forms; 129 and


               © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                                  18
                                                                    A164
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 167 of 181 PageID #: 566

Sturgeon v. Pharmerica Corp., --- F.Supp.3d ---- (2020)
Med & Med GD (CCH) P 306,709, 111 Fed. R. Evid. Serv. 585

(3) that PharMerica dispensed narcotics on an emergency               provided by PharMerica, 136 as opposed to a legally valid
basis without indicating the justification for an emergency           prescription signed by a practitioner. Upon receipt of a
dispense and/or without verifying that an emergency in fact           medication order that was not a legally valid prescription,
existed. 130                                                          PharMerica would simultaneously dispense the drug and send
                                                                      a “template” to the resident's physician for signature. 137
128     Denk Compl ¶¶ 30, 36, 46, 55, 60–65, 67.                      Even if these templates had been returned signed, they would
129                                                                   not have constituted valid prescriptions, but they often were
        Id. ¶ 56.
                                                                      not returned at all or were returned only after the drug was
130     Id. ¶¶ 30, 36, 46, 54.                                        dispensed. 138

The “Narc Box” Scheme                                                 133    Govt. Compl. ¶ 5.
Narcotics boxes are emergency supplies of medications
                                                                      134    Id. ¶ 5.
kept on-site at long-term care facilities. Both Denk and
the Government alleged that PharMerica “provided staff at             135    Id. ¶ 79.
long-term care facilities with access to narcotics boxes for
emergency situations but did not ensure that the prescriber had       136    Id. ¶ 5.
an oral communication with a PharMerica pharmacist prior              137    Id. ¶ 79.
to dispensing the Schedule II drug.” 131 The government
also alleged that “[o]nce the drug was dispensed from a               138    Id.
narcotics box, PharMerica routinely failed to obtain written          After the government intervened in Denk, the government and
prescriptions from the prescriber within 7 days as required           PharMerica “entered into a series of settlements to resolve the
under the [Controlled Substances Act].” 132                           entirety” of the action in 2015. 139

131     Govt. Compl. ¶ 118; see Denk Compl. ¶¶ 39, 53, 112–17.        139    PharMerica's Mem. Supp. Mot. to Dismiss [Doc. No. 51]
132                                                                          at 13.
        Govt. Compl. ¶ 119. Denk also alleged that “PharMerica
        billed the United States for one type of medication
        while providing the patient with a different type of
                                                                                                 4. Analysis
        medication,” Denk Compl. ¶¶ 46, 94–95, and that
        “PharMerica billed the United States for medications
                                                                       [20] PharMerica argues that this case is barred by Denk under
        allegedly administered to one patient when the
                                                                      both the public disclosure bar and the government action bar.
        medications were actually administered to other patients,
                                                                      As explained, the public disclosure inquiry requires the Court
        including those not eligible for government payments,”
        id. ¶ 46.                                                     to determine whether the allegations in Denk are substantially
                                                                      similar to Relators' allegations. They are not.
Further, the Government's Complaint in Denk also alleged a
third fraudulent scheme related to prescription validity:
                                                                      Denk disclosed allegations of several fraudulent schemes
                                                                      by PharMerica, each of which is factually different from
The Order Form Scheme                                                 the scheme Relators allege. Each of the three prescription-
 *12 The government alleged that PharMerica dispensed                 related schemes disclosed in Denk concerned dispensations
medications to residents of long-term care facilities “based          of medication in the absence of any prescription by a variety
only on requests from the long-term care facility, rather             of means—by using narcotics boxes without following the
                                                                      applicable regulations; by dispensing drugs on an emergency
than...upon a valid prescription from a practitioner.” 133 This
                                                                      basis without a written follow-up prescription; and by
took different forms, including dispensing drugs based solely
                                                                      dispensing drugs upon receipt of an order form, as opposed
on “order forms”; 134 “Prescription Fax Request” sheets,              to a valid prescription. Here, by contrast, Relators allege
“EZ Refill” forms, or “monthly physician orders from the              a scheme to alter valid prescriptions so as to maximize
resident's chart at the facility”; 135 or residents' hospital         reimbursements. In other words, whereas Denk concerned
discharge orders or “replenishment stickers” previously               dispensing medication with no prescription at all, Relators



                    © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                          19
                                                                    A165
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 168 of 181 PageID #: 567

Sturgeon v. Pharmerica Corp., --- F.Supp.3d ---- (2020)
Med & Med GD (CCH) P 306,709, 111 Fed. R. Evid. Serv. 585

base their allegations on incidents in which PharMerica did          144      See PharMerica's Mem. Supp. Mot. to Dismiss [Doc. No.
receive a valid prescription, but altered that prescription                   51] at 18 (“[T]he Denk Action and this litigation advance
illegally using the LTC400 so as to dispense the most                         substantially the same theories of fraud: PharMerica
profitable version of the drug in question.                                   submitted claims for payment to Medicare Part D and
                                                                              Medicaid for medications dispensed without legally
This is not, therefore, a case in which a relator “makes a                    valid prescriptions and, consequently, violated the FCA
similar allegation [to the public disclosure], but expands on it              because these programs only pay for medications
                                                                              when the dispensing pharmacy is in compliance with
substantially.” 140 It is not, in other words, Denk with added
                                                                              applicable laws requiring a valid prescription.”).
details. Instead, it is a case alleging “a more sophisticated,
second-generation method” of fraud, separate and apart from          145      See Mateski, 816 F.3d at 576 (“[W]hether [relator's]
any existing public disclosure.    141
                                   Both Denk and Relators do                  Complaint is substantially similar to prior public reports
                                                                              depends on the level of generality at which the
allege—at a high level—schemes that resulted in dispensing
                                                                              comparison is made.”);United States ex rel. Dorsey
drugs without a valid prescription. But, of course, there are
                                                                              v. Dr. Warren E. Smith Cmty. Mental Health/Mental
many different ways a pharmacy might accomplish that. The
                                                                              Retardation & Substance Abuse Ctrs., No. 95-7446,
mode and means of the scheme alleged here make it wholly                      1997 WL 381761, at *4 (E.D. Pa. June 25, 1997) (“In
different from the ones alleged in Denk.                                      short, the only similarities between these two actions
                                                                              are...that the defendant is the same...[and] that both
140    Premier, 2016 WL 2747195, at *11.                                      plaintiffs have accused the defendant of submitting false
                                                                              claims to receive federal and state reimbursement.”).
141    Leveski, 719 F.3d at 832.
                                                                      *13 [21] For the same reason, the government action bar
Indeed, to find the similarities between Denk and this matter,       does not preclude this action. Relators' allegations are not
PharMerica massages the facts. For example, PharMerica
                                                                     “based on the same underlying facts” as those in Denk. 146
characterizes both Denk and this action as alleging that
                                                                     Nor do they have the qualities of a “host/parasite relationship”
“PharMerica dispensed medications to Medicare Part D and
                                                                     in which one case feeds off of or draws support from
Medicaid beneficiaries pursuant to orders that lacked an
essential element of a prescription such as strength, dosage         another. 147 The schemes alleged in each case are distinct
                                                                     from each other and Denk therefore has no preclusive effect
form, or quantity prescribed.” 142 That is technically true:
                                                                     with respect to Relators' claims.
Denk alleged that PharMerica dispensed medications without
any prescription; those orders lacked all the essential elements
                                                                     146      Kelly, 9 F.3d at 746.
of a prescription in that there was, allegedly, no prescription
at all. 143 Therein lies the problem—the allegations of fraud        147      Prawer, 24 F.3d at 327–28.
in Denk and those in this matter are substantially similar
only after abstracting away from the facts of one or both
                                                                           B. Motion to Dismiss for Failure to State a Claim
cases to cast them in the most general possible terms. 144
At a high enough level of generality, any two False Claims
Act cases against the same defendant can be said to allege                                   1. Legal Standard
                                    145
substantially the same conduct.   Denk and this action may
                                                                     PharMerica has also moved to dismiss the Amended
be two branches of the same family tree, but only if a vague,
                                                                     Complaint for failure to state a claim under Rule 12(b)(6) and
generic charge of “pharmacy fraud” or “Medicare fraud” is
                                                                     for failure to satisfy the heightened pleading standard of Rule
the common ancestor. Thus, the public disclosure bar does not
                                                                     9(b).
apply.

                                                                     Under Federal Rule of Civil Procedure 12(b)(6), dismissal
142    PharMerica's Mem. Supp. Mot. to Dismiss [Doc. No. 51]         of a complaint for failure to state a claim upon which
       at 12 (citing Denk Compl. ¶¶ 48–51, 75–76).                   relief can be granted is appropriate where a plaintiff's “plain
143    Denk Compl. ¶¶ 48–51.                                         statement” lacks enough substance to demonstrate that he
                                                                     is entitled to relief. 148 In determining whether a motion to
                                                                     dismiss should be granted, the court must consider only those


                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                                   20
                                                                   A166
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 169 of 181 PageID #: 568

Sturgeon v. Pharmerica Corp., --- F.Supp.3d ---- (2020)
Med & Med GD (CCH) P 306,709, 111 Fed. R. Evid. Serv. 585

facts alleged in the complaint, accepting the allegations as
true and drawing all logical inferences in favor of the non-            155     Grubbs, 565 F.3d at 190.
moving party. 149 Courts are not, however, bound to accept              156     Id.
as true legal conclusions framed as factual allegations. 150
Something more than a mere possibility of a claim must be               157     Id.
alleged; a plaintiff must allege “enough facts to state a claim
to relief that is plausible on its face.” 151
                                                                                        2. Analysis: Claims Under 31
                                                                                       U.S.C. §§ 3729(a)(1)(A) and (B)
148     Bell Atl. Corp. v. Twombly, 550 U.S. 544, 557, 127 S.Ct.
        1955, 167 L.Ed.2d 929 (2007).                                    [27] [28] [29] Relators allege violations of 31 U.S.C. §§
149                                                                     3729(a)(1)(A) and (B) and their state law equivalents. To
        ALA, Inc. v. CCAIR, Inc., 29 F.3d 855, 859 (3d Cir. 1994);
                                                                        establish a violation of § 3729(a)(1)(A), a relator must show
        Fay v. Muhlenberg Coll., No. 07-4516, 2008 WL 205227,
                                                                        that “(1) the defendant presented or caused to be presented
        at *2 (E.D. Pa. Jan. 24, 2008).
                                                                        to an agent of the United States a claim for payment; (2)
150     Twombly, 550 U.S. at 555, 564, 127 S.Ct. 1955.                  the claim was false or fraudulent; and (3) the defendant
151     Id. at 570, 127 S.Ct. 1955.
                                                              knew the claim was false or fraudulent.” 158 To establish
                                                              a violation of § 3729(a)(1)(B), a relator must show that
 [22] [23] [24] Additionally, claims under the False Claims the defendant “(1) made, used, or caused to be made or
Act are subject to the heightened pleading standard of Rule   used, a false record or statement; (2) the defendant knew the
9(b). 152 To satisfy that standard in this context, a relator statement to be false[;] and (3) the statement was material to
must plead “particular details of a scheme to submit false    a false or fraudulent claim.” 159 A claim may be factually
claims paired with reliable indicia that lead to a strong     false or legally false. “A claim is factually false when the
inference that claims were actually submitted.” 153 This can            claimant misrepresents what goods or services...it provided
be accomplished in two ways—either by “pleading the date,               to the Government.” 160 By contrast, “a claim is legally false
place, or time of the fraud,” or by using an “alternative means         when the claimant knowingly falsely certifies that it has
of injecting precision and some measure of substantiation into          complied with a statute or regulation the compliance with
their allegations of fraud.” 154                                        which is a condition for Government payment.” 161 That
                                                                        latter express false certification theory is the basis of Relators'
152     Foglia v. Renal Ventures Mgmt., LLC, 754 F.3d 153, 155          claims here, because Relators allege that PharMerica sought
        (3d Cir. 2014).                                                 and received reimbursement upon falsely certifying that it had
153                                                                     complied with the applicable laws and regulations governing
        Id. at 157–58 (quoting United States ex rel. Grubbs v.
        Kanneganti, 565 F.3d 180, 190 (5th Cir. 2009)).                 its dispensation of medications. 162
154     United States v. Loving Care Agency, 226 F. Supp. 3d            158     United States ex rel. Wilkins v. United Health Grp., Inc.,
        357, 363 (D.N.J. 2016) (quoting Flanagan v. Bahal, No.
                                                                                659 F.3d 295, 305 (3d Cir. 2011) (quoting United States
        12-2216, 2015 WL 9450826, at *3 (D.N.J. Dec. 22,
                                                                                ex rel. Schmidt v. Zimmer, Inc., 386 F.3d 235, 242 (3d
        2015)).
                                                                                Cir. 2004)), abrogated on other grounds by Universal
 [25] [26] A plaintiff need not present specific fraudulent                     Health Servs., Inc. v. United States & Massachusetts
claims for payment at the pleading stage; indeed, this is not                   ex rel. Escobar, ––– U.S. ––––, 136 S. Ct. 1989, 195
necessarily required to prevail even at trial. 155 After all,                   L.Ed.2d 348 (2016).
“[s]tanding alone, raw bills—even with numbers, dates, and              159     United States ex rel. Zwirn v. ADT Sec. Servs., Inc.,
amounts—are not fraud without an underlying scheme to                           No. 10-2639, 2014 WL 2932846, at *5 (D.N.J. June 30,
submit the bills for unperformed or unnecessary work.” 156 It                   2014).
is that underlying scheme that must be pled with particularity          160     Wilkins, 659 F.3d at 305.
to give defendants fair notice of the claims against them,
protect defendants from reputational harm, and prevent the              161     Id.
                                                                 157
filing of baseless suits that amount to fishing expeditions.


                 © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                                    21
                                                                       A167
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 170 of 181 PageID #: 569

Sturgeon v. Pharmerica Corp., --- F.Supp.3d ---- (2020)
Med & Med GD (CCH) P 306,709, 111 Fed. R. Evid. Serv. 585

162    Amend. Compl. ¶ 63.                                         PharMerica does not explain the basis for its assertion
                                                                   that Pennsylvania pharmacy laws and regulations apply
 *14 Relators allege that PharMerica submitted false claims
                                                                   exclusively to Relators' claims, which are based on conduct
for payment for filling prescription orders that were altered
in one of three ways: by substituting a different form or          that allegedly occurred nationwide. 167 However, even if
dosage of a non-controlled substance than the one prescribed;      Pennsylvania law does apply, and even if under Pennsylvania
by substituting a different form or dosage of a controlled         law pharmacists may alter the form of a non-controlled
substance than the one prescribed; or by substituting a brand      substance at will, PharMerica has not shown that this claim
                                                                   should be dismissed. Relators allege not only that PharMerica
name drug for a generic drug. 163 By altering prescriptions in
                                                                   altered the drug form on prescriptions for non-controlled
these three ways for the purpose of maximizing PharMerica's
                                                                   substances, but also that PharMerica altered the dosage and
reimbursement and without consulting with the prescribing
                                                                   quantity, which are undisputedly required elements of a valid
physician, Relators allege, PharMerica violated the False
                                                                   prescription. 168 Moreover, Relators allege this conduct with
Claims Act. 164
                                                                   adequate specificity. Although they are not required to point
                                                                   to specific fraudulent claims at this stage, Relators identify
163    Id. ¶ 103.                                                  an example of a prescription whose dosage was allegedly
164    Id. ¶¶ 105–07.                                              altered without the consent of the prescribing physician. 169
                                                                   By supplying the date and prescription number of a particular
                                                                   altered prescription combined with the details of the broader
               a. Non-Controlled Substances                        alleged scheme to alter prescriptions, Relators have met the
                                                                   pleading standards of Rule 9(b) for this category of claims.
Relators claim that PharMerica illegally altered the elements
of prescriptions for non-controlled substances such as             167    Id. ¶ 133–35; see PharMerica's Reply Mem. Supp. Mot.
“stomach medication [e.g., Ranitidine] and anti-depressants
                                                                          to Dismiss [Doc. No. 59] at 5.
[e.g., Fluoxetine].” 165 Relators allege that PharMerica
                                                                   168    Relators' Mem. Opp. Mot. to Dismiss [Doc. No. 57] at
systematically substituted alternative forms of the prescribed
drugs (e.g., capsules instead of tablets) or alternative                  25–26; see Pharmacy Liability for Punitive Damages-
dosages or quantities of the prescribed drugs because                     Pennsylvania Practice Pointers, 71 PA. B.A. Q. 1, 3
                                                                          (2000) (“A pharmacist does not prescribe medication,
those alternatives were more profitable for PharMerica to
                                                                          and thus may not amend, edit, or interpret a treating
dispense. 166 Each time PharMerica submitted a claim for                  physician's prescription order.”).
reimbursement for a dispensation pursuant to an altered
                                                                   169    Amend. Compl. ¶ 121.
prescription, Relators claim, PharMerica falsely certified
that the dispensation complied with all applicable laws and         [31] PharMerica also argues that these non-controlled
regulations.                                                       substances claims are based on an incorrect statement of
                                                                   law by Relators. According to PharMerica, the Amended
165    Id. ¶¶ 118–19.                                              Complaint inaccurately asserts that a pharmacist “must obtain
                                                                   a discontinue order and a new prescription from the physician
166    Id. ¶¶ 119–26.                                              before varying in any respect from the details of the original
 [30] PharMerica first argues that this claim should be            order.” 170 PharMerica argues that no state or federal law or
dismissed because there is no federal law that governs             regulation requires this. Accordingly, it argues, this category
the prescribing of non-controlled drugs. Rather, PharMerica        of alleged false claims fails, as it was entirely permissible
argues, it is state pharmacy laws that govern the dispensing       for PharMerica to simply alter prescriptions where necessary
of these non-controlled substances. Since under Pennsylvania       rather than discontinuing them and obtaining a brand-new
law, the form of a non-controlled drug is not an essential         prescription from the prescribing physician.
element of a prescription, substituting the capsule form of
a non-controlled drug for the tablet form does not violate         170    PharMerica's Reply Mem. Supp. Mot. to Dismiss [Doc.
any law and therefore cannot support Relators' assertion that
                                                                          No. 59] at 4–5; see PharMerica's Mem. Supp. Mot. to
PharMerica submitted false claims.                                        Dismiss [Doc. No. 51] at 23.




                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                           22
                                                                 A168
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 171 of 181 PageID #: 570

Sturgeon v. Pharmerica Corp., --- F.Supp.3d ---- (2020)
Med & Med GD (CCH) P 306,709, 111 Fed. R. Evid. Serv. 585

 *15 It is true that the Amended Complaint in several                         a physician's oral instruction, and the policy posted
places claims that a discontinue order and new prescription                   on the DEA's website, which noted that a pharmacist
are always required and that this procedure was not                           may modify a schedule II prescription “only after oral
                                                                              consultation with and agreement of the prescribing
followed. 171 But the Amended Complaint also alleges
                                                                              practitioner,” and instructing pharmacists to “adhere to
more broadly that PharMerica's prescription alterations were                  state regulations or policy regarding those changes that a
unlawful in that they were made without the prescribing                       pharmacist may make to a schedule II prescription after
physician's consent. 172 Thus, even accepting PharMerica's                    oral consultation with the prescriber” in the meantime
argument that obtaining a discontinue order and new                           (emphasis added))).
prescription is not legally required, Relators still have              Finally, PharMerica argues broadly that the Amended
alleged that PharMerica violated federal and state laws                Complaint lacks the requisite specificity throughout. As
requiring that pharmacists “first obtain approval from the             noted, Rule 9(b) may be satisfied by pleading “particular
prescribing medical practitioner” before “deviat[ing] from             details of a scheme to submit false claims” combined
a prescription.” 173 Indeed, even the sources on which                 with “reliable indicia that lead to a strong inference that
PharMerica seeks to rely (some of which are not in the record          claims were actually submitted.” 175 Based on that standard,
at this stage) confirm that this is required. 174                      PharMerica catalogues the factual details that it believes are
                                                                       missing from Relators' Amended Complaint, both as to the
171     Amend. Compl. ¶¶ 51, 111–12, 120.                              “scheme” and as to the “reliable indicia.”

172     See, e.g., id. ¶ 121 (“PharMerica altered the prescription     175    Foglia, 754 F.3d at 156 (quoting Grubbs, 565 F.3d at
        and dispensed Morphine 10 mg/ml without the consent
                                                                              190).
        of the prescribing physician.”); id. ¶ 124 (“Instead of
        dispensing the exact drug prescribed by the physician,          [32] First, PharMerica argues that Relators fail to plead a
        a data clerk—without medical training—entered an               “scheme” because the Amended Complaint makes only two
        altered order into the LTC400 and dispense[d] a                conclusory allegations: that the LTC400 was designed to
        different prescription without the prescribing physician's     prompt clerks to fill prescriptions in the most profitable way
        consent.”).                                                    and that PharMerica “instructed their clerical personnel to
173                                                                    physically alter the prescriptions to make it appear as though
        Id. ¶ 150.
                                                                       the physician had prescribed the drug in a different form,
174     See PharMerica's Mem. Supp. Mot. to Dismiss [Doc.              quantity and/or dosage.” Beyond those “cursory allegations,”
        No. 51] at 27 (citing 55 Pa. Code § 1121.52(c) (“For           PharMerica suggests, the Amended Complaint omits details
        payment to be made for filling altered prescriptions, the      like the names of individuals who “concocted the alleged
        pharmacy shall certify in writing on the prescription          scheme” and “oversaw its implementation,” the names of
        that the change was made by the licensed prescriber.           pharmacists who altered prescriptions, and the names of
        Changes in the nature or brand of a medication, the            nursing home employees who “signed for” and administered
        strength of a medication, directions or quantity dispensed
        are acceptable only if the consent of the prescriber           the altered prescriptions. 176 But listing other factual details
        was obtained before dispensing. The written explanation        that might also have been pled is not a productive way to
        of the pharmacy on the prescription must state that            analyze the sufficiency of a complaint. A careful review of the
        this was done and give the reasons for the change.”));         Amended Complaint shows that Relators describe the alleged
        PharMerica's Reply Mem Supp. Mot. to Dismiss [Doc.             scheme in adequate detail, explaining the mechanism of the
        No. 59] at 5 (citing Joseph T. Rannazzisi, U.S. Dep't          alleged fraud and the generic identities of those involved
        of Justice, Drug Enforcement Admin., Dear Colleague
                                                                       (i.e., data clerks, pharmacists, etc.). 177 PharMerica cites no
        Policy Letter on Permissible Changes to Controlled
                                                                       authority for the proposition that Relators must identify by
        Substance Prescriptions (Oct. 15, 2008),
                                                                       name the particular PharMerica employees who designed the
        https://web.archive.org/web/20110417110418/https://
        www.deadiversion.usdoj.gov/faq/
                                                                       LTC400 or those who allegedly altered prescriptions.
        multiple_rx_clarification_ltr
        _102010.pdf (describing apparent conflict between DEA          176    PharMerica's Mem. Supp. Mot. to Dismiss [Doc. No. 51]
        regulations, which stated that a pharmacist may not                   at 31.
        modify the elements of a schedule II prescription on




                 © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                                  23
                                                                     A169
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 172 of 181 PageID #: 571

Sturgeon v. Pharmerica Corp., --- F.Supp.3d ---- (2020)
Med & Med GD (CCH) P 306,709, 111 Fed. R. Evid. Serv. 585

177     Amend. Compl. ¶¶ 45–65.                                        of Zemplar per day than it would need to had it been using
                                                                       a single vial per patient. Therefore, the relator concluded,
 *16 [33] Second, PharMerica argues that even if the
                                                                       Renal must have been harvesting the leftover Zemplar from
Amended Complaint does plead a “scheme,” it lacks “reliable
                                                                       partially used vials and administering it to other patients. This
indicia” that claims were actually submitted. It is true that
                                                                       presented a profitable opportunity for fraud, since “Medicare
a relator must do more than “identif[y] a general sort
                                                                       will reimburse for the full vial of Zemplar, regardless of
of fraudulent conduct [while] specif[ying] no particular
                                                                       whether all of the Zemplar is used.” 183 That is, Renal could
circumstances of any discrete fraudulent statement.” 178
                                                                       have submitted a claim for a full vial of Zemplar for each
Thus, PharMerica argues, even if the alleged scheme is
                                                                       patient while purchasing fewer vials, reusing the leftovers,
adequately pled, it amounts to no more than a “mere
                                                                       and pocketing the difference. By itself, however, this was
opportunity for fraud” without specific instances of claims
                                                                       not enough to create a “strong inference” that Renal had
actually submitted to the government for reimbursement. 179            submitted false claims, because harvesting extra Zemplar was
                                                                       permitted so long as certain guidelines were followed. But the
178     United States ex rel. Judd v. Quest Diagnostics, Inc., 638     relator had also alleged that Renal was not complying with
        F. App'x 162, 169 (3d Cir. 2015) (quoting United States        those guidelines. Taking that as true, the court found that the
        ex rel. Cafasso v. Gen. Dynamics C4 Sys., Inc., 637 F.3d       complaint met the requirements of Rule 9(b) and adequately
        1047, 1057 (9th Cir. 2011)).                                   alleged that Renal was fraudulently submitting claims as if it
179     See Foglia, 754 F.3d at 158.                                   had used exactly one vial per patient. 184

To support this argument, PharMerica cites United States ex
                                                                       183     Foglia, 754 F.3d at 158.
rel. Schmidt v. Zimmer, Inc. 180 There, the court found fault
with the complaint for not including “details concerning the           184     Id.
dates of the claims, the content of the forms or bills submitted,
                                                                       Notably, like the Amended Complaint here, the Foglia
their identification numbers, [or] the amount of money they
                                                                       complaint did not identify particular claims for payment by
charged to the government,” among other things. 181 But                the government. Instead, it identified “particular details of
Schmidt explicitly relied on the rigid interpretation of Rule          a scheme to submit false claims”—there, a scheme to reuse
9(b)'s particularity requirement then adhered to by the First          vials of Zemplar while submitting claims for payment as
Circuit, the same rigid interpretation rejected by the Third           if a new vial were used for each patient—combined with
Circuit in Foglia v. Renal Ventures Management, LLC. 182 On            “reliable indicia that lead to a strong inference that claims
this point, therefore, Schmidt does not reflect the current state      were actually submitted”—there, the inventory logs and the
of the law.                                                            allegation that Renal had not complied with the guidelines for
                                                                       reusing Zemplar vials.
180     No. 00-1044, 2005 WL 1806502 (E.D. Pa. July 29,
        2005).                                                          *17 The allegations here are strikingly similar. Relators
                                                                       allege a scheme to alter prescriptions, including the specific
181     Id. at *2 n.2 (quoting United States ex rel. Karvelas v.       time frame of the scheme and the number and type of
        Melrose-Wakefield Hosp., 360 F.3d 220, 233 (1st Cir.           alterations their audit revealed, with some specific examples
        2004)).                                                        identified by RX number. They also allege that PharMerica
182     Id.; see Foglia, 754 F.3d at 156 n.3 (identifying Karvelas     did not obtain the prescribing physician's consent before
        as an example of the rigid “representative samples”            altering prescriptions. Relators here have offered at least
        requirement employed by several other Circuits and             as much as in Foglia and have cleared the bar of Rule
        noting that the First Circuit later overruled Karvelas and     9(b). Accordingly, the non-controlled substances claims will
        adopted the same “nuanced” understanding of Rule 9(b)          proceed.
        embraced by the Third Circuit).
Rather, Foglia is controlling. There, the relator alleged that
the defendant, Renal Ventures Management, submitted false                                b. Controlled Substances
claims for reimbursement for vials of the medication Zemplar.
Renal's inventory logs showed that it was using fewer vials



                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                                24
                                                                     A170
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 173 of 181 PageID #: 572

Sturgeon v. Pharmerica Corp., --- F.Supp.3d ---- (2020)
Med & Med GD (CCH) P 306,709, 111 Fed. R. Evid. Serv. 585

 [34] Relators also allege that PharMerica illegally altered                 of Ahmed Aleemuddin Supp. Reply Mem. [Doc. No.
prescriptions for controlled substances. They claim that                     59-1].
PharMerica's systematic practice was to alter the essential           188    Schmidt v. Skolas, 770 F.3d 241, 249 (3d Cir. 2014)
elements of the prescription, such as the form or dosage
                                                                             (emphasis omitted) (quoting In re Burlington Coat
specified, so as to substitute a more profitable alternative. 185            Factory Sec. Litig., 114 F.3d at 1426).
Each time PharMerica submitted a claim for reimbursement
                                                                      189    Foglia, 754 F.3d at 156–57; see United States ex
for a dispensation pursuant to an altered prescription, Relators
                                                                             rel. Budike v. PECO Energy, 897 F. Supp. 2d 300,
claim, PharMerica falsely certified that the dispensation
                                                                             320 (E.D. Pa. 2012) (noting that providing a “single
complied with all applicable laws and regulations. 186                       claim example” would not put defendants “in a better
                                                                             position to answer and defend against Relator's claims,”
185     Amend. Compl. ¶¶ 110–17.                                             especially if “[t]he fraud of the instant claims does
                                                                             not turn on anything unique to an individual claim or
186     Id. ¶¶ 138–45.                                                       anything that would be revealed from an examination
                                                                             of any claim.”) Indeed, to allow PharMerica to win
In its reply memorandum, PharMerica argues for the first
                                                                             dismissal of this entire group of Relators' claims by
time that this claim should be dismissed because PharMerica
                                                                             rebutting the two specific examples Relators offer would
has uncovered evidence that the two specific controlled-
                                                                             punish Relators for going above and beyond the pleading
substance prescriptions Relators identify by RX number in
                                                                             standards the Third Circuit has required in False Claims
the Amended Complaint were altered legally or not altered at                 Act cases. This would perversely disincentivize specific,
all. 187 PharMerica asks the Court to consider this evidence                 careful pleading.
outside the Amended Complaint at the motion-to-dismiss                190    Amend. Compl. ¶¶ 113–17.
stage on the grounds that the prescription documents are
“integral to or explicitly relied upon in the complaint.” 188         191    Id. ¶ 110.
Even if the Court were to consider this evidence at this               *18 Next, PharMerica argues that any allegation of
stage, PharMerica's attempt to rebut Relators' two examples           widespread fraud in the pharmacy industry is inherently
would not support dismissing Relators' entire category of             implausible under Ashcroft v. Iqbal because that industry is
claims based on illegally altered prescriptions for controlled
                                                                      so closely regulated at both the federal and state level. 192
substances. Relators allege that they have identified 924
                                                                      This argument is belied by the fact that False Claims
instances in which PharMerica illegally altered prescriptions
                                                                      Act cases against pharmacy defendants—including some
for Schedule II controlled substances, not just the two for
                                                                      against PharMerica in particular—often survive motions to
which RX numbers are offered, and as already explained,
Relators need not identify any specific claim for payment             dismiss. 193 Nor is it at all implausible that Reliant, the
                                                                      long-term care facility at which Relators worked, could have
at the pleading stage. 189 In this category of claims, as in
                                                                      administered “thousands of incorrect doses of controlled
the preceding one, Relators have described “particular details
                                                                      substances to its residents without anyone noticing or taking
of a scheme to submit false claims”—that is, the design of
the LTC400 and the widespread practice of prompting clerks            action,” as PharMerica argues. 194 Even if staff at Reliant
                                                                      had been careful to double-check the brand, dosage, and
to alter prescriptions to make them more profitable 190 —
                                                                      quantity of each medication against the original prescription
and have paired that alleged scheme with “reliable indicia
                                                                      information, they could very reasonably have assumed that
that lead to a strong inference that claims were actually
                                                                      any discrepancies were the result of PharMerica pharmacists
submitted.” Here, some of those “reliable indicia” include the
                                                                      conferring with the prescribing physician and getting his or
specific time frame of the alleged fraudulent claims (March
                                                                      her consent to alter the prescription. That would be noted
2014 through September 2015); a definite number of claims
                                                                      in PharMerica's files, but not necessarily on the label of the
allegedly submitted (924); and the further specification that
                                                                      bottle.
143 of those claims involved prescriptions for the drugs
OxyContin and Morphine. 191                                           192    PharMerica's Mem. Supp. Mot. to Dismiss [Doc. No. 51]
                                                                             at 28–30; see 556 U.S. 662, 129 S.Ct. 1937, 173 L.Ed.2d
187     See Amend. Compl. ¶¶ 111–12; See PharMerica's Reply                  868 (2009).
        Mem. Supp. Mot. to Dismiss [Doc. No. 59] at 6–7; Decl.



                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                                 25
                                                                    A171
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 174 of 181 PageID #: 573

Sturgeon v. Pharmerica Corp., --- F.Supp.3d ---- (2020)
Med & Med GD (CCH) P 306,709, 111 Fed. R. Evid. Serv. 585

193    See United States ex rel. Silver v. Omnicare, Inc. et           Relators claim; indeed, PharMerica's computerized drug
       al., No. 11-1326, 2014 WL 4827410, at *1 (D.N.J.                dispensing system was allegedly designed to prompt clerks
       Sept. 29, 2014) (denying Defendant PharMerica's motion          to make profitable substitutions even though pharmacists are
       to dismiss except as to statute-of-limitations grounds);        supposed to consult with the prescribing physician before
       United States ex rel. Denk v. PharMerica Corp., No.             altering certain elements of a prescription. 197 Each time
       09-720, 2014 WL 4355342 (E.D. Wis. Sept. 3, 2014); see
                                                                       PharMerica submitted a claim for reimbursement for a
       also, e.g., United States ex rel. Garbe v. Kmart Corp.,
                                                                       dispensation pursuant to an altered prescription, Relators
       968 F. Supp. 2d 978 (S.D. Ill. 2013); United States ex rel.
                                                                       allege, PharMerica falsely certified that the dispensation
       Spay v. CVS Caremark Corp., 913 F. Supp. 2d 125 (E.D.
                                                                       complied with all applicable laws and regulations.
       Pa. 2012).
194    PharMerica's Mem. Supp. Mot. to Dismiss [Doc. No. 51]           196    Amend. Compl. ¶¶ 127–30, 152.
       at 29.
                                                                       197    See id. ¶¶ 53–62, 150–53.
PharMerica's argument that these claims broadly do not meet
the particularity requirement of Rule 9(b) fails for the same          Relators support this claim with two main factual allegations.
reasons explained above.     195
                                Accordingly, the controlled            First, Relators claim that PharMerica “routinely altered
substances claims will proceed.                                        and dispensed brand name drugs in lieu of the generic
                                                                       drugs ordered and already on the market.” 198 Second,
195    PharMerica's argument that the controlled substances            they claim that these alterations were made “without a
       claims must be dismissed because PointClickCare orders          legal prescription.” 199 Relators also identify two particular
       are not prescriptions and therefore are not a valid point       substitutions that were allegedly made—the brand-name drug
       of comparison for the actual dispensation is too clever         Abilify for the generic Aripiprazole, and the brand-name drug
       by half. See PharMerica's Mem. Supp. Mot. to Dismiss
                                                                       Namenda XR for regular Namenda. 200
       [Doc. No. 51] at 27. As Relators point out, the allegations
       in the Amended Complaint—including the allegation
       that PointClickCare is the system by which long-term            198    Id. ¶ 127 (emphasis omitted).
       care facilities transmit prescriptions to PharMerica—
                                                                       199    Id.
       must be taken as true at this stage. Even to meet the
       heightened pleading standard of Rule 9(b), Relators             200    Namenda and Namenda XR both appear to be brand-
       need not allege that prescriptions in the PointClickCare
                                                                              name drugs; the Court understands Relators' allegation to
       system meet all the legal requirements to be called
                                                                              mean that shortly before Namenda's generic equivalent
       a “prescription” or that no other, more legally valid
                                                                              was released, PharMerica began substituting Namenda
       prescription exists elsewhere in the world. Such ticky-
                                                                              XR, which had no generic equivalent, for Namenda in
       tack—indeed, logically impossible—pleading standards
                                                                              order to avoid the requirement that a cheaper generic be
       have been rejected by the Third Circuit, which cautioned
                                                                              substituted. See Amend. Compl. ¶ 129.
       against requiring complaints to offer “a level of proof not
       demanded to win at trial.” Foglia, 754 F.3d at 156.              *19 This kind of substitution—a brand name for a generic
       Likewise, undue skepticism of the statistical validity of       —might be unlawful for two reasons. First, to be eligible
       Relators' audit is “misplaced at the Rule 12(b)(6) stage.”      for government reimbursement, federal and state regulations
       United States ex rel. Customs Fraud Investigations, LLC         require that pharmacies dispense generic drugs that are
       v. Victaulic Company, 839 F.3d 242, 257 (3rd Cir. 2016);        therapeutically equivalent to brand-name drugs when the
       see PharMerica's Mem. Supp. Mot. to Dismiss [Doc. No.
                                                                       generic is cheaper. 201 If a pharmacy were intentionally
       51] at 35.
                                                                       dispensing more expensive brand-name drugs to maximize
                                                                       its reimbursements, that would constitute a false claim.
               c. Brand Names vs. Generics                             Second, as discussed in more detail below, pharmacists are
                                                                       generally not permitted to alter prescriptions without the
 [35] Finally, Relators allege that PharMerica illegally               consent of the prescribing physician. 202 If a pharmacy
altered prescriptions for generic drugs, substituting brand-           substituted alternative drugs without the physician's consent,
name drugs in violation of applicable federal and state                the dispensation would not be pursuant to a valid prescription
law. 196 This was a widespread practice at PharMerica,



                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                                  26
                                                                     A172
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 175 of 181 PageID #: 574

Sturgeon v. Pharmerica Corp., --- F.Supp.3d ---- (2020)
Med & Med GD (CCH) P 306,709, 111 Fed. R. Evid. Serv. 585

and the pharmacy could not legally seek reimbursement from                       reads: “PharMerica Systematically and Illegally Altered
Medicare or Medicaid.                                                            Prescriptions by Filling Generic Drug Prescriptions with
                                                                                 the More Expensive and Profitable Brand Name Drug.”
201    Amend. Compl. ¶¶ 146–53.                                         206      Foglia, 754 F.3d at 158.
202    Id.
To state a claim for this alleged scheme of swapping                         3. Analysis: Claims under 31 U.S.C. § 3729(a)(1)(G)
brands for generics, then, Relators must allege either (1)
that the generic equivalent prescribed was cheaper than                 Relators also allege violations of 31 U.S.C. § 3729(a)(1)
the brand dispensed, so that the substitution violated the              (G), the so-called reverse false claims provision of the
                                                                        False Claims Act. Whereas §§ 3729(a)(1)(A) and (B) are
requirement to dispense cheaper equivalents, 203 or (2) that
                                                                        violated when a person fraudulently requests payment from
the generic dispensed was not a therapeutic equivalent so
                                                                        the government, § 3729(a)(1)(G) is violated when a person
that substitution required the prescribing physician's consent,
                                                                        withholds payment that is owed to the government:
which was not obtained. 204 Although this portion of the
Amended Complaint is sparser than the controlled substances
and non-controlled substances allegations, discussed below,
                                                                                      [A]ny person who...knowingly makes,
Relators do allege that the brand-name drugs PharMerica
                                                                                      uses, or causes to be made or used,
dispensed were more expensive than their available generic
                                                                                      a false record or statement material
equivalents. 205 This allegation serves the same purpose as                           to an obligation to pay or transmit
the allegation of non-compliance with the Zemplar reuse                               money or property to the Government,
guidelines in Foglia: It elevates an opportunity for fraud into                       or knowingly conceals or knowingly
an allegation of fraud. 206 Accordingly, these claims will also                       and improperly avoids or decreases an
proceed.                                                                              obligation to pay or transmit money or
                                                                                      property to the Government, is liable to
203    PharMerica points out that the costs of a drug to any                          the United States Government.... 207
       given Part D sponsor depend on its own formulary
       development process. See PharMerica's Mem. Supp.
       Mot. to Dismiss [Doc. No. 51] at 25–26. It may well
       turn out that under the relevant formulary, the brand-
                                                                        207      31 U.S.C. § 3729(a)(1); see Victaulic, 839 F.3d at 247
       name drugs dispensed were no more expensive than the                      (“In this case, by contrast, the allegation is not that
       generics allegedly prescribed, in which case PharMerica                   Victaulic is obtaining monies from the government to
       could be entitled to summary judgment on those claims.                    which it is not entitled, but rather that it is retaining
       But Relators have alleged that the generics were in fact                  money it should have paid the government in the form of
       cheaper, which the Court must accept as true at this stage.               marking duties. Wrongful retention cases such as these
                                                                                 are known as ‘reverse false claims’ actions.”).
204    Cf. United States ex rel. Gohil v. Sanofi-Aventis U.S. Inc.,
       96 F. Supp. 3d 504, 519 (E.D. Pa. 2015) (noting that
                                                                         *20 Based on the same alleged prescription alteration
       while relators were not required to plead specific false         scheme that forms the basis of the claims already discussed,
       claims, in order to prove fraud based on promoting drugs         Relators allege two separate violations of § 3729(a)(1)(G)
       for unapproved uses, relator was required to “plead for          here. First, they allege that PharMerica violated the Corporate
       what unaccepted medical indications Aventis promoted             Integrity Agreement (“CIA”) it entered into as a result of Denk
       Taxotere”).                                                      and failed to pay the ensuing penalties to the government.
205                                                                     Second, they allege that PharMerica improperly retained the
       Relators allege this in two places. First, they allege
                                                                        same payments it received as a result of the prescription
       that “PharMerica also made it its practice of dispensing
                                                                        alteration scheme. In one sense, both of these are based on
       brand name drugs, including Abilify, Namenda, and
       Cymbalta, in lieu of their cheaper generic drug equivalent
                                                                        the same alleged conduct—illegally altering prescriptions.
       for many months after the generic-equivalents had                Each alleged violation, however, rests on a separate financial
       entered the market.” Amend. Compl. ¶ 5. Second, the              obligation that was allegedly owed to the government—
       heading above paragraph 127 of the Amended Complaint             first, the penalties under the CIA, and second, the general



                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                                     27
                                                                      A173
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 176 of 181 PageID #: 575

Sturgeon v. Pharmerica Corp., --- F.Supp.3d ---- (2020)
Med & Med GD (CCH) P 306,709, 111 Fed. R. Evid. Serv. 585

obligation to return to the government money it paid out based
on fraud or in error. Since the “obligation” is the touchstone
of the reverse false claims provision, 208 these two alleged                       [T]he term “obligation” means an
violations are considered separately.                                              established duty, whether or not
                                                                                   fixed, arising from an express or
208    See United States ex rel. Boise v. Cephalon, Inc., No.
                                                                                   implied contractual, grantor-grantee,
       08-287, 2015 WL 4461793, at *2 (E.D. Pa. July 21,                           or licensor-licensee relationship, from
       2015) (“ ‘A prerequisite for liability under [a reverse                     a fee-based or similar relationship,
       false claim] theory is a legal obligation’ to pay or credit                 from statute or regulation, or from the
       the government.” (quoting United States ex rel. Quinn v.                    retention of any overpayment.... 213
       Omnicare Inc., 382 F.3d 432, 444 (3d Cir. 2004))).



a. Obligations Under the Corporate Integrity Agreement                 That definition expanded the meaning of “obligation” beyond
                                                                       the limited construction some courts had given it. 214 In
 [36] As part of the resolution of Denk, PharMerica entered            particular, it included “established dut[ies], whether or not
into a CIA with the Office of the Inspector General (“OIG”)            fixed,” in contrast to the Sixth Circuit's decision in American
of the Department of Health and Human Services. 209 That               Textile Manufacturers Institute, Inc. v. The Limited, Inc.,
CIA required, among other things, that PharMerica bring                which had restricted the meaning of “obligation” to the kinds
itself into compliance with the Controlled Substances Act and          of duties “that gave rise to actions of debt at common law” 215
                      210                                              —that is to say, fixed obligations. The Senate Judiciary
related regulations.    Instead, Relators allege, PharMerica
embarked on a new scheme to handle prescriptions illegally,            Committee Report on the FERA amendments explained that
this time by altering them without physician consent so as             this definition was framed so as to include “contingent, non-
to maximize reimbursements. That conduct, Relators argue,              fixed obligations” spanning a “spectrum” from “the fixed
not only violated §§ 3729(a)(1)(A) and (B) of the False                amount debt obligation where all particulars are defined
Claims Act, but also violated the CIA, subjecting PharMerica           to the instance where there is a relationship between the
to an obligation to pay penalties to the government. 211 By            Government and a person that ‘results in a duty to pay the
concealing that it had violated the CIA and incurred an                Government money, whether or not the amount owed is yet
obligation to pay, PharMerica thus violated § 3729(a)(1)(G)            fixed.’ ” 216 At least some contingent, non-fixed obligations
as well, according to Relators. PharMerica argues that this            are now, therefore, actionable under the reverse false claims
claim must be dismissed for two reasons: first, because the            provision of the FCA. 217
stipulated penalties in the CIA are contingent obligations that
cannot be the basis of a claim under § 3729(a)(1)(G), and              212    Pub. L. No. 111-21, 123 Stat. 1617 (2009).
second, because the Amended Complaint “does not identify
any failure of compliance” with the CIA.                               213    31 U.S.C. § 3729(b)(3).
                                                                       214    See Victaulic, 839 F.3d at 253.
209    Amend. Compl. ¶ 93.
                                                                       215    190 F.3d 729, 736 (6th Cir. 1999).
210    Id. ¶ 94.
                                                                       216    S. Rep. No. 111-10, at 14 (2009), reprinted in 2009
211    Relators' Mem. Opp. Mot. to Dismiss [Doc. No. 57] at                   U.S.C.C.A.N. 430, 441; see United States ex rel. Petras
       32; see Amend. Compl. ¶¶ 96–98, 178.                                   v. Simparel, Inc., 857 F.3d 497, 505 (3d Cir. 2017)
As noted, the reverse false claims provision hinges on the                    (explaining that the phrases “established duty” and
“obligation” to pay money to the government. In 2009,                         “whether or not fixed” are ambiguous, so the provision's
Congress passed the Fraud Enforcement and Recovery Act                        legislative history may be considered).

(“FERA”), 212 which amended the False Claims Act and                   217    Victaulic, 839 F.3d at 253–54.
supplied a definition of the term “obligation”:
                                                                        *21 Contingent obligations are only actionable within
                                                                       reason, however—future duties to pay that are too speculative
                                                                       may not be a valid basis for claims under § 3729(a)(1)(G).


                   © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                              28
                                                                     A174
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 177 of 181 PageID #: 576

Sturgeon v. Pharmerica Corp., --- F.Supp.3d ---- (2020)
Med & Med GD (CCH) P 306,709, 111 Fed. R. Evid. Serv. 585

The Third Circuit explained this limitation in United States                  2016); United States ex rel. Booker v. Pfizer Inc., 9 F.
                                    218                                       Supp. 3d 34, 49–50 (D. Mass. 2014), aff'd on other
ex rel. Petras v. Simparel, Inc.      There, the relator was
                                                                              grounds, United States ex rel. Booker v. Pfizer, Inc., 847
the chief financial officer of a software company in which
                                                                              F.3d 52, 55–56 (1st Cir. 2017); see also United States ex
the Small Business Administration, a federal agency, became
                                                                              rel. Niazi v. CVS Pharmacy, Inc., No. 15-5518, 2018 WL
a preferred shareholder. Under the company's certificate                      654289, at *6 (C.D. Cal. Jan. 31, 2018);United States ex
of incorporation, it was required to pay accrued dividends                    rel. Zayas v. Astrazeneca Biopharmaceuticals, Inc., 2017
to preferred shareholders under two specified conditions.                     WL 1378128, at *3 (E.D.N.Y. Apr. 17, 2017).
The relator alleged that the company “engaged in certain
                                                                       The majority position is more persuasive. It is true that
fraudulent conduct—to which he objected—in order to avoid
                                                                       ordinarily, a contract with a standard liquidated damages
paying the SBA these contingent dividends.” 219 He did                 clause creates a present obligation to pay upon breach,
not, however, allege that either of the two conditions had             whether the nonbreaching party exercises its discretion to
occurred. 220 In considering the statutory language, the court         sue for enforcement or not. The minority position holds
concluded that the phrase “an established duty, whether or             by analogy that even if a CIA conditions the payment of
not fixed” excluded “obligation[s that] did not exist when             penalties on OIG's exercise of discretion—that is, even if the
the defendants' alleged misconduct occurred.” 221 In other             penalties become due only after OIG determines that they
words, the obligation to pay must have existed at the time             are appropriate—an obligation exists. The minority position,
of the misconduct—that is, it was “established”—but the                however, is “insufficiently attentive to the language” that is
amount need not have been fixed.                                       typical of CIAs. 225 Unlike a standard liquidated damages
                                                                       clause, the CIA between PharMerica and the government
218    857 F.3d 497.                                                   provides that failure to comply with the CIA “may lead

219                                                                    to the imposition of...monetary penalties.” 226 Similarly, it
       Id. at 500.
                                                                       provides that “[u]pon a finding that PharMerica has failed to
220    Id.                                                             comply” with any term of the CIA “and after determining
                                                                       that Stipulated Penalties are appropriate,” OIG will notify
221    Id. at 504–06.                                                  PharMerica of “OIG's exercise of its contractual right to
Since FERA's enactment, courts have split on the question              demand payment of the Stipulated Penalties.” 227 These
whether stipulated penalty provisions of a CIA are                     terms do not describe an “established duty” to pay money
“obligations” for reverse false claims purposes. All agree that        to the government—at the time of breach, the penalties
that “a breach of [a government] contract can give rise to an          are not yet due. Instead, these contract provisions describe
‘obligation’ ” under the reverse false claims provision. 222           a possible future duty. Despite the contractual relationship
Further, CIAs are contracts with the government. Beyond                between PharMerica and the government, therefore, these
that, the cases diverge. A few have concluded that the                 stipulated penalties are more akin to regulatory fines than
contractual nature of the stipulated penalties by itself makes         to typical contractual liquidated damages. 228 Because there
them “obligations.” 223 Most, however, have looked beyond              is no “established duty” until the government exercises its
the fact of the contract to its terms, concluding that                 discretion to demand payment, the stipulated penalties are not
where stipulated penalties are contingent on the exercise of           “obligations.” 229
governmental discretion, they are not “obligations.” 224
                                                                       225    Keen, 2017 WL 36447, at *6.
222    Ruscher v. Omnicare, Inc., No. 08-3396, 2014 WL                 226    Doc. No. 78 at 27 (emphasis added).
       4388726, at *5 (S.D. Tex. Sept. 5, 2014).
                                                                       227    Id. at 30 (emphasis added). Although the CIA does use
223    See Boise, 2015 WL 4461793, at *3–7; Ruscher, 2014
                                                                              the term “obligations” here, Relators conflate the two
       WL 4388726, at *5.
                                                                              meanings of that word. As the CIA uses it, “obligations”
224    See United States ex rel. Keen v. Teva Pharmaceuticals                 refers to PharMerica's substantive duties under the
       USA Inc., No. 15-2309, 2017 WL 36447, at *5–6 (N.D.                    CIA— for example, to appoint a compliance officer
       Ill. Jan. 4, 2017);United States ex rel. Landis v. Tailwind            and to submit implementation reports. These are not
       Sports Corp., 160 F. Supp. 3d 253, 268–72 (D.D.C.



                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                                   29
                                                                     A175
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 178 of 181 PageID #: 577

Sturgeon v. Pharmerica Corp., --- F.Supp.3d ---- (2020)
Med & Med GD (CCH) P 306,709, 111 Fed. R. Evid. Serv. 585

        “obligations” under § 3729(a)(1)(G), which speaks only        a claim under § 3729(a)(1)(G) because it merely duplicates
        of obligations to pay money to the government.                the same alleged conduct that formed the basis of Relators'
228                                                                   claims under §§ 3729(a)(1)(A) and (B).
        Cf. United States ex rel. Marcy v. Rowan Companies,
        Inc., 520 F.3d 384, 391 (5th Cir. 2008) (noting that
        “the government still must choose whether to impose           The established rule prior to the 2009 FERA amendments
        a penalty” after a regulatory violation and that “[o]ther     was that a claim for mere retention of government payments
        courts have held that when potential fines depend on          that were fraudulently obtained in the first place did not state
        intervening discretionary governmental acts, they are not     a claim under § 3729(a)(1)(G). 230 In other words, relators
        sufficient to create ‘obligations to pay’ under the False     were barred from asserting that the same fraudulent claim
        Claims Act”).                                                 for payment constituted both a “false claim” under § 3729(a)
229     At oral argument, counsel for Relators emphasized the         (1)(A) or (B), in the first instance, and a “reverse false
        stipulated penalty provisions themselves, which state         claim” under § 3729(a)(1)(G), once a defendant received and
        that they “shall begin to accrue on the day after the         retained payment on that claim. As explained above, however,
        date the obligation became due.” Doc. No. 78 at 28–           in 2009 Congress added to the statute a definition of the term
        29. While “shall” is mandatory, this does not suggest         “obligation”:
        that the stipulated penalties are obligations. Rather, it
        merely supplies a rule for determining the amount of the
        penalties—once OIG exercises its discretion to impose
                                                                                   [T]he term “obligation” means an
        the penalties, the amount due is calculated from the day
                                                                                   established duty, whether or not
        after the date of the compliance failure.
                                                                                   fixed, arising from an express or
 *22 The Court recognizes the unfortunate implications of                          implied contractual, grantor-grantee,
so holding. When it enters into a CIA like this one, the                           or licensor-licensee relationship, from
Government cannot enforce any stipulated penalties without                         a fee-based or similar relationship,
notice that the CIA was violated. Where a party to a CIA fails                     from statute or regulation, or from the
to give notice voluntarily, it may be that a qui tam action under
                                                                                   retention of any overpayment.... 231
the reverse false claims provision is the only mechanism
for recovering the stipulated penalties due. Shielding alleged
recidivist fraudsters from qui tam liability for “improperly
avoid[ing]” the stipulated penalties of a CIA may not be              The Patient Protection and Affordable Care Act then defined
desirable as a matter of policy. This outcome, however, could         “overpayment” as “any funds that a person receives or retains
easily be avoided if CIAs were structured so that stipulated          under subchapter XVIII [Medicare] or XIX [Medicaid] of this
penalties would become due upon breach, not merely upon               chapter to which the person, after applicable reconciliation,
the exercise of discretion by OIG, like most liquidated               is not entitled under such subchapter.” 232 The ACA also
damages. For whatever reason, the Government has chosen               clarified that a “repayment retained by a person after the
to make these stipulated penalties contingent. As a result, no        deadline for reporting and returning the overpayment” is
“obligation” can exist for § 3729(a)(1)(G) purposes until OIG         an “obligation” for False Claims Act purposes. 233 The
exercises its discretion to demand payment. Because Relators          parties dispute whether the anti-duplication rule survived
have not alleged that such an exercise of discretion occurred,        these developments.
they have not stated a claim under this provision based on the
CIA.                                                                  230    See United States ex rel. Thomas v. Siemens AG, 708 F.
                                                                             Supp. 2d 505, 514–15 (E.D. Pa. 2010).
                                                                      231    31 U.S.C. § 3729(b)(3) (emphasis added).
           b. Retention of Payments for Claims
              Based on Altered Prescriptions                          232    Patient Protection and Affordable Care Act of 2010,
                                                                             Pub. L. No. 111–148, § 6402, 124 Stat. 119, 753 (2010)
Relators also allege that PharMerica violated § 3729(a)(1)                   (codified at 42 U.S.C. § 1320a-7k(d)(4)(B)); see United
(G) by retaining the fraudulently obtained payments that form                States ex rel. Taul v. Nagel Enterprises, Inc., No. 14-061,
the basis of Relators' claims under §§ 3729(a)(1)(A) and (B).                2017 WL 432460, at *10 (N.D. Ala. Feb. 1, 2017).
PharMerica argues that this alleged conduct does not support


                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                                   30
                                                                    A176
 Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 179 of 181 PageID #: 578

Sturgeon v. Pharmerica Corp., --- F.Supp.3d ---- (2020)
Med & Med GD (CCH) P 306,709, 111 Fed. R. Evid. Serv. 585

233     42 U.S.C. § 1320a-7k(d)(3); see Taul, 2017 WL 432460,        239    Relators argue that they are permitted to plead
        at *10.                                                             two alternative allegations: one in which PharMerica
                                                                            knowingly made false claims for payment in the first
Every case the Court is aware of that expressly considered
                                                                            instance, and another in which PharMerica accidentally
this issue concluded that the rule still applies 234 —relators              made false claims for payment, but became liable
may not use § 3729(a)(1)(G) as a “redundant basis” for                      under § 3729(a)(1)(G) when it knowingly retained those
liability. 235 The Court agrees that the logic of that rule still           overpayments. But the latter claim is raised for the first
obtains. Rather than permitting a double recovery for conduct               time in Relators' briefing on the Motion to Dismiss; it
already covered by other provisions of the False Claims Act,                was not pled in the First Amended Complaint at all.
the “retention of overpayments” language seems to impose
liability in at least two situations not clearly covered before      C. Relator Sturgeon's Retaliation Claim
the FERA amendments. First, it allows for liability when a           Relator Sturgeon finally alleges retaliation against her
party unknowingly presents a false claim, realizes its mistake,      in violation of the False Claims Act for investigating
and knowingly retains the resulting overpayment. Second, it          and reporting PharMerica's alleged violations. PharMerica
allows for liability when a government contractor “receive[s]        argues that Sturgeon has not stated a claim for retaliation,
money from the government incrementally based upon cost              or, alternatively, that her retaliation claim is collaterally
estimates” and retains “money that is overpaid during the            estopped.

estimate process.” 236 Recognizing that both these situations
are “different from fraudulently obtaining the payment in the
first place,” 237 this sensible interpretation gives independent                      1. Sufficiency of Pleadings

meaning to each provision of the statute. 238                        [37]     [38]    [39]     [40] To state a claim under the False
                                                                     Claims Act's retaliation provision, 240 a relator must allege
234     United States v. Berkeley Heartlab, Inc., 247 F. Supp.       (1) that she engaged in “protected conduct,” that is,
        3d 724, 732–33 (D.S.C. 2017); United States ex rel.          acts done “in furtherance of” a False Claims action,
        Scharber v. Golden Gate Nat'l Senior Care LLC, 135           and (2) that she was “discriminated against because of”
        F. Supp. 3d 944, 965–66 (D. Minn. 2015); United
        States ex rel. Myers v. America's Disabled Homebound,        that protected conduct. 241 “Protected conduct” includes
        Inc., No. 14-8525, 2018 WL 1427171, at *3 (N.D. Ill.         “investigation for, initiating of, testimony for, or assistance
        Mar. 22, 2018);United States ex rel. Laporte v. Premier      in” a qui tam action. 242 “Discrimination” includes actions
        Educ. Grp., L.P., No. 11-3523, 2016 WL 2747195,              “that might have dissuaded a reasonable worker from
        at *18 (D.N.J. May 11, 2016); cf. Taul, 2017 WL
                                                                     engaging in the protected conduct,” 243 and “[t]he cumulative
        432460, at *10–11 (holding that retention of Medicare
                                                                     impact of retaliatory acts may become actionable even
        overpayments could be pled as a § 3729(a)(1)(G) claim
        but not as a § 3729(a)(1)(A) or (B) claim).                  though the actions would be de minimis if considered in
                                                                     isolation.” 244 Both the “protected conduct” inquiry and
235     Thomas, 708 F. Supp. 2d at 514.
                                                                     the “discrimination” inquiry are fact specific and context
236     S. Rep. No. 111-10, at 15 (2009), reprinted in 2009          dependent. 245
        U.S.C.C.A.N. 430, 442.
237                                                                  240    31 U.S.C. § 3730(h)(1).
        Scharber, 135 F. Supp. 3d at 966.
238                                                                  241    Hutchins v. Wilentz, Goldman & Spitzer, 253 F.3d 176,
        See Setser v. United States, 566 U.S. 231, 239, 132 S.Ct.
        1463, 182 L.Ed.2d 455 (2012) (explaining that courts                186 (3d Cir. 2001).
        should “give effect...to every clause and word” of a         242    Id.
        statute (quoting United States v. Menasche, 348 U.S. 528,
        538–39, 75 S.Ct. 513, 99 L.Ed. 615 (1955))).                 243    Difiore v. CSL Behring, U.S., LLC, 171 F. Supp. 3d 383,
 *23 Because this subset of Relators' claims merely recasts                 393 (E.D. Pa. 2016).
their §§ 3729(a)(1)(A) and (B) claims, these claims will also        244    Brennan v. Norton, 350 F.3d 399, 422 n.17 (3d Cir. 2003).
                239
be dismissed.



                 © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                                31
                                                                    A177
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 180 of 181 PageID #: 579

Sturgeon v. Pharmerica Corp., --- F.Supp.3d ---- (2020)
Med & Med GD (CCH) P 306,709, 111 Fed. R. Evid. Serv. 585

245     Hutchins, 253 F.3d at 187; Burlington N. & Santa Fe         252    Id. ¶ 89.
        Ry. Co. v. White, 548 U.S. 53, 69, 126 S.Ct. 2405, 165
                                                                     *24 A direct order from a superior to stop investigating
        L.Ed.2d 345 (2006).
                                                                    potential fraud would certainly dissuade “a reasonable
 [41] Sturgeon has sufficiently alleged that she engaged
                                                                    worker from engaging in [that] protected conduct.” 253 So
in “protected conduct.” The Amended Complaint recounts
                                                                    would an otherwise unjustified decision to diminish her job
Sturgeon's internal investigation into potential false claims
                                                                    responsibilities. 254 Accordingly, Sturgeon has adequately
while working at PharMerica, during which she discovered
                                                                    alleged both elements of a retaliation claim.
the violations she alleges in this qui tam action. 246 Sturgeon
reported her findings to superiors at PharMerica at least four
                                                                    253    Difiore, 171 F. Supp. 3d at 393.
times during that period. 247 This kind of “internal reporting
and investigation of an employer's false or fraudulent claims”      254    See Burlington Indus., Inc. v. Ellerth, 524 U.S.
is undoubtedly protected conduct under the retaliation                     742, 761, 118 S.Ct. 2257, 141 L.Ed.2d 633 (1998)
                                                                           (holding that “reassignment with significantly different
statute. 248
                                                                           responsibilities” can constitute adverse employment
                                                                           action); Pitts v. Howard Univ., 111 F. Supp. 3d
246     Amend. Compl. ¶¶ 67–81.                                            9, 22 (D.D.C. 2015) (reassignment to position with
247                                                                        “significantly diminished responsibilities” can constitute
        Id. ¶¶ 70–71, 73–74, 75, 80–81.
                                                                           action in retaliation for protected conduct under False
248     Hutchins, 253 F.3d at 187.                                         Claims Act retaliation provision). Mere alteration of
                                                                           job responsibilities might not be discrimination, see
 [42] Sturgeon has also sufficiently alleged that PharMerica               Annett v. Univ. of Kan., 371 F.3d 1233, 1239 (10th
“discriminated” against her for that protected conduct.                    Cir. 2004) (analogous Title VII context), but Sturgeon
PharMerica attempts to characterize the Amended                            alleges that the curtailment of her responsibilities was
Complaint as alleging a workplace that was merely                          “significant[ ],” Amend. Compl. ¶ 86.
unpleasant but not discriminatory, picking out phrases
like “discrediting [Sturgeon's] work” and “deliberately
embarrassing [Sturgeon].” Fairly read, however, the                                     2. Collateral Estoppel
Amended Complaint alleges a coordinated campaign to
                                                                     [43] PharMerica next argues that Sturgeon's retaliation claim
diminish Sturgeon's job responsibilities in response to her
                                                                    is collaterally estopped because it was adjudicated in an
whistleblowing activity. It alleges that when Sturgeon brought
                                                                    earlier action. Sturgeon previously sued PharMerica for
the results of her review to the attention of Senior Vice
                                                                    breach of her employment agreement as well as violation
President for Sales and Marketing Mark Lindemoen, he
“shut down the meeting and ordered Sturgeon to stop her             of the Pennsylvania Wage Payment and Collection Law. 255
investigation,” and “demanded that she stop conferring with         That employment action was resolved by jury trial, at which
                                                                    the sole question the jury answered was:
management” about the “issues that she had identified.” 249
When she persisted, management “sought to conceal her
findings by discrediting her work, limiting her authority,
                                                                                 Do you find that Lena Sturgeon
redefining her role, [and] narrowing her responsibilities.” 250
                                                                                 resigned her position with PharMerica
She experienced an “unexplained and sudden diminution” of
                                                                                 for “Good Reason,” that is because of
her “duties and responsibilities.” 251 Even more specifically,                   a material diminution in her authority,
she alleges that the “diminishing of her job duties and                          duties or responsibilities?
responsibilities” was “retaliatory” and that it “created an
intolerable work environment.” 252
                                                                    The jury answered “no.” 256 PharMerica argues that that jury
249     Amend. Compl. ¶ 74.                                         verdict precludes Sturgeon from asserting a diminution of her
250                                                                 job responsibilities in this action.
        Id. ¶ 78.
251     Id. ¶ 83.



                    © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                            32
                                                                  A178
Case 1:20-cv-00857-CFC Document 18 Filed 07/15/20 Page 181 of 181 PageID #: 580

Sturgeon v. Pharmerica Corp., --- F.Supp.3d ---- (2020)
Med & Med GD (CCH) P 306,709, 111 Fed. R. Evid. Serv. 585

                                                                in her duties. Rather, the question was why she resigned
255    See Sturgeon v. Millennium Pharmacy Sys., LLC et al.,
                                                                her position. The phrasing of the question permitted the jury
       No. 16-375, 2016 WL 11576043 (W.D. Pa. Mar. 31,
                                                                to conclude that, while Sturgeon did experience a material
       2016).
                                                                diminution in her duties, that diminution was not the reason
256 PharMerica's Mot. for Judicial Notice [Doc. No. 52-1],      she resigned. Therefore, based on the information available to
        Ex. G.                                                  the Court, the determination that Sturgeon did not experience
 [44] [45] Collateral estoppel applies when “(1) the issue a material diminution in her duties was not “essential” to the
sought to be precluded is the same as that involved in          jury's verdict, and Sturgeon is not precluded from litigating
the prior action; (2) that issue was actually litigated; (3) it that issue here. Accordingly, Sturgeon's retaliation claims can
was determined by a final and valid judgment; and (4) the       proceed.

determination was essential to the prior judgment.” 257 “A
determination ranks as necessary or essential only when the               IV. CONCLUSION
final outcome hinges on it.” 258                                       Relators' claims under the reverse false claims provision will
                                                                       be dismissed without prejudice. Relators' remaining claims
257    United States ex rel. Doe v. Heart Solution, PC, 923 F.3d
                                                                       are adequately pled and are not precluded, so they may
       308, 316 (3d Cir. 2019).                                        proceed. An appropriate order follows.

258    Bobby v. Bies, 556 U.S. 825, 835, 129 S.Ct. 2145, 173
       L.Ed.2d 1173 (2009) (citing 18 C. Wright, A. Miller, &          All Citations
       E. Cooper, Federal Practice and Procedure § 4421 (2d ed.
       2002)).                                                         --- F.Supp.3d ----, 2020 WL 586978, Med & Med GD (CCH)
                                                                       P 306,709, 111 Fed. R. Evid. Serv. 585
The question posed to the jury in the Employment Action
was not whether Sturgeon experienced a material diminution

 End of Document                                                   © 2020 Thomson Reuters. No claim to original U.S. Government Works.




               © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                                33
                                                                   A179
